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                                                            I NATURE OF ACTION
1.               In 2012, the market for Digital Political Microtargeting Platforms serving the American
                 political left, which constitutes essential resources for candidates running for elections in
                 the United States, was dominated by a single player named NGPVAN, which had verti-
                 cal agreements with the DNC giving it a virtual monopoly.

2.               After serving as Director of Technology for the 2012 Washington State Gay Marriage
                 campaign, Plaintiff founded and lead a project, "Open Supporter Data Interface" 1
                 (OSDI), which functioned as a Standards Development Organization (SDO) consistent
                 with Office of Management and Budget Circular Number A–119 in the market for Digi-
                 tal Political Microtargeting Platforms. Over 300 committee meetings occurred, with
                 Plaintiff serving as leader and chair for the first 250, contributing the majority of the es-
                 sential IP in the "OSDI Specification"                                         2    (copyright registrations Txu 2-249-951,
                 TX0009315996) and labor to run the project and traveling to industry conferences in-
                 cluding Netroots Nation to drive adoption of the OSDI standard.

3.               Plaintiff invested over 3000 hours of labor, based on market value, and Plaintiff's
                 previous compensation as a level 64 at Microsoft, the value of his contributions is at
                 least $325k.




                                                            337 meetings functioning as democracy


4.               Plaintiff did not foresee having children, so Plaintiff saw this contribution, the size of
                 which could be used to fund a college education, as a contribution to a good cause.

5.               The purpose of Plaintiff's effort was to use his skills to create a level playing field, from an
                 interoperability standpoint, which would allow marginalized communities and smaller
                 players to complete fairly in the market. The OSDI standard defines resources such as
                 People, Events, Donations, core operations to Create, Read, Update, Delete (CRUD) re-
                 sources, and optimizations for common integration scenarios defined as "OSDI Helpers".

6.               Adoption of the OSDI standard would result in lower costs and greater choice for



     1 [D2003] Web Page Osdi Website Home. (2024, June 15). opensupporter.org. opensupporter [D2003]

     2 [D2004] Web Page Osdi Specification Documentatio. (2024, June 15). github.io. github [D2004]
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      customer campaigns for elected office or ballot campaigns.

7.    Plaintiff funded over 3000 hours of his labor on OSDI through mid-2019, and more on a
      sole-proprietorship building tools based on the standard, by selling shares of stock from
      his retirement savings. Plaintiff seeks the court's help restoring the external network ef-
      fect and recovering his retirement savings.

8.    During the beginning of the project, venture capitalist New Media Ventures referred
      Plaintiff to Nathan Woodhull. In December 2013, Woodhull shared their plan, which they
      were seeking funding for, to build a "universal adapter" that would connect to proprie-
      tary APIs used by products at the time and use OSDI as a front end. This would only be a
      viable business of OSDI failed as a standard API, otherwise it would be unnecessary.
      Plaintiff was an obstacle to the interests of venture capitalists.

9.    By summer 2017 OSDI had become the largest REST based API ecosystem in the market
      for digital microtargeting platforms. With platform implementations from the dominant
      player, NGPVAN and new entrant Action Network, Application integrators experienced
      a 2x return on investment (ROI).

10.   With platform implementation #3, PDI, and 3x ROI imminent, the external network effect
      was at the tipping point of becoming permanent until the next technology generation.
      It was a valuable economy of scale, which Plaintiff sought to protect from the VC mind-
      set.

11.   In August 2017, Reid Hoffman's political director, Dimitri Melhorn pitched Plaintiff,
      offering to make Plaintiff "rich" if he would agree to use OSDI as a proprietary walled
      garden. Plaintiff refused.

12.   Defendants adopted deception, in addition to the tactics they train others to use when
      writing fundraising emails, as a business practice in or before 2017.

13.   Dimitri Mehlhorn, using Reid Hoffman's money, funded experiments to replicate tactics
      used by the Russian GRU to hack the DNC and manipulate the 2016 elections to apply
      them for the benefit of Democrats and progressives. These began out of Netroots Na-
      tion 2017, with a fake "Dry Alabama" campaign, run by Beth Becker, using false flags,
      sock puppets, bot farms and other tactics later described in teh Senate report. These
      experiments grew into a network of coordinated sites allowing Defendants to fabricate
      organic behavior and manipulate search engine results.




                                   Defendants Racketeering Activity


14.   Over time, Defendants joined the project, agreeing to these terms under false
      pretenses to fraudulently induce labor while engaging in a pattern of racketeering ac-
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      tivity using wire fraud, extortion, and Abuse of Process trying to coerce or trick Plaintiff
      into abandoning his property rights and to gain control of the project and its assets. De-
      fendants gained control in February 2018.




                                              Predicates


15.   After the Data Breach in December 2015, internal struggles in the DNC led to the
      formation of the Unity Reform Commission at the end DNC Convention in summer 2016.
      This coincides with the beginning of Defendants' extortion.

16.   Defendants threatened to use fear to exploit Plaintiff's vulnerabilities in a way that
      would unjustly endanger his business, property and safety, to induce responses that
      they would misrepresent by combining grains of truth, lies of omissions and outright fab-
      rications.

17.   Defendants made Plaintiff fear his ex-boyfriend and the power disparity in the ex-
      boyfriend's favor to lure him on to a workplace policy google group, then threatened
      to conceal his sexual orientation and publicly misrepresent his efforts to protect himself
      as sexual harassment and violence towards women. Defendants followed through on
      this threat in November 2016 at Rootscamp 2016, in a session led by Action Network's
      former employee Robyn Swirling. Swirling announced to the room "A man has entered
      the room who has engaged in repeated violence, persistent harassment of women,
      and invaded our spaces." This was the basis of Cohen v. Swirling.

18.   Framing Gay, Transgender, Black, or Muslim men as examples of sexual harassment and
      violence towards women incites hatred toward othered sexualities, which creates a
      foreseeable risk of inciting violence or homicide.

19.   When participants in the Campaign made these accusations in front of audiences,
      they created pretexts which could allow people to engage in violence toward Plaintiff,
      or otherwise harm his business or property, under the guise of protecting women by
      holding another man accountable. Thus, Defendants inciting fear of violence.

20.   This had a damaging effect on Plaintiff's mental health as well, which required therapy.
      This healthcare began in August 2016, which coincides with the beginning of the extor-
      tion, with at least 38 sessions throughout the scheme.

21.   The Campaign, led by Action Network, used the hatred, danger, and economic
      damage they were inciting to try to coerce or trick Plaintiff to abandon his property
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      rights through the end of 2019. Plaintiff endured this with out abandoning his property
      rights or the project.

22.   In 2017, the Campaign continued this scheme until they provoked Cohen v. Swirling,
      shifting away from a discipline they could not compete fairly in to abusing the legal sys-
      tem and abusing litigation privilege.

23.   When Defendants abused litigation privilege on Twitter, during February-March 2018, to
      escalate and amplify their deception, they increased the number of people who might
      be a potential threat to Plaintiff's business property and safety. As a result, they gained
      control of the project. The Campaign escalated their deception by falsely claiming that
      Plaintiff had harassed Swirling for a year and a half.

24.   The effect of this deception was to conceal Action Network's role as aggressor, their
      property motive and a year and a half of extortion.

25.   An example of Action Network using this coercion occurred after the order of
      discontinuance for Cohen v. Swirling on May 30th, 2018, via telephone.


26.          Audio       05/30/18       2018-05-30 11:11pm "Telephone Call Jason Rosenbaum,
          Josh Cohen" [T23]      My Recording;        Jason;      Josh

27.   The escalation of their deception was to falsely claim that Plaintiff had been harassing
      Swirling for a year and a half. Jason Rosenbaum concedes that was false.

28.            Josh    +11:00 [T23]
             To the extent I am guilty of anything it is unruly and disobedient behavior on a group
             in September 2016, and mostly silent protest for about a minute in a conference ses-
             sion (November 2016) I just two things completely within the norms of the community.

29.            Jason     +11:00 [T23]
             I agree... It's not about the merits.

30.            Josh    +11:00 [T23]
             Harassing her over a period of time, No.

31.            Jason     +11:00 [T23]
             Again, it's not about the merits. I agree... I agree... It's not about the merits.

32.            Josh    +11:00 [T23]
             Yeah, it is about the merits

33.   Jason then uses the unjust harm to attempt to coerce Plaintiff to resign.

34.            Jason     +17:06 [T23]
             I would hope that at this point when you've seen what happened to the organiza-
             tion you clearly care about, you would put it first and take that step back.

35.            Jason     +41:51 [T23]
             Going forward, you have a reputation in the community and you are unable to do
             the work of chairman...

36.   At this point, Plaintiff felt that the unjust harm from Defendants' deception was severe
      and likely permanent to himself, the external network effect, and the project which he
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      considered akin to a child, unless he continued to make sacrifices necessary to endure
      the extortion without abandoning his property rights and saw the struggle through to
      the end to save it.

37.   Defendants operated the project from February 2018 through February 2019, using
      proxies who provided false hope of saving the project to induce more labor, gain ac-
      cess to trade secrets continuing to attempt to coerce or defraud Plaintiff out of his
      property rights.

38.   Defendants are ringleaders in the racketeering conspiracy which constitute a
      coordinated campaign, aka the Campaign.

39.   The enterprises and proxies who had direct contact with Plaintiff, are Action Network
      and Broadstripes for Action Squared, RagTag for Higher Ground Labs, Colibri and
      MoveOn for The Movement Cooperative.

40.   Defendants' racketeering activity is similar to Huawei's in US v Huawei 1:18-cr-00457-
      AMD.




                                       Investing the Proceeds


41.   Defendants actively misled Plaintiff through April 2020 using false hope of saving the
      project, ensured no one came to Plaintiff's aid to escape the extortion, fraudulently
      concealed their actions, and warehoused their infringement longer than the 4 year
      Federal Statute of Limitations. to prevent Plaintiff from bringing a complaint forward
      sooner.

42.   Defendants fabricated accusations to exclude Plaintiff from industry events and virtual
      spaces where he might have discovered their schemes. For example, to prevent Plain-
      tiff from attending Personal Democracy Forum 2018, Defendants lied to the organizers
      claiming that Judge Gorenstein issued a restraining order against Plaintiff.

43.   Defendants are portraying Plaintiff as violent and dangerous to conceal their unlawful
      conduct. It is also a diversion to conceal the fact that Defendants are the aggressors,
      with a motive for property, profit and gatekeeper powers.
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                                           Data War Timelne


44.   While Defendants mislead Plaintiff with false hope, they were sidelining him during the
      Data War that erupted after the 2016 election. With the election of Donald Trump and
      the arrival of Billionaires Reid Hoffman, Lauren Powell Jobs, Eric Schmidt, venture capi-
      talist organizations like Higher Ground Labs were set up to direct funding to their portfo-
      lio companies in order to gain control over essential technology resources needed by
      candidates running for elections.

45.   The Data War was comprised of struggles to gain control over economies of scale such
      as Voter Files and Disinformation Networks built to replicate tactics used by the GRU,
      mentioned above, to hack the DNC and influence elections. With the market evolving
      into a Digital Platform Market, Application Ecosystems, a new economy of scale, be-
      came part of the struggle.

46.   With OSDI being the largest REST based ecosystem, Defendants and their proxies were
      passing off the work as their own, exploiting the economy of scale largely built by Plain-
      tiff, and enriched themselves by using the proceeds to secure Venture Capital, and di-
      viding the proceeds between their enterprises. What had been an external network ef-
      fect was laundered into proprietary walled gardens. Defendants knew Plaintiff would
      never agree to his intellectual property being used in that way.




47.


48.   Defendants warehoused their copyright infringement through summer 2022 and 2021
      respectively. Their infringement is similar to Microsoft's infringement of Sun's Java copy-
      rights in Sun v Microsoft rather than Google's infringement in Oracle v Google because
      it is exploitative rather than transformative.

49.   Today, the market for Digital Political Microtargeting Platforms has 2 dominant platforms
      in a concentrated digital platform market. NGPVAN remains (now part of Bonterra). A
      new 2nd dominant platform is Action Builder, jointly developed by AFL-CIO and Action
      Network, merged under the enterprise known as Action Squared, which uses the OSDI
      spec and ecosystem as its proprietary walled garden. Action Squared used Plaintiff as a
      shield during a platform disintermediation play.

50.   New platforms have also entered the market including CampaignOS from Civitech.

51.   The proceeds were also invested in Venture Capitalist Higher Ground Labs with its
      portfolio companies Shadow Lightrail/Bluelink, which describes itself as a "universal
      adapter" (now owned by Civitech), Mobilize (acquired by NGPVAN), and New/Mode
      which leveraged OSDI while gaining a critical mass.
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52.    Because Civitech acquired Bluelink, by connecting Bluelink with CampaignOS,
       CampaignOS can get the same head start by leveraging the OSDI economy of scale.
       Since Bluelink's API is a similar fork of OSDI, many Applications that work with Action
       Squared will work with CampaignOS with none or little engineering work.

53.    Vertical agreements were created with the DNC and other large customer organiza-
       tions, giving these products an unfair advantage.




54.


55.    Defendants have integrated "universal adapters" to build "exchanges", which are
       controlled by the enterprises. The effect is that applications will integrate with ex-
       changes to access data warehouses and use the functionality of the "universal adapt-
       ers". Examples of this include Bluelink, controlled by Nigher Ground Labs Civitech, and
       Parson, controlled by The Movement Cooperative, whose largest funder is MoveOn.org.
       Another is Democratic Data Exchange controlled by the DNC.

56.    Since the enterprises control the exchanges, they have control over the "data pipes". As
       a result they have gatekeeper powers which can be used to engage in discrimination.

57.    The effects of Defendant's racketeering activity gained them Gatekeeper Powers over
       essential resources for candidates running for election. History has shown that the na-
       ture of politics is such that if victory for a favored candidate depends on exploiting
       these gatekeeper powers, it will happen.

58.    Their actions have created an artificial inefficiency, which benefits established players
       and those with significant resources and creates hardship for smaller players. These ac-
       tions increase customer switching costs, support costs for resellers thus limiting customer
       choice as well as creates barriers to entry for potential competitors.

59.    Plaintiff believes the external network in this market is important to protect, which
       meant refusing to abandon his property rights, which meant enduring Defendants
       dangerous coercion.

60.    Defendants used women as proxies, so Plaintiff was unaware he was overpowered by
       people who's goal was misappropriation and disgorgement. Defendants used false
       hope of saving the project, so they had Plaintiff's full attention. Plaintiff was completely
       unaware of the Data War, the VCs and the extremely large profit motive.

61.    If not for the false hope, Plaintiff would not have continued to fund his time by
       liquidating assets in his retirement savings. Plaintiff was unaware that he was in a "no
       way out" situation.

62.    Plaintiff's only interaction with Defendants, in his life, is in the context of their exploitation
       since he met them in 2012.

63.    Defendants conspiracy is open-ended. Defendants' grievance with Plaintiff stems from
       his refusal to go along with their profit motive or proprietary walled gardens, refusal of a
       funding pitch from Dimitri Mehlhorn, Reid Hoffman's political director, and his refusal to
       abandon his property rights to the misappropriated IP Defendants used to enriched
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               themselves.

64.            At this point, Defendants have completed the robbery and VC money has changed
               hands. Plaintiff is a "loose end."

65.            Plaintiff seeks the court's help in restraining Defendants Abuse of Process and Litigation
               Privilege.

66.            Plaintiff has been diligent in his research to discover the Campaign's actions and his
               claims. He has compiled a database of evidence which includes at least 1500 docu-
               ments, emails, google chats, sms chats, meeting minutes, committee motions, audio
               recordings of one-party consent telephone calls and relevant podcasts where partici-
               pants were interviewed.


                                 II JURISDICTION AND VENUE
67.            This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C. § 1964

68.            Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391
               because Plaintiff is subject to personal jurisdiction in this judicial district and resides in this
               district.


                                                    III PARTIES
69.            Plaintiff Josh Cohen is a person with his principal place of business in New York, NY.


      III.A       Defendants

70.            Defendant Action Network is a corporation with its principal place of business in
               Washington, DC.

71.            Defendant AFL-CIO is a corporation with its principal place of business in Washington,
               DC.

72.            Defendant Nathan Woodhull is a person wit his principal place of business in Hudson,
               NY.


      III.B       Non-Parties

73.            RagTag is a volunteer development organization that supports progressive causes.
               RagTag served as a proxy for enterprise Higher Ground Labs, using RagTag's founder,
               Brady Kriss, and Dan Ryan.

74.            According to Brady Kriss's LinkedIn, she earned a Juris Doctor from Northeastern
               University School of Law in 2007, and LLM, Intellectual Property Law and PolicyLLM, Intel-
               lectual Property Law and Policy from University of Washington School of Law.
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                                      IV FACTS OF THE CASE




                                                         Outline


      IV.A        Market Background

      IV.A.1      Plaintiff's Experience




             Photo: "Josh Cohen 94 and Jim Truver 95 are both openly gay students on campus." [D1021]


75.            While studying for his BS in Computer Engineering at Lehigh University, in 1993 Plaintiff
               came out of the closet in the university newspaper "The Brown and White".

76.            Plaintiff quickly found a passion for the craft of interoperability standards and the
               fairness component of the work. He spent 1996-2012 while employed at UPS, Netscape,
               Microsoft et al, working within Standards Development Organizations (SDOs) such as
               IETF, DMTF, ISO, and others. Plaintiff's contributions to the collaborative works of Internet
               and Web Standards include:
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         •     Co-author with P. Gauthier, M. Dunsmuir, and C. Perkins, of "Web Proxy Auto-Discovery Protocol
               (WPAD)" 3, which since 1999 has been used by major Web Browsers to detect Proxy Servers in
               enterprise networks.

         •     Co-author with Y. Goland, and S. Aggarwal of "General Event Notification Architecture
               (GENA)" 4, which became chapter 4 of "Universal Plug and Play (UPNP)" 5, now an ISO Standard
               implemented by most home routers and many Internet of Things (IoT) systems.

         •     Plaintiff served as the leader of Microsoft's effort to standardize WS-Management in the Distrib-
               uted Management Task Force (DMTF.org) and Project Lead in ISO/IEC JTC1 SC38 to standard-
               ize WS-Management, negotiating with delegations from Japan, China and other countries to
               come to consensus on an international standard which was published as an ISO standard in
               2012 . Since 2006, WS-Management served as remoting protocol for PowerShell, ""Windows
               Management Infrastructure (WMI)" 6,

         •     Plaintiff is a contributor to HTTP/1.1 including functionality for Proxy Server support and OPTIONS
               method.


77.            When the government filed US v Microsoft in May 1998, Plaintiff was newly hired
                                                                                       , w ’
               were relevant to the case, which served as the HTTP engine used by Internet Explorer
               and Windows. Having paid attention, Plaintiff was able to spot parallels between in De-
               fendants' behavior and that of Microsoft's.


      IV.A.2       Market Background

78.             In the late 2000s, the market for World
               Wide Web Based Political Microtargeting
               systems emerged as the Web became
               mainstream. Political Microtargeting sys-
               tems function similarly to a Customer Rela-
               tionship Management (CRM) system that is
               connected to a Data Warehouse com-
               prised of Voter Files and other marketing
               data about voters. Voter Files are procured from each state, normalized and integrat-
               ed, and each year a Voter's registrations, voting history is updated. This is a costly and
               time consuming task, and as such is an economy of scale.




      3 [D645] Document Gauthier, P. (1999). Web Proxy Auto Discovery Protocol, Paul Gauthier, Jo... [ D645]

      4 [D1072] Specification Draft Cohen Gena P Base 01. (1999). [ D1072]

      5 [D1068] Document Universal Plug And Play Wikipedia. (2021). [ D1068]

      6 [D1501] Web Page Ws Management Wikipedia. (2006, November 28). wikipedia.org. wikipedia [D1501, pt windows]
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                                                    79.

                                                    80.    In 2012 The market was dominated by a
                                                           single dominant player, NGPVAN. Exclusive
                                                           vertical agreements with the DNC, who
                                                           served as data broker, created a virtual
                                                           monopoly in the US, with the main excep-
                                                           tion being California which was dominated
                                                           by Politcal Data Inc (PDI).

                                                    81.    While chair of the DNC, Howard Dean
                                                   implemented a plan called "50 State Strat-
       egy", which ensured that all state parties had access to a voter file and up to date
       technology.

82.    Howard Dean explains the 50 State Strategy on a podcast with NPR on November 13th,
       2008.


83.            Podcast      11/13/08     2008-11-13 12:39pm "Dean Explains The Democrats' '50-
          State Strategy'" [T205]      Andrea Seabrook, Howard Dean, NPR This is Talk of the Nation;
               Andrea Seabrook;         Howard Dean

84.              Howard Dean        +03:10 [T205]
               the 50 state strategy does not mean we put $10 million into Utah with three weeks to
               go, what it means is you have a Democratic presence there, You work hard and you
               support elected officials there and you have up to the day up to date technology,
               we put $40,000 in every state every year To make sure they have a voter file. That's all
               worked on the same principles. We have a national voter file, which we never had
               before. We have all the commercial information that the Republicans had for 15
               years. We figured out how to use that and identify voters. We have a national party
               again, because we've competed in every single state.

85.    To achieve the goals of the strategy, vertical agreements were created with NGPVAN,
       which served as they way for campaigns to interact with the voter file and other com-
       mercial data.

86.    Mike Conlow, who worked at the DNC when the national contract with NGPVAN was
       signed, discusses this on "The Great Battlefield" Podcast in April 2019, hosted by Na-
       thaniel Perlman, one of the founders of NGP, which was later merged with VAN to be-
       come NGPVAN.


87.          Podcast     04/19/19  2019-04-19 2:20pm "The Intersection of Technology and
          Politics with Mike Conlow of Blue State Digital | Episode 291" [T203] Nathaniel G.
          Pearlman, The Great Battlefield;          Mike Conlow;     Nathaniel;      Announcer

88.              Mike Conlow      +02:16 [T203]
               My name is Mike Conlow... Was at the DNC twice (2006-2007, 2009-2011).

89.              M. Conlow      +07:09 [T203]
               It was a very exciting time, kind of looking back on it, we built what I would call the
               first real national voter file, the first database, single database that had every voter in
               the country in it. At the same time we signed the national VAN contract that's now
               VoteBuilder
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90.             During the Data Breach in late 2015, this agreement and its effects are discussed.


91.                    News      12/20/15 "Sanders data controversy spotlights powerful gatekeeper"
                   [D88]    POLITICO

92.                        Nancy Scola [D88]
                      When Howard Dean took over the DNC after the conclusion of his own presidential
                      race, the Massachusetts-based VAN became the software provider of choice to
                      support his "50 State Strategy," helping to coordinate campaigns up and down the
                      ballot.

93.                        N. Scola [D88]
                      Nearly every Democratic campaign across the U.S. uses NGP VAN in some fashion,
                      though critics say that's due in some part to the fact that the DNC and state Demo-
                      cratic parties force candidates do so as part of the package of receiving party sup-
                      port. The arrangement leaves it up to the Democratic Party to decide which cam-
                      paigns get access to the software, giving it an enormous gatekeeping power of
                      which the Sanders' campaign felt the force during its temporary suspension of ac-
                      cess to the data file.

94.


95.



       IV.A.3      Gatekeeper Powers

       IV.A.3.a DNC

96.             According to multiple candidates, The DNC is in the habit of using its role as gatekeep-
                er to deprive or degrade primary challengers and disfavored candidates access to es-
                sential resources for candidates running for election.


97.                    News        09/03/19 "Progressive Primary Challengers Hold The Moral High
                   Ground,Progressive Primary Challengers Hold The Moral High Ground | Crooks
                   and Liars" [D1468] Crooks and Liars
98.             Pro Se note The shaded header "Progressive..." is a clickable link to source

99.                        Rachel Ventura [D1468]
                      2 1/2 weeks after I announced, I was denied access to Votebuilder. I was given this
                      reason: 'I've heard from our Executive Director. Your request for Votebuilder for Illinois'
                      11th Congressional District through the Democratic Party of Illinois has been denied
                      due to our regulations that we don't issue subscriptions to candidates challenging an
                      incumbent.'

100.            This problem also came to a head during the Data Breach during the 2016 Election, a
                few days after the Sanders campaign secured the endorsement of a major labor union.
                As reported in the news:


101.                   News      12/22/15 "The real scandal in the Bernie/DNC feud is the one nobody
                   is talking about" [D853]    Salon
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102.                  David Dayen [D853]
                   But there's a crater-sized hole in this reporting. The reason this controversy sprung up
                   in the first place is that the DNC has been facilitating a monopoly, with all the usual
                   results from that decision.
                   In fact, it's a case study in why policymakers should aggressively protect against mo-
                   nopolies.

103.         In 2017, the DNC degraded data and services to primary challengers including
             Anthony Clark.


104.                News    12/11/17 "Justice Democrat Candidates Have Been Denied Access
                to DNC Voter Data | WIRED,Progressive Democrats Fight For Access to the Par-
                tys Voter Data" [D90] WIRED

105.                  Issie Lapowsky [D90]
                   VoteBuilder has become the central nervous system of every Democratic campaign,
                   housing years of information on just about every contact the party has ever made
                   with every voter.
                   Developed through a partnership between the DNC and a company called NGP
                   VAN, the tool gives campaigns the inside track on potential donors, volunteers, or
                   voters out of a pool of thousands or, in the case of a presidential election, millions of
                   people

106.                  I. Lapowsky [D90]
                   But thanks to an intricate system of state-by-state rules governing who gets access to
                   that data---a system critics say is tailor-made to protect incumbents---some Demo-
                   cratic primary challengers, like Clark, are being denied access to this critical pool of
                   information by their own party.

107.                  I. Lapowsky [D90]
                   Rather than allow access to VoteBuilder, the state party instead directed Clark to a
                   tool called SmartVAN, another NGP VAN product that lacks proprietary DNC voter
                   data.


       IV.A.3.b AFL-CIO

108.         This did not sit well with big gorilla AFL-CIO, who partnered with the Clinton cohort to
             build their own Data Warehouse called Catalist, with its first customer being a labor en-
             dorsed primary challenger.


109.               News       01/30/12 "Forget the Super-PACs: The Parties Data Mining Operations
                Might Be More Influential in 2012" [D590]       Slate Magazine

110.                  Mike Podhorzer, political director of the AFL-CIO [D590]
                   "We are not Democrats and not all of our members are Democrats," says Mike Pod-
                   horzer, the political director of the AFL-CIO, which was one of Catalist's first customers
                   and relied on the company's data when it backed a liberal challenger to dislodge
                   incumbent Democratic Sen. Blanche Lambert Lincoln in a 2010 Arkansas primary.

111.                  Sasha Issenberg [D590]
                   On the Democratic side, some of those allies set out to develop their own voter file,
                   outside the Federal Election Commission's oversight. In 2006, former Clinton aides
                   Laura Quinn and Harold Ickes---among a cadre of old party hands suspicious of
                   Dean and his "50-state strategy"---raised $5 million from private investors, including
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                   George Soros, to build a private data warehouse with records for the entire voting-
                   age population. Called Catalist, the theoretically for-profit company imagined itself
                   as a public utility, with less interest in returning a profit to its investors than becoming
                   an indispensable tactical resource for the American left.

       IV.A.3.c The Netroots

112.         The "Netroots" a term coined during the Howard Dean campaign, evolved from blogs
             MyDD and DailyKos. By 2005, the Netroots had gained enough power to influence the
             DNC Chair election, swinging it towards Howard Dean as the new Chair.

113.         Netroots Nation began as YearlyKos which were DailyKos meetups starting in 2006. The
             Netroots itself weighed in on essential technology resources for candidates running for
             election.

114.         A controversial topic was NationBuilder, a bipartisan platform that served both
             Republicans and Democrats.


115.               News        07/12/12 "Nation Builder Signs Software Deal With Rslc" [D1155]

116.                     SARAH LAI STIRLAND [D1155]
                   A core group of progressive political strategists are in some cases boycotting the po-
                   litical software firm NationBuilder and in others are steering business elsewhere after
                   the company announced it had reached a deal with the Republican State Leader-
                   ship Committee.

117.                     Raven Brooks, Netroots Nation [D1155]
                   "At this point, I don't think it's in the interest of progressive causes and candidates to
                   keep supporting a platform that's basically taking a side," Raven Brooks told
                   techPresident.
                   Brooks is the executive director of Netroots Nation, a conference that thousands of
                   left-leaning bloggers, activists and Democratic strategists attend each year to brush
                   up on their organizing and movement-building skills.

118.                     R. Brooks [D1155]
                   As a former coder and developer himself, Brooks notes that campaigns continually
                   provide feedback to software providers in order to improve their product, which
                   means that progressive campaigns that use NationBuilder to provide feedback are
                   ultimately improving the product for their opponents as well.
                   Asked whether it was inevitable that the Republicans would build their own infra-
                   structure, Brooks responded: "The important thing to note is that what they've done is
                   usually a poor copy of the original."

119.         Raven's point about feedback improving products and resulting intellectual property
             leaking to Republicans/Conservatives by their use of the product is one of the failure
             modes of previous attempts to create standardized APIs in this market.

120.                     Jason Rosenbaum, Progressive Change Campaign [D1155]
                   Other organizers, such as Jason Rosenbaum, the Progressive Change Campaign
                   Committee's senior online campaign director, calls what NationBuilder is doing "evil."
                   "As it stands now, progressives should think carefully about who they're helping when
                   they use NationBuilder -- every dollar you spend directly aids your opponents," he
                   told techPresident in an email. "The [RSLC] are the folks who helped pass Scott Walk-
                   er's agenda, who want to give transvaginal ultrasounds to women, who want to dis-
                   enfranchise the minorities, who want to keep the rich rich and the poor poor. Helping
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                       them win elections is pretty evil," he said. "Fortunately, there are competitive toolsets
                       at competitive prices available to campaigns, especially on the new media side.
                       Progressives don't have to work with a company like NationBuilder that's now the
                       'technology [behind] the bulk of the nationwide Republican races,' in the words of
                       NationBuilder's own President Joe Green."

121.            Jason Rosenbaum has a Music Technology degree, and was a blogger on MyDD. He
                and Brian Young subsequently founded Action Network.


       IV.A.4      Evolution To A Digital Platform Market

122.            In the early 2000s, Microsoft and Sun Microsystems resolved their differences and
                agreed on SOAP/XML as a protocol to interoperate between Java and .NET, which
                were the two dominant development frameworks. SOAP/XML became a substrate lay-
                ered on HTTP, enabling web based systems to communicate programmatically and
                thus enabled Web Based Digital Platforms.

123.            By leveraging SOAP/XML the market for political technology evolved to become a
                Digital Platform Market.

124.            Many Americans have received text
                messages from political campaigns which
                ask questions. These text messaging appli-
                cations (aka Peer to Peer texting) are part
                of a category of applications which inte-
                grate with a Digital Microtargeting Plat-
                form. These platforms are connected to a
                political data warehouse that includes
                Voter Files enriched with marketing information an other data sources which create
                profiles of voters.


       IV.A.5      Application Ecosystems Become A New Economy of Scale

125.            The effect of this evolution was that Application Ecosystem were a new economy of
                scale. When functioning as external network effect as OSDI did, market players com-
                pete based on functionality and innovation. However, if laundered into proprietary
                walled gardens aka a proprietary App Stores, then big gorillas can use dominant con-
                trol as gatekeeper powers over essential resources for candidates running for election.


       IV.B        OSDI Procompetitive Effort




                                                              Outline
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       IV.B.1      OSDI Ideation

126.            Plaintiff was employed at Microsoft, specializing in Standards work 1997-2000, 2003-2012.
                Plaintiff left Microsoft in 2012 to serve as Director of Technology for the 2012 Washington
                gay marriage campaign. After the victory, Plaintiff decided to use his proficiency, la-
                bor, funded by retirement savings to found Open Supporter Data Interface (OSDI)
                which functioned like an SDO, adopting best practices he learned from his experience
                and governed as a democratic level playing field to build an external network effect.

127.            Plaintiff began discussing the idea at the beginning of the campaign in February 2012
                with ActBlue founder Matt DeBergalis, who's position was an example of the common
                wisdom at the time, which was that the task was infeasible.

128.                   Email Subject      02/08/12      2012-02-08 1:56am "Email between Josh Cohen and
                   ActBlue founder Matt Debergalis" [D565]        Josh Cohen

129.            Common API efforts had commonly been attempted, but always failed quickly and
                predictably.

130.                     Matt DeBergalis, founder, ActBlue        2012-02-09 1:56am [D565]
                      Hi Josh. Curious what you're thinking about.
                      Folks have been talking about interop standards for progressive tech for at least as
                      long as I've been around, but rarely does it come to anything -- the big impediments
                      are political (surprise!), not technical.

131.                     Josh Cohen      2:59p [D565]
                      My current professional job is developing standards in a number of areas (cloud
                      management for example) on a technical and organizational basis on behalf of Mi-
                      crosoft. (yeah, I
                      know some would consider that an oxymoron, but I have experience working with
                      other companies that don't necessarily want to agree with us)

132.            Defendants also assumed that the dominant player (NGPVAN) would ignore the
                standardization effort, as dominant players often do. However, Defendants underesti-
                mated or were unaware of the impact the industry transition from SOAP/XML to
                REST/JSON would lead NGPVAN to implement.

133.                     M. DeBergalis     3:39p [D565]
                      The biggest factor I've seen with (1) is the full stack vendors' desire to sell add-on
                      components. They have zero incentive to open up the data APIs because it elimi-
                      nates the
                      "everything works smoothly together when you use our stuff" advantage.

134.                     Seth Bannon, Amicus       5:20p [D565]
                      This path forward both highlights the difficulty but also the possibility of pulling this off.


       IV.B.2      VC New Media Ventures

135.            Plaintiff was introduced to Nathan Woodhull in 2012 through recommendation by
                Venture Capitalists New Media Ventures. Nathan Woodhull was previously employed at
                the DNC and Act Blue.
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136.            Brian Elliot forwarded Plaintiff's email with Matt Debergalis to VC New Media Ventures.


137.                    Email Subject        02/15/12      2012-02-15 7:00pm "Fwd: Matt <-> Josh" [D1057*]   Brian
                   Elliot

138.                     Christina George, NMV             5:11p [D1057]
                      YES PLEASE to connecting me with Josh (and if you can ask permission to intro us by
                      fwd'ing the thread even better, so we don't start from scratch). Everything he articu-
                      lates has been among my biggest learning from this year. There are a few other
                      people (Nathan Woodhull, Josh Hendler, Anthea Watson that have also been think-
                      ing along similar lines).

139.                     Brian Elliot      6:58p [D1057]
                      I'll follow up with Josh Cohen and see if I can make an intro. The more I think of it, do
                      you think this might be a project he could take on as an NOI Fellow? I know he's itch-
                      ing to leave Microsoft, but doesn't know where to go. Just a thought if the move-
                      ment is looking to pick up another soldier...

140.                     B. Elliot   7:00p [D1057]
                      Hey Josh, See the message below from Christie George and do not forward. She's
                      the head of New Media Ventures, a progressive funding arm of the Democracy Alli-
                      ance that funds startups. See her response. Before mentioning to Seth Bannon I'm
                      connecting you, let's be sure to talk. Also, do you know about the New Organizing In-
                      itiative Fellowships? Might that be a role that's of interest to you? Talk soon


       IV.B.3      Plaintiff becomes Director of Technology for Washington Gay Marriage
                   Campaign

141.                  Document             04/02/12 "Consultant Agreement signed WUM Technology Director
                   joshco" [D273]

142.                     Zach Silk, WUFM [D273]
                      This agreement is made between Washington United for Marriage ("WUM"), a Wash-
                      ington corporation, and Josh Cohen ("Consultant").
                      In consideration of the mutual promises and consideration set forth below, the par-
                      ties agree as follows:

143.                     Z. Silk [D273]
                      Consultant shall serve as Technology Director for the WUM campaign to achieve
                      marriage equality


       IV.B.3.a OSDI Founding

144.            OSDI began with a kick-off panel at RootsCamp 2012, discussing interoperability issues
                and costs driven by prooprietary APIs. Plaintiff moderated panel, which included
                NGPVAN, Nathan Woodhull, Amicus, Nationbuilder.


145.                  Web Page            12/05/12 "Rootscamp 2012 Wall" [D1476]

146.                  [D1476]

                      Room 141 : Making Salse, NGPVAN, Amicus, Nation Builder Get Along W/O CSV Suf-
                      fering
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147.    Committee meetings began in early 2013, including NGPVAN, Amicus, Salsa, Nathan
        Woodhull/ControlShift. Plaintiff authored a baseline specification and shared it with the
        group.


148.         Email Subject         04/03/13    2013-04-03 10:13am "Draft for 4/3 call" [D685*]     Josh
           Cohen

149.                Josh Cohen    10:13a [D685]
                 Hi Folks,I've drafted some model work based on our last meeting's conversations. It is
                 attached for discussion on this week's call. (4/3 4pm est)The key challenge from our
                 last discussion was how to keep relative simplicity for doing very common things like
                 "Showme the most recent donations", "Show event signups" but also allow allow in-
                 teraction style modeling.

150.    Plaintiff travelled to industry conferences leading talks on the benefits of a standardized
        API and the external network effects that serves as a tide that lifts all ships including
        RootsCamp 2012-2016, Netroots Nation 2013-2017 (Plaintiff had attended every
        Netroots Nation since it's beginning in 2006).

151.    At Netroots Nation, OSDI was the focus of the Data and Tech Caucus


152.             Conference Session        07/18/14      2014-07-18 11:00am "OSDI Data and Tech
           Caucus Netroots Nation" [D1147]


153.          Conference Session        12/13/14    2014-12-13 "The Schedule" [D1973]


154.             Conference Session        07/16/15      2015-07-16 6:45pm "OSDI Data and Tech
           Caucus Netroots Nation" [D1148]
155.    In July 2015, Plaintiff was invited to give a presentation on OSDI to Hillary for America

156.             Email Subject     07/22/15    2015-07-22 4:46pm "Invitation: OSDI Tech Talk by Josh
           Cohen / OSDI Chairman @ Fri Jul 24, 2015 1pm - 2pm (joshco@gmail.com)" [D1123]
           Joshco

157.                Stephanie Hannon     4:46p [D1123]
                 You have been invited to the following event.
                 Title: OSDI Tech Talk by Josh Cohen / OSDI Chairman The Open Supporter Data Inter-
                 face (OSDI) is a common Application Programming Interface (API) defined by a crit-
                 ical mass of progressive vendors and organizations that allows for data to move easi-
                 ly between systems.


158.             Event    11/20/16     2016-11-20 2:00pm "Rootscamp: One API to rule them all,
           one API to bind them" [D1441]

159.           Conference Session        07/14/16     2016-07-14 2:00pm "Netroots Nation Data and
           Technology Caucus" [D1149]

160.          Conference Session        08/11/17      2017-08-11 1:00pm "Facebook NN17 OSDI Session"
           [D236]     Facebook;       Facebook Notifier;     Facebook

161.    By Netroots Nation 2013 in June, Plaintiff built a prototype platform implementation and
        a Developer Preview of the specification was released at the conference.
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162.               Document             06/18/13 "osdi nn13 booth materials" [D307]

163.               [D307]

                   osdi nn13 booth materials


164.               Email Subject           06/18/13    1:53p "Gmail Last Minute Booth Details Netroots Nation"
                [D1885]

165.                 1:53p [D1885]
                   Gmail Last Minute Booth Details Netroots Nation


166.               Specification           06/19/13 "GitHub - opensupporter/osdi-docs at nn13" [D815]
                GitHub

167.                  github [D815]
                   OSDI Specification. Contribute to opensupporter/osdi-docs development by creat-
                   ing an account on GitHub.


168.                Email Subject           04/10/13       2013-04-10 10:12pm "OSDI Prototype Implementation"
                [D308]      List dev,     Josh Cohen

169.         View on osdi-dev

170.                     Josh Cohen        10:12p [D308]
                   I've written a quick prototype of the Person, and Address API.

171.         The bulk of the labor to build the ecosystem and authorship of the essential IP in the
             spec are Plaintiff's contributions. If the contributions of all other contributors are re-
             moved, the specification core and primary resources are still sufficiently well specified
             for interoperable implementations.

172.         Plaintiff's contributions were based on terms of democracy as a governance model,
             "one company one vote" level playing field to build an external network effect so mar-
             ket players can compete at the level of the market.

173.         The most commonly used parts of the specification are the OSDI Helpers, in particular
             Person Signup Helper, originally authored by Plaintiff in June 2014.


174.               Specification           04/30/14 "person helper * opensupporter/osdi-docs@e4f894d"
                [D1526]      GitHub


175.               Specification          06/12/14 "person_signup_helper move input person attrs under
                person parent key.... * opensupporter/osdi-docs@a1e2904" [D1525]                 GitHub

       IV.B.3.b OSDI Democracy and Progressive Keel

176.         An early accomplishment was negotiating a policy that partitioned participation in the
             committes based on whether a prospective member served progressive candidates
             only, served bipartisan candidates, or was a generic technology provider such as Mi-
             crosoft. This nuanced policy was defined as a matrix, along with democracy as a gov-
             ernance model, approved by vote in August 2013.
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177.    By January 2014, it was obvious that OSDI had already exceeded past efforts progress.


178.          Web Page       01/15/14 "Meet the former Microsoft employee who wants to
           liberate liberal data" [D347]   Washington Post

179.          [D347]

              Meet the former Microsoft employee who wants to liberate liberal data
              In 2012, the [ Washington United for Marriage, the progressive coalition pushing for
              same-sex marriage in Washington state ] raised nearly $10 million and succeeded in
              helping pass a marriage-equality ballot referendum.
              Cohen ran the technology behind the effort --- a task that was about as easy as
              building a jigsaw puzzle using pieces that came from
              a dozen different boxes

180.          [D347]

              Here's an example. One of the ways that Washington United for Marriage raised
              money was by encouraging everyday supporters
              to act as fundraisers. When reporting to the government how much money it had
              pulled in, Washington United for Marriage had
              to somehow aggregate that data from various vendors. The problem was that not
              every provider allowed Cohen to grab the data
              automatically --- and even when he did get a hold of the information, the inconsist-
              encies across spreadsheets made it a chore to
              merge anything

181.          [D347]

              Cohen's background in designing standards comes in handy. And it's why some are
              so optimistic about OSDI after
              having repeatedly tried and failed to implement something like it over the years.

182.          [D347]

              The demand for a solution convinced a handful of powerful organizations in Demo-
              cratic politics to take on the project together.
              The Open Supporter Data Interface (OSDI) ropes in Catalist and NGP VAN, two of the
              heavy hitters in left-wing data and political
              organizing and with strong connections to the Democratic party. Other members in-
              clude Salsa Labs --- one of the most popular
              campaigning tools for smaller groups --- and Blue State Digital, the political consult-
              ing firm founded by alums of Howard Dean's
              2004 presidential bid.

183.          [D347]

              Many of these companies provide one or two staff members to contribute a few
              hours a week to OSDI. Others are hashing out in
              negotiations what the final product ought to look like

184.            Seth Bannon, Amicus [D347]
              "We've never had someone like Josh. He's like, in love with standards in a really bi-
              zarre way," joked Seth Bannon, the chief executive of Amicus and an OSDI partner. "I
              don't think we've had someone who's so purely a standards person. And he's seen as
              impartial, because he doesn't come from any of the providers in this space."
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                              337 meetings functioning as democracy




                                             [D934]


185.    Meeting Agendas, Minutes, Motions and committee business are saved on the
        committee google groups, osdi-dev, osdi-exec, osdi-governance; Lucid Meeting sys-
        tem; and other archives

186.    https://groups.google.com/g/osdi-exec/

187.    https://groups.google.com/g/osdi-governance
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188.            https://groups.google.com/g/osdi-dev

189.            The OSDI specification is written in Markdown on version controlled via its GitHub
                repository.

190.            https://github.com/opensupporter/osdi-docs


       IV.B.4      Action Network Joins

191.            Action Network was founded in 2013 as a digital toolset jointly developed by Action
                Network and AFL-CIO.

192.            Action Network, AFL-CIO, and Nathan Woodhull/ControlShift's strategy depended on
                OSDI failing quickly, or being able to make it fail in order to misappropriate the work
                and economy of scale to get a head start on their proprietary walled gardens. Howev-
                er, OSDI succeeded through 2019, despite Defendants' increasingly complex schemes
                to undermine it.

193.            The state of the OSDI specification before Action Network's first commit, which was to
                add their names to the author list is tagged with "precan"


194.                  Specification      10/24/13 "GitHub - opensupporter/osdi-docs at precan" [D811]
                      GitHub

195.                     Josh Cohen, OSDI [D811]
                       OSDI Specs, prior to Action Network Participation. Branch precan

196.            Action Network joined the project in November 2013, implemented the specification
                using source code provided by plaintiff (copyright registration Txu 2-386-143).


197.                  Email Subject     09/17/13       2013-09-17 4:27pm "intros" [D1960*]   Beth Becker

198.                     Beth Becker     4:27p [D1960]
                       Josh...meet my friend Jason Rosenbaum of Action Network Jason...meet my friend
                       Josh Cohen. You've probably heard rumbling about the common API project and
                       Josh is involved with that. Thought you two would have much to chat about :)

199.                     B. Becker     4:28p [D1960]
                       Josh- meet my friend Drew Bernard of Action Sprout Drew...meet my friend Josh Co-
                       hen who is working with a small group of people on an open API thing. I'll let y'all
                       chat :)

200.                     Jason Rosenbaum        5:02p [D1960]
                       Thanks Beth! Nice to meet you, Josh. I was talking with Tim Anderegg a bit last week
                       about the project, it's definitely something we're very interested in as we make plans
                       for our API.

201.                     Josh Cohen      2013-09-26 12:03am [D1960]
                       Great, including Tim.
                       First off, congrats on the launch of your toolset. It's great to see more affordable pro-
                       gressive tech becoming available.
                       As far as your API plans, what can you share about your timeline? Our goal is to have
                       a stable v1 of the API spec by the end of the year, and a work-in-progress or 'beta'
                       released in mid October.
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                      I want to make sure that, as we prepare these milestones, that we've made tech-
                      nical choices and address scenarios that are reasonably aligned with your architec-
                      ture. I want to make sure that the API is reasonably cheap for you to implement.
                      There are a number of ways for you or your staff to be involved in the project.
                      Would it make sense to get on the phone or should we continue in email?
                      Josh

202.                     Brian Young    9:47a [D1960]
                      Hey Josh, Jason's off getting married this weekend, so he's out of touch for a bit hap-
                      py to chat in some broad strokes about this, but Jason's our Director of Tech and re-
                      ally the guy to deal with the timeline and implementation on it. I share his interest in
                      your project, though! We're moving to building out some APIs, as Jason mentioned.
                      Brian
                      PS Hi, Beth!




       IV.B.5      VC New Media Ventures / Uni-
                   versal Adapter Proposal

203.            Via   email   on   December       11th,    2013,
                Woodhull communicated a plan where he
                and partners applied for funding from New
                Media Ventures to build          a "universal
                adapter".


204.                  Email Subject        12/11/13       2013-12-11 10:36pm "activity" [D1991*]      Nathan
                   Woodhull

205.                     Nathan Woodhull      10:36p [D1991]
                      applied for funding from New Media Ventures for a bunch of things, a small chunk of
                      which was funding to write a "universal adapter" to provide a common API binding
                      to a few CRM vendors that their member organizations use... we'd likely do the im-
                      plementation work if they were to get funding... I'd look to OSDI spec for a common
                      interface.

206.            If OSDI succeeded, then this would not be a viable business because applications
                could integrate directly with any compliant platform.

207.            In order for the universal adapter to be viable for venture capitalists to fund OSDI would
                need to fail. Thus Woodhull had motive to destroy OSDI.

208.            It was only after this was accomplished with racketeering and extortion, that VCs
                began funding "universal adapter" style products. This includes Gerard Niemera's
                Lightrail in 2019, which describes itself with the same term "universal adapter", and
                Woodhull's DaisyChain in 2023.



209.


210.            In March 2014, the organization expanded by creating a new Executive Committee,
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            which was a subset of the Governance Committee, with the purpose of sharing power,
            workload and leadership positions.

211.        The positions and elected representatives:

       •    VP of Marketing Seth Bannon Amicus

       •    VP of Membership Ray Suelzer UFCW

       •    VP of Education Tim Anderegg NOI

       •    VP of Logistics Drew Miller NGP VAN

       •    VP of Endorsements Gayatri Bhalla Catalist

       •    VP of Outreach Jason Rosenbaum Corporate Action Network

       •    Chair Josh Cohen


212.        Jason Rosenbaum/Action Network was elected as VP of Outreach, which had
            responsibility for outreach within the community.

213.        This gave Action Network the power to control perceptions within the community,
            which they abused by misrepresenting the effort.


214.              Email Subject       03/07/14       2014-03-07 1:07am "Motion Appoint Executive Officers
               and instantiate Executive Committee" [D230*]        Josh Cohen

215.                 Josh Cohen       1:07a [D230]
                  Please cast your votes by Tuesday March 11, 5pm Eastern Time.

216.                 J. Cohen      1:07a [D230]
                  https://docs.google.com/document/d/1AKKOzUJVeWr93b9docXhAimvjxaK4Zwwsh
                  Acbn 4O5Es/edit?usp=sharing

217.                 Seth Bannon      3:12a [D230]
                  vote yea

218.                 Jason Rosenbaum        7:37a [D230]
                  aye!

219.                 Tim Anderegg       2014-03-10 10:55am [D230]
                  NOI votes yes.

220.                 Benjamin Stein     10:57a [D230]
                  Mobile Commons votes AYE to all

221.                 Charles Parsons     11:03a [D230]
                  Salsa votes Yes.

222.                 Nathan Woodhull       11:05a [D230]
                  YES!

223.                 Raymond Suelzer       11:25a [D230]
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                       Ufcw votes yes to all. Sent from a device in my hand, capable of accessing all infor-
                       mation known to humynkind. Please forgive typos.

224.                         Anthony Whittaker     11:29a [D230]
                       Awesome.

225.                         Luke Peterson    12:16p [D230]
                       aye!


       IV.B.6      Action Network Implements

226.            Action Network launched their OSDI platform implementation in April 4, 2014.


227.                   Email Subject         04/08/14   2014-04-08 11:27am "[osdi] Our OSDI API has launched!"
                    [D403]     Jason Rosenbaum

228.                         Jason Rosenbaum, Action Network       11:27a [D403]
                       Hey folks, wanted to let everyone know that we officially launched our OSDI API last
                       week!Check out the documentation and browser here:
                       LINK
                       And let me know if you want an API key!


       IV.B.7      Broadstripes Joins

229.            On 4/21/2014, Broadstripes joins, who stated that they became aware of OSDI through
                the AFL-CIO. Broadstripes would later serve as a proxy during the racketeering and ex-
                tortion.


230.                   Email Subject         04/21/14   2014-04-21 3:52pm "MOTION to approve BroadStripes as
                    Tech Committee member" [D2002]            Josh Cohen


       IV.B.8      Netroots Nation Joins

231.            With Action Network Having benefited from the existing work, the vulnerability identified
                (OSDI's progressive keel) which they would use in their attempt to undermine the coali-
                tion and misappropriate the work, Netroots Nation joined the conspiracy, waiting for
                that to happen.


232.                  Email Subject          05/02/14    2014-05-02 12:34am "welcome to osdi" [D1962*]    Josh
                    Cohen

233.                         Josh Cohen      12:34a [D1962]
                       Hi Raven,
                       I just wanted to drop you a quick note and say hello and that we're happy Netroots
                       Nation has come onboard in our customer coalition.
                       One thing that's available to you if you wish, is give an overview of your integration
                       scenarios/wishes/challenges to the technical committee. We like hearing from cus-
                       tomers/users so we know we're solving the right problems well.
                       If you are ever interested in that, let me know and we'll put you on the agenda. Our
                       committee teleconferences are Thursdays at 3pm eastern.
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                       This is especially cool because OSDI made its public coming out at Netroots Nation
                       2013, and we're looking forward to this year's conference. Our fingers are crossed for
                       the panel selection.
                       If you have any questions, feel free to contact me.

234.                     Raven Brooks     11:42a [D1962]
                       Thanks for the note Josh and we'll let you know if we've got a problem we want to
                       put on the agenda.
                       Also really love hearing about the origins of OSDI. Didn't realize that was the case so
                       that's awesome!


       IV.B.9      New Media Ventures Partners with Netroots Nation

235.            On July 2, 2014, Plaintiff received email [D1992] from Mary Rickles of Netroots Nation
                announcing "New Tools Shootout" in partnership with New Media Ventures, which was
                to take place at Netroots Nation 2014. OSDI was a contender for the category "Best
                Startup Technology".


       IV.B.10 Early Racketeering

236.            Once Action Network implemented, they attempted to undermine the project using
                parallel conduct with Nathan Woodhull and the DNC to antagonize the dominant
                player, NGPVAN, while the DNC lured NGPVAN away with support for NGPVAN's pro-
                prietary API and attempted to recruit Plaintiff to their cause.

237.            This attempt failed, Plaintiff declined and decided he would either secure an
                implementation commit-ment from NGPVAN, which he did, or abandon the project.
                and Plaintiff also insisted that Action Network promised to respect OSDI's democracy
                and not undermine it, which they affirmed on stage at SXSW 2015.

238.            Plaintiff spent between August 2014 and February 2015 diligently working to reverse the
                damage, succeeding and securing an implementation commitment that NGPVAN fol-
                lowed through on.


239.                   News     08/20/14 "NGP VAN Launches Proprietary Innovation Platform" [D424]

240.                      Stu Trevelyan [D424]
                       The new set of APIs for the NGP VAN products are built on the easy-to-use RESTful ar-
                       chitecture. This allows campaigns and companies to pull information from, and push
                       information to NGP VAN, and use our services.

241.                      S. Trevelyan [D424]
                       VAN APIs are behind the recently released DNC Arbor Project, the next generation
                       voter registration toolset, and MiniVAN, the iOS and Android apps that power mobile
                       canvassing

242.                      S. Trevelyan [D424]
                       NGP VAN released part of the platform in partnership with the Democratic National
                       Committee, as part of the DNC's "Project Ivy."

243.            NGPVAN had gone down the proprietary API route.

244.            The evening of August 20th, 2014, Plaintiff chatted with Jason Rosenbaum via chat.
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245.           Chat    08/20/14     8:53p "NGP VAN's Innovation Platform Event" [D420]

246.             Josh Cohen       8:53p [D420]
               Did u watch the van event?

247.             Jason Rosenbaum        8:53p [D420]
               Yep

248.             J. Cohen      9:30p [D420]
               Imho we want the ecosystem api to be controlled by community/democracy not
               the party+van

249.             J. Rosenbaum       9:30p [D420]
               True. Though that's a long term project. I'd settle for being one of two for now...

250.             J. Cohen      9:31p [D420]
               One of two?

251.             J. Rosenbaum       9:31p [D420]
               Two widely used progressive Apis

252.    Jason Rosenbaum then attempted to convince Plaintiff that the project had "failed"
        and recruit Plaintiff to work at Action Network to build their proprietary API and ecosys-
        tem.

253.    Plaintiff declined and decided that he would either secure an implementation
        commitment from NGPVAM, or abandon the project.

254.    Plaintiff worked his way up NGPVAN's management to meet with CEO Stu Trevlean and
                  .                                                           w        w        ,    G V   ’
        VP of Research and Development over Google Chat:

255.             Josh Cohen       2014-12-13 12:13pm [D1505]
               should we prep at all before I meet with stu tomorrowq?

256.    Drew Miller, VP of Research and Development, cited the DNC support as a justification.

257.             Drew Miller    12:29p [D1505]
               the NGP VAN Next stuff and API portal for us / DNC got a pretty good response

258.             D. Miller   12:32p [D1505]
               DNC wants to do another panel talking about it

259.    Already in December of 2014, OSDI had 1 platform in an adjacent market, and its
        ecosystem was bigger than NGPVAN's REST API ecosystem. The dominant ecosystem
        was NGPVAN's based on SOAP/XML, the previous generation of technology.

260.             D. Miller   12:50p [D1505]
               I did get a question from Aharon that was basically "why don't we just take over
               OSDI"

261.             D. Miller   12:50p [D1505]
               he wants to be the leader on things
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262.                D. Miller   12:50p [D1505]
                  his view on OSDI is that it is most valuable if we are like driving adoption of it and
                  clearly the best implementer etc.

263.    At various times, the big gorillas tried to gain dominant control over OSDI.

264.    Plaintiff met with Stu Trevalyan in December 2013, securing an implementation
        commitment from NGPVAN. Plaintif learned from Stu that the reason NGPVAN stepped
        back from OSDI was because Action Network antagonized them by grossly mistaking
        the Progressive Keel policy and treated OSDI as its own proprietary API.

265.    Plaintiff confronted Jason Rosenbaum about this


266.              Chat      12/19/14     2014-12-19 3:53pm "Josh reports back on meeting with VAN CEO"
           [D436]


267.                Josh Cohen         3:59p [D436]
                  Had my meeting with stu trevalyan today. You are famous for your nationbuilder is
                  welcome statement

268.                Jason Rosenbaum          3:59p [D436]
                  Lol

269.                J. Cohen     4:03p [D436]
                  It was a productive convo. He signaled support for a dialog about what changes
                  osdi needs to make for van to do it. We're going to meet again in Jan. he wants a
                  deeper discussion on governance, ie your statement

270.                J. Rosenbaum         4:30p [D436]
                  Sure. I mean, I meant they could join industry. But we can change our policy too.

271.    Plaintiff insisted that Action Network promise not to undermine the project and to
        respect OSDI's democracy. Action Network made these promises and affirmed this in
        public, on stage at SXSW 2015.


272.          Conference Session    03/13/15   2015-03-13 11:00am "Turbocharging Social
           Activism with Data Standards,Turbocharging Social Activism with Data Stand-
           ards | SXSW 2015 Event Schedule" [D482] SXSW Schedule 2015, sxsw;    Sxsw


273.               Audio        03/13/15       11:00a "Turbocharging Social Activism with Data
           Standards" [T105]         ;    Jason Rosenbaum, Action Network;            Gayatri Bhalla, Catal-
           ist;         Josh Cohen, Self;   Tim Anderegg, Independent

274.                Jason Rosenbaum          +18:21 [T105]
                  I think the way the way people implement is really within the standards process. We
                  are very intentional about the process. It's a democratic structure and where most of
                  the work gets done in the tech committee. We have people who make proposals
                  and make motions and we vote on it.

275.    Defendants treated OSDI's nuanced "Progressive Keel" policy as a vulnerability to exploit
        to instigate a conflict that would antagonize NGPVAN, in hopes of misappropriating
        OSDI and its ecosystem as Action Network/AFL-CIO's proprietary walled garden.
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                                                     Exploit Progressive Keel


       IV.B.11 Exploiting Vulnerabilities

276.         From the outset Nathan Woodhull, Jason Rosenbaum, and Brian Young aka JBN were
             exploiting vulnerabilities to induce responses they could misrepresent. To Plaintiff, JBN
             portrayed NGPVAN as a bad actor for abandoning the standard and going down the
             proprietary route on the front stage. H w              ,           ,            k       G V   ’   -
             tions on the back stage.

277.         Despite their promises, Defendants covertly continued their racketeering and
             exploitation of project vulnerabilities t avoid appearing homophobic or hypocritical.
             This included a pattern of wire fraud to misrepresent copyright authorship and later, ex-
                                                     w                                           ’     ,
             and property to facilitate robbery by extortion.

278.         Robyn Swirling was employed at Action Network May 2014 - Sep 2015, working
             alongside Jason Rosenbaum on the Action Network product. Both were colleagues at
             Progressive Change Campaign during the 2012 election cycle.


279.               Conference Session     07/16/15 2015-07-16 3:45pm "Master Class: Action
                Network,Master Class: Action Network | Netroots Nation" [D847] Netroots Na-
                tion,     Netroots Nation;      Netroots Nation;    Action Network, Coop, Coop

280.                     N. Nation    3:45p [D847]
                   Robyn Swirling is the Digital Organizer at Action Network, where she trains new users
                   on Action Network's toolset and works with partners to develop their digital strategy.


       IV.B.12 Platform 2 NGPVAN

281.         In 2015, OSDI had platform implementations from the dominant player, NGPVAN, and
             new entrant in an adjacent market, Action Network. Plaintiff contributed source code
             in order to mitigate a self-preferencing technical architecture.

282.         The effect of this was that an application vendor could write an OSDI connector, and
             gain a 2x ROI for interoperability with the dominant player, which was a requirement, as
             well as a fledgling new startup that was starting from zero.

283.         In September 2015, NGPVAN launched OSDI their implementation.


284.                    Email Subject         09/09/15    2015-09-09 10:43am "[osdi-gov] VAN's OSDI
                Implementation launched this week!" [D312]              List dev,   Shai Sachs

285.                     Shai Sachs     10:43a [D312]
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                   Hi friends, I'm pleased to report that we launched our OSDI implementation this
                   week! The text from our VAN "What's New" post appears below, and I think there'll be
                   a little more hoopla later this month or next. In the meantime, enjoy all that HALly
                   goodness!


286.              Web Page      09/12/15 "NGP VAN Developer Portal " [D1801]

287.        NGPVAN's web page for its implementation of OSDI Person Signup Helper

288.              [D1801]

                   POST/people/person_signup_helper
                   Signup a person as a new supporter
                   Description
                   This endpoint makes functionality available, thereby allowing you to create new
                   supporters in the VAN. The endpoint only creates new MyCampaign records, and is
                   therefore only available in MyCampaign mode.
                   Request
                   The add_tags property should list the ID of tags that should be added to the created
                   MyCampaign record.




                                        "VAN Person Signup Helper" [D1801]


289.        Plaintiff contributed source code to NGPVAN's implementation to mitigate a self-
            preferencing technical architecture resulting in greater functionality in its OSDI endpoint
            than its proprietary API endpoint. This reversed the preferencing as application integra-
            tors would get more functionality by integrating with NGPVAN through its OSDI end-
            point than its proprietary API.


       IV.B.13 AFL-CIO Joins

290.               Email Subject   02/03/16 2016-02-03 2:49pm "MOTION to approve AFLCIO and
                Progressive Drafting Committee member" [D507] List governance,
291.        View on osdi-dev

292.                 Josh Cohen     2:49p [D507]
                   MOTION to approve AFLCIO and Progressive Drafting Committee member
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                   Jeff Mann will be their representative.
                   Please cast votes by Friday 5pm eastern

293.                     Jason Rosenbaum        2:58p [D507]
                   Aye!

294.                     Seth Bannon      2:59p [D507]
                   Aye!

295.                     Shai Sachs     3:26p [D507]
                   An AYE vote makes us strong!

296.                     Beth Becker     4:00p [D507]
                   Aye!

297.                     Joe McLaughlin      6:47p [D507]
                   Aye

298.                     J. Cohen     2016-02-06 12:15am [D507]
                   MOTION Approved. We are now OSDI Local 0xff


       IV.B.14 Self-preferencing / Monopsony / FUD

299.                            Action Network and the AFL-CIO used a self-preferencing scheme to
             reap benefits while undermining their platform competitors ability to benefit equally. Us-
             ing parallel conduct:

        •    Exploit self-preferencing technical architecture in NGPVAN's OSDI implementation

        •    Abuse AFL-CIO's monopsony power to control NGPVAN's resource allocation to ensure its pro-
             prietary API had more features than its OSDI endpoint

        •    Used Fear Uncertainty Doubt (FUD) to discourage application vendors from trusting NGPVAN's
             OSDI implementation


       IV.B.15 Action Network/AFL-CIO Benefit

300.         Action Network itself used NGPVAN's OSDI endpoint to integrate with NGPVAN, to
             support required scenarios for customers including the AFL-CIO.


301.               Web Page           03/04/19 "Integrating with VAN events" [D452]

302.               [D452]

                   Integrating with VAN events

303.                  Action Network, [D452]
                   When you create events in Action Network (or upload events as part of an event
                   campaign) you can enter a VAN ID for each, after which we will send all subsequent
                   RSVPs to the corresponding VAN event as signups using VAN's OSDI-compliant API.


304.               Web Page           05/18/16 "ActBlue OSDI Implementation Launches with DailyKos"
                [D397]
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                                   NGPVAN Person Signup Helper [D397]


305.           Nate Thames, Technical Services Executive Director at ActBlue [D397]
             "We're very excited to be taking a big step forward in helping our users move data
             more easily," said Nate Thames, Technical Services Executive Director at ActBlue.
             "Our new Action Network-OSDI integration is the latest in a string of API integrations
             we've done in concert with the campaigns and organizations who use our software.
             They're always always looking for great organizing technology, and we believe get-
             ting your data from one of those systems to another shouldn't be a chore, and it
             shouldn't be a paid upgrade. Our movement wins when we work together, and
             when our technology works together."

306.           Jason Rosenbaum, Action Network [D397]
             "We like to focus on doing one thing well --- digital organizing --- which means our
             toolset needs to integrate with other tools that do other things in order for our part-
             ners to do their work effectively," Rosenbaum said. "OSDI allows us to build up that
             ecosystem of tools, all sharing data effectively and automatically. Integrations like
             ActBlue, which has been highly requested by our partners, really supercharge our
             toolset and expands our market."

307.        [D397]

             ActBlue's adoption of OSDI's fundraising profile allows all OSDI implementers to easily
             add ActBlue data to their applications.
             Technology vendors can explore OSDI's growing library of API resources on Github. If
             you are a progressive customer or a vendor that serves progressive customers and
             you'd like to learn about ways to participate in OSDI, sign up here.


308.         Osdi Pr    10/12/16     2016-10-12 "Progressive Tech Edge Grows with Increased
          OSDI Adoption" [D390]
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309.                  Adriel Hampton, OSDI     12:00p [D390]
                  One big difference this round is the availability of OSDI and its growing library of doz-
                  ens of lightweight programming resources for organizers and technologists looking to
                  hit the field faster. In recent months, both ActBlue and NGP VAN increased support
                  for OSDI

310.                  Jason Rosenbaum, Action Network          12:00p [D390]
                  Jason Rosenbaum, Director of Technology at Action Network, recently worked with
                  NGP VAN's OSDI hooks for events to provide a solution that lets the AFL-CIO work
                  more nimbly between the two systems.

311.                  J. Rosenbaum     12:00p [D390]
                  "OSDI's interoperable API specification really saved us time and money, cutting ex-
                  pected development time for VAN events integration from two weeks down to one,"
                  Rosenbaum said. "Being able to get features like this into the hands of our partners
                  more quickly is a big win for us and for them."

312.                  A. Hampton     12:00p [D390]
                  OSDI is supported by large-scale organizing platforms and other tools that support
                  campaign organizing, including data append vendor Accurate Append, and the
                  SMS and calling software CallHub.
                  The 48-member OSDI coalition includes Netroots Nation, the Sierra Club, Demo-
                  crats.com, and, as an industry supporter, Microsoft.

313.                  Josh Cohen     12:00p [D390]
                  OSDI s first steps were at RootsCamp 2012 beginning with an exciting panel of ex-
                  perts and customer discussion on the topic, said founder and chair Josh Cohen.
                  Since then, OSDI has completed our Specification V1 and achieved significant
                  adoption in the industry. Our coalition has grown to almost 50 members as well as
                  multiple liaisons...

314.                  A. Hampton     12:00p [D390]
                  OSDI began as an outgrowth of the 2012 Washington United for Marriage campaign
                  after proponents experienced frustrations due to a lack of interoperability between
                  the hodgepodge of tools needed to win progressive victories. After an initial conver-
                  sation instigated by Josh Cohen, the director of technology for that campaign...


       IV.B.16 2X ROI External Network Effect

315.        This created a 2x ROI for application vendors, who could create one connector and
            gain interoperability with the dominant platform and new entrant Action Network.

316.        Plaintiff is aware of the following OSDI implementation.

317.        NGPVAN, Action Network, CallHub, Accurate Append, Mobile Commons, Act Blue,
            New/Mode, CiviCRM, New/Mode, Mobilize, MoveOn Spoke, MoveOn Internal Tools,
            ProgCode Resistance Calendar, ProgCode National Voter File, ProgCode Maps for
            Change, RiseUp.

318.        OSDI also had momentum and was considered the default approach for APIs in the
            market.

319.        The effect of this was that when the third platform implemented OSDI, they would also
            have the largest application ecosystem, and application developers wouldn't need to
            code a connector specific to the new platform.
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       IV.B.17 Platform 3 PDI

320.        At Netroots Nation 2017, PDI released its new national platform meant to pursue the
            national market beyond California. It subsequently attempted to join OSDI and imple-
            ment, allowing PDI to compete at the level of the market. However, it was locked out
            as a result of Defendants' racketeering activity.

321.        Netroots Nation 2017 Launch Party


322.              Email Subject      07/13/17   2017-07-13 3:02pm "Killer Mike's performing at Netroots!"
               [D385*]   Eric Thut




                                                "D385Ppdiparty" [D385]


323.                 Eric Thut via Netroots Nation      3:02p [D385]
                  Dear Josh,
                  I've got a fun update for you: Killer Mike is performing at Netroots Nation!
                  The rapper and activist will perform at PDI's National Launch Party, our official Thurs-
                  day night event. And Ashanti "The Mad Violinist" Floyd will open for him.
                  The event, celebrating the launch of PDI's National Software Platform, is open to all
                  Netroots Nation badge holders and will be held Thursday night at Southern Ex-
                  change at 200 Peachtree.

324.        On February 1, 2018, PDI had become ready to join OSDI.


325.              Email Subject      02/01/18   2018-02-01 7:43pm "[osdi-exec] PDI" [D417*]    Osdi Exec

326.                 Joe McLaughlin      7:43p [D417]
                  I'm meeting Gary Brown, the CEO of Political Data Inc AKA PDI a week from Saturday
                  for breakfast re some Dem and Working Families stuff. Met him at Netroots Nation too
                  and have been trying to get together since.
                  Don't know where we ever got with PDI joining OSDI, but seems like now is the time.
                  Russ, help with that would be great, also Josh, whoever else.
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327.    By implementing OSDI, PDI would be able to compete at the level of the market by
        starting with the existing ecosystem of OSDI applications which would work with PDI's
        OSDI implementation with little or no engineering work.

328.             J. McLaughlin      11:18p [D417]
              Right yeah I'll point out the benefits of connecting to the OSDI 'ecosystem' - CallHub,
              the other already-implementing orgs. Cool.
              On Feb 1, 2018 5:49 PM, "Josh Cohen" wrote:


329.          Email Subject      03/14/18      2018-03-14 2:32pm "[osdi-exec] Re: PDI / OSDI Follow
           Up" [D1522*]   Osdi Exec

330.             Nic Zateslo, PDI    11:02a [D1522]
              Thanks. Gary and I will work on this over the next few days. We will have it back in
              time for next week's call.

331.             Sonya Reynolds      2:32p [D1522]
              Awesome! Looping in OSDI exec.

332.    CallHub, an phone and text application was eager to see PDI implement, as it would
        allow CallHub to integrate with 3rd platform PDI with little or no engineering work.


333.          Email Subject      03/16/18      2018-03-16 1:16am "PDI" [D318*]   Josh Cohen

334.             Augustus Franklin     1:53a [D318]
              Hi Sonya,
              Yes, we'd love to integrate with PDI over OSDI. If they implement lists, people and
              events, they'll get p2p texting integrated with PDI for free.
              best, Augustus

335.             S. Reynolds     2018-03-21 4:22pm [D318]
              I think they'd be super open to that. What's the next step there?

336.    In May 2018, PDi began looking for resources to build its OSDI implementation.

337.             S. Reynolds     2018-05-07 5:32pm [D318]
              Good news! PDI is actually looking to hire someone to build them an OSDI compliant
              API. Know anyone who would be a good fit for this?
              Sonya

338.    Sonya never followed up with Plaintiff. At RootsCamp 2018, Plaintiff made contact with
        PDI again and referred them to Sonya and Brady Kriss.


339.          Email Subject         12/01/18      2018-12-01 1:41pm "PDI/OSDI connection" [D365*]
           Joshco

340.             joshco   1:41p [D365]
              Hi Emily,
              Good talking to you at Roostcamp. I want to connect you with Brady Kriss, OSDIs VP
              of Membership, and Sonya Reynolds, our esteemed Chair.
              We talked about 2 different topic, one was my own integration work, and briefly
              touched upon OSDI. As you are working on your own API, OSDI is a good foundation.
              Its also a good way to leverage community driven API design..
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                   OSDI is also a great way to create Better interop with other systems and a great way
                   to do that is to join OSDI!
                   You mentioned that your colleague Nick was the perhaps the right contact, could
                   you introduce Sonya and Brady to Nick?
                   Brady, Sonya, Meet Emily Zahn, from PDI.
                   Brady and Sonya can take it from here.

341.                 Sonya    1:50p [D365]
                   Everyone on these chains already have a working relationship, so introducing us to
                   people we already know makes it look like osdi is unorganized or that you cant defer
                   to the current chair.

342.                 Sonya    1:53p [D365]
                   Awesome - Id love to pick up the conversation about pdi joining OpenSupporter.
                   Nic, Gary and I spoke earlier this year, we followed up with the governance mem-
                   bership questions and were waiting to hear back on the classification of PDI because
                   in California yall are bipartisan and not Dem/progressive only. Its possible to join as
                   an industry tech instead, we just needed the response to the membership question
                   to move forward. Ill bump that chain on Monday.
                   Sonya

343.        There was no further activity and PDI was locked out.

344.        In 2019, Plaintiff provided source code for MoveOn's Spoke text messaging tool
            implementing OSDI. He also provided source for a CiviCRM connector.


345.               Web Page          11/14/19 "Spoke / VAN / EveryAction / Action Network
               Integration,Spoke / VAN / EveryAction / Action Network Integration Open Sup-
               porter Data Interface" [D475]

346.                 Josh Cohen [D475]
                   FROM OSDI Department of Customer Relations
                   TO Progressive Interoperability Special Agents
                   RE Spoke / VAN / EveryAction / Action Network Integration
                   UPDATE 11/2019 This worked with CiviCRM's OSDI endpoint as well.

347.                 OSDI [D475]
                   Spoke / VAN / EveryAction / Action Network Integration,Spoke / VAN / EveryAction /
                   Action Network Integration Open Supporter Data Interface

348.        At this point, Applications that supported OSDI could interoperate with Action Network,
            NGPVAN, and CiviCRM, providing a 3x ROI. Once PDI implemented that would be a 4x
            ROI.

349.        Defendants racketeering activity locked out PDI.


       IV.B.18 Mitigate Vertical Agreements

350.        In July 2017 Raffi Krikorian, newly hired DNC CTO reached out to Plaintiff and through
            February 2018 they negotiated a plan to reduce support costs in DNC's marketplace of
            products and increase customer choice by encouraging products to comply with the
            OSDI standard to be part of the marketplace. This reduces the anti-competitive effects
            of vertical agreements with product vendors, and helps democratize access to political
            technology resources.
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351.        Plaintiff was introduced to Raffi Krikorian, DNC CTO on July 21st, 2017.


352.                Email Subject      07/21/17       2017-07-21 10:22am "Raffi <> Josh" [D28*]   Raffi

353.                  Rapi Castillo, Progressive Coders        10:22a [D28]
                    Raffi, would like to introduce Josh Cohen, Chairman of OSDI, an amazing data inter-
                    face that is now being used by Action Network, MoveOn, and a lot of grassroots
                    progressive applications.

354.                  Rapi Castillo     10:22a [D28]
                    Josh, I'd like to introduce Raffi Krikorian, CTO at the DNC. Raffi mentioned a move on
                    interoperability and thought that your awesome work and the committee you have
                    led with Open Supporter Data Interface (OSDI) would be a great thing to check out.

355.                  R. Castillo     10:22a [D28]
                    [OSDI is] an amazing data interface that is now being used by Action Network,
                    MoveOn, and a lot of grassroots progressive applications.

356.                  Raffi Krikorian, DNC CTO         2017-07-24 12:35pm [D28]
                    hey josh. would love love love to get a braindump and figure out how we can help
                    you? i think the DNC is in this unique position where we can help in lots of different
                    ways, i just am trying to understand which is the highest leverage places i can press
                    on in this new position.

357.                  R. Krikorian     12:35p [D28]
                    any chance we could meet up before hand in person on thursday?

358.        Plaintiff met with Raffi Krikorian and Liz Jaff on July 27th, 2017 at Civic Hall in New York
            City. Raffi asked Plaintiff to prepare a proposal for how OSDI can benefit the DNC and
            progressive customers.


359.                Email Subject       07/27/17       2017-07-27 "dnc cto Invitation Civic Hall Meeting Raffi
                Krikorian DNC Thu Jul 27 2017 6pm 7pm Josh Cohen" [D760]            Elizabeth Jaff

360.                  12:00a [D760]
                    dnc cto Invitation Civic Hall Meeting Raffi Krikorian DNC Thu Jul 27 2017 6pm 7pm
                    Josh Cohen

361.        That evening, Plaintiff sent OSDI's then-current governance document to Raffi Krikorian,
            Liz Jaff and Micheal Fischer.


362.                Email Subject      07/27/17       8:43p "OSDI Governance" [D15*]     Josh Cohen

363.                  Josh Cohen        8:43p [D15]
                    Here's our current OSDI governance policy that defines out processes and rules. at-
                    tached.

364.                  Michael E Fisher      2017-07-28 12:01am [D15]

       •    Riley

                    Thanks for sending!

365.                  J. Cohen       2017-07-30 6:47pm [D15]
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               Can you tell me who the woman was who met with us? She was a person of color
               and i think she said she was on the board of netroots. Id like to include her in this
               thread.

366.             Raffi Krikorian     7:18p [D15]
               probably liz jaff

367.             J. Cohen      7:43p [D15]
               +liz
               Attached is the current OSDI governance document.
               My next steps are to analyze our discussion and the follow-on group discussion to
               identify potential changes or actions to support the ecosystem model the DNC de-
               scribed.
               Once I have something I'll circulate for review.

368.             Elizabeth Jaff     8:10p [D15]
               This is great thanks josh!

369.    Plaintiff followed up:


370.           Email Subject       08/27/17   2017-08-27 "DNC Followup" [D329]    Josh Cohen

371.             Josh Cohen        2:27a [D329]
               you mentioned you were coming to NYC soon. When is/was that?

372.             Liz Jaff, DNC      1:28p [D329]
               Adding Sally
               Raffi will be in NYC soon
               Sally josh runs OSDI an initiative raffi is very interested in this open data option
               Let's make sure we stay connected on what's next. Fisher is lead for open API so
               good to flag for him so he stays connected with josh too

373.             Sally Marx, DNC       2017-08-28 9:49am [D329]
               Raffi will be in NYC on 9/18. Any chance you are free to meet with him then? If you
               don't mind, we'd also like to have Fisher join. As Liz mentioned, he is the lead on our
               team for open API.

374.             J. Cohen      2017-09-05 8:31am [D329]
               Yes, this sounds great. Let me know how the schedule plays out

375.             S. Marx     2017-09-07 9:53am [D329]
               Hi Josh---thanks for your patience here. We've been wrestling a bit with Raffi's travel
               schedule (which changes daily), so I think for the time being, it makes sense for you
               to sit down with Fisher and Riley from our team. They are based in NY.

376.             J. Cohen      2017-09-13 11:35am [D329]
               Hi Micheal,
               When is a good time for us to meet?

377.             Michael E Fisher, DNC        2017-09-14 1:10pm [D329]
               Riley and I will both be back in NY next Thursday and Friday if that works for you.
               Sadly, I don't think we have much to share since yet since we last spoke in August
               we're still getting spun up over here. But always happy to have you over to our New
               York office to catch up.

378.             J. Cohen      2017-09-16 12:01pm [D329]
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              That works for me, and I'd love to see the new digs.
              I suggest one of our goals should be on the interop/backpack plan. When we met
              with Raffi in NYC and discussed OSDI, I offered to create a draft proposal laying out
              how OSDI fits into the backpack as well as how the DNC would manage it.
              It would be great to meet with you, get feedback on the proposal, incorporate any
              suggestions etc before we bring it to Raffi.

379.             J. Cohen       2017-09-22 12:19am [D329]
              Michael, didn't hear back from you. when works for you? Next week can work too,
              my freebusy Pick your favorite slot

380.             J. Cohen       2017-09-26 1:04am [D329]
              Hi Micheal, can you let me know what works for you?

381.             M. Fisher     1:05a [D329]
              Hey Josh, sorry for the delay.
              How about next Wednesday 10/4 or Thursday 10/5?

382.             J. Cohen       1:06a [D329]
              Lets do Wednesday. How about 2-4p?

383.             J. Cohen       2017-10-03 8:33am [D329]
              Micheal, whats the address of your office? I'll come by wednesday at 2

384.             L. Jaff     11:49a [D329]
              Josh let's hold on this till after VA

385.             L. Jaff     12:03p [D329]
              Let's plan next week tamaira please reach out to Josh to schedule a call with me
              and him

386.    Plaintiff met with Liz Jaff on October 11, 2017 to discuss the proposal Plaintiff was
        working on.


387.          Document         10/11/17 "dnc liz joshco" [D809]

388.            Josh Cohen [D809]
              MEETING INVITATION
              liz/joshco - screenshare only
              for screenshare only
              Wednesday, October 11, 3 PM - 3:30 PM US/Eastern

389.    Plaintiff prepared the proposal which contained the following points:


390.          Specification      02/01/18 "OSDI DNC Cable 1" [D1775]

391.          [D1775]

              The DNC seeks to provide technical assistance, integration services and easy access
              to a backpack of technologies in the progressive ecosystem to campaigns and oth-
              er customers.
              The Open Supporter Data Interface (OSDI) provides a reasonably complete com-
              munity driven simplifying blueprint / integration code of conduct, a developer sup-
              port resource, and a process and infrastructure to steward its evolution in which the
              DNC can have a voice in leadership. In effect, OSDI can serve as a shared develop-
              er support and API engineering team for the party and the progressive community.
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392.               [D1775]

                    By steering prospective technologies seeking to enter the backpack towards OSDI
                    and the integration profiles, DNC can avoid an unbounded matrix of possible API in-
                    teractions which can be prohibitively expensive to develop for, manage and sup-
                    port.

393.               [D1775]

                    This approach is already paying off with growing number of implementers including
                    but not limited to ActBlue, Action Network, NGP VAN, CallHub, TheDataBank, Hero,
                    Mobile Commons, as well as projects in ProgCode and other volunteer communities.

394.               [D1775]

                    Organizationally, OSDI's structure and governance process descend from industry
                    and international standard setting bodies like IETF, DMTF, W3C, OMA, ANSI, ISO. Since
                    OSDI's goal is to help progressives and Democrats, we also maintain a progressive
                    keel.

395.               [D1775]

                    All decisions in OSDI are done democratically by parliamentary process, and in an
                    egalitarian way. "One Member Organization, One Vote" is our mantra. Within the
                    same committee, a small company like ShareProgress or TheDataBank, or a volun-
                    teer driven organization like RagTag and Progcode, has the same voting power as
                    larger and established companies like VAN, Catalist, etc.

396.               [D1775]

       1.    DNC mandates OSDI compliance for inclusion in the backpack
       2.    DNC mandates OSDI participation for inclusion in the backpack
       3.    DNC provides a technical and strategic human representative to be a point of contact and
             liaison officer in OSDI
       4.    OSDI will support the DNC by providing integration implementation support for app devel-
             opers with it's processes and fora.

397.               [D1775]

       1.    DNC mandates OSDI compliance for inclusion in the backpack
       2.    DNC mandates OSDI participation for inclusion in the backpack
       3.    DNC provides a technical and strategic human representative to be a point of contact and
             liaison officer in OSDI
       4.    OSDI will support the DNC by providing integration implementation support for app devel-
             opers with it's processes and fora.

398.               [D1775]

       1.    DNC mandates OSDI compliance for inclusion in the backpack
       2.    DNC mandates OSDI participation for inclusion in the backpack
       3.    DNC provides a technical and strategic human representative to be a point of contact and
             liaison officer in OSDI
       4.    OSDI will support the DNC by providing integration implementation support for app devel-
             opers with it's processes and fora.

399.               [D1775]

       1.    DNC mandates OSDI compliance for inclusion in the backpack
       2.    DNC mandates OSDI participation for inclusion in the backpack
       3.    DNC provides a technical and strategic human representative to be a point of contact and
             liaison officer in OSDI
       4.    OSDI will support the DNC by providing integration implementation support for app devel-
             opers with it's processes and fora.
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400.    Plaintiff reviewed the proposal with OSDI committee members, and it was approved for
        sending to the DNC on February 1st, 2018.


401.          Email Subject       02/01/18       10:23a "MOTION to approve sending DNC diplomatic
           cable" [D517*]    Joshco

402.             joshco     10:23a [D517]
              MOTION to approve sending DNC diplomatic cable
              Please vote by Friday 2/2 @ 5pm eastern (tomorrow)
              The attached cable lays out our recommendations on how we can help the DNC
              and how they get involved. I expect once we send this, I and exec will have follow-
              up conversations on the details of how that happens.

403.             Jason Rosenbaum        10:35a [D517]
              Can we get it in google doc again? See a few small grammer/typo things, and let's
              give the doc a more professional name. But content-wise, aye.

404.             Seth Bannon      10:36a [D517]
              With typo fixes, enthusiastic Aye!

405.             joshco     10:41a [D517]
              Make any grammatical changes as proposed edits here
              https://docs.google.com/document/d/1_8J75qMznD603dDAil1nAwq7P_A1YCNSSSd
              d7xFItr0/edit?usp=sharing
              At the close of the motion, Ill adopt them and send

406.             Tim Holahan      10:54a [D517]
              Im in favor as well, conditional upon the proof-reading and filename-change that
              Jason suggests.
              Thanks, Tim

407.             Gayatri Bhalla     10:55a [D517]
              aye

408.             Beth Becker      12:30p [D517]
              aye

409.             Adriel Hampton       12:41p [D517]
              aye

410.             Joe McLaughlin       12:53p [D517]
              A hardy aye aye!
              Joe McLaughlin

411.             Josh Cohen       1:06p [D517]
              We need 1 more vote to put us over the majority, and then we can send it today
              and Raffi can start reviewing our proposal tonight! Anyone else?

412.             Sonya Reynolds       1:11p [D517]
              aye!

413.             J. Cohen     1:12p [D517]
              And there we are MOTION APPROVED
              I will send the doc and cc officers
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414.    On the same day, Raffi Krikorian emailed Plaintiff:


415.          Email Subject        02/01/18       7       "   ’    !" [D516*]   Raffi Krikorian

416.             Raffi Krikorian     7:28a [D516]
              hey josh.
              its been a while since weve spoken! the last few months at the DNC have been nuts,
              but i feel like the tech team is starting to get its feet underneath ourselves.
              i wanted to chat about two things, if you have a second:

417.             R. Krikorian      7:28a [D516]
              the tech team is about to launch a marketplace of progressive technology that
              campaigns and state parties should know about. effectively democratizing access
              to this data. sally, CCed, who is running the program has been working hard to cata-
              log everything and also negotiating prices with people who should up in the cata-
              log. id like to chat about the role of OSDI and how we can highlight applications that
              comply in the market. i still believe strongly in interoperability, so i want to use this as
              a venue to continue to nudge the ecosystem

418.             R. Krikorian      7:28a [D516]
              i wanted to revisit whats the best ways that i, and the DNC, can be involved in OSDI.
              hope youre well, and hope to hear from you soon!

419.    At 1:18pm, Plaintiff sent the approved proposal to Raffi Krikorian by email:


420.          Email Subject         02/01/18          1:18p "Diplomatic Cable from OSDI to DNC" [D519*]
           Josh Cohen

421.             Josh Cohen         1:18p [D519]
              Raffi, Sally,
              Our Governance Committee has approved the the attached cable for DNC. This
              contains our recommendations on how OSDI can help the DNC and the broader
              Democratic community.

422.             Raffi Krikorian     2:08p [D519]
              hi josh (and everybody else on this committee).
              first thank you so much for everything you re doing. as i ve mentioned many times in
              the past, i feel interoperability in this space is extremely important, and the work that
              you re doing is helping push that forward.
              i just wanted to acknowledge that sally and i have received this, and we will respond
              shortly.
              thanks again.

423.             J. Cohen       2:23p [D519]
              Thanks Raffi. We look forward to your response.
              I should have clarified, the folks CC d are our officers which comprise our executive
              committee. That is a subset of our governance committee, and those who manage
              OSDI day to day executing based on governance decisions.
              They are an example of how customers, vendors and efforts like Ragtag and prog-
              code pitch in to drive this community asset, a rising tide that lifts all ships.
              You can see who's who on our leadership page.
              http://opensupporter.org/leadership/
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       IV.B.19 External Network Effect




                                              External Network Effect


424.         By 2018, OSDI served as an external network effect. Any OSDI compliant application
             could interoperate with any OSDI compliant platform.


       IV.B.20 Arrival of Venture Capitalists

425.         On August 15, 2017, Plaintiff was introduced to Dimitri Melhorn, Political Director for Reid
             Hoffman by Brady Kriss/RagTag, who suggested Plaintiff meet with Dimitri for an OSDI
             briefing, and to listen to Dimitri's funding ideas. On August 8/15/2017, Plaintiff met with
             Dimitri, who offered to make Plaintiff rich if he would agree to use OSDI as a proprietary
             walled garden.

426.         In the context of these discussions, Dimitri forwarded via email to Plaintiff on 8/15/17 a
             paper he had co-authored at Harvard analyzing Microsoft's platform behavior, which is
             generally viewed as anti-competitive. It is a picture of what Dimitri wanted to create,
             and ultimately did as a result of the Robbery by Extortion.

427.         Plaintiff refused because he wasn't using retirement savings to build anyone's
             proprietary API.

428.         It didn't occur to Plaintiff that Dimitri would use Reid Hoffman's money to recruit others
             to misappropriate the work. Defendants used women as proxies to conceal the power
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        disparity and avoid looking homophobic.


429.          Email Subject     07/07/17     2017-07-07 9:02pm "Dmitri" [D672*]       Brady Kriss

430.            Brady Kriss, RagTag       5:29p [D676]
              Hi Josh and Dmitri!
              I wanted to introduce the two of you. Dmitri is currently talking with a bunch of the
              different progressive tech groups that have sprung up recently. I would love for the
              two of you to talk about OSDI and ways that we can help all the progressive energy
              doesn't get siloed in competing platforms and databases.

431.            B. Kriss   9:02p [D672]
              Hey! Forgot to email you with the background. :) Remembering now. Dmitri is the po-
              litical director for Reid Hoffman. He's trying to figure out the best ways to support and
              fund this bizarro ecosystem we've found ourselves in. We were talking today and he
              was expressing concern about all these different groups making their own thing and
              the just chopping the movement up like that. I mentioned OSDI and he was super
              excited about it.

432.            B. Kriss   9:02p [D672]
              I personally think it would be rad to get some funding into OSDI itself, or to get some
              funding for Ragtag to manage people to work on OSDI stuff, or something along
              those lines. OSDI is a super important piece of infrastructure, and it should be funded
              as such.

433.            B. Kriss   9:55p [D672]
              OSDI is a super important piece of infrastructure, and its should be funded as such.

434.    By Email, Dimitri forwarded Plaintiff a paper he co-authored at Harvard with Bruce
        Abramson, "THE FETTERED LIBERTY TO INTEGRATE: LEGAL IMPLICATIONS OF SOFTWARE
        ENGINEERING", which analyzes Microsoft's behavior that is generally viewed as anti-
        competitive.


435.          Email Subject     08/15/17     2017-08-15 1:05pm "Integration" [D1867*]

436.            Dmitri Mehlhorn, Win The Future          1:05p [D1867]
              http://www.bu.edu/law/journals-archive/scitech/volume102/abramson.pdf

437.    Plaintiff met with Dimitri on 8/15/17. Afterwards Dimitri sent the following emails
        acknowledging it and the strength of OSDI.


438.          Email Subject     08/15/17     2:00p "OSDI / CrowdPAC" [D1873]         Dmitri Mehlhorn

439.            Dmitri Mehlhorn     2:00p [D1873]
              Josh and Gisel:
              I just had a conversation with Josh about a shared API platform among progressive
              causes. I think it would be useful for you to synch up and determine whether or how
              there are opportunities for collaboration between OSDI and CrowdPAC.
              I'll leave it to you from here.
              -- dmitri mehlhorn
              www.vidinovo.com


440.          Email Subject     08/15/17     1:59p "OSDI" [D1865]        Dmitri Mehlhorn
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441.               D. Mehlhorn      1:59p [D1865]
                 Josh and Alain:
                 I just had a conversation with Josh about a shared API platform among progressive
                 causes. I think it would be useful for you to synch up and determine whether or how
                 there are opportunities for collaboration between OSDI and DemSoft.
                 I'll leave it to you from here.

442.               Alain Briancon     2:34p [D1865]
                 DemSoft is keenly aware of OSDI and Josh. OSDI is the go to architecture for Dem-
                 Soft...


443.             Email Subject    08/15/17       4:13p "OSDI / Open Progress" [D1869]   Dmitri Mehlhorn

444.               elizabeth     5:41p [D1869]
                 Dmitri - Thanks for the introduction.
                 Hi Josh - It's great to "see" you again. We caught up briefly at the meeting with Raffi
                 in NYC and then again at the Progressive Hacknight 2 weeks ago. Per our conversa-
                 tions then, yes, we're super excited to plug into the OSDI standard, but it will be
                 something that happens in v2 of our software as we're super heads down and pretty
                 much baked for 2017. We got wind of this standard after our data models were al-
                 ready stood up, but we're committed to participating in the future with our next full
                 version. I'll leave it to Mahender and Tom to decide who from our team should plug
                 in for a seat at the table; I'm squarely focused on relationship management and
                 platform adoption for the rest of this year;)
                 Thanks!! Elizabeth
                 --- original message ---
        Parse Error {D1456: f, c: "What you've accomplished with this organization is tremendous and
        can never be taken away from you, even if you remain separated from it for some time."}

        Couldn't find Document with 'id'=1456
        /app/vendor/bundle/ruby/2.5.0/gems/activerecord-4.2.11.1/lib/active_record/core.rb:155:in
        `find'
        /app/app/models/document.rb:1748:in `findp'
        /app/app/models/document.rb:1677:in `pcache_list_key'

445.    Plaintiff assumed that he would hear from Dimitri again if Dimitri wasn't willing to take
        "no" for an answer. It didn't occur to Plaintiff that irresistible temptation would be used to
        induce others to misappropriate the work.

446.    Defendants' racketeering excluded Plaintiff from the market from this point forward.
        While Plaintiff was sidelined, a data war erupted over residual tension due to the DNC's
        favoritisim of Hillary Clinton at the expense of Bernie Sanders, the election of Donald
        Trump, and the arrival of Billionaires including Reid Hoffman.

447.    This triggered a fierce response from the DNC, who painted Reid and his "Alloy" Voter
        Data project which attempted to create an external network effect as an "Existential
        Threat" to the party.

448.    Defendants along with the Obama cohort formed venture capitalists Higher Ground
        Labs and Acronym which were setup to "catch" the incoming money. They also need-
        ed to prevent Reid Hoffman from learning that OSDI was also an external network ef-
        fect.
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       IV.B.21 Disparate Impact Wire Fraud Scheme

449.

450.        By using a woman (Brady Kriss/RagTag) as
            a proxy, Dimitri attributed the VC profit mo-
            tive to a woman. This wire fraud tactic of
            using women as proxies concealed the
            power disparity. But for this scheme, De-
            fendants would not have been able to
            gain control of OSDI.

451.        To do what Dimitri wanted would require violating Plaintiff's copyrights. It didn't occur to
            Plaintiff that Dimitri could use irresistible temptation to recruit others to help steal OSDI
            and turn it into proprietary walled gardens.


       IV.B.22 Racketeering Gains Control

452.        Defendants' racketeering activity never stopped, but was covert. In 2016, Defendants
            escalated to Robbery by Extortion, and in 2017 to Abuse of Process.




                                                    Predicates
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                                            Cohen v Swirling


453.    During the court supervised settlement conference, Plaintiff's priority was protecting the
        project. He sought an agreement from Defendant Swirling that she would ask her fol-
        lowers to stop attacking the OSDI project.

454.    That agreement was not made, because OSDI was the target all along. Plaintiff was
        unaware that he was the victim of a robbery by extortion.

455.    After the Order of Discontinuance, the coercion escalated.

456.    Plaintiff had never been involved in any litigation and the prior time he retained legal
        counsel was to to fight a speeding ticket in the early 1990s. He didn't know what Abuse
        of Process was.

457.    Defendants used parallel conduct and proxies offering false hope of saving the project,
        and concealed their property motive by misrepresenting thier property asks as em-
        powering women.




                                            Abuse of Process


458.    After gaining control of the project, Defendants' used false hope of saving it to
        fraudulently induce more labor, gain access to trade secrets and continued to try to
        coerce or trick Plaintiff into abandoning his copyright and contract rights.

459.    They willfully mislead plaintiff through April 2020, TODO PR CLOSE. Up until this point,
        Plaintiff believed his continued investment would lead to saving the project.

460.    Defendants fraudulently concealed their schemes to invest the pillaged proceeds into
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                their own enterprises until January 2021. January 2021 was the first point that Plaintiff re-
                alized he was the victim of fraud and theft.

461.            Plaintiff gave a presentation on the situation, as best he understood it, to a friend from
                High School who is currently a Lieutenant in a police department. The friend recognized
                the behavior as racketeering and directed Plaintiff to RICO laws, which Plaintiff studied.
                Plaintiff then learned he was the victim of racketeering and extortion.

462.            Plaintiff diligently scoured the World Wide Web, reread every relevant email, SMS,
                chats, meeting agendas and minutes back to 2011 to put the conspiracy together and
                discover where the proceeds ended up.


       IV.C        Racketeering and Extortion

463.            Though Plaintiff was unaware, Defendants racketeering activity began at the outset of
                the project. Despite their promises in 2015, Defendants continued their racketeering ac-
                tivity trying to undermine the coalition while using Plaintiff. However, their schemes were
                constrained by the need to avoid appearing homophobic, hypocritical or to expose
                their gross exploitation.

464.            Over time Defendants racketeering escalated with the following predicate acts:




                                                        Predicates


       IV.C.1      To Gain Control

       IV.C.1.a Early Racketeering

465.            As described in the OSDI Pro-competitive Effort / Early Racketeering section, JBN
                               ’                         k                            .B
                it to induce NGPVAN to flee, and sabotaging its platform competitors it would, by de-
                fault gain dominant control over the ecosystem.

466.            In summer 2013, OSDI adopted democracy as a governance model and solved on of
                the failure modes of previous efforts. Plaintiff negotiated a policy that protected pro-
                gressive and Democratic IP from leaking to conservatives and Republicans, while pre-
                serving customer choice.
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467.            Once these negotiations completed, Nathan Woodhull had a vulnerability to exploit.
                He then shared with Plaintiff, his library of proprietary API connectors that he was build-
                ing. This library is a prerequisite

468.            This is the opposite of the mission of OSDI.

       IV.C.1.a.1   Nathan Woodhull begins building proprietary connectors


469.                    Email Subject       07/22/13       2013-07-22 4:23pm "G Hangout With Nathan Woodhull"
                    [D648*]


470.                      Josh Cohen       4:22p [D648]
                        heya
                        what's the github repo for the common tools stuff you are working on?
                        Nathan Woodhull: hmm?
                        for api bindings?
                        yeah

471.                      J. Cohen       4:22p [D648]
                        heya
                        what's the github repo for the common tools stuff you are working on?
                        Nathan Woodhull: hmm?
                        for api bindings?
                        yeah

472.                      Nathan Woodhull, Control Shift         4:23p [D648]
                        https://github.com/controlshift/ there are a few ruby gems in there for
                        blue_state_digital, action_kit, tijuana and soon porpoise. -- (p. 1)

473.                      N. Woodhull       4:26p [D648]
                        most of the orgs controlshift works with are on the advocacy siderather than cam-
                        paignsso we haven't had any customers on top of ngp or vanto be honestthe api
                        clients only cover the methods I neededwould not consider them to be comprehen-
                        sivejust solving the integration needs I have as they come up. :-)

474.                      4:29p [D648]
                        I'm exploring an OSDI<->CRM proxy
                        eg it speaks OSDI on the front end and then uses a connector library to talk to the
                        proprietary interface
                        I've got code for salsa, which is the first one I'm exploring

475.                      4:32p [D648]
                        you should publish it!
                        I'd use a ruby binding for salsa
                        someday
       IV.C.1.a.2   Adoption of democracy and progresive keel


476.                     Email Subject          08/01/13        2013-08-01 5:03pm "Announcing Approval of
                    Governance Democracy" [D289]             Josh Cohen

477.                      Josh Cohen       5:03a [D289]
                        In today's meeting, the governance proposal was adopted. This means significant
                        changes in our structure. Two new committees are now forming, Governance, and
                        Progressive Political.
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478.          Specification   08/01/13 "OSDI Governance Enacted 8/1/2013" [D483]

479.             Josh Cohen [D483]
              Role vs ideology vs participation
              This table is meant to establish a set of principles and criteria for evaluating member-
              ship.

480.             J. Cohen [D483]
              General Operating Rules
              Robert's Rules
              We operate according to RONR
              Motions do not require a second
              Process disputes get resolved by Governance

481.             J. Cohen [D483]
              Invitations / onboarding new members
              Once a decision has been made to invite an entity:
              Appropriate votes are held in the governance committee to approve invitation
              An invitation goes out to the entity
              The entity accepts the invitation and agrees to responsibilities
              They are added to appropriate groups and places on the website
              They start attending the appropriate committee meetings.

482.                          “              K    ” w                  “             ”     “             ”
        intellectual property from leaking to political tools that serve conservatives and republi-
        cans.

483.    Like an onion, inner rings were restricted to participants who strictly served progressives
        and Democrats. Outer rings were for mainstream technology companies like Microsoft,
        Google, Twilio et al which are non-political general use tools, and those serving biparti-
        san customers.
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                                                       Progressive Keel Policy


484.            So, for example, a bipartisan vendor which some progressives used such as Na-
                tionBuilder, could participate in an outer ring. The definition of the policy is expressed as
                a 6x7 matrix where the axes are progressive ideology and type of participant and the
                values are which committees were appropriate.

       IV.C.1.a.3   Nathan Woodhull links MoveOn and ActBlue to conspiracy


485.                   Email Subject    08/06/13       2013-08-06 9:05pm "Josh meet Zack" [D624*]   Zack Exley

486.                      Nathan Woodhul       9:05p [D624]
                        Josh Cohen is a fascinating person trying to build a standards body for activism soft-
                        ware interop.
                        You should know him & make sure tools you build can integrate. He's based in NYC.
                        Nathan

487.                      Zack Exley    9:34p [D624]
                        Wow - that sounds cool. I'd love to connect


488.                   Email Subject    08/06/13       10:43p "Josh meet Nate" [D1043*]   Nathan Woodhull

489.                      Nathan Woodhull      10:43p [D1043]
                        Josh Cohen is trying to build an open standard for data interop between activism
                        platforms, Nate runs tech for ActBlue.
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                        Nathan

490.                      Josh Cohen       11:19p [D1043]
                        Hi Nate! I think we spoke last year during the campaign cycle. I was the tech director
                        for Washington United for Marriage. We attempted to get API access with NGP to in-
                        tegrate Marriage Hero and Act Blue to NGP. Since then, I've started a project to
                        create a common API for use in this space. Please have a look...

491.                      Nate Thames       2013-08-07 4:18pm [D1043]
                        Hey Josh -
                        Admirable project! Do you have provisions for a push model rather than a pull mod-
                        el? We've found over the years that at least for donation information, a traditional
                        RESTy pull model doesn't fit the needs of campaigns. We actually don't really use the
                        old ActBlue api much anymore. We just built a notification to someone else's API.
                        -Nate
       IV.C.1.a.4   Action Network Joins

492.            When Action Network joined OSDI in November 2013, they were provided with the
                organization's policies, which were discussed during a conference call. Action Network
                agreed to those policies and began participation.

493.            Action Network is provided with the Governance policy, which it agreed to in order to
                join.


494.                    Email Subject      11/04/13    2013-11-04 1:09pm "Re: OSDI" [D208]   Tim Anderegg

495.                      Josh Cohen, OSDI       1:09p [D208]
                        Re: OSDI

496.                      Tim Anderegg, NOI       10:09a [D208]
                        We've officially made the motion to induct CAN into OSDI (no one has raised any
                        objections yet, and I don't anticipate any), andJosh Cohen would like to have a call
                        with you to give you an overview of the structure, process, and what not. Would you
                        have timeto have a chat with us tomorrow at 4pm, or sometime on Wednesday?

497.                      Jason Rosenbaum, Action Network          10:26a [D208]
                        Tomorrow is busy but Wednesday is largely free outside of 5:30pm. So pick a time on
                        Wednesday?
                        Exciting news!
                        Tim Anderegg:
                        Wednesday seems to work best for folks, should we shoot for Wednesday afternoon,
                        say 1pm? Let me know what works best.
                        Jason Rosenbaum:
                        Good here!

498.                      J. Rosenbaum       10:26a [D208]
                        Tomorrow is busy but Wednesday is largely free outside of 5:30pm. So pick a time on
                        Wednesday?
                        Exciting news!
                        Tim Anderegg:
                        Wednesday seems to work best for folks, should we shoot for Wednesday afternoon,
                        say 1pm? Let me know what works best.
                        Jason Rosenbaum:
                        Good here!

499.                      J. Cohen      1:57p [D208]
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                    Jason, I've attached a few docs for you to skim that we'll touch on in the call.
                    1: Governance: the description of the informal org structure, roles/taxonomy of
                    membership,
                    2: the one pager
                    2 attachments
                    osdi-governance..v3-final.docx 21K
                    one-sheet.pdf 306K


       IV.C.1.b VC New Media Ventures / Universal Adapter Proposal

500.         As described in Early Racketeering, Woodhull emailed Plaintiff on December 11th, 2013,
             describing a proposal to seek funding from New Media Ventures to build a "universal
             adapter" which would "provide a common API binding to a few CRM vendors that their
             member organizations use" and "look to OSDI spec for a common interface" [D1991]

501.         As described in Early Racketeering section, once Action Network implemented in April
             2014, it attempted to undermine the project exploiting and misrepresenting the pro-
             gressive keel as "Nationbuilder is welcome".

502.         Plaintiff spent through February 2015 reversing the damage.

       IV.C.1.c Wire Fraud / DMCA 1201

503.         Beginning in Q4 2014, Jason Rosenbaum/Action Network engaged in wire fraud to
             misrepresent Plaintiff's copyright authorship as his own, having the effect of DMCA 1201
             violations.

504.         Robyn Swirling was employed at Action Network May 2014 - Sep 2015.


505.                Document         12/29/21 "Robyn Swirling LinkedIn" [D1267]

506.                [D1267]

                    Digital Organizer
                    Action Network
                    May 2014 - Sep 2015 * 1 year 5 months
                    Washington, DC
                    Worked with partners to craft comprehensive digital strategies that integrated Action
                    Network with their ongoing communications and organizing plans and priorities.


507.                Conference Session     07/16/15 2015-07-16 3:45pm "Master Class: Action
                 Network,Master Class: Action Network | Netroots Nation" [D847] Netroots Na-
                 tion,     Netroots Nation;     Netroots Nation;     Action Network, Coop, Coop

508.                     N. Nation    3:45p [D847]
                    Robyn Swirling is the Digital Organizer at Action Network, where she trains new users
                    on Action Network's toolset and works with partners to develop their digital strategy.

509.         An example of this fraud is OSDI Person Signup Helper, which along with the other
             helpers are the most commonly used parts of the specification.
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       IV.C.1.c.1         Person Signup Helper
       IV.C.1.c.1.1        Example: Plaintiff's Authorship

510.            Person Signup Helper was originally authored by Plaintiff in April 2014.


511.                          Specification       04/30/14 "person helper * opensupporter/osdi-docs@e4f894d"
                          [D1526]    GitHub


512.                         Specification       06/12/14 "person_signup_helper move input person attrs under
                          person parent key.... * opensupporter/osdi-docs@a1e2904" [D1525]         GitHub

       IV.C.1.c.1.2        Example: Jason Rosenbaum's Commits

513.            On 12/31/2014, Jason Rosenbaum copied the definition of Person Signup Helper, which
                was Plaintiff's authorship into a new file. The Github "blame" view attributes each line of
                the file to the committer who last touched line.


514.                         Github     12/31/14 2014-12-31 11:59am "person signup helper first draft
                          opensupporter/osdi-docs@8a50587,person signup helper first draft opensup-
                          porter/osdi-docs@8a50587 GitHub" [D1964] GitHub

515.                            github       11:59a [D1964]
                              OSDI Specification. Contribute to opensupporter/osdi-docs development by creat-
                              ing an account on GitHub.
       IV.C.1.c.2         Other Patterns of Fraud

516.            An example of reformatting the specification to change the apparent authorship is


517.                          Github         02/17/15    2015-02-17 12:45pm "introduction update opensupport-
                          er/osdi-docs@4660ed9,introduction                update        opensupporter/osdi-
                          docs@4660ed9 GitHub" [D1983]   GitHub

518.                            github       12:45p [D1983]
                              OSDI Specification. Contribute to opensupporter/osdi-docs development by creat-
                              ing an account on GitHub.

519.            Examining the commit history of the essential IP in the specification reveals similar fraud.
                In other cases, Jason Rosenbaum changed the indentation, added formatting chang-
                      ,                  ,                            ,        "              "             G H   ’
                analytics and pad his score..

520.            Revert commits can create an effect similar to one using a word processor to add a
                paragraph, then undo to remove it, then undo the removal, which gives credit for addi-
                tions and deletions of each line, effectively "padding" commit credit 3x.

       IV.C.1.c.3         Concealment

521.            To conceal the wire fraud, Jason Rosenbaum often buried the fraudulent commits
                within his assigned committee tasks. In other cases he would provide a fraudulent justi-
                fication, such as proclaiming a need to reformat section of the specification in prepa-
                ration for a proposed Labor Committee.
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       IV.C.1.c.4   Effect

522.            In addition to misrepresenting the copyright authorship, the effect of the fraud "gamed"
                GitHub's contribution metrics. The period with the most significant commits is 4Q14-
                1Q15. This is shown as a spike in Jason Rosenbaum's commits on the GitHub dashboard.




                                               3011_GracketeeringPgithub_metrics


       IV.C.1.d VC New Media Ventures Partners with Netroots Nation

523.            New Media Ventures partners with Netroots Nation on their yearly "New Tools Shootout"
                beginning on or before Netroots Nation 2014. Plaintiff has email announcements from
                Mary Rickles.

524.                     Email Subject       07/02/14       2014-07-02 4:59pm "What's the next hot organizing
                    technology?" [D1992*]      Netroots Nation Mary Rickles

525.                         Netroots Nation Mary Rickles     4:59p [D1992]
                        Dear Josh, A few weeks ago we put out a call for submissions to compete in this
                        year's New Tools Shootout event at Netroots Nation... we've partnered with New Me-
                        dia Ventures to produce the event.

526.            OSDI was a contender for the "New Startup Technology" category.

527.                         N. Nation   4:59p [D1992]
                        Best Startup Technology: Action Network, Empower Engine, Long Distance Voter,
                        Open Supporter Data Interface (OSDI)


       IV.C.1.e Self-Preferencing / Monopsony / FUD

528.            From that point, Defendants used Plaintiff as a shield to protect their platform
                                       ;                                         ’
                without appearing homophobic, monopolistic and hypocritical compared to the posi-
                tions of Democrats on the House Subcommittee for Antitrust.
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529.            On the back stage, Defendant's used parallel conduct to:

          •     Induce a self-preferencing technical architecture in NGPVAN's implementation

          •     abused the AFL-CIO's monopsony power to control NGPVAN's resource allocation to favor its
                proprietary API

          •     promulgated Fear, Uncertainty, and Doubt (FUD) to discourage application vendors from trust-
                ing NGPVAN's OSDI endpoint in their integrations.

       IV.C.1.e.1   Self-preferencing Technical Architecture




                                                   Self-Preferencing Architecture


530.            Chaining the OSDI enpoint through the proprietary endpoint ensured that the
                proprietary API endpoint could not fall behind the OSDI endpoint in functionality. In the
                event of resource constraints, the proprietary endpoint would get priority and the OSDI
                endpoint would fall behind.


531.                    Web Page      06/11/18 "GitHub - NGPVAN/osdi-service: Access to VAN
                    resources    that    complies    with  the     OSDI    specification. See
                    http://opensupporter.org/,NGPVAN/osdi-service" [D1971] GitHub


532.                    Email Subject      02/22/16     2016-02-22 6:12pm "1:1" [D525*]   Josh Cohen

533.                      6:12p [D525]
                        2016_02_22_van_hustle_preferencing

534.                       Josh Cohen      6:17p [D525]
                        As we discussed back when NGP VAN chose the 2 protocol (proxy approach) there
                        are some potenal pialls with that approach. One is that the OSDI implementaon will
                        lag behind the VAN proprietary API in funconality and that can create a negave
                        percepon of using OSDI to integrate with VAN.

535.                       J. Cohen      6:17p [D525]
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                       Looking at the github commit history it's clear that (prior to my embedded fix) it's al-
                       most 6 months since the last commit and there is clearly more funconality in the VAN
                       proprietary API exposed than via OSDI. It is behind. I


536.                   Chat     03/16/16     2016-03-16 11:43am "chat" [D406]

537.                      Josh Cohen       11:43a [D406]
                       Drew, I understand that Shai is now the OSDI rep, but I would to have a short dialog
                       with both of you. I want make sure that the private assurances that you communi-
                       cated back when NGP VAN made its implementation commitment are still valid and
                       that they were downloaded to Shai.
                       This was when you selected the proxy approach, reached out to me to get my opin-
                       ions of if it would be helpful (or if i would poop on it), the concerns I expressed, and
                       your assurances that they would be avoided with a best effort approach.
                       Im not trying to take shots at NGP VAN. Im trying to make sure we are on the same
                       page, and I have also been helping by writing code for your osdi service (for free i
                       might add!) to help keep it up to parity and usefulness for customer scenarios while
                       resources are scarce due to the presidential election.

538.                      Drew Miller    12:24p [D406]
                       Hey josh - I can get on the phone with you and Shai for about 15 minutes at 12:45 if
                       you are open.
       IV.C.1.e.2   Monopsony Power

539.            Action Network and the AFL-CIO were influencing NGPVAN's resource allocation.


540.                   Email Subject      03/16/16     9:46p "van" [D407*]   Josh Cohen

541.                      Josh Cohen       9:46p [D407]
                       I met with Shai and Drew today to discuss the implementation commitment. No
                       heads exploded... we moved on to the future and a discussion on pull requests cre-
                       ated by me to meet the current interop profile needs. They said that in principle they
                       will accept the pull requests and deploy them in their service, modulo code reviews
                       et al.

542.            Jason Rosenbaum/Action Network was profiting by exploiting Plaintiff's labor,
                proficiency and retirement savings. As a diversion, he falsely portrays NGPVAN as the
                guilty party.

543.                      Jason Rosenbaum        9:48p [D407]
                       Cool. As good as can be expected I guess. I had a call with the AFL yesterday, so
                       they're prepped to put on pressure to accept the PR if we need it. Gotta figure out
                       the free work problem though, but maybe adoption will help with that.

544.            As a result of Action Network's ruse, Plaintiff believed supporting Labor meant he should
                ask for compensation for his work. When Plaintiff proposed that to Drew Miller at
                NGPVAN, they declined. Plaintiff did the work pro-bono anyway.

545.                      J. Cohen      9:51p [D407]
                       cool cool. Yeah, i'm gonna find a way to slip in the free issue when it feels right. They
                       could certainly pay me.

546.                      J. Rosenbaum       9:57p [D407]
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                          And should. And when they have customers depending on the OSDI proxy, hopefully
                          will.
       IV.C.1.e.3   FUD

547.            In parallel, Defendants were criticizing NGPVAN's OSDI endpoint, using proxies, to
                discourage application integrators from depending on the OSDI endpoint, and instead
                choosing the integrate with NGPVAN's proprietary API endpoint.


548.                    Github    05/12/17   2017-05-12 "Missing most OSDI resources Issue #15
                    NGPVAN/osdi-service,Missing most OSDI resources Issue #15 NGPVAN/osdi-
                    service GitHub" [D1970] GitHub

549.                        Evan Henshaw-Plath    1:03p [D1970]
                          This tool is nice but it's lacking support for the following OSDI resources:
                          Advocacy Campaigns
                          Answers
                          Attendances
                          Canvasses
                          Canvassing Efforts
                          Donations
                          Events
                          Forms
                          Fundraising Pages
                          Items
                          Lists
                          Messages
                          Outreaches
                          Petitions
                          Queries
                          Results
                          Scripts
                          Script Questions
                          Share Pages
                          Signatures
                          Submissions
                          Taggings
                          Is this still under active development and does NGPVan have plan on supporting the
                          rest of the OSDI spec?

       IV.C.1.f Mitigate Self-Preferencing Architecture

550.            To mitigate the self-preferencing architecture, Plaintiff contributed source code to
                NGPVAN's OSDI implementation which added functionality to the OSDI enpoint that
                the propprietary API endpoint did not have.

551.            Plaintiff achieved this by including code that routed to NGPVAN's legacy SOAP/XML
                based endpoint which had fuller functionality than the proprietary API endpoint which
                was newer and had fewer applications using it.
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                                                Mitigate Self-Preferencing


552.         For example, the SOAP/XML endpoint supported Script resources while the proprietary
             REST API did not. So Plaintiff submitted code in the OSDI endpoint that integrated with
             the SOAP/XML to expose Script resources via OSDI.


553.               Github    04/23/16   2016-04-23 1:14pm "Events and Scripts by joshco Pull
                 Request #7 NGPVAN/osdi-service,Events and Scripts by joshco Pull Request #7
                 NGPVAN/osdi-service GitHub" [D1969]   GitHub

554.                  github   1:14p [D1969]
                   I've removed WIP from this PR because I think it's ready for an approval discussion
                   Events Events are now supported: GET events/ (collection) GET events/:id (individual)
                   GET events/:id/att...,I&#39;ve removed WIP from this PR because I think it&#39;s
                   ready for an approval discussion Events Events are now supported: GET events/ (col-
                   lection) GET events/:id (individual) GET events...,Ive removed WIP from this PR be-
                   cause I think its ready for an approval discussion Events Events are now supported:
                   GET events/ (collection) GET events/:id (individual) GET events/:id/attendances (col-
                   lection of attendances/signups) GET attendances/:id (individual GET on an attend-
                   ance/signup) POST events/:id/record_attendance_helper (signup for an event)
                   Event representations include the relevant roles, shifts, statuses, etc Scripts Scripts are
                   supported along with script_question which is the association between a question
                   and a script and where sequence is defined GET scripts/ (collection) GET scripts/:id
                   (individual, which contains embedded script_questions and questions) TODO syn-
                   thetic links for script_questions synthetic script_questions added


       IV.C.1.g External Network Effect Tipping Point

555.         By 2016, Defendants knew that their increasingly complex schemes to undermine the
             project and misappropriate the work had failed. Defendants were trapped in the lies
             they had been telling Plaintiff to fraudulently induce his labor and use his retirement
             savings for their own gain.

556.         Defendants' strategy was depending on OSDI failing quickly and predictably as early as
             August 2014, however OSDI was a runaway success which came to the tipping point
             where it would be permanent, at least until the next technology generation.
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                                      337 meetings functioning as democracy


557.         This was a threat to Defendant's ulterior motive of using OSDI to bootstrap their
             proprietary walled gardens to gain gatekeeper powers over essential resources for
             candidates running for election.

558.         They knew that Plaintiff would never agree to his IP being used to build proprietary
             walled gardens, wasn't interested in money, and was only interested in building an ex-
             ternal network effect.

559.         Finally, Plaintiff's workplace behavior was professional and a positive example of
             extreme generosity, so Defendants didn't have any pretext to criticize Plaintiff.

560.         At any time, Defendants could have removed Plaintiff from his position, or the project
             altogether by making a motion and securing a majority vote, which they had the pow-
             er to do.

561.         Defendants never attempted to do this; Plaintiff took this to mean that the conflict was
             not series. Defendants didn't want to be seen as the aggressors that they were, or to
             appear homophobic.

       IV.C.1.h Robbery by Extortion and #metoo Wire Fraud

562.         As a result, Defendants needed to manufacture a pretext to justify aggression coercion
             and fraud, exclude Plaintiff from spaces where he might discover their actions, silence
                    ’                      '                                              w
             to the community, and prevent anyone from the gay rights movement from coming to
             plaintiff's aid, all without appearing homophobic.

563.         On or before the DNC 2016 convention in Philadelphia, Defendants recruited Kevin
             Jennings who had served as a Deputy Undersecretary in President Obama's administra-
             tion. Plaintiff only knew Kevin as Executive Director of the Arcus Foundation, one of two
             dominant funders of the gay rights movement.

564.         Defendants also recruited women as proxies including Robyn Swirling, who had been
             an action Network employee at the time Jason Rosenbaum was engaged in wire fraud
             to misrepresent the copyright authorship of the OSDI specification.

565.         Defendants engineered a Robbery by Extortion scheme that exploited Disparate
             Impact between protected classes created by the #metoo moment. Put succinctly, by
             framing a gay male as an example of sexual harassment and violence towards wom-
             en, Defendants could apply "the man's side doesn't matter" to the property rights of the
             gay male they were exploiting under the guise of protecting women.

566.         The effect of this scheme allowed Defendants to misrepresent Plaintiff's fear response to
             the coercion.
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                                                    Wire Fraud


567.    Starting in Summer 2016, Defendants lured Plaintiff into a trap to deliberately provoke a
        conflict, framed Plaintiff as an example of sexual harassment and violence towards
        women, which incites hatred towards othered sexualities.

568.    In early 2016, Plaintiff exposed a vulnerability; he was on the weaker side of a large
        power disparity compared to his ex-boyfriend Greg Rae. In July 2016, Beth Becker told
        Plaintiff that Greg's name was already on a list of abusive men within the community
        and knew other people who were supposed victim's of abuse by Plaintiff's ex-boyfriend.

569.    This scared Plaintiff, and he sought safe harbor. Beth Becker recommended Plaintiff
        attend a session at Netroots Nation 2016 on the topic of HR policies to prevent retalia-
        tion and abuse.


570.          Web Page            07/15/16 "Living and Working Our Values: Dismantling Rape
           Culture in Progressive Spaces and Ending Sexual Harassment and Violence at
           Work [Voter Pick] Netroots Nation" [D1008]


571.         Sms      07/16/16     2016-07-16 2:28am "Chat with Beth Becker" [D1608]

572.            Josh Cohen        2:28a [D1608]
              Since names are passd along, my perp was greg rae

573.            J. Cohen       2:53a [D1608]
              Fyi if the other person or people who mentioned his name are willing, id like to meet
              them and talk

574.    Plaintiff decided to join the follow-on Google Group, and reconfirmed with Beth Becker
        that she had the right name.


575.          Chat       07/25/16      2016-07-25 3:40pm "GChat between Josh Cohen, Beth Becker"
           [D1570]

576.               Josh Cohen      3:40p [D1570]
              checking in, is there a discussion list being started after the NN rape culture sessionn

577.               Beth Becker     3:40p [D1570]
              i think so but im not in charge...thats robyn and sabrina and likely not til after conven-
              tion

578.               J. Cohen     3:42p [D1570]
              also, my head is spinning a bit from our conversation, just to double confirm, the
              name that was already on the list is Greg Rae, right?

579.               B. Becker     3:42p [D1570]
              yes
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580.           Email Subject        07/25/16       9:26p "You have been added to WOV: HR working
           group" [D1704*]     WOV: HR working group

581.              Robyn Swirling     9:26p [D1704]
              Hi Josh Cohen, Robyn Swirling added you to the WOV: HR working group group.
              Message from This is the working group for creating HR systems and policies to ad-
              dress sexual harassment and assault in progressive organizations. This is a sub-group
              of the Working Our Values group.
              About this group: This is the working group for creating HR systems and policies to
              address sexual harassment and assault in progressive organizations. This is a sub-
              group of the Working Our Values group.
              Google Groups allows you to create and participate in online forums and email-
              based groups with a rich community experience. You can also use your Group to
              share documents, pictures, and calendars invitations.

582.    At the DNC 2016 convention, Plaintiff sought help from Kevin Jennings, Executive
        Director of Arcus Foundation, one of two dominant funders of the gay rights movement.


583.           Email Subject         08/09/16      2016-08-09 10:00am "followup from Equality Forum"
           [D892*]   Josh Cohen

584.              Josh Cohen       10:00a [D892]
              Hi Kevin, It was nice meeting you at the EqForum Panel in Philly. I was exceptionally
              impressed with your response to the rape culture question! As we discussed, it makes
              sense to continue the dialog... I run OSDI, opensupporter.org which is a data stand-
              ard to make integration between tools and services progressive customers use. I've
              finished a more reusable and greatly expanded version of the toolset we built at
              Washington United for Marriage. Now I'm piloting it with some progressive cam-
              paigns. So it would be great hear thoughts from someone with your perspective on
              how I might most effectively contribute to the cause.

585.              Kevin Jennings     10:02a [D892]
              Hi josh:
              I will have Rodrigo find us a half hour when you can come by the office. FYI I am
              traveling a ton so it may be a bit!

586.              Rodrigo Aguiar      2016-08-11 9:53am [D892]
              Hi Josh,
              Thank you for your patience.
              Would you be available on Oct 25 at 3:30 pm for a meeting with Kevin at Arcus?
              If so, I will be happy to send a calendar invite.
              Thank you!
              Rodrigo

587.    30 days after Plaintiff was added to the google group, the leaders kicked off the group,
        provided the membership list, and asked members to participate in an introductions
        thread.
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                                           Email Threads on WOV


588.          Email Subject     08/25/16    2016-08-25 11:54am "Introductions" WOV Email" [D92]
           Robyn Swirling
589.    Brian Young and Beth Becker were present on the google group.

590.            11:54a [D92]
              "Brian Young" is name #5 in member list
              "Beth Becker" is #4

591.    The leaders assured members of confidentiality.

592.            11:54a [D92]
              The words and stories and such that people share, as well as brainstorming, work
              plans, etc., are all confidential and should never be shared without the poster's ex-
              plicit consent.

593.            11:54a [D92]
              So we can all get to know each other, know where people are coming from and the
              spaces they move in, etc., we ask that everyone chime in to this thread with a short
              introduction of yourself - who are you, what movement spaces are you a part of
              (professionally or otherwise), and what's your interest in being involved in the work to
              end sexual harassment in progressive organizations?

594.    Though Brian Young was present on the list, and in the membership list, he did not
        participate in the introductions thread. Had he done so, Plaintiff would have recog-
        nized him and that this was an Action Network scheme to gain control of OSDI.

595.    From this point forward Brian Young used his female former employee, Swirling, as a
        proxy. This allowed defendants to conceal their roles as aggressors and terrorize Plaintiff
        by concealing his sexual orientation and framing him as an example of sexual harass-
        ment and violence towards women.

596.    Framing gay, transgender, black or muslim men this way incites hatred towards othered
        sexualities, which creates a foreseeable risk of inciting violence or homicide. Since sex-
        ual orientation is invisible, and Defendants concealed it, they were able to get away
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        with a dangerous robbery by extortion, in plain sight.

597.    Through the beginning of 2020, Defendants used the incited hatred, danger, and
        economic damage to try to coerce or trick Plaintiff to abandon his property rights,
        while Kevin Jennings and GAY_INC participants made sure no one came to Plaintiff's
        aid, replicating the elements of torture.

598.    Plaintiff endured this at great cost to his business, safety and property because he
        believes preserving the external network effect in this market increases the fairness in
        primary elections.


599.           Event     11/20/16      2016-11-20 2:00pm "Rootscamp: One API to rule them all,
           one API to bind them" [D1441]




                          "One API to rule them all, one API to bind them" [D1441]


600.    This meant Plaintiff would be absent from the OSDI session on the final day, so Plaintiff
        asked Rapi Castillo to present in his place.


601.          Email Subject       11/20/16       12:28p "For the OSDI panel" [D876*]   Rapi Castillo

602.             Rapi Castillo     12:28p [D876]
               Hey Josh, Joe told me about being in the panel just want to confirm and know if i
               should prep for it

603.             Josh Cohen        12:44p [D876]
               Yes you should sync with jason and seth

604.             Jason Rosenbaum         12:48p [D876]
               Come by the room at 1:40 and we'll prep a bit before together.

605.             R. Castillo     12:55p [D876]
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                       Sounds good.

606.                     R. Castillo   1:19p [D876]
                       Sounds good. I may need to go right after the discussion if that's ok , as I have to
                       catch a flight at 4:10p.

607.          By August 2016, the situation had become dangerous and intolerable. Plaintiff was
              depressed, stressed and increasingly scared. Plaintiff started therapy, with the first of
              38+ sessions occurring on 9/2/2016, continuing during the struggle. Insurance didn't
              cover the full cost; Plaintiff spent roughly $3000 out of pocket.

608.          By using women as proxies, Defendants induced the community to apply "Trust Women"
              on the front stage, they could conceal a dangerous robbery by extortion on the back
              stage.

609.          For example, on the back stage, Defendants made use of an ex-military soldier, Josh
              Seefried, in a way that felt like a threat to Plaintiff in the context of Defendants attempts
              to coerce Plaintiff to abandon his property rights. This was concealed by the use of a
              women on the front stage.

       IV.C.1.i   Plaintiff seek help protecting the external network effect from Kevin Jennings

610.          On December 8th, 2016, Plaiintiff emailed Kevin Jennings, Executive Director of Arcus
              Foundation, one of two dominant funders of the gay rights movement, proposing a
              plan to protect the external network effect while incentivising innovation by reinvesting
              any profits back into the cause of LGBT equality, which benefits everyone.


611.                   Email Subject     12/08/16     2016-12-08 11:14pm "ArcusHero" [D1634*]    Josh Cohen

612.                     Josh Cohen      11:15p [D1634]
                       In my execution of this vision, I've analyzed many of the challenges FF faced and
                       addressed or worked around them. One key problem is the variety of CRMs and
                       tools that orgs and campaigns use and lack of compatible APIs and data formats.
                       As a result, the integration work becomes an MxN matrix that is cost prohibitive for a
                       small innovator. Few CRMs have a large enough addressable market to support a
                       business. To address a wide market, their dev resources would be more time on inte-
                       gration connectors than the actual features and innovation of the product itself. Fur-
                       thermore, small application innovators will have a hard time attracting the attention,
                       and dev resources at the larger platforms that have larger addressable customers.

613.                     J. Cohen      11:16p [D1634]
                       To address this, in 2013 I started pushing the ecosystem in a direction toward a com-
                       mon API by founding the Open Supporter Data Interface (OSDI)
                       http://opensupporter.org/#coalition . This has now grown into a large coalition of
                       progressive customers and vendors. In 2015 came to consensus on a pretty rich core
                       specification http://opensupporter.github.io/osdi-docs/ (slow for humans, but pretty
                       fast for a standards committee.) Since then we've been focusing on implementation
                       and have made some major strides. Platforms like NGP VAN's "VAN" product has a
                       reasonable OSDI connector, Action Network (the new digital CRM on the block with
                       hockey stick growth) is natively OSDI. Supporting applications like Act
                       Blue(fundraising), CallHub (dialer) have also implemented interop with OSDI. Things
                       are moving in the right direction and it is becoming cost-probable to start to build
                       products that can integrate with the growing OSDI ecosystem.
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614.                          J. Cohen       11:17p [D1634]
                          I ve been interacting with many progressive focused vendors over the years and it is
                          an extremely difficult road. The reality is that the progressive ecosystem isn t that big
                          to really be able to fund and maintain a for profit business on it s own. OSDI helps re-
                          duce costs, and my own no-fluff approach helps too. But since they are only serving
                          1 side of the political spectrum, what typically happens is the for-profit entity turns to
                          commercial customers... The result of this is milquetoast solutions like Salsa, Blue State
                          Digital, Mobile Commons, which have been compromised with either corporate ac-
                          quisition, or VC pressure. VC s are looking to maximize their return...

615.                          J. Cohen       11:18p [D1634]
                          if we can treat technical tool provisions as a form of funding and housed under a
                          funding umbrella AKA ArcusHero, then the following can occur Feature set can re-
                          main focused on causes, not profits Customer set can expand beyond LGBT to pro-
                          gressive and dem political, but not get distracted by corporate needs... Tools can be
                          provided at low-cost (wholesale) or free Tools could be packaged with Arcus fund-
                          ing grants Tools give Arcus a great set of assets to bring to the table in causes orgs
                          and campaigns. For example, with the upcoming LGBT discrimination bills and cam-
                          paigns, this could give Arcus greater influence.

616.             Lia Parifax confirmed receipt of the proposal on January 26th at 3:39pm

617.                 Lia M. Parifax, "I hope all is well. I wanted to follow up on this thread. I was actually
                 able to review your materials and am happy to follow up with our new EDs about your
                 work. Things are quite busy here with the leadership transition, so it may take a little
                 longer than I imagine you were hoping. But, I am adding it to my list for us to discuss in-
                 ternally as soon as possible." 7


618.                       Email Subject         01/24/17       2017-01-24 6:08pm "Canceled: Meeting: Josh Cohen -
                                      GB                        J      ’                     ." [D1959*]     Kevin Jennings

619.                         6:08p [D1959*]
                          Canceled: Meeting: Josh Cohen -                             GB                        J     ’           -
                          ment in it.


620.                     Email Subject            01/24/17          6:08p "Canceling Kevin Jennings" [D890*]                 Rodrigo
                      Aguiar

621.                          Rodrigo Aguiar        6:08p [D890]
                          Dear Josh,
                          I am reaching out to unfortunately cancel your meeting with Kevin Jennings. I am
                          sorry to say but Kevin is no longer part of the Arcus Foundation. I apologize in his
                          name for the times we had to reschedule your meetings. He was looking forward to
                          meet with you.
                          Kindly see below.

622.             Lia Parifax confirmed receipt of the proposal on January 26th at 3:39pm

623.                 Lia M. Parifax, "I hope all is well. I wanted to follow up on this thread. I was actually



       7 [D890] Email Aguiar, R., Cohen, J., Parifax, L. M., J., Young, E., & U. (2017, January 24). Canceling Kevin Jennings [Email]. Page 4 [D890,

       p.4]
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                 able to review your materials and am happy to follow up with our new EDs about your
                 work. Things are quite busy here with the leadership transition, so it may take a little
                 longer than I imagine you were hoping. But, I am adding it to my list for us to discuss in-
                 ternally as soon as possible." 8

       IV.C.1.j      Higher Ground Labs founded by Obama cohort

624.             After Trump's victory, Betsy Hoover and two partners founded VC Higher Ground Labs,
                 as reported in the news:


625.                      News    11/02/17 "Can Democrats Harness the #Resistance?" [D1340]
                      Bloomberg.com

626.                       [D1340]

                          Since November, a new generation of progressive entrepreneurs and activistshave
                          quit their jobs to run for office or launch startups aimed at helping Democrats identify
                          and turn out supporters, especially among groups like millennials and minorities that
                          didn't show up for Clinton.

627.                       [D1340]

                          After Trump s victory, Hoover and two partners, staked to $3 million by Reid Hoffman
                          and other Democratic donors, founded Higher Ground to provide mentorship and
                          early-stage investment in politically focused tech startups.

628.                          Betsy Hoover, Hgl [D1340]
                          Our reputation as Democrats is that we invest in technology, and that s true, says
                          Betsy Hoover, a partner at Higher Ground Labs, who directed digital organizing for
                          Obama s 2012 campaign.

629.                                   To create cover for the coercion, Defendants used a woman, Allya
                 Rahman, posting on Google Group "Progressphiles" which falsely portrayed Plaintiff as
                 profiting from exploited labor, when it was Plaintiff's labor being exploited.


630.                       Email Subject         03/08/17       2017-03-08 9:26pm "{pp} They/Them/Theirs standard in
                      OSDI" [D1645]

631.                          Aliya Rahman         2017-03-09 8:12am [D1645]
                          Hey yall and Josh, I hear the open call for input here and embrace that it's what pp
                          is all about - and I assume we'll get some awesome responses on here for folks who
                          know this deeply and personally as well as professionally. AND I also want to push us
                          as a data community to resource pieces of our work in ways that honor communities
                          who are experts in these questions and who are simultaneously (i) rarely paid for their
                          expertise...

632.                                 Plaintiff received a Facebook friend request from ex-military soldier "Josh
                 Seefried", which scared Plaintiff, leading him to seek help.




       8 [D890] Email Aguiar, R., Cohen, J., Parifax, L. M., J., Young, E., & U. (2017, January 24). Canceling Kevin Jennings [Email]. Page 4 [D890,

       p.4]
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633.           Email Subject       03/17/17       2017-03-17 10:13pm "eeek" [D157*]     Josh Cohen

634.              Josh Cohen       10:13p [D157]
               Today I got a friend request from this friend of XX's
               http://www.washingtonblade.com/2016/08/26/gay-air-force-lieutenant-found-not-
               guilty-sexual-assault/

635.              Jason Rosenbaum          10:14p [D157]
               Yick..guess they roll together or something.

636.              J. Cohen      10:49p [D157]
               Yeah they are part of a certain clique.

637.              J. Cohen      10:53p [D157]
               Its pretty scary. XX is really smart and very much a chess player and the kind of at-
               tacker you dont see coming.

638.              J. Rosenbaum         11:18p [D157]
               Could be, I guess the fact that it's hard to tell is part of the idea.

639.    Plaintiff sought help from Catalist, but the potential danger was brushed off by Catalist
        employee Cristina Sinclaire, who served as a leader of the Data Ladies Alliance.


640.            Email Subject          03/18/17     2017-03-18 9:29am "Re: FW: checkin with Wellstone"
            [D635*]   Cristina Sinclaire

641.              Cristina Sinclaire     9:29a [D635]
               Hi Josh -
               I'm sorry to hear you're having a hard time. Today is Russ' first day of vacation, so let's
               let him enjoy his week off if you don't mind please. He deserves it. I haven't read the
               full chain yet, but I read your email. I don't have a lot of context here as I was not
               aware of this situation before your email and was only a volunteer helping with the
               Board at RootsCamp. Is there something you are looking for Russ and I to do to help
               resolve this? What is the ideal outcome you would like to see?
               Cristina
               Cristina Sinclaire |

642.    Two days later, Jason Rosenbaum exploited Plaintiff's state of fear by trying to coerce
        him to make a false confession which would give Action Network a pretext to demand
        Plaintiff's resignation.


643.           Chat     03/20/17       2017-03-20 11:35am "SMS Sync Up" [D143]

644.              Jason Rosenbaum          11:40a [D143]
               I'm done wasting my time arguing with you about the process here
               until you're willing to acknowledge your abuse of chair power here.

645.              J. Rosenbaum         12:45p [D143]
               If you don't understand why asking random people for input on
               our process was the wrong thing to do then I can't keep wasting
               my time trying to save you from yourself on this one. Happy to
               engage on other issues but do whatever you want here.
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       IV.C.1.k Plaintiff retains counsel

646.          Plaintiff retained counsel, Glen Ackerman, to engage with Wellstone to resolve conflict.
              On April 30th counsel made contact with Wellstone, beginning negotiations to resolve
              conflict.

       IV.C.1.l   RagTag Joins

647.                 Email Subject      05/04/17     2017-05-04 8:05pm "MOTION to approve RagTag as a
                  progressive member" [D1999]      List governance,     Josh Cohen

648.          View on osdi-dev

649.                      Josh Cohen    8:05p [D1999]
                     MOTION to approve RagTag as a member of the Progressive Drafting Committee +
                     Liaison
                     Please cast votes by Monday 5/8 5pm Eastern
                     RagTag is an outgrowth of the volunteer coder army for Hillary during the election.
                     They are the analog to progcode (origin as Coders4Sanders)
                     Brady Kriss, RagTag founder and members of their team will be attending and estab-
                     lishing a Liaison point of contact over time.
                     PS: To Probie Jacob, our process here is just to reply with Aye, Nay, yes, no, etc :)

650.                      Seth Bannon    8:05p [D1999]
                     aye

651.                      Jason Rosenbaum     2017-05-05 10:31am [D1999]
                     Aye

652.                      Adriel Hampton    10:34a [D1999]
                     aye, and yay, Brady Kriss is great, I didn't realize this was her group.

653.                      Joe McLaughlin    12:34p [D1999]
                     Aye!

654.                      Beth Becker   12:43p [D1999]
                     Aye

655.                      J. Cohen   2017-05-08 9:30pm [D1999]
                     Motion Approved! Welcome to ragtag


       IV.C.1.m Sonya Reynolds/Colibri joins

656.                 Email Subject      05/09/17   2017-05-09 9:42am "MOTION to approve Sonya Reynolds
                  as a progressive OSDI member" [D1998*]       Josh Cohen

657.                      Josh Cohen    9:42a [D1998]
                     MOTION to approve Sonya Reynolds as a progressive OSDI member
                     Please cast votes by Wednesday 5/10 5pm eastern
                     Sonya Reynolds is progressive data consultant in NYC and from the NY Civic En-
                     gagement Table. She serves only progressive causes and assisted us in our gender
                     pronouns technical discussion.

658.                      Adriel Hampton    9:46a [D1998]
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                     aye

659.                     Jason Rosenbaum      9:47a [D1998]
                     Aye

660.                     Beth Becker    9:50a [D1998]
                     aye

661.                     Seth Bannon    10:13a [D1998]
                     Aye aye

662.                     Nathan Woodhull      10:31a [D1998]
                     aye.

663.                     J. Cohen   2017-05-10 4:57pm [D1998]
                     MOTION APPROVED


       IV.C.1.n Plaintiff resolves conflict via counsel

664.          Due to the escalating danger, Plaintiff retained counsel for the first time since fighting a
              speeding ticket 30 years go. Counsel negotiated with Wellstone/Rootscamp to de-
              escalate the situation adn was successful.


665.                 Email Subject     05/11/17    2017-05-11 4:54pm "Wellstone Action - Update" [D323*]
                  Glen H Ackerman

666.                     Glen H Ackerman      4:54p [D323]
                     I had a rather lengthly conversation with counsel. You are welcome to participate in
                     any Wellstone Action event provided that you comply with Wellstone Action's Code
                     of Conduct.

667.                     G. Ackerman     4:54p [D323]
                     Opposing counsel agrees that Wellstone Action did not properly address the inci-
                     dent that took place at the Wellstone Action RootsCamp event in Washington Dis-
                     trict of Columbia last November.
                     Your participation in future Wellstone Actions should alert participants in the
                     RootsCamp event that witnessed your removal that all is well.

       IV.C.1.o Netroots Nation 2017

668.          Netroots Nation 2017 was the tipping point for the external network effect, and as a
              result the final OSDI conference session before Defendants' racketeering activity ex-
              cluded Plaintiff.

669.          On the eve of the conference, Plaintiff received Facebook RSVP notifications for the
              OSDI session from Robyn Swirling and Jamie McGonnigal.

       IV.C.1.p Robyn Swirling and Jamie McGonnigal RSVP to OSDI Caucus

670.               Sms      08/10/17    2017-08-10 10:22pm "SMS with Jason during NN17" [D234]

671.                  Josh Cohen       10:22p [D234]
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                    pdi?

672.                  Jason Rosenbaum         10:22p [D234]
                    Soon

673.                  J. Cohen       10:25p [D234]

674.                  J. Cohen       10:58p [D234]
                    You invited robyn to the osid event?

675.                  J. Rosenbaum        10:58p [D234]
                    Maybe? I think I invited my whole friends list

676.                  J. Cohen       10:59p [D234]
                    I also see jamie mcgonnigal on "interested"

677.                  J. Rosenbaum        10:59p [D234]
                    Yeah same story I guess. I'll see if that's possible

678.                  J. Cohen       11:01p [D234]
                    Id also ask you to have a conversation with robyn. If she is genuinely interested in
                    participating in the discussion thats cool.

679.                  J. Cohen       11:01p [D234]
                    But if this is a setup its a nogo

680.                  J. Cohen       11:01p [D234]
                    Im going to have a reporting convo with nn staff just in case

681.         Plaintiff feared they were planning another attack, and didn't want anything to do with
             either of them. Plaintiff made a complaint, via email, to Eric Thut asking to meet. Plaintiff
             asked Eric to ask Jamie and Robyn to not interfere with the OSDI session or Plaintiff's par-
             ticipation at the conference. If either of them were planning to participate in a con-
             structive manner, they were welcome to attend.


682.                Email Subject          08/08/17       2017-08-08 6:12pm "Coc & Last Minute Details for
                Netroots Nation Booth" [D969]         Linda Lee

683.                      Linda Lee Netroots Nation Exhibits      6:12p [D969]
                    From: Linda Lee (exhibits)
                    Hello Netroots Nation exhibitors! I have a few last minute details for you:

       1)    Town Square only pass: If you need Town Square only passes for your colleagues who are staff-
             ing your booth, they will be under your name at the

                    ...

684.                      Josh Cohen     9:11p [D969]
                    Could you connect me with the staffer who would be responsible for code of con-
                    duct issues at the conference?

685.                      L. Lee   9:37p [D969]
                    You can reach out to our Interim Executive Director, Eric Thut at er-
                    ic@netrootsnation.org.
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686.                   J. Cohen      9:48p [D969]
                    Thanks


687.                Email Subject        08/10/17       2017-08-10 11:20pm "Gmail Potential code of conduct
                 issue" [D1705*]

688.                   Josh Cohen       11:20p [D1705]
                    Id like to meet with you tomorrow morning before the osdi tech caucus at 1p. (Ideal-
                    ly not last minute) This is a precautionary conversation related to a rape culture situa-
                    tion. What ive been dealing with is the retaliation that comes from having spoken up
                    about some sexual assault/abuse by a member of the community. I know thats
                    probably a jolt but it is what it is.

689.                   Eric Thut     11:26p [D1705]
                    Can I bring in Mary on this conversation?

690.                   J. Cohen      2017-08-11 12:07am [D1705]
                    Sure thing

691.                   E. Thut     8:02a [D1705]
                    Can you came to Chicago E before 9:30

692.                   J. Cohen      8:37a [D1705]
                    Yup

693.         Plaintiff met with Eric Thut and Mary Rickles that evening, and asked them to prevent
             any aggression or interference from Robyn Swirling and Jamie McGonnigal.


694.               Audio      08/11/17     9:30a "Complaint to NN17 re aggression" [T249]         ;      Josh
                 Cohen, Self;    Eric Thut, Netroots Nation;  Mary Rickles

695.                   Josh Cohen       +03:55 [T249]
                    I want you to ask Jamie not to attend, not to attend that session and have no con-
                    tact with me whatsoever.

696.                   Eric Thut    +04:45 [T249]
                    It's a little difficult to ask people to stay away from each other. You know, that's not
                    the business we want to get into. As the official people in some ways we're taking a
                    side of something, that we were not part of. What if I sat in on the caucus and just
                    make sure it went well.

697.         Eric refused.

       IV.C.1.q Disinformation Campaigns

698.         In Parallel to Defendants racketeering, Dimitri Mehlhorn used Reid Hoffman's money to
             fund experiments to replicate the Russian GRU tactics which were used to hack the
             DNC, and manipulate the 2016 election. The first Plaintiff is aware of was a fake "Dry
             Alamaba" digtal campaign using fake Facebook and Twitter accounts run by Beth
             Becker to create false flags to influence a 2017 special election in Alabama.


699.                News         01/06/19 "Secret campaign to use Russian inspired tactics in 2017 Ala
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                election stirs anxiety for Democrats The Washington Post" [D1669]

700.                 News       01/07/19 "Democrats Faked Online Push to Outlaw Alcohol in
                Alabama Race (Published 2019)" [D1180]

701.               News   12/27/18 "LinkedIn Co-Founder Apologizes for Deception in Alabama
                Senate Race (Published 2018),LinkedIn Co-Founder Apologizes for Deception in
                Alabama Senate Race - The New York Times" [D822]

702.                News     12/20/18 "Secret Experiment in Alabama Senate Race Imitated
                Russian Tactics (Published 2018)" [D818]

       IV.C.1.r Abuse of Process

703.         By Netroots Nation 2017, the conspiracy had grown to include Straight men who were
             exploiting a gay male from the outset, Reid Hoffman's political director Dimitri Mehlhorn,
             Venture Capitalists, Big Gorillas, and overzealous fundraisers caught up in the stampede
             to get Reid Hoffman's money.

704.         Defendants positioned themselves and their proxies within the OSDI project in
             anticipation for the complaint Cohen v. Siwrling to gain control.

705.         After Netroots Nation 2017, the DNC strung Plaintiff along through October 2017,
             paralyzing the DNC conversations started with Raffi, and waiting for the complaint to
             be filed. Once it had been filed and served, Defendants planned their abuse of Litiga-
             tion Privilege, then unparalyzed the conversation.


706.               Email Subject      08/27/17   2017-08-27 "DNC Followup" [D329]      Josh Cohen

707.                  Josh Cohen      2:27a [D329]
                    you mentioned you were coming to NYC soon. When is/was that?

708.                  Liz Jaff, DNC    1:28p [D329]
                    Adding Sally
                    Raffi will be in NYC soon
                    Sally josh runs OSDI an initiative raffi is very interested in this open data option
                    Let's make sure we stay connected on what's next. Fisher is lead for open API so
                    good to flag for him so he stays connected with josh too

709.                  Sally Marx, DNC     2017-08-28 9:49am [D329]
                    Raffi will be in NYC on 9/18. Any chance you are free to meet with him then? If you
                    don't mind, we'd also like to have Fisher join. As Liz mentioned, he is the lead on our
                    team for open API.

710.         This conversation continued through early October.

711.                  L. Jaff   2017-10-03 12:03pm [D329]
                    Let's plan next week tamaira please reach out to Josh to schedule a call with me
                    and him

712.         Plaintiff met with Liz Jaffe to discuss the OSDI proposal, but there was no action.

713.         In Q4 2017, Plaintiff liquidated IRA savings account so the funds would be available to
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            fund his time and labor during the struggle save OSDI.

714.        In December 2017, after the complaint was provoked and filed, Alison Schary who
            would serve as Defense Counsel for Robyn Swirling appeared Pro Hac Vice in Gubarev
            v Buzzfeed, a matter related to the "Trump Dossier" authored by British Intelligence
            agent Christopher Steele and published by Buzzfeed.


715.             Document        12/15/17 "Gubarev et al v. Buzzfeed, Inc. et al " [D1573]           Justia
               Dockets & Filings

716.              [D1573]

                  Filing 102 ORDER granting 101 Motion to Appear Pro Hac Vice, Consent to Designa-
                  tion, and Request to Electronically Receive Notices of Electronic Filing for Attorney(s)
                  Alison Schary. Signed by Judge Ursula Ungaro on 12/15/2017. (ls)

       IV.C.1.s New Mode Upgrades to Governance

717.        The company New/Mode was part of Higher Ground Labs initial cohort of funded
            companies. New/Mode would benefit from its OSDI implementation.

718.        According to Nathan Woodhull, he had a long conversation about profit and purpose
            with Steve Anderson, New/Mode's founder.


719.             Email Subject      10/17/17      2017-10-17 7:55pm "Revisting New Mode" [D592]       Josh
               Cohen

720.                 Nathan Woodhull        8:06p [D592]
                  I recently spent a week on a remote Canadian island with Steve Anderson,
                  new/mode's CEO. I really liked Steve even though he's not a software hacker himself;
                  we actually talked for a long time about profit amp; purpose, and think that he at
                  least on a personal level is very strongly aligned and this note from Andrew is con-
                  vincing to me that the company is as well. Nathan

721.                 Seth Bannon     8:06p [D592]
                  Agree with Nathan.

722.                 Josh Cohen     2017-10-18 10:36am [D592]
                  OK, Ill run the motion.

723.        The next day, a motion is passed to upgrade New/Mode.


724.              Email Subject     10/18/17      10:37a "MOTION to upgrade New/Mode to progressive
               technical member" [D594*]       Josh Cohen

725.                 Josh Cohen     10:37a [D594]
                  MOTION to upgrade New/Mode to progressive technical member
                  Please vote by Friday 10/20 @ 5pm eastern
                  After further conversation with new mode, it looks like there wasn't total clarity on the
                  classification question. They have given an updated answer, selecting progressive
                  only:
                  From Andrew@newmode:
                  New/Mode fits with number 4. "Serves strictly only progressive candi-
                  dates/candidates/causes"
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       IV.C.1.t MoveOn Joins

726.         MoveOn positions itself for Abuse of Process


727.                Email Subject         10/23/17    2017-10-23 2:28pm "MoveOn application to join OSDI"
                 [D96*]     Ann Lewis

728.                      Ann Lewis     2:28p [D96]
                    Hi Josh! MoveOn would like to officially apply to join OSDI! Over the last year, the
                    need for a clear standard for APIs for the domain models common to all our political
                    tech systems has risen to our attention many times. We've seen tools that are built to
                    OSDI specs integrate more seamlessly, and also have seen collaboration opportuni-
                    ties made prohibitively difficult by a lack of standards. And vendors have also told us
                    they would be more likely to build to OSDI specs if we were an official part of OSDI.
                    So for all these reasons, we'd like to join forces.




                                             Attendance of Proxies 22% (77 of 337)


729.          Defendants escalated to Abuse of Process
             by increasing their false accusations, using
             an ex-military soldier in a way that felt like
             a death threat, and sabotaging his eco-
             nomic viability until they provoked a com-
             plaint they could misrepresent with decep-
             tion by abusing Litigation Privilege.

       IV.C.1.u Gaining Control




                                                       Abuse of Process


730.         Plaintiff received email from counsel that Swirling had been served on 1/23/2018.

731.         With Cohen v. Swirling served, Defendants abused Litigation Privilege to amplify their
             deception, further damaging and terrorizing Plaintiff.

732.         Defendants abused Litigation Privilege with a tweetstorm, which misrepresents the 2
             verbal policy debates in 2016 as a year and a half of harassment.

733.         To date, Plaintiff's only interactions with Swirling are the 2 verbal policy arguments and
             the court supervised settlement conference with Judge Gorenstein.
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       IV.C.1.v Abuse of Litigation Privilege

734.               Tweets     02/12/18     2018-02-12 9:00am "quote robyn tweetstorm" [D1590]

735.                  9:00a [D1590]
                    Telling the truth about what's happening to you can feel empowering and freeing.
                    Unfortunately, I'm writing this today to tell you about the flip side of that -- the back-
                    lash and harassment that you can face for just standing up for yourself.

736.                  9:00a [D1590]
                    This isn't a #metoo story, but it is a story about what I'm dealing with in response to
                    my work on ending sexual and gender-based harassment in the progressive move-
                    ment.

737.                  9:00a [D1590]

                    Josh Cohen is a software engineer, activist and chairman of [OpenSupporter?]. He
                    is also someone who has harassed me for the past year and a half, and who is now
                    suing me alleging defamation, tortious interference, libel, and intentional infliction of
                    emotional distress

738.                  9:00a [D1590]
                    I am trying to do the hard and necessary work of combatting harassment within our
                    movement, but Josh has interfered and disrupted on multiple occasions, then
                    threatened retaliation if I spoke up. A few highlights:
                    He hijacked a working group that I organized, including offering a significant amount
                    of money to my co-organizer if she would agree to elevate Josh's priorities and cut
                    me out of my own work.

739.                  9:00a [D1590]
                    Josh suggested that he might "go postal" if his request to include more male voices,
                    primarily his, was not accepted. After my co-organizers and I explained why his be-
                    havior was unacceptable and asked him to part ways with the group, he disregard-
                    ed that request.

740.                  9:00a [D1590]
                    He then threatened to sue me for defamation if I told people about his behavior on
                    the listserv.

741.                  9:00a [D1590]
                    He disrupted a conference session I led and then refused to leave when told to.

742.                  9:00a [D1590]
                    He registered a web domain with one of my co-organizer's names in the URL. He said
                    as long as we didn't say anything further about his behavior, he wouldn't publish "the
                    other side of the story" on that site.
                    The last

743.                  9:00a [D1590]
                    It is unacceptable to use legal action in an attempt to silence and intimidate some-
                    one who criticizes harassing behavior.

744.         Defendants setup a fundraiser to collect money from the community to fund defense
             of a lawsuit Defendants provoked in order to gain control of property.

745.                  9:00a [D1590]
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               Please chip in to less the financial impact of this lawsuit.
               All funds received through this page will go to Robyn's legal defense.

746.    At the same time Defendants filed a motion to dismiss, which was unsuccessful.


747.          Docket      02/12/18   8:28a "Def Motion to Dismiss" [D71]

748.            8:28a [D71]
               [Defendant] made unidentified statements to organizers for another conference
               (Netroots Nation, held in August 2017 in Atlanta, Georgia), which resulted in him be-
               ing asked not to attend three sessions at the conference. Compl. 40-48.

749.            2016-11-19 5:28pm [D71]
               Compl. PP 29, 33-34. Plaintiff alleges that Defendant spoke to RootsCamp organizers
               about the incident, who subsequently ejected him from the conference, Compl. PP
               37-38,

750.            2017-08-11 12:28pm [D71]
               [Defendant] made unidentified statements to organizers for another conference
               (Netroots Nation, held in August 2017 in Atlanta, Georgia), which resulted in him be-
               ing asked not to attend three sessions at the conference. Compl. 40-48.

751.            2018-02-12 9:28am [D71]
               This firm represents Defendant Robyn Swirling in the above-referenced action. We
               write in accordance with Your Honor's Individual Rules of Practice 1(F) and 2(B) to
               request a premotion conference before making a motion to dismiss the Complaint.

752.            9:28a [D71]
               Compl. PP 29, 33-34. "Plaintiff alleges that Defendant spoke to RootsCamp organizers
               about the incident, who subsequently ejected him from the conference", Compl. PP
               37-38,

753.                           The tweet storm follow-through on the the original extortion threat
        on the WOV google group to use deception, willfully misrepresenting the facts.

754.    abused the AFL-CIO's monopsony power to coerce other participants to either vote
        Plaintiff out or help destory the project by leaving or face retaliation for "not supporting
        women".

755.    Defendant Swirling blocked Plaintiff's Twitter account so he could not reply, in front of
        the same audience, with "I am gay, our only interactions are 2 verbal policy arguments
        in 2016". This would have greatly reduced the unjust harm to Plaintiff resulting from
        Abuse of Litigation Privilege.


756.              Email    Subject          02/12/18       1:24p    "Please   remove      me     from
           http://opensupporter.org/leadership/" [D5*]     Chuck Hagenbuch

757.              Chuck Hagenbuch        1:24p [D5]
               Please remove me from the Governance committee. I do not want to be listed as
               emeritus in any way either. In order of importance:
               I do not want to support or be affiliated with an organization run by or attached to
               Josh Cohen's name or his harassment.
               I have never been deeply involved in OSDI.

758.              Adriel Hampton     7:30a [D5]
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                There is an organized campaign to get OSDI affiliates to repudiate you - a former
                colleague contacted me asking me to call for your ouster as chair.

759.    Plaintiff followed up with Adriel Hampton via phone, asking him to elaborate on the
        organized campaign. Plaintiff memorialized Adriel's description in email and asked him
        to confirm it, which he did.


760.          Email Subject         10/19/18       2018-10-19 10:00am "could you document" [D4]      Josh
            Cohen

761.                 Josh Cohen     10:00a [D4]
                could you commit to email a description of the bullying behavior you experienced?
                Here's what I recall, could you edit/clarify/confirm?
                A female friend X of Robyn's contacted this OSDI member by phone. X told the
                member that they needed to either kick Josh out of OSDI or resign from OSDI them-
                selves. X also said that if this member didn't go along, "it would not be forgotten",
                which was received by the member to be a threat of retaliation.
                When this member told X that Josh's actions were to confront discriminatory behav-
                ior, and that he is also a victim of sexual misconduct seeking to avoid retaliation, X
                replied that they didn't care.

762.                 Adriel Hampton     11:37a [D4]
                That's accurate, except it was Facebook Messenger, not phone.


763.           Email Subject        02/12/18       2018-02-12 9:30pm "Invoice from Netroots Nation" [D983]
               Netroots Nation

764.                 Eric Thut, Netroots Nation     9:30p [D983]
                Your invoice is attached. Please remit payment at your earliest convenience.
                Netroots Invoice Balance Due $0.00

765.                 E. Thut   2018-02-13 1:50pm [D983]
                Please ignore this invoice that was sent out. We had a ghost in the machine...

766.    To Plaintiff, this appears to be gloating over the destruction of Plaintiff's economic
        viability.

767.    At 10:42pm Brady Kriss/RagTag, who had introduced Plaintiff to Dimitri Mehlhorn speaks
        up in support. Kriss would later become an OSDI officer, download OSDI's membership
        database, attempt to add sublicensing clauses to OSDI's IP licenses, and attempt to
        consolidate power and control over OSDI to RagTag.


768.           Email Subject         02/12/18       2018-02-12 10:42pm "An Important update" [D1048]
            Joshco

769.                 Brady Kriss   8:01p [D1048]
                I'm so sorry to hear this. Let me know if I can help.

770.                 joshco    11:29p [D1048]
                Thank you so much for your message. I don't have a specific ask at this time, but I will
                likely follow-up with you and other supportive members. Thanks

771.                 Seth Bannon     2018-02-13 1:57am [D1048]
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              Sorry to hear you're going through that. Must be stressful. Let me know if there's any-
              thing I can do to help.

772.            Nathan Woodhull       2018-02-14 12:31pm [D1048]
              Josh, It seems, as an outsider, wholly unaware of the particulars, that my advice
              would be to try and find a way through mediation or human connection to resolve
              this issue whatever it might be outside of the courts. It seems like that would be the
              best option for you, Robyn, the issues you cared about raising, and OSDI.
              I know you both to be very passionate people who care a great deal about many of
              the same things -- but to me -- again not being aware of any of the exact particulars
              -- escalating to a lawsuit versus all of the other mechanisms available for dispute res-
              olution among people feels like a distraction from all of the useful things you could
              both be doing in the world. I get that whatever happened must have felt incredibly
              hurtful and personally damaging to take the steps you have but surely there are
              more constructive ways to resolve things?
              I know we're not close but hope you take this as intended, as heartfelt advice from
              an acquaintance who cares about you and OSDI, etc

773.            Josh Cohen       1:15p [D1048]
              Does it strike you an accident that someone of her caliber that in her comprehensive
              attacks she completely airbrushed out my identity as a gay male and antidiscrimina-
              tion activist?
              The attacks she has posted on Twitter are merely attempt #4 to provoke a mob firing
              of josh. The first one was November 2016. I have made concessions tried to have a
              dialog with her, or do the same via an an intermediary.

774.            joshco     1:40p [D1048]
              She's also hidden the context of how she and I came to cross paths, which is my own
              desire to work on the sexual misconduct problem from the same sex gay perspec-
              tive. All voices have a right to be

775.            N. Woodhull      1:41p [D1048]
              Of course she's not being fair, you're suing her. At this point you're never going to get
              the outcomes you want pursuing this strategy is all I'm saying even if you feel boxed
              in and

776.            Schuyler Duveen       2018-02-25 12:15am [D1048]
              I don't know what this is meant to demonstrate. It certainly doesn't sound like Nathan
              is somehow "just on Robyn's side." I read this as him saying something similar to me.
              That:

777.            J. Cohen      12:44a [D1048]
              I don't know what the specific alternative path would be. Do you? Like I said when
              we spoke, filing the lawsuit was a last resort because I couldn't think of a safe alterna-
              tive. I tried to mend

778.                            On February 13th, 2018, Action Network replaced its representative
        Jason Rosenbaum with a woman, Martha Grant.


779.          Email Subject      02/13/18      2018-02-13 12:40pm "[osdi-gov] NOTICE: Action Network
           OSDI representation change" [D255]        Martha

780.            12:40p [D255]
              2018_02_13_osdi_can_new_martha


781.          Email Subject        02/20/18      2018-02-20 9:30am "[osdi-gov] Resigning from OSDI"
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           [D1436]   List governance,     Martha Grant

782.    View on osdi-dev

783.             Martha Grant     9:30a [D1436]
              Action Network will no longer be participating in OSDI, but we commit to maintaining
              interoperability with the tools of the progressive movement and doing what we can
              to strengthen that commitment throughout the movement. Please remove all refer-
              ences to us from the website and other materials, and remove me from all lists. Mar-
              tha

784.             Jeff Mann     12:24p [D1436]
              Please remove AFL-CIO as well.

785.             Beth Becker     12:28p [D1436]
              Me as well please

786.             Walter Ludwig     12:40p [D1436]
              Ditto Indigo

787.             Dave Leichtman via OSDI Governance          1:32p [D1436]
              Microsoft would also like to be removed from the Industry Tech group.

788.             Joe Murray     2:27p [D1436]
              I don't have any sense of what is prompting others to resign apart from the messages
              posted today. But I've only attended a few meetings and don't feel like I am partici-
              pating at a level that makes sense to remain a member. I wish everyone well. But
              please accept my resignation.
              All the best.
              Joe Murray, PhD President, JMA Consulting
              skype JosephPMurray twitter JoeMurray

789.             Sonya    6:50p [D1436]
              Apologies for the apparent radio silence, bad week to be on vacation. For those
              that resigned on this thread, or others that are concerned or confused, please reach
              out to me if you would like to talk about what is needed to maintain your commit-
              ment to the work. My current plan is to collect this input from the coalition of the will-
              ing (anonymously/confidentially) and use it to guide a collective discussion a path
              forward that doesnt jeopardize organizations or this important work. Open to hearing
              everyones thoughts so our next steps can be productive in making it through this pe-
              riod.
              In solidarity, Sonya


790.          Email Subject       02/19/18      2018-02-19 9:50am "[osdi-gov] Please remove us from
           OSDI" [D562]   List governance,      Nathan Woodhull

791.    View on osdi-dev

792.             Nathan Woodhull        9:50a [D562]
              I would like to resign my Governance role as part of OSDI and all other official partic-
              ipation by myself and ControlShift.
              Please remove all references to ControlShift and myself from the OSDI website, mail-
              ing lists and materials.
              We'll still follow along with the technical docs / developments via Github and wish
              the broad community of people working towards tech interop inside and out of OSDI
              well.
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       IV.C.2     Defendants Gain Control

793.                  Email Subject 02/20/18           2018-02-20 2:50pm "Recusal of the chair" [D309]          List
                   governance, Josh Cohen
794.            View on osdi-dev

795.                    Josh Cohen      2:50p [D309]
                      Our organization operates by parliamentary procedure in the form of Roberts Rules
                      of Order... Therefore, effective immediately, I'm exercising the right of the Chair to
                      delegate that authority to the Sonya Reynolds, Vice Chair as Chair Pro Tem.


       IV.C.3     To Operate

796.            Once Plaintiff had recused himself, their proxy Sonya Reynolds became Acting Chair.

797.            Defendant MoveOn then attempted to defraud Plaintiff out of his retirement savings.


798.                  Github    02/21/18   2018-02-21 12:02pm "No open source license Issue #311
                   opensupporter/osdi-docs,No open source license Issue #311 opensupport-
                   er/osdi-docs GitHub" [D1972] GitHub

799.                    Schuyler Duveen      12:02p [D1972]
                      The current specification isn't licensed in any way. It should be licensed in some
                      open-documentation license.

800.                    S. Duveen     2018-02-22 8:29am [D1972]
                      Right, but that's just related to patents. The osdi spec itself has no copyright terms.
                      IANAL, but even if something in there releases copyright/shares distribu-
                      tion/modification rights of the spec, it should be clearer.
                      Something like
                      www.gnu.org/licenses/fdl-1.3.en.html
                      Or
                      creativecommons.org/licenses/by-sa/4.0/

801.                    Josh    11:32a [D1972]
                      lets discuss at today's meeting

802.                    Josh    2018-03-15 1:09pm [D1972]
                      Here's a proposal based on the W3C copyright license. It allows republishing (like
                      forking our repo for proposed changes), but prohibits publishing as a technical speci-
                      fication, or the representing the democratic consensus of OSDI

803.            On the "Important Update" thead, on February 12, 2018, Skyler/MoveOn communicat-
                ed property demands portrayed as empowering women.


804.                  Email Subject      02/12/18      2018-02-12 10:42pm "An Important update" [D1048]
                   Joshco

805.                    Schuyler Duveen      2018-02-25 1:57pm [D1048]
                      I understand how you got here but at this point I think you are in a sunk-cost fallacy
                      negative feedback loop. I think at this point, the alternative path would be some-
                      thing like the steps below.
                      Withdraw your lawsuit
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              Write a "confessional" blog post about why you are dropping the lawsuit
              It should not be defensive. At most, it can have a one-sentence "I was scared for my
              career and my community, but that is no excuse", our community likes confessions,
              even if we say they're not enough or pick them all apart
              Say you were wrong -- if you are looking for inspiration (I'm not saying the situations
              are similar, I'm giving you examples of my favorite "I was wrong" [Balloon Juice about
              Iraq War], [Louis CK]
              Run it by your PR firm or whatever since you have one.
              Have your lawyer review it, but make sure whatever the final product is, it's still truly
              apologetic and says you were wrong to file the lawsuit.
              Say you will take "Sensitivity Training" or whatever, and follow-through and do that
              Say you understand that in the current political moment and probably forever wom-
              en need safe spaces too. Whatever your intentions were, you undermined their abil-
              ity to have and manage those spaces.
              Run it by a woman, ideally someone like Sonya Reynolds: in the community and ar-
              ticulate on "mansplaininess"
              Stay recused from the OSDI chair position and make sure you are not a controlling
              entity of that body in any way -- participate as an implementing member

806.             Josh Cohen      4:30p [D1048]
              I really do appreciate your efforts here, and there is a lot of merit to what you are
              saying. This isn't about sunk cost. it may be that you're just not going to be able to
              see things from my

807.                            Skyler's attempt to trick Plaintiff into making a false confession to
        the Abuse of Litigation Provilege on Twitter is an attempt to fatally damage Plaintiff's
        economic viability.

808.                                             Skyler's suggestion that Plaintiff stay "recused" is an
        attempt to gain control of property


809.          Audio       05/30/18       2018-05-30 11:11pm "Telephone Call Jason Rosenbaum,
           Josh Cohen" [T23]      My Recording;        Jason;      Josh

810.            Josh    +11:00 [T23]
              To the extent I am guilty of anything it is unruly and disobedient behavior on a group
              in September 2016, and mostly silent protest for about a minute in a conference ses-
              sion (November 2016) I just two things completely within the norms of the community.

811.            Jason     +11:00 [T23]
              I agree... It's not about the merits.

812.            Josh    +11:00 [T23]
              Harassing her over a period of time, No.

813.            Jason     +11:00 [T23]
              Again, it's not about the merits. I agree... I agree... It's not about the merits.

814.            Josh    +11:00 [T23]
              Yeah, it is about the merits

815.            Jason     +14:40 [T23]
              If you you are a leader of an organization. Your duty to the organization is to put the
              organization first. And if you can no longer put the organization first in good con-
              science and leaders of organizations resign, that's what they do.
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816.             Jason      +17:06 [T23]
               I guess the last thing I would say it is just, appeal to you, I don't think you did right by
               the organization. I think you can still do right by the organization now, which is to step
               back. I don't think that's forever...

817.             Multiple     +17:06 [T23]
               I would hope that at this point when you've seen what happened to the organiza-
               tion you clearly care about, you would put it first and take that step back.

818.             Josh    +26:30 [T23]
               The community left me to my own devices. The legal system is the way we resolve
               problems, and I think I used that responsibly.

819.             Jason      +26:30 [T23]
               The merits hardly matter here.

820.             Josh    +26:30 [T23]
               Yes, the merits do matter!

821.             Jason      +26:30 [T23]
               you are no longer able to be a leader of this progressive movement organization.

822.             Josh    +26:30 [T23]
               Membership will need to decide. If they want to remove me, they can certainly do
               that

823.             Jason      +25:59 [T23]
               We're not punishing you. We're trying to remove you from your position because you
               are no longer able to lead the organization...

824.             Josh    +31:00 [T23]
               Brian claimed that Action Network is also speaking on behalf of the DNC, MoveOn,
               maybe some others.

825.             Jason      +31:00 [T23]
               A few organizations have called him to express their positions, so he's relaying that in-
               formation. That's true. Yeah. We did not call them.

826.             Jason      +36:33 [T23]
               MoveOn has adopted. I've seen their internal tools, most of their new stuff is using
               OSDI. ActBlue has adopted, though they don't engage in the committee.

827.             Jason      +41:51 [T23]
               Going forward, you have a reputation in the community and you are unable to do
               the work of chairman and you know we don't have confidence in your judgment,
               that's our position. That's what we laid out on on the other week. And that's what
               we'll lay out in whatever process the committee comes up with.

828.    Plaintiff refused to be coerced to resign, and insisted that if Defendants wanted to
        remove him, they could make a motion and secure a majority vote, which was com-
        pletely within their power.

829.    The next day, Plaintiff received email from conference organizers for Personal
        Democracy Forum 2018, revoking Plaintiff's registration.
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830.          Email Subject      05/31/18    2018-05-31 2:25pm "PdF refund" [D145*]      Pdf

831.             Andrew Rasiej      2:25p [D145]
               Dear Mr.Cohen,
               We are in receipt of your registration for the PDF Conference on June 7-8, 2018.
               We are unable to extend you an invitation for this event and we will be promptly re-
               funding your full registration fee/ticket purchase.
               Andrew Rasiej
               Personal Democracy Forum

832.    Plaintiff replied sending the agreement negotiated by Judge Gorenstein, however,
        they didn't change their position. Plaintiff would later learn from PDF consultant Sherry
        Hakimi, that the reason they didn't change their position was because they had been
        told that Judge Gorenstein issued a restraining order against Plaintiff.

833.    Had PDF asked for documentation on the order, which didn't exist, the fraud would
        have been exposed. Plaintiff contacted Andrew Rasiej via email to ask what, if any,
        documentation was asked for or provided.


834.          Email Subject      05/21/19    2019-05-21 3:20pm "past conflict and recommendations"
           [D1968*]   Josh Cohen

835.             Josh Cohen      3:20p [D1968]
               Hi Andrew,
               One point of clarification I'd like to ask pertains to citing the existence of a "restrain-
               ing order" as a justification of why I was excluded. When Robyn communicated that,
               did she provide any documentation of this? Did PDF ask for any documentation?

836.             Andrew Rasiej      2019-05-29 1:33pm [D1968]
               As for your question, I can not respond without the advice of our counsel.

837.    Defendants escalated their deception, misrepresenting the lawsuit they provoked, the
        court supervised settlement conference, and then falsely portraying Plaintiff as violent
        and dangerous, until they succeeded in excluding Plaintiff.

838.    Defendants were fabricating an alternate "origin story" for their ecosystem success. This
        took the form of conference sessions which evolved into "Tech for progressives, not bil-
        lionaires". Action Squared, MoveOn and others portrayed themselves as fighting against
        profit, greed and the VC mindset on the front stage. On the back stage, they conspired
        with the VC's they were criticizing to misappropriate the OSDI IP and split it amongst
        themselves.


839.          Event     06/07/18     2018-06-07 4:30pm "Reverse Engineering the Tech Platforms
           to Win Campaigns for Change - Personal Democracy Forum 2018" [D494]               Per-
           sonal Democracy Forum 2018,      ;     Erica Portnoy, Annie Sartour, Malous Kossarian,
           Rich Skrenta, And Ann Lewis (Moderator)

840.          Conference Session       06/07/18     4:30p "Product Demos and a Reverse Ragtag Pitch
           Personal Democracy Forum 2018" [D1921]

841.             4:30p [D1921]
               Product Demos and a Reverse Ragtag Pitch Personal Democracy Forum 2018
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842.             On July 25th, the OSDI Diversity committee met with a goal of resolving the conflict.
                 Despite Action Network's statement that they would attend, they did not. Rather than
                 make a democratic motion to remove Plaintiff, Defendants' proxies attempted to co-
                 erce Plaintiff to resign, which Plaintiff refused to do.


843.                       Meeting Minutes            07/25/18        2018-07-25 1:30pm "Minutes: OSDI Diversity &
                      Inclusion Committee Meeting" [D206]
844.                 Sonya Reynolds, "I asked no one to put forth motions. I wanted us to work through." 9

845.                         Adriel Hampton          1:30p [D206]
                          (meeting chair) recap - last D&I, Action Network left, asked Josh to step down from
                          leadership, Joe concurred, no formal motions.


846.                       Email Subject          07/29/18       2018-07-29 11:36pm "NN18 - Important Information."
                      [D949*]      Eric Thut

847.                           Eric Thut, Netroots Nation       11:36p [D949]
                          Given new information we have received, we have reconsidered your attendance
                          at Netroots Nation and are revoking your credential for the conference in New Orle-
                          ans this week. We will be refunding your registration fees.


       IV.C.3.a Proxies set end date for OSDI

848.                      Document          08/01/18 "Adoption of New Governance Doc - Adding Term Lengths"
                      [D490]


849.                         Sonya Reynolds [D490]
                          Per our exec committee and membership discussions, this update to the governance
                          document sets ocer terms to 1 year, starting January 31.
                          The proposal already passed, this is just adopting the gov doc that implements this.


850.                      Document         05/24/18 "Term Lengths: One year or two years?" [D491]

851.                      [D491]

                          Term Lengths: One year or two years?

852.                      [D491]

                          Thanks to everyone who participated! Looks like we agreed on term length of 1 yr.
                          We will send around the updated governance documents

853.             In parallel, Defendant's proxies, Ragtag, Colibri, and Broadstripes actively mislead
                 Plaintiff pretending they were going to help restore the OSDI project to its former level
                 of success in order to be elected to leadership positions.

854.             Once Defendants gained control of the project, they paralyzed it. OSDI's email list
                 growth and membership were frozen permanently.




       9 [D206] Meeting Minutes Hampton, A., Cohen, J., Kriss, B., Reynolds, S., & Holahan, T. (2018, July 25). Minutes: Osdi Diversity & Inclusion

       Committee Meeting [Interview]. lucidmeetings.com. lucidmeetings [D206, pt sonya11]
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                            OSDI List Growth
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                                                OSDI Coalition 2017


855.         The Internet Archive page from 2017 shows OSDI's coalition size.


856.               Web Page     06/10/17 "Open Supporter Data Interface Coalition " [D1965]

       IV.C.3.b Proxies elected as leaders

857.         Defendants portrayed themselves as helping to restore the project to its previous state
             of success in order to get elected to officer positions. They stated that their plan was to
             have the project back on track at the beginning of 2019.


858.               Document     08/15/18 "New Officers Elected" [D363]

859.               [D363]
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               marketing - Adriel Hampton
               membership and customer coalition - Brady Kriss
               logistics and liaisons - Pamela John
               chair - Sonya Reynolds
               Vice Chair - Tim Holahan
               Chair Emeritus - Josh Cohen


860.          Web Page      09/30/18 "Meet the OpenSupporter Executive Officers" [D1357]

861.          [D1357]

               In advance of the upcoming national midterm elections, the Open Supporter Data
               Interface (OSDI) project

862.    Once elected, Defendants changed IT systems for meetings, minutes and motions to
        Zoom, Google Docs, and XX respectively. This change allowed Defendants to control
        access to meeting attendee lists and delete documents would be relevant evidence in
        a claim.

863.    Instead of helping the project, Defendants paralyzed it while fraudulently inducing
        more of Plaintiff's labor, gaining access to confidential information, and continuing to
        try to trick Plaintiff into abandoning his property rights.

864.    In Parallel, when Plaintiff would refuse to vote they way Defendants wanted or resign as
        Defednants demanded, they would continue to fabricate accusations against him,
        damage his economic viability, further exclude him industry spaces.




865.




                                               OSDI List Growth
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                                                     OSDI Coalition 2017


       IV.C.3.c Misappropriation of IP
       IV.C.3.c.1   Trademark Dilution


866.                   Web Page      06/10/17 "Open Supporter Data Interface Coalition " [D1965]

867.                   [D1965]

                        Open Supporter Data Interface Coalition

868.            Without any discussion or motion, Defendants' proxies began referring to OSDI as
                OpenSupporter.


869.                   Meeting Minutes    09/19/18   2018-09-19 12:30pm "OpenSupporter 09 19 2018" [D695]
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                                                      Trademark Dilution [D695]


870.            They also proposed the use of "StaleBot" which automatically closes issues in the GitHub
                repository. Since Defendants had squelched participation from others, the lack of activ-
                ity, and automatic closing of issues created the false perception that the project was
                failing due to lack of interest.

871.                      Dan Ryan, RagTag       12:30p [D695]
                        GitHub app for closing stale issues and PRs https://probot.github.io/apps/stale/
       IV.C.3.c.2   Trade Secrets

872.            Having been elected as VP of Membership. Brady asked for access to OSDI's email list
                and google groups. She then downloaded everything into a spreadsheet, which was
                far more than the position of VP Membership required.


873.                    Email Subject        12/05/18      2018-12-05 8:22pm "[osdi-exec] OSDI Membership
                    tracking as of Dec 5, 2018 - Invitation to comment" [D1286]   List exec,   Osdi Exec

874.            View on osdi-dev

875.                      Brady Kriss    8:22p [D1286]
                        brady has invited you to comment on the following spreadsheet:
                        OSDI Membership tracking as of Dec 5, 2018
                        Open in Sheets
                        Google Sheets: Create and edit spreadsheet

876.                      B. Kriss   8:22p [D1286]
                        brady has invited you to comment on the following spreadsheet:
                        OSDI Membership tracking as of Dec 5, 2018
                        Open in Sheets
                        Google Sheets: Create and edit spreadsheet


877.                   Email Subject       12/05/18      8:26p "[osdi-exec] Memberships Update" [D1287]    List
                    exec, Osdi Exec
878.            View on osdi-dev
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879.                      Brady Kriss, Ragtag        8:26p [D1287]
                        My next step on all of this is to begin to follow up with orgs and make sure that we
                        know a few things about each of them
                        Does the organization want to be a member of OSDI?
                        In what capacity would they like to participate?
                        Who is the point person to speak for the org wrt OSDI things?
                        Who are the individuals who want to participate, and what committees and such
                        should they be on.

880.                      B. Kriss   8:26p [D1287]
                        I've done some reconciling of different lists and I wanted to give y'all an update. If
                        I'm missing something, or forgot someone, or did something boneheaded, please let
                        me know. No need to cc the whole list probably. :)
                        I've cross-referenced the main OSDI Action Network mailing list, the Exec list, the list of
                        "Authors and Leadership" on Github, the logo wall on the opensupporter.org site,
                        and the list of leadership on the website. Since some of the people on the email list
                        used personal accounts, I also cross-referenced with their linked-in accounts to see
                        where they worked. This means that there are likely a handful of organizations on the
                        list that aren't really members and never were, but someone who works there now
                        used to participate.
                        Here are some stats
                        111 individuals listed in various places or on email lists.
                        82 organizations listed in various places or with people on email lists.

881.                      B. Kriss   8:26p [D1287]
                        Mega tracking spreadsheet is here docs.google.com/spreadsheets/d/1KQ9AqJIUo-
                        gdKZ4sWK6oNRfXC_S8xSSuVWlaqAEQ9sM/edit?usp=sharing
                        you should be able to access it with your email that's on this google group list.

882.            Despite multiple prospective members interested in joining, including PDI, the only
                addition was "DoGooder" who never showed up to a meeting.

883.            During the technical committee meeting on 12/05/2018, Defendants requested and
                were given SSH (administrator) access to OSDI's website, and began a process to de-
                velop a Frequently Asked Questions (FAQ) document. This was an exercise where De-
                fendants exploited Plaintiff's experience, asking questions and documenting the an-
                swers, but not making use of the FAQ for its intended purpose.

       IV.C.3.c.3   Gaining access to OSDI webserver


884.                   Meeting Minutes       12/05/18      12:30p "OpenSupporter Tech Notes" [D710]

885.                     12:31p [D710]
                        https add - Josh sent Tim ssh access, Tim will work on next step

886.                     12:35p [D710]
                        Let's add an FAQ section!

887.            12/12/2018 Technical Committee meeting. Worked continued on the FAQ. Defendants
                raised the need for a sandbox for testing. Plaintiff spent labor and time developing a
                sandbox. Defendants also mentioned upcoming political tech events.


888.                   Meeting Minutes       12/12/18      2018-12-12 "OpenSupporter Tech" [D661]
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889.                      Sonya Reynolds       12:00a [D661]
                        Conferences/Events
                        2018 Election Tech Debrief, Chicago Jan 17 & 18, Possible OSDI session? Let's have it
                        be OSDI/Ragtag joint happy hour? Dan to run 16th pre-game by Ragtag folks, invite
                        other OSDI members?

890.                      S. Reynolds    12:02a [D661]
                        Developers need a way to test out APIs - OSDI sandbox put together process of how
                        a developer would request such API access, but not make it public. Each vendor
                        could give us the url of their dev info page?
       IV.C.3.c.4   Fraudulently changing process

891.            During the Executive Committee on the same day, Defendants scheculed a review
                and update of OSDI's governance policies.


892.                   Meeting Minutes      12/12/18     12:00a "OpenSupporter Exec" [D704]

893.                      Sonya Reynolds       12:03a [D704]
                        Governance Documents Review, Current doc to review, Questions that remain, Pro-
                        posed changes

894.                      S. Reynolds    12:01a [D704]
                        Orgs we need to follow up with about how to join:
          1.    Relay - needs a "quick pitch"
          2.    Reach - should send them a "quick pitch"
          3.    The Movement Cooperative - Brady is setting up a call
          4.    RiseUp - Have implemented osdi spec, didn't realize it was a thing they could join

895.                      S. Reynolds    12:01a [D704]
                        RiseUp - Have implemented osdi spec, didn't realize it was a thing they could join
       IV.C.3.c.5   Wire fraud to misrepresent copyright authorship

896.            12/18/2018 - Dan Ryan/RagTag opened a GitHub Pull Request #324 titled "Adding
                Gemfile". A Gemfile is a configuration file for the build system, rather than authorship
                contributions to the specification.

897.            The pull request buried commits included adding a new resource type, but was not fully
                specified. Additional commits make changes to that resource and "revert commits" to
                padd Dan Ryan's contribution metrics. The effect of this made Dan Ryan appear to be
                a top contributor to the project.


898.                    Github      12/18/18        2018-12-18 11:45am "Adding a Gemfile by dryan Pull
                    Request #324 opensupporter/osdi-docs" [D679]            GitHub

899.                      Dan Ryan, Ragtag       11:43a [D679]
                        Adding a Gemfile that tracks to GitHub's pages gem so that folks can preview their
                        work locally.Put Gemfile.lock into gitignore so any downstream dependencies won't
                        trigger vulnerability alerts on GitHub

900.                      Dan Ryan      11:44a [D679]
                        Commits on Dec 18, 2018 11:44am
                        Adding a Gemfile that tracks to GitHub's pages gem so that folks can ... dryan
                        committed on Dec 18, 2018
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                        Merge pull request #1 from RagtagOpen/dryan-add-gemfile dryan committed on
                        Dec 18, 2018
                        Merge pull request #2 from opensupporter/gh-pages dryan committed on Dec 18,
                        2018
                        Update _config.yml dryan committed on Dec 18, 2018

901.                      github    11:53a [D679]
                        Pull request #324 to add Gemfile, for local builds, from Dan Ryan, RagTag.
                        <em>Includes 11 commits from multiple authors, backdated but containing no sub-
                        stantive contributions. This will create a false trail of commits, making them look like
                        contributors.</em>

902.                      Sonya Reynolds     2019-01-23 12:46pm [D679]
                        sonyabea commented on Jan 23, 2019. Motion passed 1/23/2019 12:46
                        sonyabea merged commit 19d69d8 into opensupporter:gh-pages on Jan 23, 2019
                        12:46pm

903.            The effect of the above Pull Request makes Dan Ryan/RagTag appear to be the 5th
                biggest contributor to the specification.

904.            Defendants proxy, RagTag, attempted to modify the Authors list.




                                                    2893_GfraudPdeleted_user


       IV.C.3.c.6   Attempt to delete underlying work

905.            12/19/2018 Technical Committee meeting.


906.                   Meeting Minutes       12/19/18    2018-12-19 12:30pm "OpenSupporter 12 19 2018 Tech
                    Notes" [D658]

907.            Dan Ryan/RagTag proposed removing the "master" branch. Doing so would delete the
                underlying work, leaving Defendants fraudulent commits. This would further misrepre-
                sent the authorship as Defendants.

908.                      Dan Ryan, RagTag       12:30p [D658]
                        "To reduce confusion, can we remove the master branch?" (Note: This would delete
                        the history of original contributors and LGBT origin from WA Gay Marriage campaign)
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909.            Continued review of the Gemfile Pull Request.

910.                       Dan Ryan, RagTag Head of Tech         12:30p [D658]
                         Review pull/324,which adds a Gemfile for folks to be able to build and serve the
                         docs locally to preview their changes
       IV.C.3.c.7   Fraudulent inducement

911.            01/09/2019


912.                     Email Subject       01/08/19      2019-01-08 5:00pm "[osdi] OpenSupporter: 1/9/2019"
                    [D1215*]    Sonya Reynolds

913.                       Sonya Reynolds      5:00p [D1215]
                         1.0 - Website Things
                         opensupporter.org - work on FAQs
                         Tims first draft
                         2.0 - Upcoming Events and Meetings Schedule
                         Next week call cancelled (1/16/2018) unless folks want to meet without Sonya
                         3.0 - Tech Work
                         Gemfile Review
                         Developers need a way to test out APIs - OpenSupporter Sandbox


914.                     Meeting Minutes      01/15/19     2019-01-15 2:27pm "OpenSupporter Exec Agenda and
                    Notes January 15 2019 2 58 PM" [D1249]

915.                       Sonya Reynolds      2:38p [D1249]
                         Have a lawyer go over the license section, including sublicense

916.            Defendants' proposals included removing all officer positions except what they
                occupied. Plaintiff objected to this and Defendants agreed to remove these changes,
                however in the draft that was ultimately approved they did not.

917.                       S. Reynolds     2:42p [D1249]
                         Create final gov doc, put vote on Loomio, Put back in descriptions of officer roles,
                         Let folks know these are largely aesthetic / non-consequential / simplifying / clarifying
                         / consistification -- (p. 1)

918.            During the last few minutes of the meeting (2:52pm in a meeting that ended at 3pm),
                Sonya Reynolds/Colibri made a proposal which would consolidate control over the
                OSDI IP.

919.                       S. Reynolds     2:52p [D1249]
                         Talk officer election stuff right quick
                         Proposal - Sonya as Chair, Brady for Vice Chair, Tim as at-large?

920.            Sonya Reynolds had already announced her departure, which was a job with The
                Movement Cooperative. This would leave Brady Kriss/RagTag as chair and no other of-
                ficers with defined responsibility. Given that RagTag only joined in 2017, this would con-
                solidate control in the hans of people who arrived after the IP had been build and had
                value.

921.            Plaintiff would state his objections via email later on january 25th.
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922.                               On January 16th, Sonya Reynolds/Colibri sent email to the group


923.           Email Subject        01/16/19   2019-01-16 1:49pm "[osdi-gov] OpenSupporter Team"
           [D657*]     Sonya

924.                Sonya   1:49p [D657]
              Hey OpenSupporter Community -
              2019 is going to be a big year and brings a lot of opportunity for wider adoption of
              the shared spec!
              Were excited to do this work and are looking for folks to join the exec team. The
              team ensures that OpenSupporter runs smoothly, including membership, onboard-
              ing, partnerships, PR, etc. We have a virtual call every other Wednesday at 2:30p ET
              so exec members would be expected to attend those meetings as often as is possi-
              ble.
              If this is something you might be interested in, let us know. Wed love to have your in-
              put,
              Sonya, Brady & Tim

925.    The only further participation in technical discussions was adding draft of a new
        resource specific a RagTag prject for GOTV. The submitted content was draft and not
        finished. However, this increased Dan Ryan's contribution metrics.


926.          Document         01/23/19 "GOTV Transportation by dryan Pull Request 327 opensupport-
           er osdi docs" [D680]

927.          [D680]

              GOTV Transportation by dryan Pull Request 327 opensupporter osdi docs


928.          Document         01/23/19 "RagTag Governance Changes to consolidate control over IP"
           [D497]

929.             Brady Kriss, RagTag [D497]
              Wondering if we should have a set number of at-large seats? assuming there would
              be times when they weren't filled

930.          [D497]

              Josh Cohen: re questions on the call: the origin of the license comes from
              http://www.jointdevelopment.org/ with help tailoring it from Microsoft Legal
              Brady Kriss (RagTag): needs to be sublicensable
              Josh Cohen: what kind of sub-licensing did you have in mind?
              <em>Question was never answered</em>

931.          [D497]

              Josh Cohen: re questions on the call: the origin of the license comes from
              http://www.jointdevelopment.org/ with help tailoring it from Microsoft Legal
              Brady Kriss (RagTag): needs to be sublicensable
              Josh Cohen: what kind of sub-licensing did you have in mind?
              <em>Question was never answered</em>

932.             B. Kriss [D497]
              needs to be sublicensable

933.    Plaintiff stated his objections to the consolidation of power in email on January 25th. In
        response, Sonya Reynolds/Colibri, Tim Holohan/Broadstripes, and Brady Kriss/RagTag
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        stated their intent to resign thier positions, but not immediately, instead waiting until the
        end of their terms, on 1/31/2019.


934.           Email Subject         01/25/19      2019-01-25 4:25pm "RagTag's Resigns from Governance"
           [D369]      Brady Kriss

935.                Josh Cohen       12:20p [D369]
               Continuing the discussion from our last exec... Our top priority is membership growth.
               (I think we're in agreement on this) Second is preparing for the election.

936.    Plaintiff had recruited potential members including PDI, who had originally expressed
        interest in March 2019, but no action was taken.

937.                Josh Cohen, OSDI          12:30p [D369]
               Membership. We had a number of leads, yet we closed zero new memberships... Our
               last new member closure was in august, prior to the new term of the current officers.
               In this term, I brought in some leads, and so did others. At least one of those leads
               was a second bite at the apple, after we apparently dropped the ball the first time...
               I'm not really a huge fan of grandiose tracker spreadsheets, as they end up being
               more work to manage than whatever it is actually tracking.

938.                J. Cohen     12:35p [D369]
               We had months to do outreach and develop new people into officers. Instead, we
               didn't have any any substantive discussion on it until January 9. in a time crunched
               block at
               the end of our exec meeting. Our outreach consisted of an email on january 16th.

939.                J. Cohen     12:40p [D369]
               We consumed most of our time working on an FAQ, and a review of the governance
               document... they were not urgent, and as a result they starved our top priorities from
               action.

940.                J. Cohen     12:50p [D369]
               My View on Next Steps If we are going to make any changes to the officers in the
               coming cycle, our first priority should be ensure we have a dedicated membership
               officer, that needs to be a woman...

941.                Brady Kriss, RagTag        4:25p [D369]
               Hey y'all,
               I believe that interoperability and standardized data practices are essential to the
               long-term health of the progressive movement.
               I hoped that I would be able to contribute to this by participating in
               OSDI/OpenSupporter. Unfortunately, it's become clear that this is not the right place
               for me.
               I'm resigning the position of VP of Membership and resigning my position on Govern-
               ance, effective immediately.

942.                B. Kriss   4:27p [D369]
               Ragtag will remain a member of OpenSupporter, and Dan Ryan (and others, from
               time to time) will participate in some of the tech calls, and we will continue to help
               work on the spec and build for the spec.
               My membership tracker is here and has been shared with everyone on Exec for a
               while now. I hope it is not too grandiose to be
               useful

943.                Sonya Reynolds      2019-01-28 3:15pm [D369]
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             Hey team -
             Similarly, after much reflection I have decided that I wont be staying on as chair af-
             ter my term ends.
             I have a family emergency that might prohibit me from running the call on Wednes-
             day so would really appreciate if someone could
             step in and cover this week.
             Best
             Sonya

944.           Tim Holahan, Broadstripes    4:31p [D369]
             Hi, folks.
             I'm happy to chair Wednesday's tech call.
             I, too, am going to step away from the exec committee at the end of this term (i.e. in
             three days).
             I'll continue to participate in the tech call to the extent possible.
             Thanks,
             Tim


945.         Document      01/26/19 "Loomio Approved Governance v6 driven by RagTag" [D362]

946.           Sonya Reynolds [D362]
             Here are the changes (aside from things like "chairman" = "chair")
             In section 3 related to Membership, we removed some language giving examples of
             questions for prospective members.
             In section 8 regarding meeting schedules, the notice a chair must give to call an
             emergency meeting is changed from 24 hours to 2 business days (because respect.)
             In section 10.2 regarding electronic voting, we now allow three business days to re-
             spond to e-voting motions, and allow the chair to extend that voting period in exi-
             gent circumstances.
             We removed text specifying the to-do list for adding new members to OpenSupport-
             er and the website.
             In 11.3.2 Public Visibility of membership, we removed a the screenshot of the website.
             In 5.2.1 regarding the Exec Committee, we added the role of "At-Large" committee
             member.
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                                              Abolished Positions


947.    Plaintiff was unwilling to vote for the consolidation of power. In response Defendants
        Broadstripes, RagTag and Colibri resigned their positions and left the project.


948.           Audio      02/01/19      2019-02-01 "Telephone conversation between Tim Holahan,
           Broadstripes and Josh Cohen" [T166]    Tim;     Tim;     Josh

949.             Tim    +03:55 [T166]
              I'm stepping down in a couple of days, then officially I'm off. And that's true of Sonya
              and Brady as well. Obviously brady's already off.

950.             Tim    +65:40 [T166]
              and you are now in a parting of the ways with people more important than me,
              People less willing to talk to you about it than me. But Sonya and brady are out and
              I'm out. I'm out except for tech and Brian will show up for tech when it's appropriate.
              But we can't share the leadership of this group with you because of your (in)ability to
              share it.

951.    In February 2019, Sonya Reynolds begins employement at The Movement Cooperative.


952.          Web Page       02/15/19 "Sonya Reynolds LinkedIn Profile" [D1997]

953.          [D1997]

              Senior Data & Technology StrategistSenior Data & Technology Strategist
              Feb 2019 - Aug 2021 * 2 yrs 7 mosFeb 2019 to Aug 2021 * 2 yrs 7 mos
              Greater New York City AreaGreater New York City Area
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              Skills: Team Building * Project Management * Customer Satisfaction * Communication
              * Leadership Development * Customer Service * Project Coordination * Supervisory
              Skills * Time Management * Employee Training

954.    Plaintiff then focused his attention on the MoveOn Spoke project, and the OSDI related
        work. He contributed code for an OSDI connector that allowed Spoke to interoperate
        with NGPVAN, Action Network, CiviCRM and any other platform that exposed an OSDI
        endpoint.


955.         Web Page    04/27/20 "OSDI action handler and server for import and people,
           questions, answers, messages by joshco * Pull Request #1166 * Move-
           OnOrg/Spoke" [D386]   GitHub

956.            Josh Cohen [D386]
              This PR contains an OSDI action handler to submit canvass responses like Question
              Answers, Tags (aka in VAN terms Survey Question Responses, Activist Codes). The
              handler will automatically download the available questions/SQs and tags/ACs and
              show them in the interaction script editing form as actions.
              This can be used to submit data to EveryAction/VAN, Action Network, CiviCRM (in-
              progress) and other systems that support the OSDI Simple Organizing Profile. (
              opensupporter/osdi-docs#337 )
              This also contains OSDI Server functionality that lets other OSDI clients read data from
              Spoke in OSDI format, as well as import contacts with batch mode.
              opensupporter/osdi-docs#335

957.            Skyler Duveen, MoveOn [D386]
              This PR creates a fantastic external API that will help other programs interface with
              Spoke -- it's breadth is excellent, but also means we'll have to be very careful about
              the additional security surface it exposes.

958.            J. Cohen [D386]
              Thanks for the kind remark. I've reviewed your feedback and agree. I've also dis-
              cussed the issue with other
              OSDI stakeholders, and have a proposal for next steps.
              The current pull request includes some functionality for vision's sake. It also includes
              the bypass and public API switches
              which were meant to reduce friction for those who wanted to experience it for
              themselves using the demo server. I'll
              remove those, or refactor it as skyler suggested.
              The current PR also goes beyond the settled resources in OSDI based on my own im-
              provisations of assignments and
              messages. I'll remove these resources and produce an updated, more constrained
              PR, incorporating Sky and others'
              feedback. This way we could have working code this cycle.
              In parallel, settling on the definition of what these new resources should be a demo-
              cratic consensus among OSDI
              stakeholders, with leadership from those who build products that implement these
              features.
              Augustus Franklin [augfrank?] , from CallHub (which also implements similar fea-
              tures) has offered to serve as a convener
              of an OSDI a breakout group on these resources. It would be great if someone from
              Spoke would participate as well as
              Hustle, Relay and any other implementers.

959.            Augustus Franklin, CallHub [D386]
              1:51pm
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               augfrank commented on Jul 30, 2019
               [joshco?] [schuyler1d?] Yes, I'd love to help. It would be good to setup a common
               way to represent messages and its related resources.

960.                Ilona Brand, MoveOn [D386]

               [joshco?] [schuyler1d?] [augfrank?] What's the status on this work?

961.                J. Cohen [D386]

               [ibrand?] This is almost complete. I've made most of the changes Skyler requested.
               I'll push a branch today

962.                S. Duveen [D386]
               I haven't reviewed but the last time I reviewed this these were my blockers... I'd like to
               see at least some minimal testing -- maybe test of one or two endpoints -- that way if
               people create more tests they have the pattern they need to do so. But ++ to
               @joshco 's work -- this could open up some great ways of linking into Spoke from oth-
               er systems.

963.                J. Cohen [D386]
               I've updated the branch with 2 OSDI test cases.
               get people with apitoken succeeds, and without fails
               try to get people with osdi disabled and it fails

964.                Joe Mclaughlin, Misc [D386]

               hey [joshco?] [schuyler1d?] [ibrand?] and adding in [lperson?] - sorry I am just
               now jumping in on this again. Can y'all possibly collaborate and fast track getting this
               merged? It's great stuff, and I'd really love to use it for an effort that I'm working on -
               it's for an election happening this November.

965.                J. Mclaughlin [D386]

               So I deployed [joshco?] s osdi_key branch tonight on to a production site and will
               test in the a.m., after finishing set up. Just a note that the OSDI_CONFIGURATION.md
               doc doesn't say anything about OSDI_MASTER_ENABLE env var, however I added it
               and set it to true which works, so now I see the OSDI API Access toggle which I'm
               leaving off for now. Also, the doc should be called something like HOW-
               TO_OSDI_CONFIGURATION to conform to the rest of the how-to docs naming con-
               vention in docs.

966.                J. Cohen [D386]
               Improvements based on customer testing and feedback to make it easier to use and
               set up. Thanks to [joemcl?]
               Added yarn osdi-info script to check config, view available information from remote
               OSDI Server
               Added additional environment variables to option in logging of OSDI wire level trac-
               es UI improvements

967.    On November 11th, 2019, Skyler Duveen/MoveOn updated Spoke's code of conduct,
        adding to the list of prohibited behavior, use of litigation or threats of litigation.


968.         Github    11/11/19 2019-11-11 3:28pm "Integrate Citizen Code of Conduct with
            more explicit expected/unacceptable behavior after community feedback "
            [D51]


969.                Skyler Duveen, MoveOn     3:28p [D51]
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               [ No ] Public or private harassment, including threats to pursue legal action including
               litigation

970.               S. Duveen     3:28p [D51]
               Refrain from demeaning, discriminatory, or harassing behavior and speech, including
               threats to pursue legal action including litigation

971.    On November 14th, 2019, Plaintiff published a blog post on the OSDI website
        announcing the Spoke OSDI connector which could interoperate with NGPVAN, Action
        Network, and CiviCRM


972.           Web Page       11/14/19 "Spoke / VAN / EveryAction / Action Network
           Integration,Spoke / VAN / EveryAction / Action Network Integration Open Sup-
           porter Data Interface" [D475]

973.               Josh Cohen [D475]
               FROM OSDI Department of Customer Relations
               TO Progressive Interoperability Special Agents
               RE Spoke / VAN / EveryAction / Action Network Integration
               UPDATE 11/2019 This worked with CiviCRM's OSDI endpoint as well.

974.               OSDI [D475]
               Spoke / VAN / EveryAction / Action Network Integration,Spoke / VAN / EveryAction /
               Action Network Integration Open Supporter Data Interface

975.    On December 12, 2019, Plaintiff attempted to comment on an issue in the Spoke
        repository, but found that MoveOn had blocked him from the repository.


976.          Github      12/10/19      2019-12-10 9:00pm "Blocked from Spoke repository" [D54]

977.               Github system      9:00p [D54]
               "You can't perform that action at this time." Contributor access revoked on Spoke
               repository

978.    A the following NYC Hacknight, Plaintiff asked Skyler Duveen why this was the case.
        Skyler indicated that Plaintiff had violated the code of conduct prohibiting the use of lit-
        igation.


979.          Audio   01/22/20         2020-01-22 6:30pm "kenyetta hacknight p1" [T86]   Kenyetta;
           Josh;    Kenyetta

980.               Kenyetta      +00:03 [T86]
               I just went to the studio to make sure you're on page. There have been some com-
               ments about things that happened outside of hack night. We wanna make sure that
               they don't cross over into hack night. We have a no harassment policy. We wanna
               make sure everyone feels safe. So happy to answer any questions.

981.               Kenyetta      +07:02 [T86]
               I'm coming in as new January 22nd, 2020. My my general concern is the space that is
               progressive hack night. You're totally fine to continue coming. But also knowing that
               Skyler and Ilona now was spoke employees, they're also gonna be here. So I just
               wanna make sure that the three of you can coexist in a space. I want them to feel
               comfortable, to run a working group. I want you to be able to do the same. Like I
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              said, we have no harassment policy, So it would just be easier if, you didn't talk to
              them.


982.           Audio        04/15/20       2020-04-15 6:30pm "Discussion with Kenyetta re Skylers
           complaints" [T201]     My Recording;       Kenyetta;       Josh

983.             Kenyetta       +00:02 [T201]
              No, it was more what came from Skyler and other people said that you were kind of
              like bugging them about whatever you were trying to do.

984.             Josh   +01:14 [T201]
              If you read the pull request, statements visible from them. Skyler is effusively praising
              the work I did on the OSDI connector. The next day Ilona asks, "what's the status of
              this?". (I performed the labor they requested, and provided information they re-
              quested, some of which would have otherwise been confidential.)

985.             Josh   +07:03 [T201]
              Kenyetta: I mean, okay, like without reading the documentation, like I'm going off of
              what you said and like rumors and third party information about this. Like I don't know
              like,
              well honestly I think that if I was in your shoes, I know this is self serving, but if I was in
              your shoes, I would say, look, I'm not getting in the middle of it if you want to come to
              smoke hack night if you want to come back and have your group here, you got to
              let you can't play this exclusionary game if you want. You know, and like if they insist
              that like you watch what happens and they want to talk about
              Kenyetta: us as an organization to kick out spoke. That's essentially what you're say-
              ing. No, actually
              not. Why am I saying? I'm not saying at all, I'm saying that if they want to come here,
              they're welcome to come and have to be exclusive
              Kenyetta: according to,

986.             Josh   +07:03 [T201]
              Kenyetta: I mean, okay, like without reading the documentation, like I'm going off of
              what you said and like rumors and third party information about this. Like I don't know
              like,
              well honestly I think that if I was in your shoes, I know this is self serving, but if I was in
              your shoes, I would say, look, I'm not getting in the middle of it if you want to come to
              smoke hack night if you want to come back and have your group here, you got to
              let you can't play this exclusionary game if you want. You know, and like if they insist
              that like you watch what happens and they want to talk about
              Kenyetta: us as an organization to kick out spoke. That's essentially what you're say-
              ing. No, actually
              not. Why am I saying? I'm not saying at all, I'm saying that if they want to come here,
              they're welcome to come and have to be exclusive
              Kenyetta: according to,


987.         Web Page    04/27/20 "OSDI action handler and server for import and people,
           questions, answers, messages by joshco * Pull Request #1166 * Move-
           OnOrg/Spoke" [D386]   GitHub

988.            Skyler Duveen, MoveOn [D386]
              schuyler1d closed this on Apr 27, 2020.
              Comment: contact-loaders sadly make this PR obsolete.
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        IV.C.4      Concealment

989.             To prevent Plaintiff from attending conference Personal Democracy Forum 2018 (PDF),
                 Defendants lied to the organizers, claiming that Judge Gorenstein issued a restraining
                 order against Plaintiff. Defendants are falsely portraying Plaintiff as unstable, violent and
                 dangerous to cover up a robbery.

990.             The hatred incited by Defendant's ruse can be seen in the faces of Netroots Nation staff
                 during refusals of service in 2018 and 2019.

991.             https://www.youtube.com/watch?v=tfzn6DO-iSs

992.             https://www.youtube.com/watch?v=CUEospqON6Q

993.             Plaintiff attempted diligence to discover what happened to the essential IP and
                 economy of scale. Despite being refused service at Netroots Nation 2019, Plaintiff tried
                 to figure these out from the outside.

994.             Defendants retaliated against plaintiff by terrorizing him on the sidewalk, when a male
                 stranger accosted Plaintiff in front of an audience of attendees, repeating "Josh Cohen
                 sexually harasses women" and similar false accusations.


        IV.C.5      Break Contact

995.             The coercion ended when Defendants broke contact at in Q1 2020. At the time,
                 Plaintiff didn't understand what happened, or what Defendants goal was. The only
                 thing Plaintiff understood was the use of Disparate Impact, but not what their goal was.

996.             Plaintiff began the intake process to file a civil rights complaint against Netroots Nation
                 2019 with the Philadelphia Human Rights Commission.


997.                   Document      05/05/20 "PHL Civil Rights Complaint against Netroots Nation" [D468]

998.                   [D468]

                        PHL Civil Rights Complaint against Netroots Nation

999.                                     Plaintiff filed a civil rights complaint with the Philadelphia Civil
                 Rights Commission. However, due to Defendants concealment he could not provide
                 sufficient evidence, and Defendant (Netroots Nation) abused Litigation Privilege again,
                 repeating false accusations to the commission.


        IV.C.6      Where did it go?

1000.            Plaintiff was diligent in his efforts to discover what happened to OSDI, but could not due
                 to Defendants concealment
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                      Cumulative Investment grows ecosystem, creating an economy of scale


1001.                Email Subject     10/24/19     2019-10-24 1:41pm "help, ASKS" [D902*]    Joshco

1002.                  joshco     1:41p [D902]
                     What would be helpful is to be able to 1. meet with someone in lambda to review
                     the evidence (which I have a lot of), relevant laws, and my current plan of action
                     with respect to the discrimination. 2. A hope I have is to be able to make the volun-
                     teer management and sync tools, which have real customers, available free or
                     cheap to LGBT organizations. Maybe getting hired by an org to do this, as a zero dol-
                     lar acquisition.

1003.                  Josh Cohen       2:30p [D902]
                     This was shortly followed up by digital pokes from X and his ex-military pal, the latter
                     feels like a gun being pointed at my head. I am REALLY afraid of them

1004.                  J. Cohen      2:41p [D902]
                     It's also a dangerous example of disparate treatment, where one protected class
                     can engage in unchecked lethal predatory behavior against another.

1005.                  Kevin Jennings     3:23p [D902]
                     I dont officially start until December 2. Let me follow up then.

1006.                  joshco     3:29p [D902]
                     Can you break protocol and pass this along? I dont think I can wait that long. Ive
                     begun drafting a complaint for violations of Philadelphias anti-discrimination law,
                     and am not comfortable slipping a month+. There are also some interrelated actions
                     where statute of limitations are tight.


        IV.D     Data War




                                                       Data War Timelne


1007.          Defendants sidelined Plaintiff while a data war erupted after the 2016 election. The
               seeds of the struggle occurred during the 2016 election. These included the Data
               Breach in 4Q2015 where the DNC locked the Bernie Sanders campaign out of
               NGPVAN, depriving the campaign of essential resources for candidates running for
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                 election, as well as the DNC's alleged favoritism of Hillary Clinton at Bernie Sanders ex-
                 pense, general anger at Trump's election, and the arrival of Billionaires Reid Hoffman,
                 Lauren Powell Jobs, Eric Schmidt and the formation of VCs including Higher Ground
                 Labs and Acronym.

1008.            This led to a fierce power struggle over economies of scale.


        IV.D.1      Application Ecosystems

1009.            As the largest REST based API ecosystem, which was protect only by a gay male's
                 property, contract and civil rights, it was an valuable but weakly defended economy of
                 scale.

1010.            While Defendants were actively misleading Plaintiff with false hope, they were pillaging
                 its resources, using his retirement savings for their own benefit, passing off the work as
                 their own to enrich themselves by securing venture capital, and investing the proceeds
                 into their own enterprises.

1011.            Defendants were also "locking out" PDI, preventing them from competing at the level of
                 the market.


        IV.D.2      Voter File Data Warehouses

1012.            In late 2018, Reid Hoffman funded a new Voter File project with $35 million which would
                 be known as "Alloy". The DNC would describe it as an "Existential Threat", creating it's
                 counter proposal "Democratic Data Exchange" aka DDX. The DNC went so far as to
                 threaten to lock state parties out of NGPVAN if they supported Alloy instead of DDX.

1013.            DDX would prevail with Howard Dean as Chair in early 2019, which was canonized at
                 Netroots Nation 2019.


        IV.D.3      Disinformation Networks

1014.            In response to the disinformation tactics used by the Russian GRU, Dimitri Mehlhorn
                 authored a report and proposal to replicate them. He later used Reid Hoffman's money
                 to fund experiments, which originated at Netroots Nation 2017, starting with a fake "Dry
                 Alabama" campaign to influence the 2017 special election in Alabama, which was run
                 by Beth Becker.

1015.            Those experiments grew into a coordinated network of nodes portraying themselves as
                 local news sites, which operate in a coordinated manner to fabricate organic behavior
                 and manipulate search results.


        IV.D.4      Manufactured Origin Story

1016.            Action Network, MoveOn and others ran a campaign at conferences like Netroots
                 Nation, Personal Democracy Forum and through blog posts along the lines of "Tech for
                 progressives not Billionaires". The economy of scale created by OSDI was attributed to
                 this theme.
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1017.            While on the front stage, they portrayed themselves as in a struggle against VCs and
                 Billionaires, they were colluding back stage to split the proceeds of their racketeering
                 activity in OSDI.


        IV.D.5      Data War Timeline

        IV.D.5.a Early 2017 Higher Ground Labs Founded

1018.                   Web Page          05/25/17 "How Silicon Valley is trying to topple Trump ---
                     beginning with a special election in Montana " [D1599]           Vox

1019.                     Tony Romm [D1599]
                        And Higher Ground Labs is a new attempt by some of former President Barack
                        Obama's digital aides to invest in cutting-edge campaign tech startups.

1020.                     Betsy Hoover, HGL co-founder [D1599]
                        The Democrats have invested in digital and technology and data for longer than
                        Republicans have, So too, however, have Republicans, she said --- meaning Demo-
                        crats have to step up our game in order to maintain the edge we have built and
                        we're losing ground on.


1021.                    News     07/03/17 "Mark Pincus and Reid Hoffman are launching a new group
                     to rethink the Democratic Party" [D702]   Vox

1022.                      Tony Romm [D702]
                        Mark Pincus and Reid Hoffman want to hack the Democratic Party. The effort ---
                        called, yes, WTF for short --- aims to be "a new movement and force within the Dem-
                        ocratic Party, which can act like its own virtual party," said Pincus, its lead architect,
                        during an interview. -- (p. 2)

1023.                      T. Romm [D702]
                        Pincus, the co-founder of Zynga, and
                        Hoffman, the brains behind LinkedIn, want to force Democrats to rewire their
                        philosophical core, from their agenda to the way they choose candidates in elec-
                        tions

1024.                      T. Romm [D702]
                        WTF is also eyeing more audacious efforts: Initially, Pincus had planned to solicit
                        feedback at launch on recruiting a potential challenger to Democrats' leader in the
                        House, California Rep. Nancy Pelosi, in a primary election.

1025.                      T. Romm [D702]
                        Amid their planning, Werbach and others sought to study the Democratic Party's
                        primary political organ, the Democratic National Committee. Quickly, though, they
                        found themselves disillusioned. The DNC still appeared to be in "complete disarray,"
                        Werbach told potential backers, as party insiders squabbled as to whether to con-
                        tinue in the mold of Clinton, or to tack sharply leward to appease the unrelenting
                        supporters of her fellow Democratic contender, Bernie Sanders.

1026.                      T. Romm [D702]
                        In the end, WTF could find itself on a collision course with long-established, wellfund-
                        ed Democratic interests like the DNC, which attracts the lion's share of fundraising
                        dollars every election cycle, and serves as the primary conduit for bolstering office
                        seekers across the country.
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1027.                  T. Romm [D702]
                    And that's precisely the point. "I think part of the thing is to say, look, we're not about
                    politics as usual," Hoffman said. "We have little patience for that on both sides. And
                    so it may end up being some clash with the Democratic Party, but I think that's also
                    part of what millennials and a swath of Americans want."

1028.                  T. Romm [D702]
                    Whether the aftershock meaningfully reshapes what it means to be a Democrat,
                    however, is the true existential question --- one that faces not only Pincus and Hoff-
                    man and WTF, but the entirety of the anti-Trump resistance still maturing in tech hot-
                    beds like Silicon Valley

        IV.D.5.b DNC Unity Reform Commission Founded

1029.               News      07/23/16 "Unity Reform Commission" [D1481]          Democrats

1030.                  Mayor Wellington Webb and Michaeleen Crowell [D1481]
                    Resolution Establishing the Unity Reform Commission

        IV.D.5.c Netroots Nation 2017 and HGL Cohort 1

1031.         After Netroots Nation 2017, a meeting was held in Chicago by what would become
              Higher Ground Labs. Their initial cohort included Gerard Niemira, who founded
              GroundGame as a spin-out from Hillary for America.


1032.               News    08/02/17 "Announcing Higher Ground Labs $1.5M initial investment in
                 our inaugural cohort - Higher Ground Labs" [D1637] Higher Ground Labs

1033.               [D1637]

                    Higher Ground Labs, the leading innovative incubator and accelerator for progres-
                    sive political and campaign technology, has deployed nearly $1.5 million to 10
                    groundbreaking companies that will begin supercharging progressive campaign
                    technology.

1034.               [D1637]

                    VoterCircle is a powerful and easy to use friend-to-friend outreach platform that en-
                    ables supporters to leverage their personal relationships to benefit a campaign or
                    organization. With just a couple clicks, 100s of campaign supporters are be able to
                    personally reach 1,000s of their friends from the comfort of their home on their own
                    schedule. VoterCircle can be used at every stage of a campaign to increase name
                    ID, grow an email list, recruit volunteers, identify grassroots donors as well as ID, per-
                    suade and GOTV voters.

1035.               [D1637]

                    GroundGame is an opinionated technology platform for campaigns and causes to
                    organize their voters, volunteers, and donors. The core platform is a voter, volunteer,
                    and donor CRM, armed with organizing tools (1-to-1 SMS and email, tools for door
                    knocking and calls, etc) and an API that connects to other platforms. GroundGame
                    empowers campaigns of any size, from the smallest to the largest.

1036.               [D1637]

                    BallotReady provides data and tools to power down-ballot civic engagement --
                    powered by the most comprehensive and complete dataset to every level of gov-
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                    ernment. Using a powerful, customized voter turnout tools for campaigns, advocacy
                    groups, and nonprofits to inform voters about their entire ballot and get out the vote,
                    every election.

1037.               [D1637]

                    Mobilize America is built to help elect Democrats to state government. To achieve
                    new levels of volunteer engagement, Mobilize America combines a robust two-sided
                    marketplace to connect volunteers and campaigns, with a scaled digital grassroots
                    organizing program. The model is being developed in Virginia's 2017 house elections,
                    and will deploy for competitive states nationwide in 2018.

1038.         On 7/12/2017, Betsy Hoover, a founder of Higher Ground Labs was interviewed on The
              Great Battlefield podcast.


1039.               Audio        07/12/17    2017-07-12 "Investing in Progressive Technology Entrepreneurs
                 with Higher Ground Lab's Betsy Hoover" [T144]

1040.                  Betsy Hoover      +12:45 [T144]
                    we're in the middle of our first open application process for accelerator companies
                    and fellows. The application for that closes June five. So if you air this before then I
                    will great. Then folks should definitely apply. You can do it at higher ground labs dot
                    com and we're in the process of interviewing, reviewing those applications and in-
                    terviewing folks. Our first cohort will start this summer, but that will be the first and then
                    we'll have another cohort in 2018. How did

        IV.D.5.d HGL Cohort 2

1041.         On 4/4/2018, Higher Ground Labs announced its second cohort of companies it was
              investing in. This included New/Mode.


1042.               Web Page         04/04/18 "Announcing Our Second Cohort - Higher Ground Labs"
                 [D1638]      Higher Ground Labs

1043.                 HGL Team [D1638]
                    New/Mode: New/Mode is putting the powerful tools used by the world's leading
                    campaigns into more campaigners' pockets.
                    Our engagement tools target the right decision-makers across communications
                    channels and activate grassroots power to help you win your campaigns. It's how
                    modern campaigns stand out: your supporters' stories, everywhere decision-makers
                    look.

        IV.D.5.e GRU Disinformation Experiments

1044.         The first disinformation campaigns Plaintiff has discovered began after Netroots Nation
              2017. However, they were not reported in the news until afterwards.


1045.               News   01/07/19 "Facebook Pages Used Russian Tactics To Make Democratic
                 Push In Alabama Special Election,Facebook Pages Used Russian Tactics To
                 Make Democratic Push In Alabama Special Election | HuffPost Latest News "
                 [D1984]      HuffPost

1046.                  Antonia Blumberg [D1984]
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               It's unclear who spearheaded the misinformation campaigns. Funding for at least
               one of the efforts traced back to Reid Hoffman, the billionaire co-founder of
               LinkedIn. Hoffman gave $750,000 to American Engagement Technologies, a progres-
               sive tech start-up founded by former Obama administration official Mikey Dickerson,
               according to the Post.

1047.             A. Blumberg [D1984]
               Hoffman's political adviser, Dmitri Mehlhorn, reportedly brokered the deal with AET.
               Mehlhorn runs a group called Investing in Us, a tech company that finances progres-
               sive political causes.

1048.             A. Blumberg [D1984]
               Dickerson spent $100,000 of Hoffman's funds to hire New Knowledge, a social media
               research firm, to conduct research in Alabama's election, the Post reported, citing
               an anonymous source.

1049.    Defendants used fake Facebook and Twitter accounts to create a "false flag" fake "Dry
         Alabama" campaign to influence the 2017 Alabama special election.


1050.          News   01/07/19 "Democrats Faked Online Push to Outlaw Alcohol in
            Alabama Race (Published 2019)" [D1180]

1051.          [D1180]

               The "Dry Alabama" Facebook page, illustrated with stark images of car wrecks and
               videos of families ruined by drink, had a blunt message: Alcohol is the devil's work,
               and the state should ban it entirely.

1052.          [D1180]

               Along with a companion Twitter feed, the Facebook page appeared to be the work
               of Baptist teetotalers who supported the Republican, Roy S. Moore, in the 2017 Ala-
               bama Senate race. "Pray for Roy Moore," one tweet exhorted.

1053.    Defendants are in the habit of using sock-puppets and bot farms to fabricate organic
         behavior.

1054.          [D1180]

               The New York Times reported last month on a separate project that used its own bo-
               gus conservative Facebook page and sent a horde of Russian-looking Twitter ac-
               counts to follow Mr. Moore's to make it appear as if he enjoyed Russian support.

1055.          [D1180]

               Matt Osborne, a veteran progressive activist who worked on the project, said he
               hoped that such deceptive tactics would someday be banned from American poli-
               tics. But in the meantime, he said, he believes that Republicans are using such trick-
               ery and that Democrats cannot unilaterally give it up.

1056.    The decisions of this cohort were hotly debated within progressive circles.

1057.             Matt Osborne [D1180]
               "If you don't do it, you're fighting with one hand tied behind your back, You have a
               moral imperative to do this --- to do whatever it takes."

1058.          [D1180]
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               The discovery of Dry Alabama, the second so-called false flag operation by Demo-
               crats in the fiercely contested Alabama race, underscores how dirty tricks on social
               media are creeping into American politics

1059.           [D1180]

               The first of the Alabama efforts was funded by Reid Hoffman, the billionaire co-
               founder of LinkedIn, who apologized and said he had been unaware of the project
               and did not approve of the underhanded methods. The second was funded by two
               Virginia donors who wanted to defeat Mr. Moore --- a former judge accused of pur-
               suing sexual relationships with underage girls --- according to a participant who
               would speak about the secret project only on the condition of anonymity and who
               declined to name the funders.

1060.    Beth Becker, a participant in the conspiracy in this case, ran the digital campaigns.

1061.           [D1180]

               Beth Becker, a social media trainer and consultant in Washington who handled Fa-
               cebook ad spending for the Dry Alabama page and the project's other Facebook
               page, called Southern Caller, said in an interview that a nondisclosure agreement
               prohibited her from saying much about the project.
               But, she added, "I don't think anything this group did crossed any lines."
               That may be true in the sense that neither law nor regulations set any clear limits on
               social media activity in elections. "The law has clearly not caught up with social me-
               dia," Ms. Becker said.

1062.    These tactics originated at Netroots Nation in 2017.

1063.           [D1180]

               Mr. Osborne, who said he helped conceive the Dry Alabama project and wrote for
               the Southern Caller page, said the effort began inconversations with acquaintances
               from his years at the annual Netroots Nation progressive gatherings. They discussed
               what tactics mighthelp Mr. Jones's chances and zeroed in on tensions within the Re-
               publican Party over whether drinking should be permitted in Alabama,where the
               number of dry counties had dwindled

1064.           [D1180]

               So some Democrats were discomfited by the revelation that the first of the Alabama
               efforts was explicitly devised to try out the tactics of the Russian operation, accord-
               ing to an internal report on the project obtained by The Times.

1065.           [D1180]

               But after the Times report in December, he acknowledged, in a post on the online fo-
               rum Medium, a "concern that our tactics might cause us to become like those we
               are fighting." He declared that "some tactics are beyond the pale."

1066.    On December 26, 2018, in a post on Medium, Reid Hoffman apologized for the use of
         his funding to support these disinformation tactics.


1067.          Web Page      12/26/18 "Truth and Politics" [D1990]

1068.             Reid Hoffman [D1990]
               To reiterate yet again, I find the tactics that have been recently reported highly dis-
               turbing. For that reason, I am embarrassed by my failure to track AET --- the organiza-
               tion I did support --- more diligently as it made its own decisions to perhaps fund pro-
               jects that I would reject.
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        IV.D.5.f DNC 2018 Summer Meetings

1069.                    Web Page         05/01/18 "Upcoming DNC & RBC Meetings!,Upcoming DNC &
                     RBC Meetings! DemRulz" [D1276]         DemRulz

1070.                      DemRulz [D1276]
                         The full DNC is holding its summer/fall meeting on August 23-25, at the Hyatt Regency
                         Chicago, 151 E Upper Wacker Dr, Chicago, IL 60601.


        IV.D.5.g DNC 2018 Winter Meetings
        IV.D.5.g.1   DNC DDX vs Alloy

1071.            In late 2018, according to Politico, "Democrats at war over trove of voter data"


1072.                    News       12/06/18 "We have a crisis: Democrats at war over trove of voter
                     data" [D581]       POLITICO




                                                            "Crisis" [D581]


1073.                                    k, H          ’                      [D581]

                         "We have a crisis," said Robby Mook, Hillary Clinton's campaign manager in 2016.
                         "Republicans are going to have a major
                         strategic advantage over us in 2020 if we don't fix it."

1074.                      Alex Thompson, Politico [D581]
                         But in interviews with more than two dozen state party chairs, vice chairs and execu-
                         tive directors, the response to the proposal being pushed by DNC Chairman Tom Pe-
                         rez and his leadership team ranged from skeptical to outright hostile.

1075.                      A. Thompson [D581]
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                Frustrations among several state party officials focused on the DNC's chief technolo-
                gy officer, Raffi Krikorian, who came to
                the party from Silicon Valley, and on its recently named chief executive, Seema
                Nanda, who worked for Perez in his
                previous job at the Labor Department. Neither official has significant campaign ex-
                perience.

1076.              Jim Roosevelt [D581]
                "The logjam has to be broken on this because we need this in order to win," said Jim
                Roosevelt, co-chair of the DNC's rules and bylaws committee and a longtime party
                official, who declined to take sides.

1077.              A. Thompson [D581]
                Several state party officials said they're working on a counterproposal to present in
                early 2019. They said it would still allow data swapping among the party and outside
                groups while keeping the voter file under their control.

1078.           [D581]

                The DNC is advocating a proposal modeled on the Republican Party's data opera-
                tion. It would amass all the voter data from Democratic groups into a single, for-profit
                entity.
                Data Exchange plan pushed by the Democratic National Committee has triggered
                a fierce backlash within the party

1079.    According to Politico 12/10/2018, one of the main concerns about the Reid Hoffman's
         voter data project was that it limited the Democratic party's control over the data. The
         party's control over this data has been used as gatekeeper powers to influence primary
         elections. The concerns also included viewing the project as an "existential threat" to
         the state parties.


1080.           News     12/10/18 "LinkedIn co-founder backs $35 million voter data project in
             existential threat to Democratic Party" [D583]        POLITICO

1081.              Alex Thompson, Politico [D583]
                State parties agree that some entity allowing for data integration should be created
                and are working on several counterproposals to present in the coming weeks. They
                are wary of giving up some control of their voter file to an outside entity.

1082.              A. Thompson [D583]
                With tens of millions of dollars at their disposal, the people behind Hoffman-backed
                project could eventually create their own voter file, making the Democratic Party's
                file less valuable. That process, however, would likely take several years and would
                be nearly impossible to complete by the 2020 election.

1083.              A. Thompson [D583]
                LinkedIn co-founder backs $35 million voter data project in 'existential threat' to-
                Democratic Party

1084.              A. Thompson [D583]
                The DNC's top leaders have been telling people that Hoffman's project represents an
                "existential threat" to the party, according to two sources with knowledge of the dis-
                cussions.

1085.              A. Thompson [D583]
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                        As we build this effort, we will be reaching out to all the key players soon to get this
                        done," a person familiar with the ongoing discussions told POLITICO, stressing that the
                        project is still in its early stages.

1086.                      A. Thompson [D583]
                        Both of [the data trust projects] will eliminate state parties, not immediately but even-
                        tually," said one state party official. State parties will still be subject to campaign fi-
                        nance limits while outside groups without those limits would have access to their vot-
                        er file data, putting them at a disadvantage that could grow with time, the thinking
                        goes.


1087.                    News    12/16/18 "DNC Chair Tom Perez goes to war with state parties" [D1283]
                        POLITICO

1088.                      Alex Thompson, POLITICO [D1283]
                        Democratic National Committee Chairman Tom Perez launched an attack on his
                        ownparty's state organizations Saturday with a long and angry email over the future
                        of theparty's most valuable asset --- its voter data file.Just days before an important
                        Tuesday meeting in D.C. on the future of the data operation,Perez sharply criticized
                        a new proposal from state party leaders and singled out prominentstate officials by
                        name.

1089.                      A. Thompson [D1283]
                        It's the latest fight in a quickly escalating war over the trove of Democratic voterin-
                        formation --- a conflict that broke into the open at a gathering of the state parties
                        and the DNC in Puerto Rico late last month.

1090.                      A. Thompson [D1283]
                        The party's data are largely owned by the state parties, but a considerable amount
                        of other data being collected by outside groups like labor unions and super PACs
                        could be leveraged to benefit Democratic candidates and the eventual 2020 nomi-
                        nee.
                        The DNC wants to gather all the data points on voters into a new, massive for-profit
                        database but needs to convince state parties on the idea. The state parties have
                        been wary,accusing the DNC of conducting a power grab that could financially
                        benefit a few elite party figures.

1091.                      A. Thompson [D1283]
                        Perez argued in his Saturday email that "Ken's new entity...amounts to having State
                        Partieseffectively going alone on technology and data." He threatened to cut off
                        access to campaign tech tools like VoteBuilder, an online organizing platform, if
                        state parties go forward with their plan.

1092.                      Tom Perez, DNC Chairman [D1283]
                        "You would have to find a replacement for VoteBuilder --- either building or buying ---
                        asthe DNC has sole rights to the platform..."
        IV.D.5.g.2   Groundbase acquired by Acronym and Renamed Shadow

1093.            In January 2019, near the end of the racketeering conspiracy to operate OSDI,
                 GroundBase, founded by Gerard Niemira, was acquired by VC Acronym.


1094.                    Tweets       01/17/19     2019-01-17 11:20am "acronym acquire groundbase
                     shadow" [D1571]

1095.                      Acronym Twitter    11:20a [D1571]
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                           Some news this morning We've acquired SMS tool Groundbase & are launching
                           Shadow, acompany focused on building the technology infrastructure needed to
                           enable Democrats torun better, more efficient campaigns

1096.            In a blog post the same day, from Gerard Niemira, he outlines an integration platform,
                 which would be released at Netroots Nation 2019 and described as a "universal adapt-
                 er."


1097.                      Web Page       10/02/19 "Whats New in Shadow ?: October 2019,Whats New in
                        Shadow ?: October 2019 | by Shadow Inc. | Medium" [D1311]                Medium

1098.                        Gerard Niemira, Acronym [D1311]
                           ACRONYM is thrilled to announce the launch of Shadow, a new technology compa-
                           ny that will exist under the ACRONYM umbrella and build accessible technological
                           infrastructure and tools to enable campaigns to better harness, integrate and man-
                           age data across the platforms and technologies they all use.

1099.                        G. Niemira [D1311]
                           I co-founded Groundbase (formerly called GroundGame) in 2017 with a few of my
                           colleagues from the Hillary for America campaign where we built tools for HFA's field
                           team.

1100.                        G. Niemira [D1311]
                           But by marrying Groundbase with ACRONYM's digital communications and advertis-
                           ing expertise, Shadow will also focus on creating the infrastructure that will enable
                           Groundbase technology -- as well as all the other technology offerings in the political
                           market -- to better integrate across platforms and organizations.

1101.                        G. Niemira [D1311]
                           How will this work in practice?
                           Today, an organizer might create an event within a platform such as MobilizeAmeri-
                           ca. Then, they'll call or text everyone who signed up for that event to confirm their at-
                           tendance. The current best-practice workflow for this is to manually pull the event at-
                           tendee data from MobilizeAmerica, manually upload it to an SMS tool to text con-
                           firmed attendees and then manually update MobilizeAmerica with the results, which
                           are synced to VAN. At every manual step mistakes are made, data is lost, and
                           shortcuts result in lower event attendance and fewer voters ultimately reached.

1102.                        G. Niemira [D1311]
                           Our goal is to develop a data syncing platform that automatically solves ecosystem
                           problems like this one: getting data where it needs to go when it needs to go there,
                           saving organizers hours of work and reducing the risk of mistakes and lost data. And
                           imagine how much more effectives campaigns and organizations would be if they
                           knew not only whether a voter's door was knocked, but whether they received a text
                           message about a local event from their state party or local candidate
        IV.D.5.g.3   DDX Wins

1103.            On 2/13/2019, the DNC announced on its website that an agreement to use
                 Democratic Data Exchange (DDX) had been made with state parties.


1104.                      Web Page      02/13/19 "DNC and State Parties Announce Historic Agreement"
                        [D578]


1105.                      [D578]
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                         Today, the Democratic National Committee (DNC) and Democratic state parties
                         announced an historic four-year agreement that will guarantee more investment in-
                         to Democratic state parties and grassroots infrastructure than ever before.

1106.            The DDX would be led by Howard Dean. This settled a long running rift between the
                 Netroots and the party establishment.


1107.                     News       02/13/19 "Howard Dean to head new Democratic voter data
                     exchange" [D588]        The Burlington Free Press

1108.                       Bill Barrow, Burlington Free Press [D588]
                         Dean confirmed that he's signed on to lead a planned data exchange hammered
                         out by DNC officials, state party leaders and Democratic consultants. The agree-
                         ment still requires the expected approval from state party leaders gathering
                         Wednesday in Washington, but it would end more than 18 months of internal party
                         wrangling that has dogged DNC Chairman Tom Perez amid fights over money and
                         control.

1109.                       BILL BARROW [D588]
                         "He's really a unique person in the DNC," said Mary Beth Cahill, a top Perez lieutenant
                         who led the negotiations and who managed John Kerry's 2004 presidential cam-
                         paign that defeated Dean. "Just looking at the landscape, he seems like one ofthe
                         best signals we could send" to get everyone on board.

1110.                       B. BARROW [D588]
                         The new exchange will operate as an independent for-profit enterprise led by Dem-
                         ocratic strategist Jen O'Malley Dillon, once a top adviser to Hillary Clinton's cam-
                         paign.

1111.            https://theintercept.com/2019/03/22/house-democratic-leadership-warns-it-will-cut-off-
                 any-firms-who-challenge-incumbents/


1112.                     News      03/22/19 "House Democratic Leadership Warns It Will Cut Off Any
                     Firms That Challenge Incumbents" [D725]             The Intercept

1113.                    [D725]

                         The Democratic Congressional Campaign Committee warned political strategists
                         and vendors Thursday night that if they support candidates mounting primary chal-
                         lenges against incumbent House Democrats, the party will cut them off from busi-
                         ness.

1114.                    [D725]

                         The strategy isn't new. Though it did bring a few more hiccups in 2018 than expected,
                         which makes the rollout all the more puzzling. "There was never an enforcement that
                         I've ever seen," the strategist told The Intercept. "This is the first time that they are ever
                         making it open policy."
        IV.D.5.g.4   Digital Platforms and Applications

1115.            1Q2019 was the end of Defendants' proxies "operate" phase. The effect of their fraud
                 was to make them appear to be the most active contributors to the project.

1116.            1Q2019 is also when GroundGame (Gerard Neimira) was acquired by Acronym,
                 renamed Shadow. "Lightrail" was then announced, which was a synchronizer product
                 who's infringement would later become discoverable in Summer 2021.
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        IV.D.5.h Netroots Nation 2019
        IV.D.5.h.1   DDX Canonized


1117.                    Conference Session         07/13/19      2019-07-13 11:45am "Democratic Data: How
                     We Are Bringing It All Together Netroots Nation " [D576]            ;     Netroots Nation

1118.                      Netroots Nation       11:45a [D576]
                         After more than a year of consultation with hard side partners---including state par-
                         ties and sister committees---the DNC has entered into a partnership with the Demo-
                         cratic Data Exchange to allow real-time data sharing with partners around the politi-
                         cal ecosystem. This is a gamechanger for our entire progressive universe.
                         From IEs, labor unions, SuperPACs, and newly formed progressive groups, to electoral
                         campaigns, the committees that drive national investment, and the state parties
                         that are the infrastructure after a cycle has passed: everyone can all benefit from
                         DDX, so come learn how 1145a - 1p
        IV.D.5.h.2   Action Builder Release


1119.                    Conference Session        07/11/19      2019-07-11 11:15am "This Is How We Win: A First
                     Look at Action Builder Netroots Nation" [D1759]

1120.                      11:15a [D1759]
                         As progressives, we win when we take the time to build and maintain relationships
                         with and between activists, understand the issues we all face, and identify and de-
                         velop our future leaders. Come by for a Philly Water Ice, join leading organizers and
                         the Action Builder team for a discussion on building a sustainable and scalable
                         movement through tried-and-true organizing tactics, and enjoy a special demo of
                         the new organizing toolset, Action Builder, from the organization that brought you
                         Action Network.
        IV.D.5.h.3   Shadow Lightrail Released


1121.                   Conference Session    07/12/19 2019-07-12 4:30pm " ’ G        H
                     CORNER: WHY EVERY DEPARTMENT SHOULD BE USING DIGITAL TOOLS AND TAC-
                     TICS" [D1648] ;    Netrootsnation

1122.                      netrootsnation      4:30p [D1648]
                         Politics in the modern age has taught us that digital tools and tactics are no longer
                         the the singular resource of a "digital team." From comms to development to field
                         staff, everyone will fail to reach their full potential if they don't include digital tactics
                         in their work. This panel will take a deep dive into how digital tools and tactics like
                         email, SMS, social media organizing and more can and should be used to support
                         the work of an entire organization.

1123.                      netrootsnation      4:31p [D1648]
                         GERARD NIEMIRA
                         Gerard is an experienced product and engineering leader with over 12 years of work
                         in the nonprofit and political sectors. Most recently, he led product teams at Hillary
                         for America, where he was Director of Product for the campaign's suite of organizing,
                         events, and major donor fundraising tools. Prior to that, he spent 8 years at the online
                         crowdfunding pioneer Kiva, most recently as Vice President of Product and Engineer-
                         ing leading a team of 40 engineers, designers, and product managers. He has spent
                         his career working for progressive causes and organizations promoting social good.


1124.                    Web Page         07/18/19 "Introducing Shadow Inc: Shining a Light on Political
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                     Data,Introducing Shadow Inc: Shining a Light on Political Data | by Shadow
                     Inc. | Shadow Inc | Medium" [D1199] Medium

1125.                      Gerard Niemira, Shadow [D1199]
                         Since we initially announced our acquisition by ACRONYM earlier this year, Shadow
                         has been hard at work to publicly launch and bring you new tools to help progres-
                         sive campaigns and causes win up and down the ballot. That's why we're excited to
                         share two big announcements today:

1126.                      Gerard Niemira, Acronym [D1199]
                         Lightrail is the universal adapter for progressive political data.
                         Lightrail is the universal adapter for progressive political data. It makes it easy for you
                         to move data from tool to tool and back to your data warehouse so that you can
                         get your data where it needs to go without having to know Python or SQL.

1127.                      G. Niemira [D1199]
                         Over the summer we'll be releasing more connections and more pipelines, like BSD
                         Tools, VAN, MobilizeAmerica, Redshift, and more, but if you're interested in getting
                         started with Lightrail today, let us know!

1128.                      G. Niemira [D1199]
                         Say Hello to Shadow Messaging
                         Our goal is to make tools that empower organizers and advocates to do what they
                         are
                         already doing but faster, easier, and in a way that makes it simple to scale their im-
                         pact.
                         We know that peer-to-peer SMS is only one tool that organizers use to communicate
                         with their people and in some cases it may not be the most cost-effective way to
                         organize. So we're adding a new tool to our peer-to-peer messaging suite: peer-to-
                         peer
                         email.

1129.                      G. Niemira [D1199]
                         This new email tool lets organizers send email from their own email address that's
                         templated to a list synced or uploaded to our tool. Replies go directly to the organiz-
                         er's inbox where they're managed like any other email, but data about the initial
                         send is tracked (bounce rates, open rates, clickthrough rates) and can be synced in-
                         to VAN so you can see directly in your CRM who received the mail.

        IV.D.5.i Data War Endgame 4Q2020
        IV.D.5.i.1   Alloy's Demise


1130.                   News  12/15/20 "Inside the implosion of the $35 million startup meant to fix
                     the Democratic Party" [D886] Vox

1131.                       Theodore Schleifer [D886]
                         Backed with $35 million --- half from Silicon Valley celebrity billionaire Reid Hoffman ---
                         Alloy was pictured as the le's belated big money answer to the right's supremacy in
                         theworld of political data.

1132.                       T. Schleifer [D886]
                         The founders' initial pitch of the startup in late 2018 centered on functioning as the
                         principal way for the Democratic Party to legally "exchange" data with affiliated out-
                         side groups like super PACs --- an arrangement that the GOP had plowed hundreds
                         of millions to successfully develop in the aftermath of the 2012 election.
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1133.                       T. Schleifer [D886]
                         The state parties ended up largely working with the national party on their
                         own new, independent data portal, the Democratic Data Exchange (DDX), which
                         after
                         many delays, eventually rendered the initial idea of Alloy largely duplicative, even
                         though Alloy had a head start and more money

1134.                       T. Schleifer [D886]
                         Without realizing it, the scrappy startup was being blocked out by powerful incum-
                         bents
                         --- a "monopoly" in the eyes of some Alloy allies --- and was unable to execute the
                         deals
                         that would make the data portal work.


1135.                   News      11/23/20 "Democratic data group Alloy funded by Reid Hoffman
                     shuts down - Vox,The $35 million play to fix Democrats data problem is shutting
                     down" [D584]    Vox

1136.                       Theodore Schleifer [D584]
                         Alloy, a group started with $35 million in part from Silicon Valley billionaire Reid Hoff-
                         man, said on Monday that it would begin to "wind down its operations" next year af-
                         ter it completes its work for the January runoff elections in Georgia.

1137.                       T. Schleifer [D584]
                         Alloy was originally envisioned as a new data exchange where all Democratic efforts
                         could swap information on progressive voters. But when it was introduced, the effort
                         angered some party leaders who saw it as a stereotypical attempt by hubristic Sili-
                         con Valley billionaires to fix a problem they didn't understand.

1138.                       T. Schleifer [D584]
                         the Democratic Party ended up having its own solution to its 2016 errors. The Demo-
                         cratic Party started building out a data portal called the Democratic Data Ex-
                         change,

1139.                       T. Schleifer [D584]
                         the relationship between Alloy and the Democratic Party could be tense at times,
                         with some party leaders seeing Alloy as an "existential threat."

1140.                       T. Schleifer [D584]
                         But no single project was more closely associated with him than Alloy
        IV.D.5.i.2   Alloy Acquired by Civitech (HGL)


1141.                   News      03/01/23 "Civitech Acquires Alloy Data and Technology,Civitech
                     Acquires Alloy Data and Technology - Civitech" [D1979] Civitech

1142.                    [D1979]

                         Civitech incorporates Alloy products to continue to power progressive campaigns to
                         victory.
        IV.D.5.i.3   GRU Style Disinformation Networks

1143.            The experiments described above have evolved into a large scale network of
                 coordinates sites, acting as local news sites, operating in a coordinated fasion.
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                  'Dark money' networks hide political agendas behind fake newssites


1144.          News      05/22/20 "Dark money networks hide political agendas behind fake
            news sites" [D1363]    OpenSecrets News

1145.          [D1363]

               One newer group heralding the new era of pseudo-news outlets is ACRONYM, a lib-
               eral dark money group with an affiliated super PAC called PACRONYM. The nonprof-
               it also is an investor in a for-profit digital consulting firm that gained notoriety for its
               role in launching Shadow Inc., the secretive vendor behind a vote tabulation app at
               the center of the pandemonium at the Iowa Democratic caucuses. ACRONYM an-
               nounced it was divesting in Shadow Inc. shortly thereafter.

1146.          [D1363]

               Launched in 2017, ACRONYM received financial backing from Investing in US, an in-
               vestment vehicle funded by Silicon Valley donor and billionaire LinkedIn founder Reid
               Hoffman. ACRONYM received $250,000 from New Venture Fund the following year,
               according to New Venture's most recent tax return.

1147.          [D1363]

               ACRONYM raised $9.4 million from secret donors during its second year of operation
               through April 2019, more than seven times the prior year according to its tax returns.
               Three anonymous donors giving more than $1 million each made up more than half
               of that, with the top donor giving more than $2 million.

1148.          [D1363]

               ACRONYM is behind Courier Newsroom, a network of websites emulating progressive
               local news outlets. Courier has faced scrutiny for exploiting the collapse of local jour-
               nalism to spread "hyperlocal partisan propaganda." It claims to operate "independ-
               ent from" ACRONYM and says ownership is shared with "other investors." But a new
               tax return obtained by OpenSecrets lists ACRONYM as the full owner of Courier as of
               April. 30, 2019, the most recent date on record.
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1149.




1150.         [D1363]

              Sixteen Thirty Fund sponsored social media pages and digital operations for five
              pseudo local news outlets in three states in 2018. They appeared to be independent
              of each other, but promoted themselves with nearly identical digital ads.
              Facebook pages operating under the auspices of the Colorado Chronicle , Daily
              CO, Nevada News Now, Silver State Sentinel and Verified Virginia gave the impres-
              sion of multiple free-standing local news outlets with unique names and disclaimers.
              But the sponsors of those ads are merely fictitious names used by the Sixteen Thirty
              Fund,
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                                   "Undisclosed Coordinated Ads by Sixteen Thirty Fund" [D1363]


1151.                    [D1363]

                         Dark money networks hide political agendas behind fake news sites (Zoom)

1152.                    [D1363]

                         Websites affiliated with Courier Newsroom that appear to be free-standing local
                         news outlets are actually part of a coordinated effort with deep ties to Democractic
                         political operatives. OpenSecrets first revealed the network's digital ad spending at
                         the Investigative Reporters and Editors NICAR conference in March.
        IV.D.5.i.4   Digital Platforms

1153.            Defendants actions to invest the proceeds of their racketeering activity are described
                 in the relevant sections


        IV.E         Racketeering to Invest Proceeds

1154.            Today, the market for Digital Microtargeting Platforms has changed.


        IV.E.1       Action Squared

1155.            Action Squared is a joint effort between Action Network and AFL-CIO, whose products
                 include Action Network and Action Builder, which have been merged into single prod-
                 uct as the result of a platform disintermediation play. Product direction is governed by
                                               “                              ” w
                            “k                      ”                 -CIO, Action Network, DNC, and Dai-
                 lyKos/Netroots Nation.

1156.            Action Squared "cooperative development" development partners included Action
                 Network, AFL-CIO, and DailyKOS/Netroots Nation.


1157.                     Podcast        01/18/19        2019-01-18 11:37am "Building tech tools that help
                     progressive organizations operate w/ the Action Network's Brian Young" [T174]
                     Nathaniel G. Pearlman, The Great Battlefield;       Nathaniel;   Brian

1158.                       Nathaniel    +27:01 [T174]
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               software, all of that. Yeah, a lot of that, you know, all of it was bootstrapped. You
               know, we built the first tool set and then we really realized we needed some core
               partners to make this work, you know, we weren't, we're a non profit. So we couldn't
               offer R. O. I. To investors, you know, nobody's going to get a return on investment to
               it. So we really needed some real partners that could make this work and we need-
               ed to build it in a way, um, rather than giving up our sort of ideological focus, we
               would give up some of the control and really think of it as a cooperative sense. So,
               um, we really found that partner in the A. F. L. C. I. O. Um, which in outside people
               might think that would be an odd partner.

1159.            Nathaniel    +27:01 [T174]
               And the way that we set that up is the we have the development committee called
               the platform Development committee. And that committee collectively sets the
               roadmap for development every year. So our core development is driven by that
               committee. The committee um right now it's us, AFLCIO, and DailyKOS

1160.            Brian   +40:23 [T174]
               always cognizant and aware that the uh production database can be optimized of-
               ten for one thing or another if you're trying to do too many things in one tool set that
               are really sort of opposite in the way you use a database, especially you're having to
               fudge your optimizations and sort of try to fit things together where, you know, we're
               building a digital tool set with the action network and that's what it's for and it's not
               really a phone um tool. So we really always from the beginning we contracted KPI
               and trying to build a good api so people could integrate in with

1161.            Brian   +40:23 [T174]
               keeping your focus on

1162.            Brian   +40:23 [T174]
               keeping the focus there and building in really think of ourselves as a, as part of a
               tech ecosystem and we're not going to be everything for everybody.

1163.    On 7/11/2019, at Netroots Nation 2019, Action Builder is introduced in a session "A First
         Look at Action Builder"


1164.          Conference Session        07/11/19   2019-07-11 11:15am "This Is How We Win: A First
            Look at Action Builder Netroots Nation" [D1759]

1165.            11:15a [D1759]
               As progressives, we win when we take the time to build and maintain relationships
               with and between activists, understand the issues we all face, and identify and de-
               velop our future leaders. Come by for a Philly Water Ice, join leading organizers and
               the Action Builder team for a discussion on building a sustainable and scalable
               movement through tried-and-true organizing tactics, and enjoy a special demo of
               the new organizing toolset, Action Builder, from the organization that brought you
               Action Network.

1166.    Action Squared announces created vertical agreement with DNC and adds DNC as a
         development partner.


1167.           Web Page           03/11/20 "Action Network partners with the DNCto build
            sustainable technology infrastructure for progressives" [D499]

1168.            Patrick Stevenson, Chief Mobilization Officer, DNC [D499]
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               "We switched our entire program to Action Network atthe beginning of December
               and are wrapping up our best online fundraising Q1 in a decade, money that we will
               desperately need in the months to come as we reactto this crisis."

1169.             Brian Young, ED, Action Network [D499]
               With the AFL-CIO as our key first partner, we set up a unique cooperative develop-
               ment model, where we partner directly with major progressive institutions to build
               technology, working directly with the people using our tools.

1170.             B. Young [D499]
               We were excited to bring the DNC on as partners, believing that creating the strong-
               est and most robust infrastructure for the 2020 election was crucial. The growing
               needs related to the unprecedented COVID-19 outbreak make this all the more ur-
               gent.

1171.    For the first time Plaintiff was aware of, Action Squared treats OSDI as its own property.
         The program announcement, which is the property element of extortion is attributed to
         a woman, Amy Chin-Lai.


1172.          Web Page    12/02/20 "Integrating your platform with Action Network is now
            easier than ever,Integrating your platform with Action Network is now easier
            than ever | by Amy Chin-Lai | Powering Progressive Movements | Medium"
            [D449]      Medium

1173.             Amy Chin-Lai, Action Network [D449]
               Who can be a part of the Integration Partnerships Program?
               Any developer, consultant, or platform that wants to build an integration with Action
               Network.

1174.             Amy ChinLai,httpsmediumcomamychinlai [D449]
               Integrating your platform with Action Network is now easier than ever,Integrating
               your platform with Action Network is now easier than ever | by Amy Chin-Lai | Pow-
               ering Progressive Movements | Medium

1175.             A. Chin-Lai [D449]
               Integrations (like the ones we already have) allow our partners to use tools that are
               best for their given purpose, whether it's a fully-featured CRM, peer-to-peer texting
               tool, phone banking, or advocacy tool.

1176.             A. Chin-Lai [D449]
               I'll work closely with other platforms to improve and maintain integrations and work to
               integrate with more platforms for our partners.

1177.    Brian Young announces the program on Twitter.


1178.          Tweets       12/03/20    2020-12-03 12:58pm "Tweets: Partner Program Announcement"
            [D501]


1179.                @TheActionNet     2020-12-02 1:01pm [D501]
               Introducing the Integration Partnerships Program! Open to any developer, consult-
               ant, or platform that wants to build an integration with Action Network.

1180.                Brian Young   2020-12-03 12:58pm [D501]
               Focusing on integrations and being a part of an overall tech ecosystem is a big key
               to long term innovation and stability in progressive technology
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1181.                              Though Brian gets the retweets on Twitter, he put his female
         employee in the path of legal jeopardy, since the announcement is the first public ex-
         ample Plaintiff discovered of Action Network treating the OSDI as its own.

1182.    Action Network and Action Builder are merged into a single product, completing the
         platform disintermediation play.


1183.           News     06/22/21 "Mobilizing AND organizing are essential to building
            progressive power,Mobilizing AND organizing are essential to building progres-
            sive power | by Brian Young | Powering Progressive Movements | Medium "
            [D830]     Medium

1184.                Brian Young, Action Network [D830]
               At Action Network & Action Builder, we're uniting the two into a seamless power-
               building model

1185.                B. Young [D830]
               To date our two tools, Action Network and Action Builder, have existed in tandem,
               but apart.

1186.                B. Young [D830]
               Through our cooperative development model, in which we build tools handin-hand
               with activists and organizers, we've built a brand new way to integrate your mobiliz-
               ing and organizing programs

1187.                Brian Young,httpsmediumcomBrian_ActionNetwork, theactionnet [D830]
               Mobilizing AND organizing are essential to building progressive power,Mobilizing AND
               organizing are essential to building progressive power | by Brian Young | Powering
               Progressive Movements | Medium

1188.    Action Builder launches its API, which is also OSDI laundered into a proprietary walled
         garden, once again attributed to a woman.


1189.           News    02/23/22 "Introducing the Action Builder API,Introducing the Action
            Builder API | by Amy Chin-Lai | Powering Progressive Movements | Medium"
            [D1767]      Medium

1190.                Amy ChinLai,httpsmediumcomamychinlai, theactionnet [D1767]
               Action Builder is the premier organizing tool for the labor movement, community or-
               ganizations, and beyond. We built the API in collaboration with the AFL-CIO and or-
               ganizers on the ground.

1191.                A. ChinLai [D1767]
               You can build something so Action Builder communicates with your peer-to-peer tex-
               ting tool, your database, and beyond.

1192.          [D1767]

               introducing_the_action_builder_api_d628b1f36e2b

1193.                A. ChinLai [D1767]
               Sign up for our Integration Partnerships Program here:
               https://www.actionbuilder.org/developers


1194.          Web Page           05/25/22 "API Documentation | Action Builder,Action Builder "
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                    [D1764]


1195.                  [D1764]

                       Built by organizers, for organizers from the ground up for organizing and leadership
                       development

1196.            The platform application integration API remains OSDI, however it has been laundered
                 and portrayed as Action Squared proprietary API and ecosystem, and has used Em-
                 brace, Extend, Extinguish tactics adding proprietary extensions and incompatible
                 changes,


        IV.E.2     NGPVAN

1197.            NGPVAN continues as the 2nd Dominant platform now owned by Bonterra after a
                 swath of acquisitions and consolidation in the market.


        IV.E.3     PDI

1198.            PDI remains as a distant 3rd. PDI's API, which can be seen at the link below, is
                 completely different than OSDI. It is also an example of how there are many ways to
                 express an API.


1199.                  Specification   06/22/23 "PDI API" [D1948]

1200.            As a result it does not compete at the level of the market, and must re-source its own
                 economy of scale.
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        IV.E.4      The market for Digital Microtargering Platform Data Synchronizers




                                                      Universal Adapters


1201.            As a result of Defendants unlawful conduct, the market for Digital Microtargeting
                 Platforms has been coerced to proprietary walled gardens. As a result, Data Synchro-
                 nizers must spend engineering resources building a library of proprietary connectors for
                 each application and platform they want to integrate with.

1202.            These libraries are economies of scale which favors entrenched players, large players
                 with significant resources, such as VC funded companies. Engineering resources to
                 build and maintain these libraries are a tax on top of the feature functionality of the
                 products themselves.

1203.            Plaintiff's Data Synchronizer product will suffer as a result. Prior to OSDI's destruction at
                 the hands of racketeers, Plaintiff focused his resources on the feature functionality that
                 differentiated his product. As a sole-proprietor the external network effect was essential
                 to his ability to participate in the market.

1204.            In the current state of the market, Plaintiff as well as other market players will have to
                 spend money and engineering resource to build the library of connectors. As the mar-
                 ket of applications and platforms grows, this becomes as increasingly large tax, which is
                 a barrier to entry.
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        IV.E.5      Higher Ground Labs

        IV.E.5.a Overview

1205.            Another recipient of the proceeds is Higher Ground Labs's portfolio companies Civitech,
                 Mobilize, New/Mode, and Shadow Lightrail (renamed Bluelink and acquired by Civ-
                 itech).

1206.            Lightrail is a product that synchronizes data between platforms. Its API is also OSDI,
                 misrepresented as its own proprietary API using Embrace, Extend, Extinguish tactics
                 adding proprietary extensions and incompatible changes,

1207.            The conspiracy to invest the proceeds of racketeering activity into Higher Ground Labs
                 depends on the same conspiracies to gain control of OSDI and operate it.

1208.            It begins in 2013 when Nathan Woodhull sought to exploit Plaintiff and OSDI to secure
                 venture capital from New Media Ventures and Action Network sought to become "one
                 of two widely used progressive APIs"

          •      On 7/7/2017, Brady Kriss/RagTag introduced Plaintiff to Dimitri Mehlhorn, Reid Hoffman's politi-
                 cal director. [672?]

          •      On 8/2/2017, Higher Ground Labs announced it's initial cohort including Gerard Niemira's
                 GroundBase and New/Mode. [D1637]

          •      On 8/15/17, Plaintiff met with Mehlhorn. [1867?] Plaintiff rejected Mehlhorn's funding proposal
                 for OSDI that would use it as a proprietary, internal network effect.

          •      From this point, Woodhull, Niemira and RagTag engaged in a conspiracy to gain control of
                 OSDI, operate it and invest the proceeds into Higher Ground Labs.

          •      On 8/2/2017, Higher Ground Labs announced its first cohort of companies it was investing in.
                 [D1637] The cohort included Mobilize and Ground Game.

          •      Ground Game was founded by Gerard Niemira with his colleagues from Hillary for America.
                 Ground Game would later be renamed Groundbase, then acquired by Acronym in January
                 2019, then renamed Shadow, then divested and renamed BlueLink, then finally acquired by
                 Civitech in 2022.

          •      On 4/4/2018, Higher Ground Labs announced their second cohort, which included New/Mode.
                 [D1638]

1209.            Mobilize and New/Mode exploited OSDI by claiming OSDI compliance, but their API
                 definition obscures which parts of the API are OSDI and which are proprietary. The ef-
                 fect of this is Mobilize and New/Mode gained a head start by leveraging the OSDI eco-
                 system. However, when developers invest their resources implementing connectors for
                 these APIs, they are not reusable to connect with other OSDI compliant systems be-
                 cause they will be tied to the proprietary parts of the APIs, and are thus locked in.

1210.            This behavior is similar to Microsoft's behavior in Sun v. Microsoft related to Java APIs.

1211.            Civitech also benefited from the proceeds of Defendants' racketeering, but took a
                 different approach and used a shell game to conceal it.
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                                            OSDI Shell Game


IV.E.5.b Timeline
  •    12/11/2013, Via email to Plaintiff [D1991], Woodhull shares his plan to seek funding from VC
       New Media Ventures to build a "universal adapter." From this point, Plaintiff is an obstacle to the
       interests of venture capitalists.

  •    12/08/16 Plaintiff emails Kevin Jennings, the Executive Director of the Arcus Foundation and
       was former Deputy Undersecretary in President Obama's administration, laying out out a plan
       to protect the external network effect. [D1634]

  •    1/24/2017 Kevin Jennings resigns from Arcus Foundation. Plaintiff receives email from Rodrigo
       Aguiar, Jennings's assistant stating "Kevin is no longer part of the Arcus Foundation" [D890]

  •    5/04/2017 RagTag joins OSDI [D1999] and would serve as a proxy for Higher Ground Labs

  •    5/09/2017 Sonya Reynolds/Colibri joins OSDI [D1998] and would serve as a proxy for The Move-
       ment Cooperative

  •    5/25/2017 Vox news reports on the founding of Higher Ground Labs in early 2017 stating "Higher
       Ground Labs is a new attempt by some of former President Barack Obama's digital aides"
       [D1599]

  •    08/02/17 Higher Ground Labs announces its initial cohort including Gerard Niemira's Ground-
       base and Mobilize [D1637]

  •    8/15/2017 After being introduced by Brady Kriss/RagTag, who saw OSDI as a way to get fund-
       ing,Plaintiff meets with Reid Hoffman's political director, Dimitri Mehlhorn and refuses funding.

  •    10/17/2017 Nathan Woodhull states he had a long conversation about "profit and purpose"
       with Steve Anderson, New/Mode's founder. [D592] Woodhull is connected to the HGL cohort.

  •    05/01/18 Mobilize publishes its API which cites OSDI compliance. "OSDI is an exciting and im-
       portant attempt to bring interoperability to the progressive data ecosystem, a cause we hearti-
       ly support. However, there are a number of data model and format constraints of OSDI that
       made it a less than perfect fit for us and our consumers. While we have opted not to follow
       strict OSDI formats for our API responses at this stage, we have made our best effort to align
       field names and structure where possible." [D1320]

  •    01/17/19 Shadow publishes blog post [D1311] "Introducing The Shadow Party" which outlines
       what would become Lightrail.

  •    1/17/2019 Acronym acquired Groundbase [D1571] and renamed it "Shadow"
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•    01/17/19 Tara McGowan, a leader at Acronym refers to shadow's product on Twitter: "system
     that automatically syncs data between a volunteer management platform amp; SMS tool..."
     [D1372]

•    02/27/19 New/Mode publishes its API which cites OSDI compliance. [D711]

•    07/12/19 Netroots Nation 2019 takes place in Philadelphia July 11-13. On 7/12, Niemira hosts a
               "   ’        G         H               HY V     Y                 H       B       G    G-
     TAL TOOLS AND TACTICS" [D1648]

•    07/22/19 1:33pm Gerard Niemira tweets about the release of Lightrail the previous week while
     he was at Netroots Nation 2019. "Last week we launched Lightrail and Shadow Messaging.
     Learn more about why we built a universal adapter for political data and technology" [D1651]

•    07/14/20 Vox News reports "The Democratic Party's most hated startup cant change what
     happened in Iowa. But it can change its name". Shadow/Lightrail is divested from Acronym
     and renamed Bluelink. Niemira leaves Bluelink and is replaced by Irene Tollinger. [D1202]

•    12/03/20 Chris Goddard, ata engineering and reporting director at the DCCC emails Plaintiff
     asking "I would really love the opportunity to talk to you about your experience in creating
     [OSDI]" [D391]

•    1/11/2021 An issue is opened on OSDI's GitHub repository, where Jason Rosenbaum states "this
     project is somewhat defunct" [D532]

•    January 2021 According to LinkedIn, Gerard Niemira begins employment at PDI serving as
     Chief Product Officer. [D1377]

•    2/8/2021 The GitHub conversation continues, with Joe McLaughlin stating "Unless and until you
     make a clean break from the OSDI project and the organization, such as it exists now, and I'm
     not sure that it does exist, I have little reason to believe that any additional organizations will
     implement any of the OSDI spec." [D531]

•    February 2021 According to LinkedIn, Chris Goddard begins employment at PDI serving as Sen-
     ior Product Manager. [D534]

•    05/11/21 Civitech announces that it acquired Alloy, Reid Hoffman's voter file project. [D1979]

•    06/21/21 Higher Ground Labs announces their 2021 cohort including Bluelink. [D1335]

•    08/12/21 Bluelink's infringement becomes discoverable. [D1252]

•    01/12/22 Reported by Axios, Civitech raises $10 million in funding from Higher Ground Labs.
     [D1961]

•    May 2022 According to LinkedIn Chris Goddard leaves PDI. [534?]

•    June 2022 According to Linkedin, Gerard Niemira leaves PDI and joins Higher Ground Labs as
     "Managing Director, Fund IV" [D1377]

•    06/17/22 Civitech acquires Bluelink. [D1562]

•    08/16/22 2:15pm Nathan Woodhull posted on Twitter that he was "Launching something new!
     Daisychain is an organizing platform that integrates the political tech stack". Woodhull founded
     DaisyChain with Jon Warnow. [D1907]
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          •      07/06/23 As Higher Ground Labs Managing Director Gerard Niemira announces its 2023 cohort
                 including DaisyChain [D1949]

        IV.E.5.c Selected Quotations

1212.                  News      08/02/17 "Announcing Higher Ground Labs $1.5M initial investment in
                    our inaugural cohort - Higher Ground Labs" [D1637]         Higher Ground Labs

1213.                  [D1637]

                       Higher Ground Labs, the leading innovative incubator and accelerator for progres-
                       sive political and campaign technology, has deployed nearly $1.5 million to 10
                       groundbreaking companies that will begin supercharging progressive campaign
                       technology.

1214.                  [D1637]

                       GroundGame is an opinionated technology platform for campaigns and causes to
                       organize their voters, volunteers, and donors. The core platform is a voter, volunteer,
                       and donor CRM, armed with organizing tools (1-to-1 SMS and email, tools for door
                       knocking and calls, etc) and an API that connects to other platforms. GroundGame
                       empowers campaigns of any size, from the smallest to the largest.

1215.                  [D1637]

                       Mobilize America is built to help elect Democrats to state government. To achieve
                       new levels of volunteer engagement, Mobilize America combines a robust two-sided
                       marketplace to connect volunteers and campaigns, with a scaled digital grassroots
                       organizing program. The model is being developed in Virginia's 2017 house elections,
                       and will deploy for competitive states nationwide in 2018.

1216.            According to Github, Mobilize published their API on or before 5/1/2018, which cites it's
                 OSDI compliance.


1217.                     Specification            05/01/18      "mobilize     api     README       md       at
                    a8886412746dbe5fe83c8c13784f6881480cb593 mobilizeamerica api" [D1320]

1218.                    Mobiliza Github [D1320]
                       OSDI is an exciting and important attempt to bring interoperability to the progressive
                       data ecosystem, a cause we heartily support. However, there are a number of data
                       model and format constraints of OSDI that made it a less than perfect fit for us and
                       our consumers.
                       While we have opted not to follow strict OSDI formats for our API responses at this
                       stage, we have made our best effort to align field names and structure where possi-
                       ble. For example, many of the Event fields map directly onto OSDI field names. We
                       hope this will make the job of anyone attempting to build an OSDI layer on top of our
                       API easier.


        IV.E.6      Shadow Lightrail / Bluelink

1219.                 Web Page    10/02/19 "Whats New in Shadow ?: October 2019,Whats New in
                    Shadow ?: October 2019 | by Shadow Inc. | Medium" [D1311] Medium

1220.                    Gerard Niemira, Acronym [D1311]
                       ACRONYM is thrilled to announce the launch of Shadow, a new technology compa-
                       ny that will exist under the ACRONYM umbrella and build accessible technological
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               infrastructure and tools to enable campaigns to better harness, integrate and man-
               age data across the platforms and technologies they all use.

1221.            G. Niemira [D1311]
               I co-founded Groundbase (formerly called GroundGame) in 2017 with a few of my
               colleagues from the Hillary for America campaign where we built tools for HFA's field
               team.

1222.            G. Niemira [D1311]
               But by marrying Groundbase with ACRONYM s digital communications and advertis-
               ing expertise, Shadow will also focus on... to better integrate across platforms and
               organizations.


1223.          Tweets    01/17/19     11:20a "acronym acquire groundbase shadow" [D1571]

1224.             Acronym Twitter     11:20a [D1571]
               Some news this morning We've acquired SMS tool Groundbase amp; are launching
               Shadow, a company focused on building the technology infrastructure needed to
               enable Democrats to run better, more efficient campaigns


1225.          Tweets    01/17/19  2:44p "Tara McGowan on Twitter With Shadow we re
            building a new model incentivized by adoption over growth " [D1372] Twitter

1226.             taraemcg    2:44p [D1372]
               With Shadow, we're building a new model incentivized by adoption over growth,
               with a deep focus on building the underlying tech infrastructure that will enable
               campaigns to use the most effective new tools in smarter ways & better integrate +
               leverage data across platforms.

1227.             taraemcg    2:46p [D1372]
               For example, imagine a system that automatically syncs data between a volunteer
               management platform & SMS tool, and then moves the data to where it needs to go
               when it needs to go there, saving campaign organizers hours of manual data entry &
               reducing risk of mistakes.

1228.    On 2/27/2019, New/Mode announced it's API, citing OSDI compliance:


1229.          Web Page      02/27/19 "New/Mode Platform OSDI" [D711]

1230.          [D711]

               The New/Mode API is a fully RESTful API that allows developers to query Organization,
               Campaign, Tool and Service data, and to perform target lookups and actions
               against your tools.
               The API is OSDI compliant and all responses are available in HAL/JSON or JSON for-
               mats.

1231.    Lightrail launched during Netroots Nation 2019


1232.          Conference Session    07/12/19 2019-07-12 4:30pm " ’ G        H
            CORNER: WHY EVERY DEPARTMENT SHOULD BE USING DIGITAL TOOLS AND TAC-
            TICS" [D1648] ;    Netrootsnation

1233.             netrootsnation    4:31p [D1648]
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               GERARD NIEMIRA Gerard is an experienced product and engineering leader with
               over 12 years of work in the nonprofit and political sectors. Most recently, he led
               product teams at Hillary for America, where he was Director of Product for the cam-
               paign s suite of organizing, events, and major donor fundraising tools.


1234.          Tweets   07/22/19    2019-07-22 1:33pm "Shadow Inc on Twitter Last week we
            launched Lightrail and Shadow Messaging Learn more about why we built a
            universal adapter for political data and technology" [D1651] Twitter

1235.             Gerard Niemira, Shadow       1:33p [D1651]
               Last week we launched Lightrail Shadow Messaging. Learn more about why we built
               a universal adapter for political data and technology.

1236.    In 2020, Shadow created a caucus application which, according to Grayzone,
         performed poorly. The article also cites the connection to Reid Hoffman and the disin-
         formation campaigns.


1237.            News    02/06/20 "Acronym group that sabotaged Iowa caucus birthed by
            billionaire who funded Alabama disinformation campaign - The Grayzone"
            [D1498]    The Grayzone

1238.             Max Blumenthal [D1498]
               Silicon Valley billionaire Reid Hoffman funded the creation of ACRONYM, the group
               that sabotaged the Iowa caucus results, after bankrolling voter manipulation cam-
               paigns including the notorious online "false flag operation" in Alabama's 2017 senate
               race.

1239.    In Summer 2020, Acronym divested Lightrail and renamed it Bluelink. Gerard Niemera
         stepped down as CEO and replaced himself with a woman, Irene Tollinger.


1240.           News      05/08/20 "The Democratic Partys most hated startup cant change
            what happened in Iowa. But it can change its name." [D1202]                Vox

1241.             Teddy Schleifer [D1202]
               What was once called Shadow Inc. is now called BlueLink...

1242.             T. Schleifer [D1202]
               Niemira and the company's majority investor, a constellation of progressive political
               groups called Acronym, became some of the most despised forces in Democratic
               politics after the app's technical difficulties in February delayed results for a week
               and robbed the caucus winners of their momentum

1243.             T. Schleifer [D1202]
               But the newly rebranded BlueLink will have to accomplish this without ACRONYM,
               which told Recode that it decided after Iowa in February to "wind down our in-
               volvement
               with Shadow" and that, as of May, it is in the process of divesting from the company.

1244.             T. Schleifer [D1202]
               and product executive, who Niemiera said would be BlueLink's chief operating of-
               ficer. But just a few months later, on BlueLink's newly designed website, it is Tollinger
               listed as CEO with Niemiera not listed anywhere on its "Team" page. Tollinger con-
               firmed to Recode on Tuesday that Niemiera had stepped down and that she had
               taken the CEO role.
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1245.              T. Schleifer [D1202]
               integrating data for campaigns neatly into one place... the data work called
               LightRail going forward.

1246.    On December 3, 2020, Plaintiff received email from Chris Goddard a DNC (DCCC)
         employee, requesting a meeting to discuss OSDI. Goddard asks "I would really love the
         opportunity to talk to you about your experience in creating it"


1247.          Email Subject        12/03/20     2020-12-03 11:58am "Questions about OSDI" [D391*]
            Chris Goddard

1248.              Chris Goddard, DCCC         11:58a [D391]
               Hi Josh, My name is Chris Goddard and I'm currently the data engineering and re-
               porting director at the DCCC.
               I was talking to a friend yesterday about difficulties and challenges in the progressive
               tech space and the lack of consistent data standards. He mentioned OSDI, which I
               hadn't heard of before.

1249.              C. Goddard      11:59a [D391]
               Although it looks like it's not really a super active project anymore I would really love
               the opportunity to talk to you about your experience in creating it.

1250.              C. Goddard      11:59a [D391]
               Would you have time for a 30 minute zoom call tomorrow afternoon or early next
               week?

1251.    Plaintiff found Goddard's email suspicious, and believed some relevant event must
         have prompted DNC to email Plaintiff. Plaintiff began searching. Plaintiff then discov-
         ered Action Network's announcement of it's Partner Integration Program.

1252.    On 5/11/2021, Civitech announces that it has acquired Alloy, Reid Hoffman's voter file
         project.


1253.          News      03/01/23 "Civitech Acquires Alloy Data and Technology,Civitech
            Acquires Alloy Data and Technology - Civitech" [D1979] Civitech

1254.          [D1979]

               Civitech incorporates Alloy products to continue to power progressive campaigns to
               victory.

1255.    In June 2021, Bluelink received a funding investment as part of Higher Ground Labs 2021
         cohort.


1256.          Web Page          06/21/21 "Announcing our 2021 cohort - Higher Ground Labs"
            [D1335]      Higher Ground Labs

1257.          [D1335]

               The mission of Higher Ground Labs is to promote and support constant innovation for
               a better democracy. Over the past four years, we have invested in companies that
               have become core infrastructure for progressive politics.

1258.          [D1335]
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                BlueLink lets non-technical users easily set up data flows between tools so their cam-
                paigns and groups can automatically run processes like registering voters or thanking
                donors saving time and money for strategic work while using context to improve the
                voter/supporter experience. For software teams, Bluelink reduces integration costs so
                they can focus on products not pipes.

1259.    Higher Ground Labs' Website portrays the Tollingers as founders.

1260.    On 08/12/21 Higher Ground Labs posted blog post by Acacia Gabriel interviewing Irene
         and Preston Tollinger. [D1536] Irene is asked "Tell us more about why you started your
         company and its mission". Her answer includes "I did user research and talked to a
         broad range of people in the political world. They kept mentioning data integration".


1261.           Web Page     08/12/21 "Meet Irene and Preston - Higher Ground Labs" [D1536]
             Higher Ground Labs

1262.             ACACIA GABRIEL, HGL [D1536]
                For software teams, Bluelink reduces integration costs so they can focus on products
                not pipes. We asked founders Irene Tollinger and Preston Tollinger to share a little bit
                more about their vision for BlueLink...

1263.             A. GABRIEL [D1536]
                Tell us more about why you started your company and its mission

1264.             Irene Tollinger [D1536]
                I knocked on doors in 2018 and knew I couldn't sit out the 2020 election. I did user re-
                search and talked to a broad range of people in the political world. They kept men-
                tioning data integration. It was an issue for organizers who downloaded, munged,
                and uploaded text files. It was an issue for engineering teams whose time was pulled
                off their core product. It was an issue for my friends who donated money and then
                still got calls asking if they supported the candidate.

1265.                             On August 12, 2021, a Q&A is posted on Higher Ground Labs's
         website, which portrays Irene and Preston Tollinger as founders, even though the tech-
         nology is Lightrail, developed by Shadow and Gerard Niemera.

1266.                    Tollinger's answer falsely states the origin of the Bluelink product, which in
         reality was Lightrail created by Gerard Niemira.

1267.    Also on August 12th, 2021, Bluelink's infringement becomes discoverable. Plaintiff
         discovered this in November 2021 while listening to an episode of the Great Battlefield
         Podcast, interviewing Bluelink, which mentioned open source project Parson. Plaintiff
         examined the Parson source code and found a Bluelink connector.


1268.           Web Page    08/12/21 "Add bluelink connector by kupad * Pull Request #1 *
             BluelinkData/parsons" [D1252] GitHub
1269.    Further diligence on Plaintiff's part revealed a URL to Bluelink's API specification.


1270.           Github     11/17/21     2021-11-17 "Bluelink API Specs (BETA),Bluelink API Specs
             (BETA) | docs" [D1192]         docs

1271.            12:00p [D1192]
                Bluelink Data Models
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                Bluelink uses flexible and verbose data models. All fields are nullable and may be
                omitted if no dataexists, unless explicitly stated otherwise. The structure may seem
                complicated for simple use cases,however it supports more complicated uses such
                as systems supporting multiple emails for a single individual.

1272.            12:00p [D1192]
                By Default, Bluelink writes data to partners in these formats. For partners with existing
                APIs (e.g.,NGPVAN), we can easily and correctly convert between their format and
                ours. Therefore, we stronglyencourage new partners to use these formats when build-
                ing new APIs

1273.            12:30p [D1192]
                updated_min: The inclusive minimum "updated date" timestamp in ms. Records up-
                dated beforethis timestamp are not included. If omitted, there is no min updated
                date filter, effectively time0
                fields: a comma separated list of fields to return for people matching

1274.    Bluelink's API is essentially OSDI Person Signup Helper. See section _Violations / Bluelink's
         Infringement for elaboration.

1275.    In January 2022, Civitech raised $10 Million in funding led by Higher Ground Labs.


1276.           News     01/12/22 "Progressive data startup Civitech raises $10M" [D1961]

1277.              Sara Fischer [D1961]
                Last year, it acquired the data and technology from the now-defunct progressive
                data startup Alloy

1278.              S. Fischer [D1961]
                Civitech, a public benefit corporation building data tools for progressive candidates
                and causes, is raising over $10 million in a series A funding round led by Higher
                Ground Labs,

1279.              S. Fischer [D1961]
                The round values Civitech at $50 million,
                executives tell Axios.

1280.    By June 2022, Bluelink was acquired by Civitech.


1281.          Web Page       06/17/22 "Bluelink" [D1562]

1282.          [D1562]

                At Bluelink, our mission is to build political power for the progressive movement by
                developing affordable and easy-to-use tools for teams and budgets of any size.

1283.    On 8/16/2022 Nathan Woodhull posted on Twitter that he was "Launching something
         new! Daisychain is an organizing platform that integrates the political tech stack".
         Woodhull founded DaisyChain with Jon Warnow.


1284.          Tweets      08/16/22     2022-08-16 2:15pm "Nathan Woodhull on Twitter Launching
            something new" [D1907]          Twitter

1285.             Nathan Woodhull         2:15p [D1907]
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                       Launching something new! Daisychain is an organizing platform that integrates the
                       political tech stack so campaigns can have authentic conversations when they mat-
                       ter most.

1286.                    N. Woodhull     3:44p [D1907]
                       We're aspiring to integrate with just about everything, but we're prioritizing by inte-
                       grating with the tools early folks are interested in.

1287.           On 7/6/2023 Higher Ground Labs announced their 2023 Accelerator Companies, which
                included DaisyChain. Woodhull initially sought venture capital from New Media Ven-
                tures in 2013 to build an integration platform, which would not have been a viable
                business with OSDI's external network effect in place.

1288.                  Email Subject     07/06/23     2023-07-06 12:04pm "Announcing our 2023 Accelerator
                   Companies 📣" [D1949*]        Gerard Niemira

1289.                    Higher Ground Labs Gerard Niemira         12:04p [D1949]
                       With a sharp eye toward 2024, Higher Ground Labs is proud to introduce you to eight
                       promising startups pushing political tech to new heights.

1290.                    H. Ground     12:04p [D1949]
                       Daisychain is a modern toolset that helps progressive organizations engage their au-
                       diences through personalized outreach, powerful workflows, and seamless integra-
                       tions.


                                                    V     VIOLATIONS

        V.A        Robbery by Extortion

        V.A.1      Conspiracy to Commit Extortion

        V.A.1.a Overview of Extortion

1291.           Defendants conspiracy to commit extortion began at least as early as 2016. The Data
                Breach and DNC favoritism for Hillary Clinton set the stage for a post-election data war.
                Defendants knew this was coming and that the window to gain dominant control over
                the economy of scale known as OSDI was going to close.

1292.           Due to Defendants' misleading, Plaintiff was unaware of the formation of Venture
                Capitalists Higher Ground Labs by the Obama cohort, and funded by Dimitri Melhorn,
                Reid Hoffman's political director which made the extortion more aggressive.

1293.           Defendants extortion threats were:

          1.    That they would conceal his sexual orientation (gay), and frame him as an example of sexual
                harassment and violence towards women.

          2.    That they would use fear, exploiting Plaintiff's vulnerabilities to induce responses they would mis-
                represent by combining grains of truth, lies of omission, and outright fabrications.
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        3.    That they would falsely portray Plaintiff as guilty of what Defendants were doing or would do to
              Plaintiff, as a show of dominance.

1294.         Framing Gay, Transgender, Black, or Muslim men as examples of sexual harassment and
              violence towards women incites hatred toward othered sexualities, which creates a
              foreseeable risk of inciting violence or homicide. Since sexual orientation is invisible, and
              Defendants concealed it, they were able to get away with a dangerous robbery by ex-
              tortion in plain sight.

1295.         Between 2016 and 2020, Defendants used the danger, hatred, animus they were
              inciting to try to coerce or trick Plaintiff into abandoning his property rights.

1296.         Phase 1

1297.         To do this, Brian Young, Jason Rosenbaum, and Nathan Woodhull used women as
              proxies, including Beth Becker, and their friend and former Action Network employee
              Robyn Swirling.

1298.         In parallel, people within the gay rights movement including Kevin Jennings Executive
              Director of the Arcus Foundation, one of 2 dominant funders of the gay rights move-
              ment, Mike Rogers, Jamie McGonnigal, conspired to ensure there was "no way out" for
              Plaintiff, forcing him to either endure an intolerable and dangerous extortion, or sur-
              rneder his property rights.

1299.         Proxy Beth Becker lured Plaintiff by inducing fear of his ex-boyfriend, Greg Rae, telling
              Plaintiff that Greg's name was already on a list of abusive men within the community
              and that she knew at least one other supposed victim of Greg's. This scared Plaintiff
              enough that he sought safe harbor.


1300.                Chat       07/25/16      2016-07-25 3:40pm "GChat between Josh Cohen, Beth Becker"
                  [D1570]


1301.                   Josh Cohen        3:40p [D1570]
                     checking in, is there a discussion list being started after the NN rape culture sessionn

1302.                   Beth Becker       3:40p [D1570]
                     i think so but im not in charge...thats robyn and sabrina and likely not til after conven-
                     tion

1303.                   J. Cohen    3:42p [D1570]
                     also, my head is spinning a bit from our conversation, just to double confirm, the
                     name that was already on the list is Greg Rae, right?

1304.                   B. Becker       3:42p [D1570]
                     yes

1305.                   J. Cohen    3:43p [D1570]
                     so should I send you an intro email blurb to send to the other victim(s) asking to con-
                     nect thta you can forward?

1306.                   B. Becker       3:44p [D1570]
                     not til next week..super underwater tryng to get ready to go to mexico tomorrow
                     night
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1307.                       J. Cohen      3:44p [D1570]
                          ok, set it for next week

1308.                       B. Becker     3:47p [D1570]
                          will do...gotta run...talk soon

1309.           The leaders of the group were Robyn Swirling and Sabrina Stevens. Brian Young was
                present on the group, his name is in the attendance list, but he did not participate in
                the introductions thread. Had he done so, Plaintiff would have recognize this racketeer-
                ing scheme as an Action Network ploy to gain control of OSDI.

        V.A.1.a.1   The Policy Issue

1310.           The workplace policy group seemed like a safe space, as well as an opportunity to
                define workplace policies to deal with the "same sex" versions of sexual misconduct, re-
                taliation and profiteering.

1311.           These require different calibrations than "trust women", "man's side doesnt matter", or
                "number of accusations == guilt" for obvious reasons, especially when profit, bigotry and
                retaliation are present as motives for fraudulent accusations.

1312.           Defendants racketeering activity illustrates the problem.

1313.                                      Defendants exploited Disparate Impact created by the #metoo
                moment, which elevates gender above other protected classes, allowing Defendants
                to apply "the man's side doesn't matter" to a gay male's property, contract and civil
                rights.

1314.                               By making Plaintiff fear his ex-boyfriend, Defendants were deliberately
                instigating a conflict where Plaintiff was on the weaker side of a large power disparity,
                attempting bait responses from Plaintiff, they created potential danger. This created an
                opportunity for Defendants to benefit by currying favor with wealth and power.

1315.                                             In same sex situations, those at the top of a power disparity
                can provide incentives for proxies to make fraudulent accusations to destroy the
                weaker party.

1316.                                       It was in the context of this policy argument that Defendants'
                proxy, Swirling, threatened to expose Plaintiff's participation, concealing the true reason
                for his presence (his fear of his ex-boyfriend), and portray him as an example of sexual
                harassment and violence towards women by brandishing what appeared to be a draft
                of an open letter to the community.

        V.A.1.a.2   False Flag

1317.           Since follow through created a forseeable change of inciting violence against him,
                Plaintiff warned Defendants' proxy, Swirling, that Plaintiff would defend himself using the
                legal system if they followed through, but in parallel sought to have a dialog about why
                their actions were wrong and dangerous at Rootscamp 2016.

1318.           Plaintiff also sought help from the Gill Foundation, as well as Arcus Foundation, the two
                dominant funders of the gay rights movement. However, their actions, which ensured
                no on came to Plaintiff's aid, served the interests of the big gorillas, VCs, and fundraisers
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         seeking Reid Hoffman's money.

1319.    At Rootscamp 2016, unaware that he was being lured into an ambush, Plaintiff
         attempted to have a dialog by attending the next session on the topic. While sitting
         quietly waiting for an opportunity to politely raise the issue, Defendants' proxy Swirling
         announced to the room that "A man has entered the room who has engaged in re-
         peated violence, persistent harassment against women, and invaded our (women's)
         spaces!"

1320.    These false accusations, which were gross distortions of a verbal policy argument on
         the WOV group, resulted in Wellstone asking Plaintiff to "cede the physical space" to
         women, resulting in him being excluded from the OSDI session the following day.




                                            Rootscamp Ambush


1321.    The two verbal policy arguments, on the WOV google group and at Rootscamp 2016,
         are the only interactions Plaintiff has had with Swirling except for the Court Supervised
         Settlement conference with Judge Gorenstein.

1322.                            While absent during the OSDI session, a second attack took
         place attempting to have Plaintiff removed from his position, so that Action Network
         could gain dominant control.

1323.                             The above attempt failed, so Jason Rosenbaum insisted on
         invoking OSDI's escalation process in another attempt to have Plaintiff removed by at-
         tempting to incite others to make a motion to that effect, concealing their role as ag-
         gressors.

1324.                                 From this point, Swirling (as proxy for Action Network)
         became the aggressor, essentially chasing Plaintiff with false accusations.

1325.                                Since Defendants were using women as proxies, and they
         could induce the community to apply "trust women", "man's side doesn't matter", and
         had help from the GAY INC participants, they created a no way out situation for Plain-
         tiff.

1326.    Phase 2 of the extortion changed to a model where Defendants would try to coerce or
         trick Plaintiff into abandoning his IP rights, and when he refused, Defendants would use
         more false accusations to inflict damage to Plaintiff's business, property and safety.
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                                                         Wire Fraud


1327.          This allowed Defendants and their proxies to act out a movie on the front stage for the
               community audience while concealing a robbery by extortion on the back
               stage.1037sd

        V.A.1.b Overview of Extortion Tactics

1328.          Defendants extortion involved parallel conduct and use of proxies. Defendants divided
               the elements of the violation across people operating in parallel, and and chronologi-
               cally staggered the onset of the elements.

1329.          In parallel, different individuals did the following

          •    Inflict unjust harm to or endanger Plaintiff's business, property, economic viability and safety

          •    Make a property demand or attempt to coerce or defraud Plaintiff

          •    Create a fig leaf to conceal the coercion

          •    Make sure Plaintiff could not escape the harm


1330.          Acts which were property demands, attempts to trick Plaintiff into abandoning his IP
               rights (RagTag, Colibri), were often voiced by women, or portrayed as actions for
               women to put their touch on the project or empowering women.

1331.          By using proxy Swirling to voice the most harmful and dangerous false accusation,
               Defendants used that as a pretext to overtly bully and coerce Plaintiff, portraying them-
               selves as protecting women. This gave the straight men who were exploiting Plaintiff a
               pretext to be overt without looking homophobic. A dangerous example was retaliation
                               ’                                           ,w
               on the sidewalk in front of other attendees terrorizing Plaintiff with statements like
               “Y   ’   J           ,                      w          !”

1332.          Once Defendants and their proxies gained control of OSDI, When Plaintiff was unwilling
               to vote for, or agree to their proposals which would facilitate misappropriation, he was
               falsely portrayed as sexist or subjected to other false accusations.

1333.          Defendants used Fraudulent Concealment, Active Misleading, and Warehoused their
               Infringement to escape the 4 year Federal Statute of Limitations.

1334.          Defendants used those to chronologically stagger the acts of Proxies (Colibri, Ragtag,
               Broadstripes) so their predicate acts and participation in the conspiracy would end
               over 4 years agoby the time Plaintiff discovered facts needed to support claims to bring
               this complaint forward.
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        V.A.2      Conspiracy to Commit Extortion Instances

        V.A.2.a HRC Founder and DNC Donor Terry Bean Arrested

1335.           In November 2014, DNC donor and HRC founder Terry Bean was arrested.


1336.                  News     11/10/14 "Terry Bean arrested on sex-crime charges,Terry Bean
                   arrested on sex-crime charges | News | portlandtribune.com" [D1982]    Port-
                   landTribune.com

1337.                     Peter Wong, theportlandtrib [D1982]
                        Terry Bean, a Portland real estate developer and a prominent champion of the
                        Democratic Party and gay rights, has been arrested on pending charges of sex
                        crimes.

1338.           Plaintiff forwarded the above news article regarding this to listserv InsidersOut, which is
                a coordination point within the gay rights movement.

1339.           This triggered a 127 page thread where many criticized the way Gay Rights fundraisers
                behaved to protect wealth and power. Plaintiff experienced anger and a visit from an
                emissary of Terry Bean named Phil Attey.

1340.           Plaintiff painted a target on his back.

1341.                   Email Subject       11/20/14    2014-11-20 3:57pm "Terry Bean arrested on sex-crime
                   charges" [D1251*]       Josh Cohen

1342.                     3:57p [D1251*]
                        Terry Bean arrested on sex-crime charges

1343.           One particular target of criticism was the way Gay Inc attempted to discredit a witness
                by using racist, classist and mental health smears:


1344.                   News      11/26/14 "     B      ’                        K          w     " [D1577]

1345.                   [D1577]

                             B     ’                        K         w


        V.A.2.b Netroots Nation 2016

1346.           In Summer 2016, Defendants exploited a vulnerability to induce fear and lure Plaintiff
                onto the Working Our Values policy working group Google Group. Once on the group,
                Defendants baited conflicts to induce responses from Plaintiff that they could misrepre-
                sent.

        V.A.2.c    Working Our Values Policy Group

1347.           Defendants' extortion began when Plaintiff exposed a vulnerability, that he was on the
                weaker side of a power disparity between himself and his ex-boyfriend, Greg Rae.

1348.           At Netroots Nation 2016, Beth Becker told Plaintiff that his ex-boyfriend's name was
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         already on a list of abusive men within the community, and that she knew at least one
         other supposed victim of abuse by Plaintiff's ex-boyfriend.

1349.    This scared Plaintiff, who didn't want anything to do with the ex-boyfriend, or for any
         conflict to arise which might provoke the ex-boyfriend, invite retaliation or profiteering.
         Profiteering is when people instigate conflicts to create opportunities for themselves to
         profit by doing a favor for wealth and power.

1350.    Beth Becker suggested Plaintiff attend a session on this topic at Netroots Nation 2016.
         Plaintiff saw this as a safe harbor. Plaintiff then joined a google group, that was adver-
         tised as a workspace policy recommendations working group for industry conferences
         including Netroots Nation.

1351.    Defendants exploited Plaintiff's fears, by positioning themselves as protectors. If not for
         this ruse, Plaintiff would have no need for a safe harbor, been unaware of the session,
         nor would he known who Robyn Swirling was.


1352.         Sms     07/16/16      2016-07-16 2:28am "Chat with Beth Becker" [D1608]

1353.            Josh Cohen       2:28a [D1608]
                Since names are passd along, my perp was greg rae

1354.            J. Cohen       2:53a [D1608]
                Fyi if the other person or people who mentioned his name are willing, id like to meet
                them and talk

1355.    Mike Rogers starts an SMS conversation inviting Plaintiff to meet for discussion.


1356.          Chat      07/16/16     12:08a "SMS Between Mike Rogers and Josh Cohen" [D375]

1357.               Mike Rogers     12:08a [D375]
                What hotel are you in ?

1358.               Josh Cohen      12:13a [D375]
                Marriott. U?

1359.               M. Rogers     12:13a [D375]
                Holiday inn

1360.               M. Rogers     12:14a [D375]
                Was going to see if ya wanted to smoke a bowl and say hey

1361.               J. Cohen     12:15a [D375]
                No thanks.

1362.               M. Rogers     12:16a [D375]
                We should chat Tomorrow catch up

1363.    Plaintiff shared the information from Beth Becker with Jason Rosenbaum


1364.         Sms     07/16/16      8:04a "SMS between Josh Cohen and Jason Rosenbaum" [D109]

1365.            Jason Rosenbaum, Action Network         1:13p [D109]
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                Wow

1366.             Josh Cohen       1:13p [D109]
                I went to the rape culture session yesterday and after was talking privately to folks
                who got angry after fitzgibbon. They were so p****d that they started keeping a list of
                abusers in the movement. I decided to mention my abusers name to one of them.
                Their reply: that name is already on the list.

1367.             J. Rosenbaum        1:14p [D109]
                I guess not surprising. Buy still. Yeah

1368.             J. Cohen     1:14p [D109]
                yeah. IM NOT CRAZY!!!

1369.    Mike Rogers continues an SMS conversation inviting Plaintiff to meet for discussion.

1370.              Josh Cohen       9:55p [D375]
                Sup

1371.              Mike Rogers       10:00p [D375]
                Heading back to the holiday inn

1372.              J. Cohen     10:01p [D375]
                Ill meet you there

1373.              M. Rogers     10:08p [D375]
                345

1374.              M. Rogers     10:08p [D375]
                Room

1375.              J. Cohen     10:18p [D375]
                At front outside

1376.                                              Plaintiff met with Mike Rogers just after 10pm, shared
         the information provided by Beth Becker and his fears. In exchange for helping Plaintiff
         by preventing the situation from becoming more dangerous, Mike insisted that Plaintiff
         needed to make Mike Rogers fiscal sponsor of OSDI.

1377.    Plaintiff refused.

1378.                            Beth Becker confirms what she told Plaintiff regarding his ex-
         boyfriend.


1379.           Chat      07/25/16      2016-07-25 3:40pm "GChat between Josh Cohen, Beth Becker"
             [D1570]


1380.              Josh Cohen       3:40p [D1570]
                checking in, is there a discussion list being started after the NN rape culture sessionn

1381.              Beth Becker       3:40p [D1570]
                i think so but im not in charge...thats robyn and sabrina and likely not til after conven-
                tion

1382.              J. Cohen     3:42p [D1570]
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                   also, my head is spinning a bit from our conversation, just to double confirm, the
                   name that was already on the list is Greg Rae, right?

1383.                 B. Becker     3:42p [D1570]
                   yes


1384.               Email Subject       07/25/16       9:26p "You have been added to WOV: HR working
                group" [D1704**]    WOV: HR working group

1385.                 Robyn Swirling       9:26p [D1704]
                   Hi Josh Cohen, Robyn Swirling added you to the WOV: HR working group group.
                   Message from This is the working group for creating HR systems and policies to ad-
                   dress sexual harassment and assault in progressive organizations. This is a sub-group
                   of the Working Our Values group.
                   About this group: This is the working group for creating HR systems and policies to
                   address sexual harassment and assault in progressive organizations. This is a sub-
                   group of the Working Our Values group.
                   Google Groups allows you to create and participate in online forums and email-
                   based groups with a rich community experience. You can also use your Group to
                   share documents, pictures, and calendars invitations.


        V.A.2.d DNC 2016 Convention

1386.        At the DNC 2016 convention, Plaintiff sought help from Kevin Jennings, Executive
             Director of Arcus Foundation, one of two dominant funders of the gay rights movement.

1387.        Plaintiff attended the Equality Forum panels at DNC 2016 Convention, including one
             which included Kevin Jennings as a panelist.


1388.               Conference Session             07/28/16     2016-07-28 2:30pm "Event Future of the
                Movement Equality Forum" [D1980]              Equality Forum;   Equality Forum

1389.                 E. Forum     2:30p [D1980]
                   Kevin Jennings (Panelist) Executive Director Arcus Foundation
                   Kevin Jennings is a distinguished educator, social-justice advocate and author. In the
                   Obama administration, Jennings served as assistant deputy secretary of education
                   and headed the department's Office of Safe and Drug-Free Schools, where he led
                   the anti-bullying initiative. He joined the Arcus Foundation, which is dedicated to so-
                   cial and environmental justice, as executive director in 2012.


1390.               Email Subject          08/09/16    2016-08-09 10:00am "followup from Equality Forum"
                [D892**]      Josh Cohen

1391.                 Josh Cohen       10:00a [D892]
                   Hi Kevin, It was nice meeting you at the EqForum Panel in Philly. I was exceptionally
                   impressed with your response to the rape culture question! As we discussed, it makes
                   sense to continue the dialog... I run OSDI, opensupporter.org which is a data stand-
                   ard to make integration between tools and services progressive customers use. I've
                   finished a more reusable and greatly expanded version of the toolset we built at
                   Washington United for Marriage. Now I'm piloting it with some progressive cam-
                   paigns. So it would be great hear thoughts from someone with your perspective on
                   how I might most effectively contribute to the cause.

1392.                 Kevin Jennings       10:02a [D892]
                   Hi josh:
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                I will have Rodrigo find us a half hour when you can come by the office. FYI I am
                traveling a ton so it may be a bit!

1393.             Rodrigo Aguiar    2016-08-11 9:53am [D892]
                Hi Josh,
                Thank you for your patience.
                Would you be available on Oct 25 at 3:30 pm for a meeting with Kevin at Arcus?
                If so, I will be happy to send a calendar invite.
                Thank you!
                Rodrigo

1394.    Kevin Jennings repeatedly rescheduled the meeting through January 2017.

1395.    During Plaintiff's membership on the WOV Google Group, the following threads
         occurred.




                                             Email Threads on WOV


1396.    The leaders didn't kick off the group until 30 days after Plaintiff had been added. With
         no other activity on the list, Plaintiff posted 4 threads that were LGBT related content.

1397.    The leaders kicked off the google group on August 25, 2016. Both Brian Young and Beth
         Becker were present on the WOV group.

1398.    Though Brian Young was present on the list, and in the membership list, he did not
         participate in the introductions thread. Had he done so, Plaintiff would have recog-
         nized him and that this was an Action Network scheme to gain control of OSDI.
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                       "Brian Young" is name #5 in member list "Beth Becker" is #4 [D92]


1399.    Defendants threat misrepresented Plaintiff's motive for joining the group by concealing
         his sexual orientation, portraying his actions as "male dominance" and aggression to-
         wards women.

1400.    This created a foreseeable chance of inciting violence or homicide to Plaintiff. Plaintiff
         responded by warning that he would protect himself using the legal system if neces-
         sary. However, Plaintiff also sought to resolve the conflict and the danger with dialog at
         the next conference, Rootscamp 2016.


1401.          Email Subject     09/14/16   2016-09-14 2:02pm "Email: Language and processes for
            sexual harassment at a conference" [D423]    Robyn Swirling

1402.             RS    2:02p [D423]
               We have our first project as a working group!
               RootsCamp is coming up in November, and the team putting together the uncon-
               ference is really focused on crafting policies and procedures around sexual harass-
               ment and assault (among other issues).
               We've been asked by the RootsCamp super team to propose what those policies
               and procedures should look like

1403.             RS    2:02p [D423]
               Action: If you could have any language about sexual harassment and assault in a
               policy statement, or procedures for how conference organizers take and respond to
               reports, what would that ideally look like?
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1404.                       Mary Rickles/Netroots Nation was in contact with the WOV group.

1405.                   Ramira   2:02p [D423]
                   I contacted Mary Rickles at Netroots Nation and she directed me to their safe space
                   policy...
                   I wrote back asking for info about the complaint process. I like this language in that
                   the section on alcohol is aimed at those who might commit abuse, rather than at
                   those who might be abused.
                   I'm thinking more about what I would like to see, and I'll let you know when Mary gets
                   back to me.

1406.                   Ramira   2:02p [D423]
                   Here is the answer I got from Mary Rickles at Netroots Nation about procedures for
                   reporting incidents...
                   So there doesn't seem to be a clear process for dealing with sub-legal harassment.
                   One past incident I remember involved Muslim women wearing hijab who were ver-
                   bally assaulted by people outside the conference, and other conference attendees
                   intervened with that.
                   So it would seem other incidents of sexual harassment go unreported to the confer-
                   ence management, for whatever reasons.

        V.A.2.e WOV Policy Argument

1407.        The "Language and processes for sexual harassment at a conference" thread was the
             primary goal of the group.

1408.               ’                                               w                              w        B
             Becker told him about his ex-boyfriend and the potential for it to interfere with OSDI.
             Plaintiff was seeking safe harbor to prevent the abuses described in the Policy Issue sec-
             tion of Extortion Overview above, where the parties in conflict are either both gay men,
             or both lesbians.

1409.        However, proxy Swirlng became more aggressive in steering the conversation towards
                                                                           ’               w   “       ”
             Plaintiff as seeking to protect heteronormative men who sexually abuse women.

1410.        That is an absurd argument since heteronormative men are far more dangerous to gay
             men than women. This is why gay men like Plaintiff often seek managers who are wom-
             en.

1411.        The policies are therefore unequal treatment for LGBTs. In the context of this communi-
               ,                                                     ;        ’           w    w
             norms of the community and for a valid reason.

1412.                                    ’                  q                  ,      w
             deception to publicly.


1413.              Email Subject     09/16/16        2016-09-16 3:49pm "sidebar" [D557*]   Robyn Swirling

1414.        On 9/16/16 at 3:49pm, proxy Swirling created a new email thread, where the debate
             continued, however it only included Plaintiff and Swirling.

1415.                   Robyn Swirling       3:49p [D557]
                   Hey, moving this to a new thread, just so I can keep my subject lines straight.
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                Based on your note, it seems you're conceiving of the purpose of this group different-
                ly than I and the other leaders are. Namely, that for us it is a brainstorming space and
                avenue for collective work and lifting up actions, but you're looking for more of a
                concrete organization.
                I am doing my own work at seeing what an organization that leads a new model of
                sexual harassment training and culture change looks like, and anticipate asking the
                members of this group - who have said that they want to provide support and ener-
                gy around the issue with varying levels of formality or commitment - to help with that.
                But the workgroup itself isn't intended to be an authority or organization unto itself like
                with an executive committee, nor to be a body that approves policy through a
                democratic process.
                If that's what you're interested in working on or participating in, I super encourage
                you to go create it! But as far as this group goes, it's not that.
                I hope that clarifies the purposes and thinking around this working group in a way
                that helps with your approach to the discussions we have and projects we try to take
                on.
                Additionally, we want to be sure that the breadth of experiences and backgrounds
                are heard and reflected within our working group. We appreciate all of your contri-
                butions so far, and your obvious passion for this work, but I'd love to encourage you
                to be mindful of our "step up - step back" guideline for making sure there's space in
                the dialogue where more voices can come through.
                Best, Robyn

1416.    In the course of the argument, Plaintiff used the phrase "premature to go postal" as a
         euphemism for protest, which is within norms of the community. At 5:32pm, Swirling con-
         fronted this language:

1417.             R. Swirling   5:53p [D557]
                I do want to address your use of language about "going postal." That is really violent
                language, and while I'm sure (hoping?) that it wasn't meant as a threat, it is still very
                aggressive and threatening language.

1418.    At 6:14pm, Plaintiff acknowledged the poor choice of language mistake, and
         corrected it by restated his point:

1419.             Josh Cohen      6:14p [D557]
                going postal was a poor choice of words on my part; I should have taken more time
                to find better words. My point was to characterize my observation as something that
                was noted, but not worth digging in heels over, having a huge conflict.

1420.    In the course of the debate, Plaintiff felt that Swirling's positions and rigidity were
         inappropriate, and decided to loop Sabrina back into the converations, as he was un-
         comfortable being alone with Swirling.

1421.             J. Cohen      2016-09-17 7:36pm [D557]
                Sabrina,
                I think the positions Robyn is taking are inconsistent with working our values as well as
                how this effort was pitched at Netroots Nation.

1422.                            On 9/18 at 5:03 PM, proxy Swirling communicated a threat to use
         deception which would harm Plaintiff's business, reputation, and endanger his safety.
         She brandished what appeared to be a draft of an open letter to the community. The
         letter would expose Plaintiff's participation, concealing the true reason for his presence
         (his fear of his ex-boyfriend induced by Becker), and portrayed Plaintiff as an example
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         of sexual harassment and violence towards women by

1423.    It was in the context of this policy argument that Defendants' proxy, Swirling, threat-
         ened to


1424.          Email Subject    09/16/16    2016-09-16 3:49pm "sidebar" [D557*]     Robyn Swirling
               The Behaviors and Comments That Inspired Us To Remove Josh Cohen From The
               Working Our Values Google Group
               1. Indicating that you would "go postal" if you did not feel that male victims are
               properly welcomed and included. This is violent, threatening language which, com-
               bined with the rest of your emails and behavior actually makes me feel unsafe. In
               fact, I have been extra careful in my language and to come across very nice in my
               messages to you because the language you use is a pretty explicit threat, and I've
               been concerned that anything other than tiptoeing could result in actual violence.
               2. The list guidelines, which were clearly sent to the entire listserv, contain the guide-
               line that people need to "step up, step back." You have dominated list discussion
               above and beyond what I have ever witnessed on any listserv. Of the 7 new threads
               that have been started since this group was created, you have created 4 of them.
               And one of the ones you did not create, you still dominated discussion. After being
               explicitly asked to step back, you still created a new thread the next day. 4. You
               have repeatedly insisted on trying to change the structure of this group to meet your
               own needs and preferences. I was trying to be nicer about it, but I'm going to lay this
               out as clearly as possible now: this is the group we created. It was born out of discus-
               sions I had with friends about sexual harassment in the progressive movement, be-
               came the Netroots session we proposed and then led, and then we created the
               google groups to try to further the discussion and work that we started. As such, this is
               our project. Don't like how we're doing it? Don't participate. It's that simple. But when
               both Sabrina and I encouraged you to do the work your own way, since you clearly
               don't want to do it our way, you insisted that you don't want to do that. You've had
               every opportunity before now to build something. Now when we build something
               you decide to try to knock it down and rebuild it in the way you want? 5. Basically
               attempted to bribe Sabrina with $10,000 to fund the work the group (read: you) want
               to do, if she would just break with me and do things the way you want. If you have
               $10,000 to put towards this work, then again, go do it. It just won't be with us. 6.
               When you didn't get the answers you wanted from me, you tried to go around me to
               Sabrina. Sabrina, along with Rachel and Bridget, have been privy to our conversa-
               tions from the get go, and have all expressed concerns about your behavior on and
               off list. 7. You also decided to loop in Beth, who has had nothing to do with these
               discussions, and is not involved in the leadership of this group. In sending her these
               emails (and I know there have been other emails as well), you are engaging in har-
               assing behavior. 8. You have repeatedly challenged and disrespected this as a
               group that is led by women, and complained several times that you are being treat-
               ed unfairly for being male. This is even after I made clear that the way people were
               responding to you was based entirely on the content of your emails and how you
               were coming across, and not at all to do with your gender. You whined about it be-
               ing unfair that Sabrina characterized your mansplaining as mansplaining. As Sabrina
               said - when you're in a hole, stop digging. Do some more reading or - better yet - talk
               to actual women about their experiences with sexism and mansplaining. Take this
               opportunity where we're telling you that your behavior sucks to think about why
               we've reached that conclusion, and figure out how to do better. 9. There have
               been several complaints, since we began this list, about your behavior, comments,
               and dominance of the discussion. Your actions have made other list members un-
               comfortable, and you have stifled conversation. While you see this as us singlehand-
               edly removing you because of petty disagreements and us not liking being chal-
               lenged, in fact it's because y

1425.    Distortions The assertions made in the threat are combinations of grains of truth, lies of
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                  omissions, and fabrications.

                        1. Indicating that you would "go postal"

1426.             Plainttiff used a poor choice of words, that was immediately corrected, while making a
                  valid, different argument.

                        6. When you didn't get the answers you wanted from me, you tried to go around me
                        to Sabrina.

1427.             Plaintiff felt that Swirling's behavior was inappropriate and he was uncomfortable being
                  alone with Swirling, who was being deceptive.

                        5. Basically attempted to bribe Sabrina with $10,000 to fund the work the group
                        (read: you) want to do, if she would just break with me and do things the way you
                        want.

1428.             Plaintiff offered funding to the group, not to either of the leaders. The proposal was
                  democracy for the group, whose members were over 80% women, thus majority vote
                  would be her way, not his way.

1429.             The remaining assertions are similar distortions of a policy argument, which was within
                  norms of the community.


1430.                   Event   09/20/16 2016-09-20 2:00pm "Initial info collection, re: Gill staff" [D651]      ;
                        Penny Hamilton, Gill Foundation, Gay Inc

1431.                      Penny Hamilton, Gill Foundation     2:00p [D651]
                        Accepted: Initial info collection, re: Gill staff Tuesday, September 20, 2016 2:00 PM-
                        2:15 PM (UTC-05:00) Eastern Time (US & Canada)

        V.A.2.f      Plaintiff seeks help from Gill Foundation

1432.                    Email Subject     09/19/16     2016-09-19 4:18pm "Gill Foundation - HR contact info"
                     [D739*]   Penny

1433.                      Penny Hamilton      4:18p [D739]
                        Hello Josh,
                        Thank you for your call. I would like to try and schedule time with you to collect some
                        initial information. As I mentioned, I'll be in the office today until 4:30pm, MST. Tomor-
                        row/Tuesday, I can pretty much make anytime work after 9am. Please let me know
                        what works best for you.
                        Thank you, again.
                        Have a safe trip.
                        Penny
                        Penny K. Hamilton | Director of Finance and Administration Gill Foundation | 2215
                        Market Street, Denver CO 80205 Main: | Direct: <mailto: |
                        www.gillfoundation.org<http://www.gillfoundation.org/> Pronouns: she / her / hers
                        Working to secure equal opportunity for all people regardless of sexual orientation or
                        gender expression.

1434.                      Josh Cohen     2016-09-21 2:45pm [D739]
                        Hi Penny,
                        I now have you on the calendar for 5pm eastern today. Talk to you then.

1435.             During the meeting Penny Hamilton was hostile and falsely portaryed Plaintiff as making
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             an "unsolicited business proposition" , in effect, painting Plaintif as s gold-digger.

1436.                 J. Cohen    5:47p [D739]
                    Hi Penny,
                    Thanks for taking the time to meet and investigate my concerns. Please also pass
                    along my thanks to Guatam for passing this along and that there's no ill-will on my
                    part towards him. It's probably fair to say he was made an example of, but I think it's
                    for a good cause. I'm happy to update my post indicating that the issue was taken
                    seriously and resolved in a fair manner so if any other readers wonder they will know.
                    If that's the case, let me know.
                    Like I said, I'm interested in helping if there is any effort to establish norms in our
                    community for how to deal with reporting appropriately.
                    I do want to clarify something, and that is your use of the phrase unsolicited business
                    proposal, which has the wrong feel to what I was seeking. This may be a small distinc-
                    tion, but I'd like to clarify it. I fund and run and organization called Open Supporter
                    Data Interface (OSDI) http://opensupporter.org, a progressive coalition which stew-
                    ards a common data standard (donations, people, events etc) for progressive cus-
                    tomers and vendors. I also build various apps for the cause, and this year some pro-
                    gressive causes are using my new toolkit.
                    My mission could be viewed as an alternative way of 'funding' progressive causes by
                    providing them with tools, (This was one of the goals of Friendfactor, which it did not
                    achieve ) and also making integration of systems from different vendors work better
                    together. So when I spoke of possible collaboration, it was something more like that.
                    A way to combine funding and tool building resources to provide free or near-free to
                    progressive causes, or take incoming revenue/or profit and push it back into a fund
                    (such as a Gill Action Fund et al) to be bounced back into the cause. This way it's
                    providing the tech tools not as a business but as a pseudo-funding model.
                    While the conversations with Kirk never got far enough to develop that thinking,
                    that's what I roughly had in mind. And since Tim is a software guy like me, and that
                    Friendfactor was done under that umbrella, I figured that somewhere in Gillworld
                    was the place to do it. (and why I was so concerned about the behavior of this other
                    person)
                    Take care and thanks again
                    Josh




1437.        There was no further response from Gill Foundation.

        V.A.2.g Rootscamp 2016

1438.        Plaintiff was unaware that he was being lured into an ambush. Plaintiff gave a "heads
             up" so Swirling and Stevens were aware of Plaintiff's intent to drop in, and his reason.


1439.              Document      11/18/16 "fb rc16 Jamie McGonnigal" [D1609]

1440.                 Josh Cohen [D1609]
                    Ru still with wellstone? Do you know who at wellstone is working with wov?

1441.                 Jamie McGonnigal [D1609]
                    wov?

1442.                 J. Cohen [D1609]
                    "Working our values" group on rape culture et al

1443.                 J. McGonnigal [D1609]
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                Oh, we asked them about putting together the code of conduct, so they helped us
                with input for that.

1444.             J. Cohen [D1609]
                I wanted to raise some concerns with how they did it. In particular how he group
                deals with male victims. I spoke up seeking gender diversity in the leader/decision
                making group(they refused) , against their statements that the group didnt need to
                concern themselves with due process or fairness (which comes across as contempt
                for males) and some other values stuff. We argued, they framed me up as the usual
                enemy of the state ( dangerous mr bro patriarchical mansplainer) and kicked me
                out of the group.

1445.             J. McGonnigal [D1609]
                Well, I'll just say knock yourself out then. And that if there is disruption that violates
                codes of conduct, those folks will be asked to leave RootsCamp. I don't know all the
                specifics of what happened, but from only having your side of the story - it seems like
                you'd be best suited to run your own session and leave folks alone who clearly don't
                want you around and who may feel uncomfortable by your presence.

1446.    Plaintiff entered the room, took a seat in the back, and waited patiently to raise his
         concerns.

1447.                            At Rootscamp 2016, Defendants (via Swirling) announced to a
         room full of people that Plaintiff was a man who had engaged in repeated violence,
         persistent harassment against women and invaded their spaces. Plaintiff's sexual orien-
         tation was never mentioned.

1448.    This panicked the room; a male stranger got up from his seat walked up to Plaintiff and
         put his hands on Plaintiff. Plaintiff didn't know if he was about to be assaulted, so he sat
         down, slowly into his chair.


1449.             11/19/16    2016-11-19 4:00pm "battery guy" [D44]




                                         "Drawing of me, in video" [D44]


1450.    This resulted in Wellstone asking Plaintiff to cede the physical space of the conference.


1451.           Event     11/20/16    2016-11-20 2:00pm "Rootscamp: One API to rule them all,
            one API to bind them" [D1441]
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                           "One API to rule them all, one API to bind them" [D1441]


1452.    This meant Plaintiff would be absent from the OSDI session on the final day, so Plaintiff
         asked Rapi Castillo to present in his place.

1453.    Plaintiff had planned to publish an web page revealing his sexual orientation, and his
         purpose of dealing with LGBT policies. At the time, it wasn't clear to him that Action
         Network was the aggressor, via proxy Swirling, and mistook Sabrina as the aggressor.
         Plaintiff registered a domain name for the site "sabrinasfolly.com", which was pointing
         out a mistake, but using a playful term "folly".

1454.    On the evening of November 19th, 2016, Jason Rosenbaum called plaintiff via
         telephone to insist that Plaintiff not publish his perspective, warning Plaintiff that if he
         did, it would not be compatible with continuing to lead OSDI. Jason then followed up
         over SMS.


1455.         Sms     11/19/16    2016-11-19 9:00pm "SMS Saturday Evening RC16" [D113]

1456.            9:00p [D113]
                De-escalation is the way to make this a temporary setback.
                I think if this is the extent of it you won't hear more from them either.

1457.            Josh Cohen      9:17p [D113]
                So im not allowed to come to the conference tomorrow. No session no expo hall

1458.            Jason Rosenbaum        9:27p [D113]
                Sorry. Phone died. Ugh. Well look. Same advice here. De-escalation is the way to
                make this a temporary setback rather than something more consequential. I think if
                this is the extent of it you won't hear more from them either.

1459.    Sara Beth Mueller, from Wellstone called Plaintiff via telephone, and asked Plaintiff to
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              "cede the physical space of the conference". She was specific that "official" spaces like
              the physical conference center, or official parties were exclusions, but spaces or parties
              hosted by others were acceptable for Plaintiff to attend.

1460.         Plaintiff's purpose in attending the conference was purely professional, focused on his
              expo booth and the OSDI sessions. Plaintiff kept his personal life separate. Though un-
              just, Plaintiff made the requested concessions and pursued his remaining business meet-
              ings outside the conference center.


1461.              Email Subject         11/20/16      2016-11-20 12:28pm "For the OSDI panel" [D876**]     Rapi
                 Castillo

1462.                  Rapi Castillo     12:28p [D876]
                     Hey Josh, Joe told me about being in the panel just want to confirm and know if i
                     should prep for it

1463.                  Josh Cohen        12:44p [D876]
                     Yes you should sync with jason and seth

1464.                  Jason Rosenbaum          12:48p [D876]
                     Come by the room at 1:40 and we'll prep a bit before together.

1465.                  R. Castillo     12:55p [D876]
                     Sounds good.

1466.                  R. Castillo     1:19p [D876]
                     Sounds good. I may need to go right after the discussion if that's ok , as I have to
                     catch a flight at 4:10p.

1467.                                                                 While Plaintiff was absent, Defendants
              staged another attack at the OSDI session, portraying Wellstone's actions as Plaintiff be-
              ing guilty of the false accusations in an attempt to have him removed from his position.


1468.               Document         11/20/16 "sms re: Rootscamp16" [D344]

1469.                  Seth Bannon [D344]
                     I assume Dave is f*****g with us?

1470.                  S. Bannon [D344]
                     I still have no idea what happened, just know you somehow got yourself banned
                     from RootsCamp :-)

1471.                                                  However, due to OSDI's democracy requiring a vote
              within the committee this attempt failed. Though Action Network could have subse-
              quently made a motion to remove Plaintiff, they did not, though they tried to induce
              others to.

        V.A.2.h Use of ex-miltary soldier

1472.         In March 2017, Defendant's made use of a gay ex-military soldier who was part of the
              same cohort as Mike Rogers, Jamie McGonnigal, Plaintiff's ex-boyfriend and others with-
              in the gay rights movement.
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1473.    Plaintiff had never met or interacted with him. Plaintiff was aware that he had been
         charged with sexual assault.

1474.                                                   By using a woman as a proxy to attack Plaintiff
         on the front stage (on progressphiles listserv), falsely portraying him as exploiting others'
         labor, Defendants damaged Plaintiff's reputation, while at the same time providing a
         diversion to conceal backstage coercion.


1475.           Email Subject      03/08/17    2017-03-08 9:26pm "{pp} They/Them/Theirs standard in
            OSDI" [D1645]

1476.             Aliya Rahman      2017-03-09 8:12am [D1645]
                Hey yall and Josh, I hear the open call for input here and embrace that it's what pp
                is all about - and I assume we'll get some awesome responses on here for folks who
                know this deeply and personally as well as professionally. AND I also want to push us
                as a data community to resource pieces of our work in ways that honor communities
                who are experts in these questions and who are simultaneously (i) rarely paid for their
                expertise...

1477.                          Plaintiff received a Facebook friend request from ex-military soldier
         "Josh Seefried", which scared Plaintiff, leading him to seek help.


1478.          Email Subject     03/17/17     2017-03-17 10:13pm "eeek" [D157**]   Josh Cohen

1479.             Josh Cohen      10:13p [D157]
                Today I got a friend request from this friend of XX's
                http://www.washingtonblade.com/2016/08/26/gay-air-force-lieutenant-found-not-
                guilty-sexual-assault/
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                                             b9d3_Gosdi_graphicsPsoldier


1480.

1481.    Due to the fear induced by the friend request from ex-military soldier Seefried, Plaintiff
         sought help from Catalist. His concernes were essentially ignored.


1482.           Email Subject          03/18/17    2017-03-18 9:29am "Re: FW: checkin with Wellstone"
            [D635**]   Cristina Sinclaire

1483.             Cristina Sinclaire     9:29a [D635]
               Hi Josh - I'm sorry to hear you're having a hard time.

1484.    Two days later, Jason Rosenbaum attempted to coerce Plaintiff to make a false
         confession.


1485.          Chat     03/20/17       2017-03-20 11:35am "SMS Sync Up" [D143]

1486.             Jason Rosenbaum           11:40a [D143]
               I'm done wasting my time arguing with you about the process here
               until you're willing to acknowledge your abuse of chair power here.

1487.             J. Rosenbaum         12:45p [D143]
               If you don't understand why asking random people for input on our process was the
               wrong thing to do then I can't keep wasting my time trying to save you from yourself
               on this one.

1488.                                               Had Plaintiff made the false confession Jason
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                  Rosenbaum was trying to coerce, this would provide a pretext to remove Plaintiff from
                  his position.

1489.                                              Due to the escalating danger, Plaintiff retained counsel
                  (Glen Ackerman) for the first time since fighting a speeding ticket 30 years go. Counsel
                  negotiated with Wellstone/Rootscamp to de-escalate the situation adn was successful.


1490.                    Email Subject 05/11/17         2017-05-11 4:54pm "Wellstone Action - Update" [D323**]
                      Glen H Ackerman

1491.                          Glen H Ackerman     4:54p [D323]
                         I had a rather lengthly conversation with counsel. You are welcome to participate in
                         any Wellstone Action event provided that you comply with Wellstone Action's Code
                         of Conduct.

1492.                          G. Ackerman    4:54p [D323]
                         Opposing counsel agrees that Wellstone Action did not properly address the inci-
                         dent that took place at the Wellstone Action RootsCamp event in Washington Dis-
                         trict of Columbia last November.
                         Your participation in future Wellstone Actions should alert participants in the
                         RootsCamp event that witnessed your removal that all is well.


        V.A.2.i      Netroots Nation 2017

1493.             Netroots Nation 2017 was the tipping point for the external network effect, and as a
                  result the final OSDI conference session before Defendants' racketeering activity ex-
                  cluded Plaintiff.


1494.                    Conference Session        08/11/17       2017-08-11 1:00pm "Facebook NN17 OSDI Session"
                      [D236]      Facebook;      Facebook Notifier;      Facebook
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                                 "Facebook Event for Netroots Nation 2017 OSDI Session" [D236]


1495.               On the eve of the conference, Plaintiff was chatting with Jason Rosenbaum to discuss
                    how to approach PDI. During that chat, Plaintiff received Facebook RSVP notifications
                    for the OSDI session from Robyn Swirling and Jamie McGonnigal.

        V.A.2.i.1     Robyn Swirling and Jamie McGonnigal RSVP to OSDI Caucus


1496.                    Sms     08/10/17    2017-08-10 10:22pm "SMS with Jason during NN17" [D234]

1497.                      Josh Cohen       10:22p [D234]
                          pdi?

1498.                      Jason Rosenbaum        10:22p [D234]
                          Soon

1499.                      J. Cohen    10:25p [D234]
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        "Robyn Swirling has registered as &quot;Going&quot; to your Facebook Event: OSDI Data and Tech
                                                         Caucus." [D236]


1500.                 Facebook Notifier       10:55p [D236]
                    Robyn Swirling has registered as "Going" to your Facebook Event: OSDI Data and
                    Tech Caucus.

1501.                J. Cohen      10:58p [D234]
                    You invited robyn to the osid event?

1502.                J. Rosenbaum        10:58p [D234]
                    Maybe? I think I invited my whole friends list

1503.                J. Cohen      10:59p [D234]
                    I also see jamie mcgonnigal on "interested"

1504.                J. Rosenbaum        10:59p [D234]
                    Yeah same story I guess. I'll see if that's possible

1505.                J. Cohen      11:01p [D234]
                    Id also ask you to have a conversation with robyn. If she is genuinely interested in
                    participating in the discussion thats cool.

1506.                J. Cohen      11:01p [D234]
                    But if this is a setup its a nogo

1507.                J. Cohen      11:01p [D234]
                    Im going to have a reporting convo with nn staff just in case

1508.                             Also relevant is that PDI launched its national platform at Netroots
             Nation 2017. Defendants scheme to disrupt OSDI coincided with obsrtucintg PDI's ability
             to gain the same benefit as Action Network had.

1509.        Plaintiff feared they were planning another attack, and didn't want anything to do with
             either of them. Plaintiff made a complaint, via email, to Eric Thut asking to meet. Plaintiff
             asked Eric to ask Jamie and Robyn to not interfere with the OSDI session or Plaintiff's par-
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         ticipation at the conference. If either of them were planning to participate in a con-
         structive manner, they were welcome to attend.


1510.           Email Subject      08/10/17      11:20p "Gmail Potential code of conduct issue" [D1705**]


1511.             Josh Cohen        11:20p [D1705]
                Id like to meet with you tomorrow morning before the osdi tech caucus at 1p. (Ideal-
                ly not last minute) This is a precautionary conversation related to a rape culture situa-
                tion. What ive been dealing with is the retaliation that comes from having spoken up
                about some sexual assault/abuse by a member of the community. I know thats
                probably a jolt but it is what it is.

1512.             Eric Thut     11:26p [D1705]
                Can I bring in Mary on this conversation?

1513.             J. Cohen       2017-08-11 12:07am [D1705]
                Sure thing

1514.             E. Thut     8:02a [D1705]
                Can you came to Chicago E before 9:30

1515.             J. Cohen       8:37a [D1705]
                Yup

1516.    Plaintiff met with Eric Thut and Mary Rickles that evening, and asked them to prevent
         any aggression or interference from Robyn Swirling and Jamie McGonnigal.


1517.         Audio      08/11/17     9:30a "Complaint to NN17 re aggression" [T249]          ;      Josh
            Cohen, Self;    Eric Thut, Netroots Nation;  Mary Rickles

1518.             Josh Cohen        +03:55 [T249]
                I want you to ask Jamie not to attend, not to attend that session and have no con-
                tact with me whatsoever.

1519.             Eric Thut     +04:45 [T249]
                It's a little difficult to ask people to stay away from each other. You know, that's not
                the business we want to get into. As the official people in some ways we're taking a
                side of something, that we were not part of. What if I sat in on the caucus and just
                make sure it went well.

1520.                                    Eric refused to do this, allowing the aggression to escalate

1521.    During the OSDI session, Eric insisted that the session end 10 minutes earlier to create a
         buffer before a session in the same room, hosted by Swirling.

1522.    After the OSDI session, while alone with Plaintiff, Eric Thut instructed Plaintiff was
         prohibited from attending 3 sessions, and if Plaintiff disobeyed this, his credentials would
         be revoked.

1523.    Eric held a piece of paper with dates, times, and locations for the 3 sessions, but not the
         session titles. Plaintiff asked Eric to email him the information, but Eric refused. Plaintiff
         doesn't know what those sessions were.

1524.    Plaintiff informed Eric That that his refusal to prevent aggression from Swirling and
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                  McGonnigal, his prohibitions, behavior in the OSDI session combined with their use of
                  the ex-military soldier needed to stop and was harmful enough to warrant legal action.

1525.                                            Eric refused to do this, allowing the aggression to escalate

1526.             At this point Defendants were aware that a complaint was forthcoming and positioned
                  themselves to prepare for the extortion, attempt to gain control and/or destruction of
                  OSDI.

        V.A.2.j      Paralysis

1527.             Defendants paralyzed the DNC and PDI conversations until the provoked complaint
                  was served, prepared for their Abuse of Litigation Privilege, which they used as a pre-
                  text to destroy or gain control of OSDI, and capture "abandoned IP".




                                                                Paralysis




                                                            Abuse of Process


1528.             The DNC strung Plaintiff along waiting for the complaint to be filed.


1529.                     Email Subject     08/27/17   2017-08-27 "DNC Followup" [D329]      Josh Cohen

1530.                       Josh Cohen      2:27a [D329]
                          you mentioned you were coming to NYC soon. When is/was that?

1531.                       Liz Jaff, DNC    1:28p [D329]
                          Adding Sally
                          Raffi will be in NYC soon
                          Sally josh runs OSDI an initiative raffi is very interested in this open data option
                          Let's make sure we stay connected on what's next. Fisher is lead for open API so
                          good to flag for him so he stays connected with josh too

1532.                       Sally Marx, DNC     2017-08-28 9:49am [D329]
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              Raffi will be in NYC on 9/18. Any chance you are free to meet with him then? If you
              don't mind, we'd also like to have Fisher join. As Liz mentioned, he is the lead on our
              team for open API.

1533.            J. Cohen       2017-09-05 8:31am [D329]
              Yes, this sounds great. Let me know how the schedule plays out

1534.            S. Marx      2017-09-07 9:53am [D329]
              Hi Josh---thanks for your patience here. We've been wrestling a bit with Raffi's travel
              schedule (which changes daily), so I think for the time being, it makes sense for you
              to sit down with Fisher and Riley from our team. They are based in NY.

1535.            J. Cohen       2017-09-13 11:35am [D329]
              Hi Micheal,
              When is a good time for us to meet?

1536.            Michael E Fisher, DNC         2017-09-14 1:10pm [D329]
              Riley and I will both be back in NY next Thursday and Friday if that works for you.
              Sadly, I don't think we have much to share since yet since we last spoke in August
              we're still getting spun up over here. But always happy to have you over to our New
              York office to catch up.

1537.            J. Cohen       2017-09-16 12:01pm [D329]
              That works for me, and I'd love to see the new digs.
              I suggest one of our goals should be on the interop/backpack plan. When we met
              with Raffi in NYC and discussed OSDI, I offered to create a draft proposal laying out
              how OSDI fits into the backpack as well as how the DNC would manage it.
              It would be great to meet with you, get feedback on the proposal, incorporate any
              suggestions etc before we bring it to Raffi.

1538.            J. Cohen       2017-09-22 12:19am [D329]
              Michael, didn't hear back from you. when works for you? Next week can work too,
              my freebusy Pick your favorite slot

1539.            J. Cohen       2017-09-26 1:04am [D329]
              Hi Micheal, can you let me know what works for you?

1540.            M. Fisher     1:05a [D329]
              Hey Josh, sorry for the delay.
              How about next Wednesday 10/4 or Thursday 10/5?

1541.            J. Cohen       1:06a [D329]
              Lets do Wednesday. How about 2-4p?

1542.            J. Cohen       2017-10-03 8:33am [D329]
              Micheal, whats the address of your office? I'll come by wednesday at 2

1543.           L. Jaff      11:49a [D329]
              Josh let's hold on this till after VA

1544.           L. Jaff      12:03p [D329]
              Let's plan next week tamaira please reach out to Josh to schedule a call with me
              and him
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        V.A.2.k      Complaint Filed

1545.             At this point:

          •       The DNC and PDI conversations were paralyzed

          •       2 Employment conversations went silent

          •       The aggression from McGonnigal and Swirling at Netroots Nation 2017 had caused damage

          •       The use of gay ex-military Seefried made the situation seem dangerous


1546.             Plaintiff needed it to stop, and the only discoverable root cause was the false
                  accusations made by Swirling at Rootscamp 2016. Plaintiff filed the complaint on No-
                  vember 11th, 2017.

1547.             Plaintiff was unaware that Defendants used Swirling as a proxy, leading Plaintiff into an
                  Abuse of Litigation Privilege trap.


1548.                    Docket      11/17/17     2017-11-17 9:00am "Lawsuit Filed Case NYSD 1:17-cv-09019"
                      [D70]


1549.                         Josh Cohen   9:00a [D70]
                         Plaintiff brings this action for defamation, unfair competition, tortious interference for,
                         inter alia, the malicious, willful and unlawful dissemination of false, misleading, dis-
                         paraging and defamatory statements by Defendant regarding Plaintiff...

        V.A.2.l      Gubarev v Buzzfeed Alison Schary Appears Pro Hac Vice

1550.             In Q4 2017, Plaintiff liquidated IRA savings account so the funds would be available to
                  fund his time and labor during the struggle save OSDI.

1551.             In December 2017, after the complaint was provoked and filed, Alison Schary who
                  would serve as Defense Counsel for Robyn Swirling appeared Pro Hac Vice in Gubarev
                  v Buzzfeed, a matter related to the "Trump Dossier" authored by British Intelligence
                  agent Christopher Steele and published by Buzzfeed.


1552.                   Document        12/15/17 "Gubarev et al v. Buzzfeed, Inc. et al " [D1573]             Justia
                      Dockets & Filings

1553.                    [D1573]

                         Filing 102 ORDER granting 101 Motion to Appear Pro Hac Vice, Consent to Designa-
                         tion, and Request to Electronically Receive Notices of Electronic Filing for Attorney(s)
                         Alison Schary. Signed by Judge Ursula Ungaro on 12/15/2017. (ls)


        V.A.2.m Request for Dialog / Litigation Hold

1554.             On December 27, 2017, Plaintiff's counsel sent letters to Netroots Nation and Rootscamp
                  requesting dialog to de-escalate the conflict, or in the alternative, litigation hold.


1555.                    Document      12/27/17 "Netroots Notified of Suit" [D52]
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1556.                [D52]

                      our hope was that continuing harm to our client could have been stopped through
                      dialog... Should you have similar concerns, we invite you to meet and confer with us
                      about alternative resolutions and compliance


1557.                Document         12/27/17 "Litigation Hold letter to Wellstone" [D53]

1558.                [D53]

                      Litigation Hold letter to Wellstone

1559.                   Justin Mercer, Esq. [D53]
                      While our intention with this letter is to inform you of your preservation obligations, we
                      do not intend for our evidentiary needs for this case to be overbearing nor time con-
                      suming. Similarly, our hope was that Robyn Swirling's continuing harm to our client
                      could have been stopped through dialog, but her continued aggression has made
                      these steps necessary.
                      Should you have similar concerns, we invite you to meet and confer with us about al-
                      ternative resolutions and compliance

1560.         Plaintiff waited for a response, which never occurred.

        V.A.2.n Listserv Progressphiles Reboot

1561.         Now aware that the complaint had been filed, Netroots Nation and Well-
              stone/Rootscamp responded with radio silence. In parallel, they positioned themselves
              for Abuse of Litigation Privilege.

1562.         On 1/8/2018, Progressphiles listserv, a coordination point for data practitioners in the
              market, and a critical information flow "rebooted" itself. The moderators deleted the ex-
              isting google group, created a new google group, added a new code of conduct.
              Members were required to rejoin, agreeing to the new code of conduct.


1563.                 Email Subject        01/08/18     2018-01-08 9:00am "{pp} We are deleting Progress-
                  philes..." [D55*]   Progressphiles

1564.                    Progressphiles Moderators       9:00a [D55]
                      We have decided to delete the current Progressphiles listserv and invite all current
                      {pp} members to a rebooted listserv.
                      What?
                      The new rebooted Progressphiles listserv will have more active moderatio
                      There is now a code of conduct
                      <https://docs.google.com/document/d/1V88LKzHYhBR7_yIcbgsRHaeDoBVhFQVJGc
                      ERgYMr3Hc/edit?usp=sharing> which you should read before signing up for the re-
                      booted listserv. If you violate the code of conduct in the rebooted {pp}, you could
                      be removed from the list, be placed into moderated suspension, or receive a warn-
                      ing. This decision will be at the discretion of the moderators in collaboration with the
                      person(s) impacted by the reported action and will be made on a case-by-case ba-
                      sis. 2.
                      In Solidarity,
                      Your Progressphiles moderators
                      Matthew, Cristina, Luke, Jenn, Dessa and Andrew

1565.         The complaint was served to Swirling on January 25, 2018.
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1566.              Email Subject       01/25/18       2018-01-25 "Robyn was served with the summons" [D67]
                Justin Mercer

1567.                Justin Mercer       12:09p [D67]
                   Hey Josh, My process server just informed me that [Defendant] was served personally
                   on 1/23/18.


        V.A.2.o Unparalyzed

1568.        On January 31, 2018, Defendants unparalyzed the PDI and DNC conversations.


1569.              Email Subject       02/01/18       2018-02-   7        "   ’     !" [D516**]   Raffi Krikorian

1570.                Raffi Krikorian     7:28a [D516]
                   hey josh.
                   its been a while since weve spoken! the last few months at the DNC have been nuts,
                   but i feel like the tech team is starting to get its feet underneath ourselves.
                   i wanted to chat about two things, if you have a second:

1571.                R. Krikorian      7:28a [D516]
                   the tech team is about to launch a marketplace of progressive technology that
                   campaigns and state parties should know about. effectively democratizing access
                   to this data. sally, CCed, who is running the program has been working hard to cata-
                   log everything and also negotiating prices with people who should up in the cata-
                   log. id like to chat about the role of OSDI and how we can highlight applications that
                   comply in the market. i still believe strongly in interoperability, so i want to use this as
                   a venue to continue to nudge the ecosystem

1572.                R. Krikorian      7:28a [D516]
                   i wanted to revisit whats the best ways that i, and the DNC, can be involved in OSDI.
                   hope youre well, and hope to hear from you soon!


1573.              Email Subject       02/01/18       7:43p "[osdi-exec] PDI" [D417**]   Osdi Exec

1574.                Joe McLaughlin         7:43p [D417]
                   I'm meeting Gary Brown, the CEO of Political Data Inc AKA PDI a week from Saturday
                   for breakfast re some Dem and Working Families stuff. Met him at Netroots Nation too
                   and have been trying to get together since.
                   Don't know where we ever got with PDI joining OSDI, but seems like now is the time.
                   Russ, help with that would be great, also Josh, whoever else.

1575.                joshco    8:00p [D417]
                   We have made multiple attempts with no success. Break out the curly braces and tie
                   him to a stationary object. Dont let him escape until they request OSDI membership.

1576.                J. McLaughlin        8:38p [D417]
                   Sure, whatever works. If there is anything I can share with Gary by then about the
                   DNC discussion, please let me know. If not, mum's the word.
                   One thing that has changed, I think, is PDI's rolling out of PDI National is moving
                   along, from kind of a slow start last summer. Seems if PDI really intends to try to com-
                   pete with VAN, OSDI is a necessary if not sufficient part of that.
                   On Feb 1, 2018 5:00 PM, wrote:

1577.                Josh Cohen         8:49p [D417]
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                    Until we hear something substantive from the dnc there isn't much to say. Tell him
                    about CallHub osdi support. Doing osdi will get them that for free
                    Sent from my iPhone

1578.                  J. McLaughlin      11:18p [D417]
                    Right yeah I'll point out the benefits of connecting to the OSDI 'ecosystem' - CallHub,
                    the other already-implementing orgs. Cool.
                    On Feb 1, 2018 5:49 PM, "Josh Cohen" wrote:


        V.A.2.p Abuse of Litigation Privilege

1579.         On 2/12/18, Defense counsel Schary filed a motion to dismiss. In parallel, Swirling posted
              a tweetstorm which abused litigation privilege, misrepresenting the two policy argu-
              ments in 2016.


1580.               Docket     02/12/18     2018-02-12 8:28am "Def Motion to Dismiss" [D71]




1581.



1582.               Tweets     02/12/18     9:00a "quote robyn tweetstorm" [D1590]

1583.                 9:00a [D1590]
                    Telling the truth about what's happening to you can feel empowering and freeing.
                    Unfortunately, I'm writing this today to tell you about the flip side of that -- the back-
                    lash and harassment that you can face for just standing up for yourself.

1584.                 9:00a [D1590]
                    This isn't a #metoo story, but it is a story about what I'm dealing with in response to
                    my work on ending sexual and gender-based harassment in the progressive move-
                    ment.

1585.                 9:00a [D1590]

                    Josh Cohen is a software engineer, activist and chairman of [OpenSupporter?]. He
                    is also someone who has harassed me for the past year and a half, and who is now
                    suing me alleging defamation, tortious interference, libel, and intentional infliction of
                    emotional distress

1586.                 9:00a [D1590]
                    I am trying to do the hard and necessary work of combatting harassment within our
                    movement, but Josh has interfered and disrupted on multiple occasions, then
                    threatened retaliation if I spoke up. A few highlights:
                    He hijacked a working group that I organized, including offering a significant amount
                    of money to my co-organizer if she would agree to elevate Josh's priorities and cut
                    me out of my own work.

1587.                 9:00a [D1590]
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                Josh suggested that he might "go postal" if his request to include more male voices,
                primarily his, was not accepted. After my co-organizers and I explained why his be-
                havior was unacceptable and asked him to part ways with the group, he disregard-
                ed that request.

1588.             9:00a [D1590]
                He then threatened to sue me for defamation if I told people about his behavior on
                the listserv.

1589.             9:00a [D1590]
                He disrupted a conference session I led and then refused to leave when told to.

1590.             9:00a [D1590]
                He registered a web domain with one of my co-organizer's names in the URL. He said
                as long as we didn't say anything further about his behavior, he wouldn't publish "the
                other side of the story" on that site.
                The last

1591.             9:00a [D1590]
                It is unacceptable to use legal action in an attempt to silence and intimidate some-
                one who criticizes harassing behavior.

1592.    Defendants setup a fundraiser to collect money from the community to fund defense
         of a lawsuit Defendants provoked in order to gain control of property.

1593.             9:00a [D1590]
                Please chip in to less the financial impact of this lawsuit.
                All funds received through this page will go to Robyn's legal defense.

1594.                             The Tweetstorm contains an additional, lethal, false accusation,
         that Plaintiff harassed proxy Swirling for a year and half, combined with derivatives of
         the attacks in the original extortion threat on the WOV policy group. This is an example
         of how Defendants used fear to induce responses they can misrepresent by combining
         grains of truth, lies of omission, and outright fabrications.

1595.                             Defendants distortions is so blatant that they can be viewed as a
         threat to continue their deception.

1596.                                              Defendants engineered circumstances to allow
         them to get away with deception by protecting it with litigation privilege.

1597.    Though Swirling was required to remove the Tweetstorm, the most damaging false
         accusation remained online on a twitter account she could control until at least April
         2021.

1598.    Proxy Swirling's Linkedin profile lists a role with Clinic Escort from 2014 to present.


1599.          Document       12/29/21 "Robyn Swirling LinkedIn" [D1267]

1600.          [D1267]

                Clinic escort
                Washington Area Clinic Defense Task Force
                Feb 2014 - Present * 7 years 11 months
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1601.                Tweets    02/18/18    2018-02-18 "ClinicEscort" [D1981]

1602.                  ClinicEscort   11:52a [D1981]
                     My friend, and all-around good human, has been harassed for a year and a half by
                     a man who has just doubled down by suing her (suing HER!). You can read what's
                     going on in her own words here. twitter.com/RSwirling/stat...

1603.                  ClinicEscort   11:52a [D1981]
                     It turns out (who knew? oh---her harasser knew) that defending yourself even against
                     a baseless lawsuit is expensive. So has posted a crowdfunding page for those of us
                     who asked how we can help. I chipped in, and hope you will too. youcar-
                     ing.com/robynswirling-...

1604.                  ClinicEscort   5:00p [D1981]
                     Evening shift re-post. My lovely friend is being sued by her harasser. Her thread here:
                     twitter.com/RSwirling/stat...
                     The fundraiser for her legal defense (necessary even for a BS suit) is 56% to goal. Can
                     you help? She'd be grateful & so would I. youcaring.com/robynswirling-...

1605.                                 By retweeting it 3 times, Defendants sought to maximize the
              damage they were doing to Plaintiff's economic viability and facilitate coercion.

        V.A.2.q Coercion 2/12

1606.


1607.                 Email Subject        02/12/18        2018-02-12 1:24pm "Please remove me from
                  http://opensupporter.org/leadership/" [D5*]     Chuck Hagenbuch

1608.         Defendants were ruining Plaintiff's name, economic viability, and business, endangering
              his safety. Though they portrayed themselves as coming to the aid of women, they
              were fabricating a pretext to justify nullifying Plaintiff's property rights and "taking him off
              the table" so their competitors couldn't gain similar benefit.

1609.                  Chuck Hagenbuch        1:24p [D5]
                     Please remove me from the Governance committee. I do not want to be listed as
                     emeritus in any way either. In order of importance:
                     I do not want to support or be affiliated with an organization run by or attached to
                     Josh Cohen's name or his harassment.
                     I have never been deeply involved in OSDI.

1610.                  Adriel Hampton     7:30p [D5]
                     There is an organized campaign to get OSDI affiliates to repudiate you - a former
                     colleague contacted me asking me to call for your ouster as chair. I told her basical-
                     ly what your letter says and that when two people are accusing each other of harm-
                     ful actions and asking their friends to support their version, the courts are a decent
                     place to hash that out.

1611.                                              Defendants used this to coerce others to flee or face
              retaliation for "not supporting women"

1612.         Plaintiff later followed up with Adriel Hampton via phone, asking him to elaborate on
              the organized campaign. Plaintiff memorialized Adriel's description in email and asked
              him to confirm it, which he did.
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1613.          Email Subject      10/19/18       2018-10-19 10:00am "could you document" [D4]         Josh
             Cohen

1614.              Josh Cohen     10:00a [D4]
                could you commit to email a description of the bullying behavior you experienced?
                Here's what I recall, could you edit/clarify/confirm?
                A female friend X of Robyn's contacted this OSDI member by phone. X told the
                member that they needed to either kick Josh out of OSDI or resign from OSDI them-
                selves. X also said that if this member didn't go along, "it would not be forgotten",
                which was received by the member to be a threat of retaliation.
                When this member told X that Josh's actions were to confront discriminatory behav-
                ior, and that he is also a victim of sexual misconduct seeking to avoid retaliation, X
                replied that they didn't care.

1615.              Adriel Hampton      11:37a [D4]
                That's accurate, except it was Facebook Messenger, not phone.


1616.           Email Subject      02/12/18       2018-02-12 10:42pm "An Important update" [D1048]
             Joshco

1617.              joshco    5:42p [D1048]
                Dear Members of OSDI, I write to inform you that I recently filed a lawsuit against an
                individual who has used her platform to publish and communicate false and defam-
                atory statements about me to

1618.              Brady Kriss   8:01p [D1048]
                I'm so sorry to hear this. Let me know if I can help.

1619.                   Brady Kriss/RagTag is proxy for Dimitri Mehlhorn who used Reid Hoffman's
         money to help fund Higher Ground Labs. see [D676]

1620.              Seth Bannon     2018-02-13 1:57am [D1048]
                Sorry to hear you're going through that. Must be stressful. Let me know if there's any-
                thing I can do to help.

1621.              Augustus Franklin    8:30a [D1048]
                Hey Josh, Very sorry to hear about this. Must be a difficult time for you. If there any-
                thing I can help with, please ask. best regards, Augustus


1622.          Email Subject      02/12/18       2018-02-12 9:30pm "Invoice from Netroots Nation" [D983]
               Netroots Nation

1623.              Eric Thut, Netroots Nation     9:30p [D983]
                Your invoice is attached. Please remit payment at your earliest convenience.
                Netroots Invoice Balance Due $0.00

1624.              E. Thut   2018-02-13 1:50pm [D983]
                Please ignore this invoice that was sent out. We had a ghost in the machine that de-
                cided to send invoices out to everyone who received one last year. I apologize for
                any inconvenience or confusion that this has caused.

1625.                            To Plaintiff, this appears to be gloating over the destruction of
         Plaintiff's economic viability.
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1626.           Email Subject   02/12/18        2018-02-12 9:48pm "membership to Progressphiles" [D58*]
               Progressphiles Moderators

1627.             9:48p [D58]
                We have received multiple complaints from members of Progressphiles that have felt
                bullied by actions you have taken. When you joined the rebooted Progressphiles,
                you agreed to
                follow a Code of Conduct. In accordance with the idea of maintaining Progress-
                philes as a place safe from harassment or intimidation, we are removing you from
                the list.

1628.                             Plaintiff was removed from Progressphiles listserv that evening,
         further limiting his career, and his ability to engage in dilligence to discover Defendants'
         schemes to invest the proceeds.


1629.           Email Subject      02/12/18       11:32p "RE: membership to Progressphiles" [D219*]
             Joshco

1630.             7:05p [D219]
                Hi everyone,
                We have been made aware that several members of the list have felt bullied by ac-
                tions of a member of Progressphiles. In accordance with the idea of maintaining
                Progressphiles as a place safe from harassment or intimidation as described in our
                Code of Conduct, we have removed that individual from the list.
                Also please remember to not discuss legal matters on this list and be extra cautious
                of sharing any details regarding ongoing legal matters via this list.

1631.                            By silencing any discussion of the issue on the list, the truth of the
         Robbery by Extortion was concealed.

1632.    The next day, Nathen Woodhull engaged:

1633.              Nathan Woodhull         2018-02-14 12:31pm [D1048]
                Josh, It seems, as an outsider, wholly unaware of the particulars, that my advice
                would be to try and find a way through mediation or human connection to resolve
                this issue whatever it might be outside of the courts. It seems like that would be the
                best option for you, Robyn, the issues you cared about raising, and OSDI.
                I know you both to be very passionate people who care a great deal about many of
                the same things -- but to me -- again not being aware of any of the exact particulars
                -- escalating to a lawsuit versus all of the other mechanisms available for dispute res-
                olution among people feels like a distraction from all of the useful things you could
                both be doing in the world. I get that whatever happened must have felt incredibly
                hurtful and personally damaging to take the steps you have but surely there are
                more constructive ways to resolve things?
                I know we're not close but hope you take this as intended, as heartfelt advice from
                an acquaintance who cares about you and OSDI, etc

1634.                     Nathan's statement "I get that whatever happened must have felt
         incredibly hurtful and personally damaging to take the steps you have but surely there
         are more constructive ways to resolve things?" furthers the conspiracy by continuing the
         false portrayal of Plaintiff as

1635.              N. Woodhull    1:41p [D1048]
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                        Of course she's not being fair, you're suing her. At this point you're never going to get
                        the outcomes you want pursuing this strategy is all I'm saying even if you feel boxed
                        in and


1636.                   Email Subject      02/19/18       2018-02-19 9:50am "[osdi-gov] Please remove us from
                     OSDI" [D562]   List governance,       Nathan Woodhull

1637.             View on osdi-dev

1638.                      Nathan Woodhull      9:50a [D562]
                        I would like to resign my Governance role as part of OSDI and all other official partic-
                        ipation by myself and ControlShift.
                        Please remove all references to ControlShift and myself from the OSDI website, mail-
                        ing lists and materials.
                        We'll still follow along with the technical docs / developments via Github and wish
                        the broad community of people working towards tech interop inside and out of OSDI
                        well.


        V.A.2.r     Coercion 2/20




                                            0c2d_Grico_gainPcoerce_resigns_simple


1639.                           Action Network changed its


1640.                   Email Subject     02/13/18       2018-02-13 12:40pm "[osdi-gov] NOTICE: Action Network
                     OSDI representation change" [D255*]        Martha

1641.                      Jason Rosenbaum          12:40p [D255]
                        Hello all,
                        Effective immediately, I am being replaced as Action Network's OSDI representative
                        by Martha Grant, a project manager here on our team. Her email address is ...
                        Josh, can you add Martha to the relevant email lists (tech and governance) and the
                        Lucid calendar invite for tech calls, and remove me?

1642.                      joshco    2:21p [D255]
                        Thanks for the update.
                        I will make those changes.
                        Jason, thanks for all of your contributions to OSDI.
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               Martha, welcome aboard! Since you re coming in mid-stream, I ve asked our vice
               chair, Sonya Reynolds to serve as an informal mentor to help get you up to speed.
               In the meantime, block out 3pm eastern on Thursdays for the tech committee call.
               There is also an executive committee call this week (every other week), which as a
               governance member, Action Network is entitled to drop in. That could helpful in get-
               ting the pulse of OSDI. And of course, there s obviously an elephant in the room, so if
               you have questions about that, we can talk about that as a group.
               Let me know if you want to attend.

1643.             joshco      2:27p [D255]
               This time with Martha added

1644.             Martha Grant       3:09p [D255]
               Thanks! I would like to attend the executive committee call

1645.             joshco      4:29p [D255]
               You should have received an invitation from Lucid Meetings for exec and the tech
               call.
               Since you are new, it will direct you to create an account. That s probably a good
               thing to do sometime before the meeting, as Lucid can be a bit needy.

1646.                             By replacing Jason Rosenbaum with a woman, Martha Grant,
         Defendants could portray their subsequent coercion as empowering woman.


1647.          Email Subject         02/20/18       2018-02-20 9:30am "[osdi-gov] Resigning from OSDI"
            [D1436]   List governance,       Martha Grant

1648.    View on osdi-dev

1649.             Martha Grant       9:30a [D1436]
               Action Network will no longer be participating in OSDI, but we commit to maintaining
               interoperability with the tools of the progressive movement and doing what we can
               to strengthen that commitment throughout the movement. Please remove all refer-
               ences to us from the website and other materials, and remove me from all lists. Mar-
               tha

1650.             Jeff Mann      12:24p [D1436]
               Please remove AFL-CIO as well.

1651.             Beth Becker      12:28p [D1436]
               Me as well please

1652.             Walter Ludwig      12:40p [D1436]
               Ditto Indigo

1653.             Dave Leichtman via OSDI Governance            1:32p [D1436]
               Microsoft would also like to be removed from the Industry Tech group.

1654.             Joe Murray      2:27p [D1436]
               I don't have any sense of what is prompting others to resign apart from the messages
               posted today. But I've only attended a few meetings and don't feel like I am partici-
               pating at a level that makes sense to remain a member. I wish everyone well. But
               please accept my resignation.
               All the best.
               Joe Murray, PhD President, JMA Consulting
               skype JosephPMurray twitter JoeMurray
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1655.                  Sonya   6:50p [D1436]
                 Apologies for the apparent radio silence, bad week to be on vacation. For those
                 that resigned on this thread, or others that are concerned or confused, please reach
                 out to me if you would like to talk about what is needed to maintain your commit-
                 ment to the work. My current plan is to collect this input from the coalition of the will-
                 ing (anonymously/confidentially) and use it to guide a collective discussion a path
                 forward that doesnt jeopardize organizations or this important work. Open to hearing
                 everyones thoughts so our next steps can be productive in making it through this pe-
                 riod.
                 In solidarity, Sonya

1656.

1657.    At the NYC Hacknight prior to 2/20, Skyler/MoveOn suggested Plaintiff meet with him to
         hear Skylers suggestions on how to resolve the conflict.

1658.    Skyler scheduled it for lunch on 2/20. They met at Cafeteria, a restaurant in Chelsea,
         NYC. while there' Skyler insisted that the way to resolve the crisis was for Plaintiff to re-
         sign.

1659.                                                    The timing of the lunch meeting with Sky-
         ler/MoveOn, and the coordinated resignations on the front stage, which appeared to
         be members and the AFL-CIO "supporting women" effected the coercion.


1660.            Sms      02/20/18     12:30p "I agree to meet with Skyler to hear him out, he compares
             my action to killing Robyn's dog and leaving it's body on her porch." [D93]

1661.              Josh Cohen        12:31p [D93]
                 I'm outside civic hall?

1662.              J. Cohen     12:32p [D93]
                 5min

1663.              J. Cohen     12:32p [D93]
                 On my way!

1664.              J. Cohen     12:32p [D93]
                 Ah right.

1665.              Sky Duveen        12:32p [D93]
                 Is this josh? I thought we were meeting at cafeteria?

1666.              S. Duveen     12:33p [D93]
                 Me too:-) see you in a few minutes

1667.              S. Duveen     12:38p [D93]
                 At the bar

1668.                                At lunch with Skyler, Skyler instated that to resolve the conflict,
         Plaintiff needed to resign, portraying the act as a concession he needed to make to
         women.

1669.    Plaintiff refused and instead recused himself.
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1670.                Email Subject      02/20/18     2:50p "Recusal of the chair" [D309]   List governance,
                  Josh Cohen
1671.         View on osdi-dev

1672.                  Josh Cohen       2:50p [D309]
                     Our organization operates by parliamentary procedure in the form of Roberts Rules
                     of Order... Therefore, effective immediately, I'm exercising the right of the Chair to
                     delegate that authority to the Sonya Reynolds, Vice Chair as Chair Pro Tem.


        V.A.2.s   Copyright License Fraud

1673.                                      Skyler Duveen/MoveOn attempted to induce a change in
              copyright licensing to a copyleft license, which would, in effect, trick Plaintiff into
              abandoning his copyrights. The changes were proposed based on the ruse that this
              was an obstacle to MoveOn's participation, and thus needed to resolve the conflict
              and get the project back to its successful state.

1674.         On 2/21, MoveOn opened an issue on OSDI's GitHub repository proposing Copyright
              Licensing changesl.


1675.               Document         02/21/18 "osdi github copyright skyler" [D539]

1676.                  Skyler Duveen, Moveon [D539]
                     The current specification isn't licensed in any way. It should be licensed in some
                     open-documentation license

1677.                  S. Duveen [D539]
                     but even if something in there releases copyright/shares distribution/modification
                     rights of the spec, it should be clearer.
                     Something like www.gnu.org/licenses/fdl-1.3.en.html Or
                     http://creativecommons.org/licenses/by-sa/4.0/

1678.                  Josh Cohen [D539]
                     Here's a proposal based on the W3C copyright license. It allows republishing (like
                     forking our repo for proposed changes), but prohibits publishing as a technical speci-
                     fication, or the representing the democratic consensus of OSDI


1679.               Email Subject       02/22/18       2018-02-22 9:19pm "copyright licenses" [D537*]     Josh
                  Cohen

1680.                  Skyler Duveen, Moveon         9:19p [D537]
                     I know some standards bodies hold tight to their spec, but I don't see the motivation
                     in this
                     particular situation.

1681.                  Skyler Duveen, MoveOn.org           9:25p [D537]
                     I don't know if I can even legally clone the repo, much less publish modifications on
                     github to make a PR. Technically that's not a granted permission without a copyleft
                     license of some kind.

1682.                  S. Duveen      9:28p [D537]
                     Technically
                     that's not a granted permission without a copyleft license of some kind.
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1683.                  S. Duveen      10:28p [D537]
                     Isn't that trademark law? I know some standards bodies hold tight to their spec, but I
                     don't see the motivation in this
                     particular situation.

1684.                  S. Duveen      10:28p [D537]
                     Not blocked, but think it's important -- if I had thought of it last September I probably
                     would have suggested that it be a
                     condition of us joining. We can't responsibly participate in open source projects
                     without licenses either.

1685.                  Josh Cohen, OSDI       10:32p [D537]
                     But the trademark is usually a logo,
                     certification symbol or phrase.
                     I'll do some research for next week's call. See if you can make that.


1686.                Email Subject     02/22/18      9:19p "copyright licenses" [D1569*]   Josh Cohen

1687.                  Josh Cohen      9:19p [D1569]
                     we discussed this on the call today. We put the intellectual property in way back
                     because that was a more pressing issue to protect from submarine patents. For the
                     copyright side, what's the scenario you are thinking of?

1688.                  Schuyler Duveen       9:25p [D1569]
                     I don't know if I can even legally clone the repo, much less publish modifications on
                     github to make a PR. Technically that's not a granted permission without a copyleft
                     license of some kind.

1689.                  J. Cohen      9:28p [D1569]
                     One of the things that's tricky about standards work is that we don't want to allow
                     people to republish a modified version and still call it the OSDI Specification, or some-
                     thing like that. There are some standardsy copyright licenses, I'll look around. Are you
                     blocked on something?

1690.                  S. Duveen      10:28p [D1569]
                     Isn't that trademark law? I know some standards bodies hold tight to their spec, but I
                     don't see the motivation in this particular situation.
                     Not blocked, but think it's important -- if I had thought of it last September I probably
                     would have suggested that it be a condition of us joining. We can't responsibly par-
                     ticipate in open source projects without licenses either.

1691.                  J. Cohen      10:32p [D1569]
                     OK. Theres definitely some fuzziness between trademark and copyright. But the
                     trademark is usually a logo, certification symbol or phrase.
                     Ill do some research for next weeks call. See if you can make that.
                     Typically the most pressing concern for the lawyers is the intellectual property.


        V.A.2.t   Coercion 2/25

1692.                Email Subject       02/25/18       2018-02-25 "Nathan's comments via email" [D41]
                  Schuyler Duveen

1693.                  Josh Cohen      2018-02-12 5:42pm [D41]
                     Dear Members of OSDI,I write to inform you that I recently filed a lawsuit against an
                     individual who has...
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1694.            Nathan Woodhull       2018-02-14 12:31pm [D41]
               Josh, It seems, as an outsider, wholly unaware of the particulars, that my advice
               would be to try and find a way through mediation or human connection to resolve
               this issue whatever it might be outside of the courts. It seems like that would be the
               best option for you, Robyn, the issues you cared about raising, and OSDI.

1695.            N. Woodhull      12:31p [D41]
               I get that whatever happened must have felt incredibly hurtful and personally dam-
               aging to take the steps you have but surely there are more constructive ways to re-
               solve things?

1696.            N. Woodhull      12:31p [D41]
               I know you both to be very passionate people who care a great deal about many of
               the same things -- but to me -- again not being aware of any of the exact particulars
               -- escalating to a lawsuit versus all of the other mechanisms available for dispute res-
               olution...

1697.            J. Cohen      1:15p [D41]
               Does it strike you an accident that someone of her caliber that in her comprehensive
               attacks she completely airbrushed out my identity as a gay male and antidiscrimina-
               tion activist?

1698.            N. Woodhull      2018-02-25 1:41pm [D41]
               Of course she's not being fair, you're suing her. You've decided to escalate a conflict
               with a professional activist who is better at comms than you are.


1699.          Email Subject      02/12/18       2018-02-12 10:42pm "An Important update" [D1048]
            Joshco

1700.            Schuyler Duveen       2018-02-25 1:57pm [D1048]
               I understand how you got here but at this point I think you are in a sunk-cost fallacy
               negative feedback loop. I think at this point, the alternative path would be some-
               thing like the steps below.
               Withdraw your lawsuit
               Write a "confessional" blog post about why you are dropping the lawsuit
               It should not be defensive. At most, it can have a one-sentence "I was scared for my
               career and my community, but that is no excuse", our community likes confessions,
               even if we say they're not enough or pick them all apart
               Say you were wrong -- if you are looking for inspiration (I'm not saying the situations
               are similar, I'm giving you examples of my favorite "I was wrong" [Balloon Juice about
               Iraq War], [Louis CK]
               Run it by your PR firm or whatever since you have one.
               Have your lawyer review it, but make sure whatever the final product is, it's still truly
               apologetic and says you were wrong to file the lawsuit.
               Say you will take "Sensitivity Training" or whatever, and follow-through and do that
               Say you understand that in the current political moment and probably forever wom-
               en need safe spaces too. Whatever your intentions were, you undermined their abil-
               ity to have and manage those spaces.
               Run it by a woman, ideally someone like Sonya Reynolds: in the community and ar-
               ticulate on "mansplaininess"
               Stay recused from the OSDI chair position and make sure you are not a controlling
               entity of that body in any way -- participate as an implementing member

1701.            Josh Cohen      4:30p [D1048]
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                     I really do appreciate your efforts here, and there is a lot of merit to what you are
                     saying. This isn't about sunk cost. it may be that you're just not going to be able to
                     see things from my


        V.A.2.u Coercion 2/26

1702.         Nathan Woodhull withdrew from OSDI, which is property damage. During a telephone
              meeting with Sonya Reynolds on the 28th, she communicated Action Network's posi-
              tion, that they would work to recruit Nathan Woodhull back into OSDI. The price for
              that, which would be communicated after the Order of Discontinuance on via tele-
              phone meetings with Brian Young on 4/27 and with Jason Rosenbaum on 5/30 [T23] was
              the demand for Plaintiff to resign.


1703.                Email Subject      02/26/18       2018-02-26 3:31pm "RE: remove me from website?"
                 [D731*]    Joshco

1704.                  joshco     3:31p [D731]
                     You should contact the acting char, Sonya Reynolds

1705.                  Sonya Reynolds          2018-02-27 6:03pm [D731]
                     go ahead and remove them. I responded.

1706.                                 Nathan Woodhull inflicted damage.

1707.         On February 28th, 2018, Plaintiff met via telephone with Sonya Reynolds.


1708.               Audio       02/28/18       2018-02-28 2:00pm "Sonya 2018_02_28" [T48]      Sonya;      Josh;
                    Sonya

1709.                  Josh     +00:00 [T48]
                     I'm definitely pretty panicked. Yeah. So, uh huh. My biggest concern at this point is
                     starting to become a personal safety issue.

1710.                  Josh     +00:48 [T48]
                     sent me the little poke of intimidation from Josh Seefried, the military soldier

1711.                  Sonya     +01:36 [T48]
                     I don't know who any of those people are, so I am really I don't know what you I
                     don't know what you're asking me.

1712.                  Sonya     +02:24 [T48]
                     I think Jasonay's Avi, At least they were the last time I talked to Brian. Not even two
                     days already. Like something of substance that we changed. Um You know, Brian
                     told me he was willing to get Nathan and potentially VAN to kick the can down the
                     road as well. And that clearly didn't work.

1713.                  Josh     +07:29 [T48]
                     Sonya: Brian is totally scared. And I'm sure his lawyers will tell him not to talk to you.
                     Well, he might be willing to just listen.

1714.                                                      Plaintiff remained afraid due to the friend request
              from Seefried, and the ambiguity of what it meant. Sonya dismissed them.

1715.         That evening, Plaintiff was removed from listserv Diversity Advocates.
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1716.                Document        02/28/18 "Diversity Advocates" [D944]

1717.                   Diversity Advocates Moderators [D944]
                     Your unsubscription to diversity_advocates was successful.

1718.                                  Removal from Diversity Advocates

        V.A.2.v   Abuse of Process: Settlement conference 3/19

1719.         Settlement conference occurred on March 19, 2018.




                                                       Cohen v Swirling


1720.                 Document         03/19/18 "Statement agreed upon in settlement conference with
                  federal judge" [D86]

1721.                [D86]

                     Statement agreed upon in settlement conference with federal judge


1722.                Document         03/23/18 "STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO FRCP
                  41(a)(1)(A)(ii)" [D75]

1723.         An agreement was made on Monday 3/19, requiring Swirling to take down the
              tweetstorm, and attach a stiplulation to the voluntary dismissal admitting that there had
              not been any physical violence, sexual harassment, that Plaintiff is gay, and that there
              was an "other side" to the argument which was LGBT equality. Defendant was given lat-
              itude to use her own words.

1724.         The next day, Swirling reneged on the agreement and attempted to coerce Plaintiff to
              withdraw the complaint without any statement from Swirling, and dragged it out as
              long as possible. Plaintiff's counsel sought enforcement from Judge Gorenstein, and the
              case was settled.

1725.         Defendant Swirling and counsel Schary were prolonging the amount of time the
              thweetstorm remained publish, maximizing the damage to Plaintiff.
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1726.                                    Defendant Swirling and Counsel Schary were participants in the
              conspiracy.

        V.A.2.w Order of Discontinuance

1727.         Defendants waited until after the Order of Discontinuance to continue their coercion.


1728.               Email Subject         04/05/18      2018-04-05 12:51pm "Call to discuss VAN" [D6*]   Sonya
                 Reynolds

1729.                    Sonya Reynolds       12:51p [D6]
                    Hey Brian -
                    Let's get this call scheduled. When works for you? Sonya

1730.                    Brian Young      12:55p [D6]
                    This week is jammed now, but next week s not bad. Tuesday?

1731.                    S. Reynolds     12:58p [D6]
                    I'm flexible next Tuesday until 3:30p

1732.                    Josh Cohen       1:46p [D6]
                    I can do 12p, or 1p (Sonya we can use our agenda slot)

1733.                    B. Young      1:56p [D6]
                    I have lunch meeting at noon, so let s say 1pm

1734.                    J. Cohen      1:57p [D6]
                    ok

1735.         Brian Young did not respond.


1736.                Docket         04/22/18        2018-04-22 "Case 1:17-cv-09019-JGK Document 16 Filed
                 03/23/18 Page 1 of 1" [D250]

1737.         After the Order of Discontinuance, Brian Young continued the email thread.

1738.                    B. Young      2018-04-24 4:19pm [D6]
                    Hey, circling back to this Josh, I mentioned talking after I ve done some research and
                    some thinking. How about Thursday afternoon or Friday between 10am and 2pm?
                    Sonya, don t think you need to join but you certainly can. Up to you guys.

1739.                    joshco     4:29p [D6]
                    I m free from after the osdi tech call until 4pm Thursday. Friday 12-2

1740.                    B. Young      6:11p [D6]
                    OK, let s say Friday at 1pm

1741.                                     Plaintiff met with Brian Young via telephone on April 27th, to
              discuss the topic of NGPVAN. However, Brian Young did not discuss NGPVAN, instead
              he attempted to coerce Plaintiff to resign.

1742.         Plaintiff insisted that Action Network respect OSDI's democracy, which they had agreed
              to, and refused to be coerced to resign.
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        V.A.2.x   Personal Democracy Forum 2018

1743.         On May 30th, in a telephone meeting with Jason Rosenbaum, Action Network made
              another attempt to coerce Plaintiff to resign.


1744.                Audio         05/30/18       2018-05-30 11:11pm "Telephone Call Jason Rosenbaum,
                  Josh Cohen" [T23]       My Recording;       Jason;      Josh

1745.                   Josh    +11:00 [T23]
                     To the extent I am guilty of anything it is unruly and disobedient behavior on a group
                     in September 2016, and mostly silent protest for about a minute in a conference ses-
                     sion (November 2016) I just two things completely within the norms of the community.

1746.                   Jason      +11:00 [T23]
                     I agree... It's not about the merits.

1747.                   Josh    +11:00 [T23]
                     Harassing her over a period of time, No.

1748.                   Jason      +11:00 [T23]
                     Again, it's not about the merits. I agree... I agree... It's not about the merits.

1749.                   Josh    +11:00 [T23]
                     Yeah, it is about the merits

1750.                   Jason      +14:40 [T23]
                     If you you are a leader of an organization. Your duty to the organization is to put the
                     organization first. And if you can no longer put the organization first in good con-
                     science and leaders of organizations resign, that's what they do.

1751.                                                 Using the unjust harm damage already inflicted, Jason
              attempts to pressure Plaintiff into resigning ostensibly for the good of the organization,
              but really it is so they can gain dominant control. He is also attempting to put himself in
              control of Plaintiff's career.

1752.                   Multiple     +17:06 [T23]
                     I guess the last thing I would say it is just, appeal to you, I don't think you did right by
                     the organization. I think you can still do right by the organization now, which is to step
                     back. I don't think that's forever...

1753.                   Jason      +17:06 [T23]
                     I would hope that at this point when you've seen what happened to the organiza-
                     tion you clearly care about, you would put it first and take that step back.

1754.                   Josh    +26:30 [T23]
                     The community left me to my own devices. The legal system is the way we resolve
                     problems, and I think I used that responsibly.

1755.                   Jason      +26:30 [T23]
                     The merits hardly matter here.

1756.                   Josh    +26:30 [T23]
                     Yes, the merits do matter!
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1757.                                Jason admits that he doesn't care about what is true.

1758.                  Jason    +26:30 [T23]
                   you are no longer able to be a leader of this progressive movement organization.

1759.                  Josh    +26:30 [T23]
                   Membership will need to decide. If they want to remove me, they can certainly do
                   that

1760.                  Jason    +25:59 [T23]
                   We're not punishing you. We're trying to remove you from your position because you
                   are no longer able to lead the organization...

1761.                         Jason acknowledges that MoveOn and the DNC are acting in conspira-
         cy.

1762.                  Josh    +31:00 [T23]
                   Brian claimed that Action Network is also speaking on behalf of the DNC, MoveOn,
                   maybe some others.

1763.                  Jason    +31:00 [T23]
                   A few organizations have called him to express their positions, so he's relaying that in-
                   formation. That's true. Yeah. We did not call them.

1764.                  Jason    +36:33 [T23]
                   MoveOn has adopted. I've seen their internal tools, most of their new stuff is using
                   OSDI. ActBlue has adopted, though they don't engage in the committee.

1765.                  Jason    +41:51 [T23]
                   Going forward, you have a reputation in the community and you are unable to do
                   the work of chairman and you know we don't have confidence in your judgment,
                   that's our position. That's what we laid out on on the other week. And that's what
                   we'll lay out in whatever process the committee comes up with.


1766.              Audio        05/30/18      11:11p "Telephone Call Jason Rosenbaum, Josh Cohen"
               [T23]    My Recording;          Jason;      Josh

1767.                  Josh    +11:00 [T23]
                   To the extent I am guilty of anything it is unruly and disobedient behavior on a group
                   in September 2016, and mostly silent protest for about a minute in a conference ses-
                   sion (November 2016) I just two things completely within the norms of the community.

1768.                  Jason    +11:00 [T23]
                   I agree... It's not about the merits.

1769.                  Jason    +14:40 [T23]
                   I don't think it is. If you you are a leader of an organism. Your duty to the organization
                   is to put the organization. And if you can no longer put the organization first in good
                   conscience and leaders of organizations resigned, that's what they do.

1770.                  Jason    +17:06 [T23]
                   I guess the last thing I would say it is just, appeal to you, I don't think you did right by
                   the organization. I think you can still do right by the organization now, which is to step
                   back. I don't think that's forever, right. I am with you in the sense of the way that
                   people try other people and convict them on social media. I think steps back from
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                something like that are unclear right now, but I don't think they're gonna be unclear
                forever. I would hope that at this point when you've seen what happened to the or-
                ganization you clearly care about, you would put it first and take that step back.

1771.                                          Using the unjust harm damage already inflicted, Jason
         attempts to pressure Plaintiff into resigning ostensibly for the good of the organization,
         but really it is so they can gain dominant control. He is also attempting to put himself in
         control of Plaintiff's career.

1772.              Josh    +26:30 [T23]
                The community left me to my own devices. The legal system is the way we resolve
                problems, and I think I used that responsibly.

1773.              Jason     +26:30 [T23]
                The merits hardly matter here.

1774.              Josh    +26:30 [T23]
                Yes, the merits do matter!

1775.                             Jason admits that he doesn't care about what is true.

1776.              Josh    +31:00 [T23]
                Brian claimed that Action Network is also speaking on behalf of the DNC, MoveOn,
                maybe some others.

1777.              Jason     +31:00 [T23]
                A few organizations have called him to express their positions, so he's relaying that in-
                formation. That's true. Yeah. We did not call them.

1778.              Jason     +36:33 [T23]
                MoveOn is has adopted. I've seen their internal tools, most of their new stuff is using
                OSDI. ActBlue has adopted, though they don't engage in the committee.

1779.                     Jason acknowleges that MoveOn and the DNC are in conspiracy.

1780.              Jason     +41:51 [T23]
                Going forward, you have a reputation in the community and you are unable to do
                the work of chairman and you know we don't have confidence in your judgment,
                that's our position. That's what we laid out on on the other week. And that's what
                we'll lay out in whatever process the committee comes up with.

1781.                              The Abuse of Process and Litigation Privilege has caused unjust
         serious harm to Plaintiff.

1782.    Plaintiff refused to be coerced to resign, and insisted that if Defendants wanted to
         remove him, they could make a motion and secure a majority vote, which was com-
         pletely within their power.

1783.    The next day, Plaintiff received email from conference organizers for Personal
         Democracy Forum 2018, revoking Plaintiff's registration.


1784.           Email Subject     05/31/18    2018-05-31 2:25pm "PdF refund" [D145**]    Pdf

1785.              Andrew Rasiej      2:25p [D145]
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                     Dear Mr.Cohen,
                     We are in receipt of your registration for the PDF Conference on June 7-8, 2018.
                     We are unable to extend you an invitation for this event and we will be promptly re-
                     funding your full registration fee/ticket purchase.
                     Andrew Rasiej
                     Personal Democracy Forum

1786.         Plaintiff replied sending the agreement negotiated by Judge Gorenstein, however,
              they didn't change their position. Plaintiff would later learn from PDF consultant Sherry
              Hakimi, that the reason they didn't change their position was because they had been
              told that Judge Gorenstein issued a restraining order against Plaintiff.

1787.         Had PDF asked for documentation on the order, which didn't exist, the fraud would
              have been exposed. Plaintiff contacted Andrew Rasiej via email to ask what, if any,
              documentation was asked for or provided.


1788.                Email Subject      05/21/19      2019-05-21 3:20pm "past conflict and recommendations"
                  [D1968**]   Josh Cohen

1789.                   Josh Cohen      3:20p [D1968]
                     Hi Andrew,
                     One point of clarification I'd like to ask pertains to citing the existence of a "restrain-
                     ing order" as a justification of why I was excluded. When Robyn communicated that,
                     did she provide any documentation of this? Did PDF ask for any documentation?

1790.                   Andrew Rasiej     2019-05-29 1:33pm [D1968]
                     As for your question, I can not respond without the advice of our counsel.


        V.A.2.y   Netroots Nation 2018

1791.         Plaintiff was only aware of the Disparate Impact scheme, so he sent a complaint
              regarding this to MoveOn CTO Ann Lewis. At the time Plaintiff did not believe Action
              Network's statement that MoveOn was in cahoots.


1792.                Email Subject      07/25/18      2018-07-25 2:39am "Complaint to MoveOn's CTO re the
                  harmful homophobic root, and request for dialog to de-escalate" [D48]

1793.                   Josh Cohen      2:39a [D48]
                     Anne, I'm writing to request a meeting at this time because of requests for me to re-
                     sign professional positions in apparent retaliation for a lawsuit I filed - and settled - in
                     an attempt to resolve a misunderstanding about my activism to ensure equal pro-
                     tection applies to the LGBT community... My intent here is to bring a series of harmful,
                     discriminatory, and unethical actions to your attention and address them. My hope is
                     that you will see this as an opportunity to de-escalate the situation and move for-
                     ward together, rather forcing me to respond in the public sphere as Robyn has done.

1794.         The same day was the diversity committee meeting which had the agenda of resolving
              the conflict. Despite Action Network's statement that they would attend, they did not.


1795.                 Meeting Minutes         07/25/18       1:30p "Minutes: OSDI Diversity & Inclusion
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                       Committee Meeting" [D206]
1796.                 Sonya Reynolds, "I asked no one to put forth motions. I wanted us to work through." 10

1797.                         Adriel Hampton          1:30p [D206]
                           (meeting chair) recap - last D&I, Action Network left, asked Josh to step down from
                           leadership, Joe concurred, no formal motions.

1798.                                                           Plaintiff's position remained that if Defendants wanted
                  Plaintiff out, they would need to make a motion and secure a majority vote. Instead,
                  they attempted to coerce Plaintiff to resign, thus abandoning his IP rights.


1799.                       Email Subject          07/29/18       2018-07-29 11:36pm "NN18 - Important Information."
                       [D949**]     Eric Thut

1800.                          Eric Thut, Netroots Nation        11:36p [D949]
                           Given new information we have received, we have reconsidered your attendance
                           at Netroots Nation and are revoking your credential for the conference in New Orle-
                           ans this week. We will be refunding your registration fees.

1801.                                            With Plaintiff's refusal to be coerced to resign, Netroots Nation
                  cancelled Plaintiff's registration and refunded payment.

        V.A.2.y.1     Due DIlligence

1802.             Plaintiff had already booked his travel to New Orleans, and arranged business
                  meetings, so he travelled to New Orleans and attempted dilligence. The hatred incited
                  by Defendants extortion is visible on the faces of Netroots staff during refusal of service.

1803.             https://www.youtube.com/watch?v=tfzn6DO-iSs

        V.A.2.y.2     Trademark Dilution

1804.             Without any discussion or motion, Defendants began referring to OSDI as OpenSup-
                  porter. They also proposed the use of "StaleBot" which automatically closes issues in the
                  GitHub repository. Since Defendants had squelched participation from others, the lack
                  of activity, and automatic closing of issues created the false perception that the pro-
                  ject was failing due to lack of interest.


1805.                      Meeting Minutes          09/19/18      2018-09-19 12:30pm "OpenSupporter 09 19 2018" [D695]




        10 [D206] Meeting Minutes Hampton, A., Cohen, J., Kriss, B., Reynolds, S., & Holahan, T. (2018, July 25). Minutes: Osdi Diversity & Inclusion

        Committee Meeting [Interview]. lucidmeetings.com. lucidmeetings [D206, pt sonya11]
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                                                      Trademark Dilution [D695]


1806.                      Dan Ryan, RagTag       12:30p [D695]
                     GitHub app for closing stale issues and PRs https://probot.github.io/apps/stale/


1807.                Email Subject         09/19/18    8:00a "Removed from InsidersOut" [D747]   Rex Wockner

1808.                      Mike Rogers, Gay Inc       8:00a [D747]
                     Removed from InsidersOut google group

1809.                                      Mike Rogers removes Plaintiff from listserv InsidersOut, a coordina-
              tion point within the gay rights movement. By doing so, Plaintiff's career within the gay
              rights movement is damaged.

        V.A.2.z   1Q2019 End of Operate Phase

1810.                                                    Plaintiff stated his objections to the consolidation of
              power in email on January 25th. In response, Sonya Reynolds/Colibri, Tim Holo-
              han/Broadstripes, and Brady Kriss/RagTag stated their intent to resign thier positions, but
              not immediately, instead waiting until the end of their terms, on 1/31/2019.


1811.                Email Subject         01/25/19     2019-01-25 4:25pm "RagTag's Resigns from Governance"
                  [D369]     Brady Kriss

1812.                      Josh Cohen       12:20p [D369]
                     Continuing the discussion from our last exec... Our top priority is membership growth.
                     (I think we're in agreement on this) Second is preparing for the election.

1813.         Plaintiff had recruited potential members including PDI, who had originally expressed
              interest in March 2019, but no action was taken.

1814.                      Josh Cohen, OSDI       12:30p [D369]
                     Membership. We had a number of leads, yet we closed zero new memberships... Our
                     last new member closure was in august, prior to the new term of the current officers.
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                In this term, I brought in some leads, and so did others. At least one of those leads
                was a second bite at the apple, after we apparently dropped the ball the first time...
                I'm not really a huge fan of grandiose tracker spreadsheets, as they end up being
                more work to manage than whatever it is actually tracking.

1815.

1816.             Brady Kriss, RagTag       4:25p [D369]
                Hey y'all,
                I believe that interoperability and standardized data practices are essential to the
                long-term health of the progressive movement.
                I hoped that I would be able to contribute to this by participating in
                OSDI/OpenSupporter. Unfortunately, it's become clear that this is not the right place
                for me.
                I'm resigning the position of VP of Membership and resigning my position on Govern-
                ance, effective immediately.

1817.             B. Kriss   4:27p [D369]
                Ragtag will remain a member of OpenSupporter, and Dan Ryan (and others, from
                time to time) will participate in some of the tech calls, and we will continue to help
                work on the spec and build for the spec.
                My membership tracker is here and has been shared with everyone on Exec for a
                while now. I hope it is not too grandiose to be
                useful

1818.

1819.             Sonya Reynolds         2019-01-28 3:15pm [D369]
                Hey team -
                Similarly, after much reflection I have decided that I wont be staying on as chair af-
                ter my term ends.
                I have a family emergency that might prohibit me from running the call on Wednes-
                day so would really appreciate if someone could
                step in and cover this week.
                Best
                Sonya

1820.             Tim Holahan, Broadstripes       4:31p [D369]
                Hi, folks.
                I'm happy to chair Wednesday's tech call.
                I, too, am going to step away from the exec committee at the end of this term (i.e. in
                three days).
                I'll continue to participate in the tech call to the extent possible.
                Thanks,
                Tim

1821.                             Plaintiff was unwilling to vote for the consolidation of power. In
         response Defendants Broadstripes, RagTag and Colibri resigned their positions, falsely
         misled Plaintiff about future participation and left the project.


1822.           Audio        02/01/19     2019-02-01 "Telephone conversation between Tim Holahan,
            Broadstripes and Josh Cohen" [T166]        Tim;      Tim;   Josh

1823.             Tim    +03:55 [T166]
                I'm stepping down in a couple of days, then officially I'm off. And that's true of Sonya
                and Brady as well. Obviously brady's already off.
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1824.                    Tim     +65:40 [T166]
                       and you are now in a parting of the ways with people more important than me,
                       People less willing to talk to you about it than me. But Sonya and brady are out and
                       I'm out. I'm out except for tech and Brian will show up for tech when it's appropriate.
                       But we can't share the leadership of this group with you because of your (in)ability to
                       share it.

1825.                                    Tim Holohan/Broadstripes statement that Plaintiff was "at a parting
                of ways with people more powerful than [ him ]" means further exclusion due to Plain-
                tiff's unwillingness to abandon his property rights.

        V.A.2.aa Netroots Nation 2019

1826.           Had Plaintiff been able to attend Netroots Nation 2019, he likely would have attended
                the following sessions and discovered Defendants' schemes.

        V.A.2.aa.1 Front Stage

1827.           Netroots Nation 2019 was a major milestone in the Data War. Had Plaintiff attended, he
                would have attended the following sessions. This would have revealed Defendants' in-
                vestment schemes including Lightrail's release, ActionBuilder's release, and Defendants'
                "TECH FOR THE MOVEMENT, NOT THE BILLIONAIRES" campaign as well as the Data War
                victory of Democratic Data Exchange (DDX) over Reid Hoffman's Alloy project.

1828.           On 7/12/2019, at Netroots Nation 2019, Gerard Niemira hosted a session:


1829.                  Conference Session    07/12/19 2019-07-12 4:30pm " ’ G        H
                    CORNER: WHY EVERY DEPARTMENT SHOULD BE USING DIGITAL TOOLS AND TAC-
                    TICS" [D1648] ;    Netrootsnation

1830.           The following week on 7/17/2019, Niemira posted a blog post stating that Lightrail was
                released the week of Netroots Nation 2019.


1831.                  Web Page     07/18/19 "Introducing Shadow Inc: Shining a Light on Political
                    Data,Introducing Shadow Inc: Shining a Light on Political Data | by Shadow
                    Inc. | Shadow Inc | Medium" [D1199] Medium

1832.                    Gerard Niemira, Shadow [D1199]
                       Since we initially announced our acquisition by ACRONYM earlier this year, Shadow
                       has been hard at work to publicly launch and bring you new tools to help progres-
                       sive campaigns and causes win up and down the ballot. That's why we're excited to
                       share two big announcements today:

1833.                    Gerard Niemira, Acronym [D1199]
                       Lightrail is the universal adapter for progressive political data.
                       Lightrail is the universal adapter for progressive political data. It makes it easy for you
                       to move data from tool to tool and back to your data warehouse so that you can
                       get your data where it needs to go without having to know Python or SQL.

1834.                    G. Niemira [D1199]
                       Over the summer we'll be releasing more connections and more pipelines, like BSD
                       Tools, VAN, MobilizeAmerica, Redshift, and more, but if you're interested in getting
                       started with Lightrail today, let us know!
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1835.            G. Niemira [D1199]
               Say Hello to Shadow Messaging
               Our goal is to make tools that empower organizers and advocates to do what they
               are
               already doing but faster, easier, and in a way that makes it simple to scale their im-
               pact.
               We know that peer-to-peer SMS is only one tool that organizers use to communicate
               with their people and in some cases it may not be the most cost-effective way to
               organize. So we're adding a new tool to our peer-to-peer messaging suite: peer-to-
               peer
               email.

1836.            G. Niemira [D1199]
               This new email tool lets organizers send email from their own email address that's
               templated to a list synced or uploaded to our tool. Replies go directly to the organiz-
               er's inbox where they're managed like any other email, but data about the initial
               send is tracked (bounce rates, open rates, clickthrough rates) and can be synced in-
               to VAN so you can see directly in your CRM who received the mail.


1837.          Conference Session           07/12/19     2019-07-12 9:00am "NN19 TECH FOR THE
            MOVEMENT, NOT THE BILLIONAIRES" [D493]                 ;     Session Description;        Bio Of
            Moderator, Brian Young, Action Network;           Bio Of Panelist, Ann Lewis

1838.            Session Description     9:01a [D493]
               Sometimes, the incentives of investor-driven, for profit technology are exactly coun-
               ter to the long-term interests of our movement. Recently, a new generation of tech-
               nology has been built using different,
               innovative models that put our movement first and sustainably fund themselves (and
               their
               organizations). Come hear from people building the technology backbone of our
               movement

1839.            Bio of Moderator, Brian Young       9:02a [D493]
               Brian Young is the co-founder and Managing Director at the Corporate Action Net-
               work, a hub to support campaigns fighting corporate abuse with innovative organiz-
               ing technology and tactics.
               Previously, he directed John Kerry's digital operations in his political and official offic-
               es...
               He also consulted on Howard Dean's ground-breaking Presidential campaign... and,
               before getting involved in politics, was an award-winning documentary filmmaker.

1840.            Bio of Panelist, Ann Lewis    9:04a [D493]
               Ann Lewis is the CTO of MoveOn. She is a technical leader, architect, and active
               coder who is passionate about cultivating great engineering teams, and building
               tech that powers collective action at scale.

1841.            9:05a [D493]
               Josh Nussbaum

1842.            9:06a [D493]
               Brian Young, Action Network; Ann Lewis, CTO MoveOn; Josh Nussbaum, The Move-
               ment Cooperative


1843.         Conference Session        07/11/19     2019-07-11 11:15am "This Is How We Win: A First
            Look at Action Builder Netroots Nation" [D1759]
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1844.                       11:15a [D1759]
                        As progressives, we win when we take the time to build and maintain relationships
                        with and between activists, understand the issues we all face, and identify and de-
                        velop our future leaders. Come by for a Philly Water Ice, join leading organizers and
                        the Action Builder team for a discussion on building a sustainable and scalable
                        movement through tried-and-true organizing tactics, and enjoy a special demo of
                        the new organizing toolset, Action Builder, from the organization that brought you
                        Action Network.
        V.A.2.aa.2 Back Stage

1845.           On 6/24/2019, Plaintiff received a notification that his registration to Netroots Nation
                2019 was cancelled and refunded.


1846.                  Document        06/24/19 "Netroots 2019 Refunded without explanation" [D103]

1847.                       Eventbrite [D103]
                        REFUND
                        Event Name Netroots Nation 2019
                        Order Number 947016369
                        Refund Amount $507.50
                        Note YOUR REGISTRATION HAS BEEN
                        CANCELLED AND REFUNDED.


1848.                  Document        06/26/19 "Email: Your registration has been cancelled." [D102]

1849.                       Netroots Nation Registration [D102]
                        Please note that your registration has been cancelled and you have been issued a
                        full refund.

1850.           Since the conference was in Philadelphia, not far from New York, Plaintiff elected to
                travel to Philadelphia to attempt to register in person and have a conversation with the
                organizers to determine why they were excluding him.

1851.           Plaintiff also arranged meetings with professional contacts who were attending the
                conference, since many were congregating in Philadelphia.

1852.           Even if he could not attend, he could still seek information on what happened to OSDI's
                IP and application ecosystem.

1853.           When Plaintiff attempted to register, he was denied and none of the conference
                organizers were willing to speak with Plaintiff about the reason for the exclusion.

1854.           Plaintiff     recorded          the   interaction     and      uploaded       it    to    YouTube
                https://www.youtube.com/watch?v=CUEospqON6Q

1855.           In addition to refusing service, Carolyn Duchesne, a staffer at Netroots Nation, coerced
                the Philadelphia Police to remove Plaintiff from the public lobby of the convention cen-
                ter.

        V.A.2.aa.3 Retaliation

1856.           Defendants retaliated against plaintiff by terrorizing him on the sidewalk, when a male
                stranger accosted Plaintiff in front of an audience of attendees, repeating "Josh Cohen
                sexually harasses women" and similar false accusations.
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1857.           At the time, Plaintiff did not know who the stranger was. Plaintiff since discovered that
                the stranger was Mikey Franklin, who at the time was employed by Nathan Woodhull.
                Franklin subsequently became employed at New/Mode, one of Higher Ground Labs' in-
                itial portfolio companies.


1858.                  Document          07/13/19 "Affidavit from Witness re sidewalk harassment of Statement"
                    [D164]

1859.                        Witness [D164]
                        Immediately when Josh returned, the man approached us and asked what we were
                        doing. Josh began to explain the sign and his mission. The man listened to Josh for a
                        minute and then asked Josh what his name was. When Josh responded, "Josh Co-
                        hen," the man said, "Oh, I know who you are. You're Josh Cohen. You sexually harass
                        women." He kept repeating the statement: "Josh Cohen sexually harasses women."

1860.                        Witness [D164]
                        I then asked the man how he had heard that Josh "sexually harasses women" and
                        whether he wanted to learn the truth about what transpired. I told him that we were
                        happy to speak with him and explain the full story. I specifically said to him, "Don't
                        you want to know the full story?"
                        He responded, "no," and continued repeating, "Josh Cohen sexually harasses wom-
                        en." This went on for approximately five minutes. After that, the man walked away.

1861.                     Male Stranger outside NN19 PHL [D164]
                        "You're Josh Cohen. You sexually harass women." He kept repeating the statement:
                        "Josh Cohen sexually harasses women."

1862.                                         Plaintiff was terrorized on the sidewalk in front of other attendees
                with false accusations that could forseeably have incited violence towards him, in ad-
                dition to unjustly inflicting further damage to his business property and reputation.

        V.A.2.aa.4 Defendants Assess Their Progress Towards Bankrupting Plaintiff

1863.           While attempting diligence at nn19, plaintiff encountered Faith Cheltenham. She said
                she wanted to help plaintiff, and could get him money if he needed it.

1864.           She then asked plaintiff how much he had left before he went bankrupt and for plaintiff
                to email docs on the situation as he understood it at the time.

1865.           Whoever asked her to do that was assessing their progress towards bankrupting plaintiff
                and whether he had connected the dots to the robbery.

1866.           To conceal this, Faith Cheltenham baited Plaintiff. She asked repeated questions about
                the ambush at Rootscamp 2016. When Plaintiff responded she would reply "I don't un-
                derstand". Eventually, Plaintiff said "I will demonstrate", and demonstrated what is de-
                picted in the drawing below.


1867.                     11/19/16      2016-11-19 4:00pm "battery guy" [D44]
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                                            "Drawing of me, in video" [D44]


1868.    Plaintiff put his hands on NAME's shoulders, as in the picture. NAME then accused
         Plaintiff of being something to the effect of violent towards women.

1869.                            Faith Cheltenham is an African American, Transgender woman. By
         choosing her as a proxy, Defendants could further their conspiracy to incite hatred to-
         wards Plaintiff from the world. To be seen as someone violent towards an African Amer-
         ican Transgender woman would incite hatred.

1870.    In the intervening time of the conspiracy, Kevin Jennings rose up to become CEO of
         Lambda Legal. Plaintiff again sought help to protect the external network effect and
         himself from the danger created by Defendants' Robbery by Extortion.


1871.          Email Subject     10/24/19      2019-10-24 1:41pm "help, ASKS" [D902**]    Joshco

1872.    {D902Pm_joshco_zero: auto, caption: "What would be helpful is to be able to 1. meet
         with someone in lambda to review the evidence (which I have a lot of), relevant laws,
         and my current plan of action with respect to the discrimination. 2. A hope I have is to
         be able to make the volunteer management and sync tools, which have real custom-
         ers, available free or cheap to LGBT organizations. Maybe getting hired by an org to do
         this, as a zero dollar acquisition. ", x: "Josh Cohen p0 10/24/19 2:30pm"}

1873.             Josh Cohen       2:30p [D902]
                This was shortly followed up by digital pokes from X and his ex-military pal, the latter
                feels like a gun being pointed at my head. I am REALLY afraid of them

1874.             J. Cohen     2:41p [D902]
                It's also a dangerous example of disparate treatment, where one protected class
                can engage in unchecked lethal predatory behavior against another.

1875.             Kevin Jennings     3:23p [D902]
                I dont officially start until December 2. Let me follow up then.

1876.             joshco     3:29p [D902]
                Can you break protocol and pass this along? I dont think I can wait that long. Ive
                begun drafting a complaint for violations of Philadelphias anti-discrimination law,
                and am not comfortable slipping a month+. There are also some interrelated actions
                where statute of limitations are tight.
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1877.         Had Lambda examined the fact, it would have revealed that Defendants' behavior
              violated Philadelphia's Anti-Discrimination law. Disparate Treatment and Disparate Im-
              pact are prohibited. The retaliation on the sidewalk, via "josh Cohen sexually harasses
              women" was part of a robbery by extortion scheme which is prohibited under Philadel-
              phia's Hate Crimes ordinance.

1878.         Instead Lambda provided references for organizations in Philadelphia, including the
              Mizzoni Center. Plaintiff contacted Mizzoni and conversations were immediately pro-
              ductive and likely would have exposed the Disparate Impact scheme and violations of
              Philadelphia anti-discrimination ordinances.

1879.         Kevin served as Deputy Undersecretary in President Obama's Administration. Higher
              Ground Labs was founded by the Obama cohort. As a Deputy Undersecretary, Kevin
              Jennings is in a king-maker position.

1880.         Kevin Jennings is also Chair of the Harvard Alumni Committee. Dimitri Mehlhorn, who's
              funding pitch Plaintiff refused is also a Harvard Alumni.

1881.         Higher Ground Labs is one of the enterprises that OSDI's essential IP and economy of
              scale ended up being invested in.

1882.         Kevin Jennings furthered the conspiracy by at least looking the other way while another
              LGBT was terrorized, coerced, and had is property misappropriated.

1883.         Kevin Jennings did a favor for the DNC by engineering an "alternate ending" for an
              external network effect that had become a runaway success and thus a threat to the
              gatekeeper powers the DNC historically uses to maintain its dominance, and the other
              big gorillas yearned for.

1884.         He also did a favor for the Obama cohort that founded HGL, and the Billionaires
              funding it.

1885.         When Kevin Jennings joined the conspiracy, on or before the DNC 2016 Convention, he
              was Executive Director of Arcus Foundation, one of two dominant funders of the gay
              rights movement.

1886.         In this market, doing those kind of favors are valuable currency that would make a
              fundraiser more valuable to prospective employers. By hiring Kevin, Lambda Legal can
              reap those benefits.

1887.                                      Kevin Jennings used his new position as CEO of Lambda
              Legal to ensure that Lambda's Help Desk did not investigate the facts. Kevin used his
              position, influence, and connection to wealth and power to conceal the kind of unjust
              harm Lambda Legal is supposed to prevent.

        V.A.2.bb Civil Rights Complaint

1888.         Plaintiff began the intake process at the Philadelphia Human Rights Commission. In
              June 2020, the commission decided to open a formal investigation into Netroots Nation
              2019. Plaintiff again sought help from Kevin Jennings in his new position as CEO of
              Lambda Legal.


1889.                Email Subject   06/17/20   2020-06-17 10:55pm "Official Civil Rights Investigation in
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                     Philadelphia" [D1603*]    Joshco

1890.                      Josh Cohen     10:55p [D1603]
                         Kevin,
                         The Philadelphia Human Rights Commission is going to open an official investigation
                         into my complaint against Netroots Nation. The violations include retaliation via de-
                         nial of access, using policies which create disparate impact, aiding, abetting, and
                         inciting others to engage in unlawful practices.
                         I need help. I'd like to open a dialog and share the formal complaint with Lambda,
                         for comment/feedback before it moves forward.
                         I've passed the intake, internal staff and legal review, and they've drafted the formal
                         complaint. We're doing some wordsmithing right now.

1891.           Instead of responding directly, Kevin had Stefan Johnson, Lambda Legal's Director of
                National Help Desk.


1892.                    Email Subject    06/19/20      2020-06-19 4:30pm "Your Email to Lambda Legal" [D1605*]
                        Stefan Johnson

1893.                      Stefan Johnson      4:30p [D1605]
                         Dear Josh Cohen:
                         I received your email message addressed to me and Lambda Legal CEO, Kevin
                         Jennings where you request that Lambda Legal review your charge with the Phila-
                         delphia Human Rights Commission. Unfortunately, Lambda Legal is not able to grant
                         that request. We would only be able to provide that type of service to those we rep-
                         resent. As indicated in our last email correspondence dated October 30, 2019, your
                         request for representation was reviewed and we are not able to represent you. This is
                         why I provided you with local Philadelphia attorneys who might be able to assist you.
                         I am sorry I could not be of greater assistance.
                         Stefan Johnson Director of National Help Desk

1894.           Lambda Legal, like other political organizations participate in this market as customers
                and attend conferences including Netroots Nation. As a result, their decision to look the
                other way signals that Defendants could do whatever they wanted.

1895.                                           Again, Lambda refused to do anything about an increasingly
                dangerous situation for Plaintiff.

        V.A.2.cc Netroots Nation 2020

1896.           Had Plaintiff been able to attend Netroots Nation 2020, he would likely have attended
                the following sessions. He would have recognized the conspiracy of Action Network,
                DNC, The Movement Cooperative, AFL-CIO and DailyKos, who were engaged in the
                backstage racketeering.

        V.A.2.cc.1   Front Stage


1897.                  Event   08/13/20  2020-08-13 "NN20 HOW NONPROFIT, COOPERATIVE TECH
                     CAN HELP US WIN UP AND DOWN THE BALLOT" [D502] ;   Nn20 Agenda

1898.                      NN20 Agenda        12:01a [D502]
                         While the progressive tech ecosystem has traditionally been dominated by a for-
                         profit, vendor-based model of tech development, an alternative model has
                         emerged that holds enormous potential to close the knowledge and resource gap
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                         for down-ballot campaigns in 2020. By embracing a nonprofit, cooperative model of
                         tech development, Action Network, the DNC, ActBlue and others are working to de-
                         liver the tools necessary for local and state-level campaigns to run robust email fund-
                         raising campaigns to elect progressives up and down the ballot.

1899.                      12:02a [D502]
                         Jenn is the Chief Community Officer at The Movement Cooperative. She has spent
                         more than two decades working at the intersection of advocacy, politics and digital
                         campaigning. She started in the progressive movement as Deputy Director of Inter-
                         net Operations of Gore 2000 when she was just 20.

1900.                      12:02a [D502]
                         Mari works with keystone Action Network partners, the DNC, AFL-CIO and Daily Kos to
                         brainstorm, prioritize and build the yearly Action Network roadmap through a coop-
                         erative development model.


1901.                    Conference Session        08/15/20      2020-08-15 "Action Network,Action Network -
                     Were super excited for this #NN20..." [D2005]        facebookapp

1902.                      12:00p [D2005]
                         Were super excited for this #NN20 organizing training! Join #ActionBuilders Seth
                         Pinckney and Liz Rilley as they cover the leaderful organizing modelincluding assess-
                         ments, one-on-ones and...,Were super excited for this #NN20 organizing training! Join
                         #ActionBuilders Seth Pinckney and Liz Rilley as they cover the leaderful organizing...
        V.A.2.cc.2   Back Stage

1903.           Plaintiff registered on 8/13/2020 and his order was refunded 19 minutes later.


1904.                   Document         08/13/20 "Registration Confirmation for Netroots Nation 2020 (At Home)"
                     [D276]


1905.                         Eventbrite [D276]
                         Josh,
                         your order is confirmed


1906.                   Document         08/13/20 "Order REFUNDED for Netroots Nation 2020 (At Home)" [D275]

1907.                         Eventbbrite [D275]
                         Your refund has been processed


        V.A.2.dd 2021 GitHub

1908.           On December 3, 2020, Plaintiff receives email from the DNC (DCCC), requesting a
                meeting to discuss OSDI.


1909.                   Email Subject         12/03/20    2020-12-03 11:58am "Questions about OSDI" [D391**]
                     Chris Goddard

1910.                         Chris Goddard, DCCC        11:58a [D391]
                         Hi Josh, My name is Chris Goddard and I'm currently the data engineering and re-
                         porting director at the DCCC.
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                I was talking to a friend yesterday about difficulties and challenges in the progressive
                tech space and the lack of consistent data standards. He mentioned OSDI, which I
                hadn't heard of before.

1911.                 C. Goddard   11:59a [D391]
                Although it looks like it's not really a super active project anymore I would really love
                the opportunity to talk to you about your experience in creating it.

1912.                 C. Goddard   11:59a [D391]
                Would you have time for a 30 minute zoom call tomorrow afternoon or early next
                week?

1913.    Plaintiff was spooked by Chris's email; it felt like a trap. Plaintiff felt that something must
         have happened to induce the DNC to email Plaintiff, and began searching. Plaintiff
         then discovered Action Networks announcement of it's Partner Integration Program.

1914.

1915.    For the first time Plaintiff was aware of, Action Squared treats OSDI as its own property.
         The program announcement, which is the property element of extortion is attributed to
         a woman, Amy Chin-Lai.


1916.           Web Page    12/02/20 "Integrating your platform with Action Network is now
             easier than ever,Integrating your platform with Action Network is now easier
             than ever | by Amy Chin-Lai | Powering Progressive Movements | Medium"
             [D449]     Medium

1917.             Amy Chin-Lai, Action Network [D449]
                Who can be a part of the Integration Partnerships Program?
                Any developer, consultant, or platform that wants to build an integration with Action
                Network.

1918.             Amy ChinLai,httpsmediumcomamychinlai [D449]
                Integrating your platform with Action Network is now easier than ever,Integrating
                your platform with Action Network is now easier than ever | by Amy Chin-Lai | Pow-
                ering Progressive Movements | Medium

1919.             A. Chin-Lai [D449]
                Integrations (like the ones we already have) allow our partners to use tools that are
                best for their given purpose, whether it's a fully-featured CRM, peer-to-peer texting
                tool, phone banking, or advocacy tool.

1920.             A. Chin-Lai [D449]
                I'll work closely with other platforms to improve and maintain integrations and work to
                integrate with more platforms for our partners.

1921.                              Though Brian gets the retweets on Twitter, he put his female
         employee in the path of legal jeopardy.

1922.    Brian Young announces the program on Twitter.


1923.           Tweets      12/03/20    2020-12-03 12:58pm "Tweets: Partner Program Announcement"
             [D501]

1924.                 @TheActionNet    2020-12-02 1:01pm [D501]
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               Introducing the Integration Partnerships Program! Open to any developer, consult-
               ant, or platform that wants to build an integration with Action Network.

1925.             Brian Young     2020-12-03 12:58pm [D501]
               Focusing on integrations and being a part of an overall tech ecosystem is a big key
               to long term innovation and stability in progressive technology

1926.    Plaintiff replied to the DNC email on January 7th, 2021.


1927.         Email Subject      01/07/21       2021-01-07 5:50am "Questions about OSDI" [D485*]   Chris
            Goddard

1928.             Josh Cohen      5:50a [D485]
               Hi Chris, Thanks for the email. Happy holidays. Yeah, the lack of consistent data for-
               mats is a huge challenge. That was what I experienced back at the Washington gay
               marriage campaign in 2012. That of course, is not unique. Its just what happens to
               every campaign, or really, every project on the planet, and everyone suffers. Therre
               needs to be a CSV Trauma suicide prevention hotline somewhere...
               Anyway, why don't you send me some more specific questions in email.
               Thanks. Josh

1929.    Three days later, a new GitHub issue was opened on OSDI's GitHub repository.


1930.          Github       01/11/21      2021-01-11 "Response to PUT on api.opensupporter.org *
            Issue #338 * opensupporter/osdi-docs" [D532]            GitHub

1931.             Highfalutin    5:23a [D532]
               Hello, I'm currently working on an extension to CiviCRM which will allow for syncing
               with remote OSDI services. I have been doing some testing against
               api.opensupporter.org/hb2/browser.html. When I make a PUT request to a person's
               endpoint, for example to add an address, the operation succeeds but the server re-
               turns a blank response

1932.             J Ro    3:13p [D532]
               Hi there, this project is somewhat defunct, and there is no demo server to test
               against. That said, there's already a lot of Civi work that's been done that you prob-
               ably should start with: civicrm.org/extensions/civicrm-osdi-contact-sync

1933.                     Jason Rosenbaum's statement furthers the conspiracy by concealing the
         fact that OSDI was destroyed by his and co-Defendants' racketeering activity.

1934.                            The statement continues the damage to OSDI.

1935.             Highfalutin    5:36p [D532]
               Thanks! Yes, I'm taking advantage of that previous work where I can. Are you saying
               that the OSDI standard is defunct, as in you don't expect it to be adopted by any-
               one else?

1936.             J. Ro    6:02p [D532]
               I'm not sure anyone can really answer that. We (Action Network) already implement
               it and continue to expand on our implementation. Others do too. Perhaps others will
               pick up the standard.

1937.             Highfalutin    6:58p [D532]
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                I'd love to hear more about what you mean by the project being defunct. I got the
                invitation to Action Network's Integration Partnerships Program and just signed up, so
                perhaps we'll be in touch there.

1938.               J. Ro    7:07p [D532]
                I mean, check out this repo, there's been no updates in years, I don't think the com-
                mittees still meet, etc...

1939.    This GitHub conversation continued on February 8, 2021.


1940.           Github         02/08/21     2021-02-08 "Action Networks Coercion (was Response to
             PUT on api.opensupporter.org) * Issue #338 * opensupporter/osdi-docs" [D531]
             GitHub

1941.               Highfalutin     2021-01-11 6:58pm [D531]
                I'd love to hear more about what you mean by the project being defunct. I got the
                invitation to Action Network's Integration Partnerships Program and just signed up, so
                perhaps we'll be in touch there.

1942.               Joemcl      2021-02-08 10:32pm [D531]
                Hi @highfalutin ! It's great that you're building on the previous work of @4ndygu to
                connect CiviCRM with remote OSDI supporting services. I am and was very involved
                in the CiviCRM community... I think the most active and interesting work happening
                lately to advance a standard (that also builds on and supports the OSDI concept) is
                Parsons, see move-coop.github.io/parsons/html/index.html and in particular this -
                move-coop.github.io/parsons/html/action_network.html . It would be super cool to
                create a Parsons connector for CiviCRM!

1943.                   Joe McLaughlin's statement about Parsons was when Plaintiff discovered
         Parsons.

1944.                              The Parsons Action Network connector is an example of OSDI being
         used as Action Network's proprietary API.

1945.               Joemcl      2021-02-15 10:01pm [D531]
                Unless and until you make a clean break from the OSDI project and the organization,
                such as it exists now, and I'm not sure that it does exist, I have little reason to believe
                that any additional organizations will implement any of the OSDI spec.

1946.                                                   Joe McLaughlin's statement demands that Plaintiff
         abandon the project, and thus his property rights, so the IP could be considered
         "abandoned". If Plaintiff did not, the project would not recover or would face more
         damage.

1947.    As stated above, Plaintiff decided to see if there was activity on the OSDI Slack. Plaintiff
         discovered a posts from Woodhull advertising his Action Network REST API library, which
         in reality is OSDI.


1948.           Chat        12/07/20      2020-12-07 5:27am "OSDI Slack" [D547]

1949.               5:27a [D547]
                2020_12_07_osdi_slack_rabble_goddard_dccc_ping

1950.               Nathan Woodhull, Control Shift        2020-06-02 5:27am [D547]
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                      Ruby client for interacting with the Action Network REST API

1951.                   N. Woodhull    5:27a [D547]
                      //github.com/controlshift/action-network-rest




                                                      "D547Pboth" [D547]


1952.          On 4/27/2020 Woodhull published the first commit for his library. When Plaintiff visited
               the link at the time he discovered the message on Slack, the latest commit was
               5/6/2020. This date was just over the 300 day statute of limitations for Philadelphia's civil
               rights complaints.


1953.                Github     05/06/20    2020-05-06 "GitHub - controlshift/action-network-rest: Ruby
                  client for interacting with the ActionNetwork REST API" [D303]     GitHub

1954.                   Nathan Woodhull, Control Shift    12:00a [D303]
                      ActionNetworkRest Gem: Ruby client for interacting with the ActionNetwork REST API
                      from the engineering team at ControlShift.

1955.                               Nathan's misappropriation of OSDI as Action Network's proprietary
               API is theft, as it violates Plaintiff's copyright. This is also the goal that Nathan Woodhull
               and Action Network had from the outset.


        V.B       Action Squared's Infringement

1956.          Between 2014 and Q1 2020, Action Squared and its co-conspirators engaged in
               racketeering activity to gain control of the project, operate the project, and invest the
               proceeds into their own enterprises, including Action Squared.

1957.          Action Squared is a joint development effort between Action Network and AFL-CIO,
               which contains two products Action Network and Action Builder.
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1958.           In November 2020, Action Network launched its partner integration program. In its
                announcement, Plaintiff's authorship is repudiated. This is the first public example Plain-
                tiff discovered which treats the OSDI IP as their own proprietary API and ecosystem.

1959.           https://web.archive.org/web/20201202175835/https://medium.com/powering-
                progressive-movements/integrating-your-platform-with-action-network-is-now-easier-
                than-ever-ca24ba32ce69

1960.           The license for the IP is posted here:

1961.           https://github.com/opensupporter/osdi-docs/blob/gh-pages/license.md

1962.           The license itself was fraudulently induced by MoveOn during the Abuse of Process and
                Robbery by Extortion.

1963.           Action       Network's      use     of    the     OSDI      IP    can      be      found      at:   *
                https://web.archive.org/web/20201216013651/https://actionnetwork.org/docs/v2/                       *
                https://web.archive.org/web/20201216022013/https://actionnetwork.org/docs/v2/pers
                on_signup_helper

1964.           In Summer 2022, ActionBuilder released their API

1965.           https://web.archive.org/web/20220914003524/https://www.actionbuilder.org/docs/v1/
                person_signup_helper.html

1966.           https://web.archive.org/web/20220914003447/https://www.actionbuilder.org/docs/v1/i
                ndex.html

1967.           Both exceed the Copyright License. They are used for commercial purposes, allowing
                these products to leverage the economy of scale created by the OSDI project, the bulk
                of which are Plaintiff's contributions.

1968.           Defendants racketeering activity, concealment, and attempts to undermine the
                project are indicative of willfulness.

1969.           These infringe on Plaintiff's copyright registrations: Txu 2-249-951 and TX0009315996.

1970.           Action Network's original implementation was based on source code provided by
                Plaintiff which is copyrighted, registration TXu 2-386-143. Discovery will reveal if that
                code is still in use.

1971.           See Exhibits 1,2,3,4.


        V.C        Bluelink's Infringement

        V.C.1      Bluelink's Wire Fraud

1972.           Bluelink's API specification is posted on Github Pages. In its Data Models section it states:


1973.                    Github     11/17/21      2021-11-17 "Bluelink API Specs (BETA),Bluelink API Specs
                    (BETA) | docs" [D1192]        docs

1974.                     12:00p [D1192]
                         Bluelink Data Models Bluelink uses flexible and verbose data models. All fields are nul-
                         lable and may be omitted if no data exists, unless explicitly stated otherwise. The
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                       structure may seem complicated for simple use cases,however it supports more
                       complicated uses such as systems supporting multiple emails for a single individual.

1975.           The above paragraph refers to the expression of the data models and its structure. The
                Person object contains subordinate objects for related items like phone numbers, email
                address, and postal addresses. This structure is copied from OSDI, and whereas Bluelink
                implies that these are features created by Bluelink, they are actually the work of the
                OSDI contributors.

1976.                   12:00p [D1192]
                       By Default, Bluelink writes data to partners in these formats. For partners with existing
                       APIs (e.g.,NGPVAN), we can easily and correctly convert between their format and
                       ours. Therefore, we strongly encourage new partners to use these formats when
                       building new APIs

1977.           Bluelink is recommending that when other applications or platforms develop inbound or
                "write" APIs, that they adopt Bluelink's API. Prior to the destruction of OSDI and its exter-
                nal network effect, Bluelink would recommend developers comply with OSDI.

1978.                           Bluelink is co-opting OSDI, and thus Wire Fraud.

1979.           Bluelink's API is essentially OSDI Person Signup Helper. Its infringement can be seen
                literally in its definition of the Person object. Its "Webhook" is non-literal infringement of
                Person Signup Helper. For comparison:


1980.                 Specification      12/29/14 "osdi_docs person_signup html" [D1966]

1981.                 [D1966]

                       osdi_docs person_signup html


1982.                  Specification      01/01/17 "Open Supporter Data Interface Documentation :
                   Person" [D1967]

1983.                 [D1967]

                       Open Supporter Data Interface Documentation Person


        V.C.2      Bluelink's Copying

1984.           Bluelink's copying can be seen by comparing its definition of Person to OSDI Person
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                   Bluelink Person compared to OSDI Person




                  Bluelink vs OSDI Phone Numbers comparison
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                                   073c_GantitrustPbl_postal_addresses




                                   d210_GantitrustPbl_email_addresses


1985.    Bluelink used different scheme than Mobilize and New/Mode. Bluelink copied parts of
         the OSDI spec into their API specification, but make no mention of OSDI. They also
         made small changes in their specification. Therefore, it is easy for Bluelink's developers
         to engineer their code to accept both OSDI compliant applications as well as those
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                     coded to the slightly different definition in Bluelink's specification.

1986.                OSDI resources are expressed as JSON objects which contain keys that have values.
                     These values can be numbers, boolean values or strings like "hello". The values can be
                     JSON objects that contain their own keys, or arrays of JSON objects with their own keys.

1987.                An example of a JSON object which is a partial OSDI Person:
         {
             given_name: "Josh",
             family_name: "Cohen",
             phone_numbers: [
                 {
                     number: "+12125555555",
                     primary: true
                 }
             ]
         }


1988.                In the above example, the top level object contains keys given_name, family_name
                     and phone_numbers.

1989.                In an earlier commit of the OSDI specification, the phone numbers object is labelled
                     "phones", however in the published version it is labelled "phone_numbers".

1990.                An example of Bluelink's scheme is that instead of the key "phone numbers", "phones" is
                     used.

1991.                When writing source code to parse the JSON object, a developer can use pattern
                     matching mechanisms to accept either "phones" or "phone_numbers" when searching
                     for keys.

1992.                When searching for the key that contains the the phone number objects, a source
                     code can be easily written which will locate either "phones" or "phone numbers".

1993.                One example of pattern matching is "regular expressions". An example regular
                     expression which will match "phones" or "phone_numbers":
         /phones|phone_numbers/


1994.                In english, the vertical bar, or pipe symbol "|" is a logical OR operator.


        V.C.3           Bluelink's Copying is Exploitative not Transformative

1995.                In 18-956 Google LLC v. Oracle America, Inc. {D1036: i}, the Supreme Court evaluated
                     the purpose and character of the copying, stating on page 3, point 3 in the decision's
                     syllabus.

                                   q            “                             ”
                             w                             w   “                  ,” . ., w         “
                                 w, w                                             .”          ,        . .,   7 ...
                             G       ’           w                             k-related system for a different com-
                             puting environment (smartphones) and to create a platform — the Android platform
                             — that would help achieve and popularize that objective. The record demonstrates
                             numerous ways in which reimplementing an interface can further the development
                                                     .G        ’          w                           w
                             progress that is the basic constitutional objective of copyright itself. Pp. 24–28.
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1996.           The effect of Bluelink's copying is that Bluelink itself can exploit the existing ecosystem of
                OSDI applications, including those written for Action Squared's products, since they are
                plagiarized OSDI. With little to no work, Bluelink is compatible with those applications.

1997.           Bluelink made By making small incompatible changes while concealing the fact that it
                is using OSDI and doesn't describe the OSDI equivalents.

1998.           As a result, connectors built by developers will not be wire-compatible with OSDI
                implementations without addition code, even if they were aware of OSDI.

1999.           This allowed Bluelink to get a head start, while at the same time locking developers into
                their API.

2000.           B      k'                 '                                     “                      w, w
                                                         .”                                    .

2001.           In fact, Bluelink's API is a subset of OSDI. What it describes as its Webhook, is non-literal
                infringement of OSDI Person Signup Helper. So not only does it not add something new,
                or have a different character, it is less featureful than if it had simply built an OSDI con-
                formant implementation.


        V.C.4       Bluelink's Copying Decreases the Value of the Copyrighted Work

2002.           The Supreme Court also stated in point 4 of the syllabus:

                                                                   “       ”                      “    k
                                                        w k.” H                  w         G        ’   w
                       smartphone platform is not a market substitute for Java SE. The record also showed
                           J        ’                   w                                                 -
                       face into a different market... Pp. 30–35.

2003.           Bluelink is a competitive product to Plaintiff's Hero Synchronizer, as well as other
                integration platforms including Parsons and DaisyChain, rather than a product in a dif-
                ferent market.

2004.           The value of OSDI was the external network effect that was created. Developers could
                write code to build an OSDI connector and be compatible with other OSDI compliant
                platforms, which included Action Network, NGPVAN and others, as well as PDI had it
                not been locked out.

2005.           The value has been destroyed. Since Defendants' racketeering has destroyed the
                external network effect, and products have their own proprietary APIs, there is no long-
                er one connector that a developer can build with a multiple return on investment.

2006.           Bluelink, Action Squared, Mobilize, and New/Mode all reused OSDI in exploitative ways
                and added proprietary extensions. So even if a developer decides to build an OSDI
                connector, it is unlikely to be compatible with those products.


        V.C.5       Bluelink's Copying is Essential to its Business

2007.           Bluelink describes itself, and functions as a "universal adapter". Applications that use
                Bluelink code connectors that conform to Bluelink's API specification or implement in-
                bound APIs conforming to Bluelink's specification.
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2008.          Therefore it is an essential part of Bluelink's ability to engage in commerce.

2009.          Bluelink's Wikipedia page, cites the Wall Street Journal, stating that Lightrail has been
               made available to all state parties and national candidates under a trial contract, and
               Party insiders have described it as "common in Democratic politics" {D1207: i}


        V.D       Active Misleading

2010.          MoveOn's Active Misleading began on February 12, 2018, the same day as the Abuse
               of Litigation Tweetstorm.

2011.          MoveOn created an OSDI project within its Spoke repository with 4 OSDI subitems. These
               led to work items and pull requests implementing OSDI support in Spoke. Plaintiff would
               eventually begin contributing to them through late 2019.


2012.                Github     02/12/18    2018-02-12 "OSDI GitHub,OSDI MoveOnOrg/Spoke" [D1920]
                     GitHub




                                           "MoveOn Spoke OSDI Project" [D1920]


2013.               Github      05/22/18 2018-05-22 8:59pm "OSDI record_canvass_helper action
                  handler Issue #597 MoveOnOrg/Spoke,OSDI record_canvass_helper action
                  handler Issue #597 MoveOnOrg/Spoke GitHub" [D1890]    GitHub

2014.                   Harpo Jaeger    8:59p [D1890]
                      An OSDI record_canvass handler would connect conversations in Spoke to, e.g., sur-
                      vey questions in VAN.
                      Ultimately, this will entail updates to the database model for questions to accommo-
                      date an external_id for both questions and responses (see, e.g.
                      https://developers.ngpvan.com/osdi#people-post-people--personid--record-
                      canvass-helper).
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2015.               "Also generated from a discussion at Prog. Hack Night. This is a more involved update
                 than #596. To be production-ready, the questions UI would need to expose the `exter-
                 nal_id` fields for editing, or, even better, use the OSDI questions collection GET endpoint
                 (https://opensupporter.github.io/osdi-docs/questions.html#scenario-retrieving-a-
                 collection-of-question-resources-get) to let the user graphically map the desired ques-
                 tion into the script somehow."     H. Jaeger    9:06p [D1890]
2016.                "@harpojaeger really cool, cc: @deasterdaywfp @codygordon @j-ro"                      Joe
                 McLaughlin     2018-05-30 4:03pm [D1890]
2017.               "I mostly created this issue to keep notes for myself on what this feature will ential, but
                 I do want to build it (I think #596 would come first)."   H. Jaeger   10:32p [D1890]
2018.              "When creating a new campaign, present the user with an option to import survey
                 questions from an OSDI instance, and then automatically create questions on the Spoke
                 script that map to OSDI questions."     H. Jaeger     2018-06-11 1:06pm [D1890]
2019.                "The quick-and-dirty version of how this works: 1) at campaign creation, give user a
                 button that says something like "fetch OSDI questions" or whatever. 2) clicking the button
                 fetches the questions. 3) probably provide some search/filter functionality to make it
                 easier to find the desired question. 4) user can select a question and it's added into the
                 script, along with the various question and response IDs necessary for an action handler
                 to send responses back to the OSDI system."        H. Jaeger    2018-06-20 3:34pm [D1890]

2020.                  H. Jaeger    2018-06-22 9:49am [D1890]
                     In order to map questions to OSDI survey questions, I need to store the question ID
                     and response ID somewhere in the interaction steps. I can see three possible ways of
                     doing this:

        1.    Use the question and response IDs as the interaction step IDs in Spoke. This is a bit hacky. It en-
              tails creating a mapQuestion function that, given an OSDI question object, creates new interac-
              tion steps and sets their IDs accordingly (probably entailing slight modifications to the current
              addStep function here, perhaps to add a default newStepID param or the like -- it would be

              backwards-compatible).

                     Pros of this approach: Little changes to existing architecture, no DB schema updates.
                     Cons of this approach: There might be other parts of the app that depend on the in-
                     teraction step IDs being formatted a particular way. Conceptually, this is a misuse of
                     an existing field, which makes me nervous.

        2.    Creating new columns on interaction_step to hold these values (probably osdi_mapped_question
              and osdi_mapped_response).

                     Pros of this approach: Cleaner and less hacky.
                     Cons of this approach: Schema updates are involved. Also requires changes to some
                     GraphQL mutations.

        3.    Creating a new table, osdi_interaction_step_mappings or the like. Similar to the user_organization
              table, this would map interaction steps to OSDI objects by ID.

                     Pros of this approach: Cleanest of the three. OSDI data is nicely hidden away from
                     the rest of the app, which is consistent with this being an optional module, not a core
                     application feature. New queries and mutations can be written to handle this data
                     without needing to modify existing ones in place.
                     Cons of this approach: None that I've thought of so far.
                     Right now, 3 is the best option in my estimation.

2021.                  Schuyler Duveen      11:11a [D1890]
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               If it were only one column, I think 2 would be preferable, but if it's multiple, then 3
               sounds better.
               Though what happens when/if you edit the script from spoke (either the question or
               response)? Would that update the original backend? ignore it? remove the map-
               ping? If it does anything back to the OSDI source or the mapping, then maybe it
               should be the same table/columns -- because then you need that info anyway
               when saving a script and it's just a pain to load it from someplace separate.

2022.         "My intention at the moment is to have questions that are imported from OSDI be
            uneditable, or at least clearly indicate that changes made to their wording won't sync
            back to VAN, so that the OSDI system is the single source of truth." H. Jaeger 11:13a
            [D1890]


2023.            S. Duveen       11:29a [D1890]
               hm, so then the client needs to know if the script is editable. In that case, I might lean
               toward 2 with three columns:
               source, external_question_id, external_response_id -- and for you,
               source='osdi:<originSystem>' or something.

2024.          "Right, I guess adding new columns to an existing table has the advantage of
            keeping us at one query for a given interaction step, and still providing the information
            needed to render elements as editable or uneditable."           H. Jaeger    11:33a [D1890]
2025.          "Two questions that emerge for me based on the idea of a source column: in what
            other scenarios would this be used? And are there OSDI best practices in terms of termi-
            nology or how to store external identifiers here? Maybe that's a question for [ j-ro?]."
              H. Jaeger       12:17p [D1890]
2026.          "I think generally when you do sync (say sync of people) you'll want to store the
            remote's ID for the resource on the local and store the local's on the remote, but for dif-
            ferent resources like this you may have different scenarios."          Jason Rosenbaum
              12:18p [D1890]
2027.          "AFAICT, I don't think there's any added value to sending Spoke interaction step IDs
            into an OSDI system at this point."      H. Jaeger     12:20p [D1890]
2028.          "For questions probably not, and it really only matters in the sync scenario, when
            you're trying to keep a record in sync and changes may happen on either side."      J.
            Rosenbaum      12:23p [D1890]

2029.           "[schuyler1d?] it looks like action handlers get the question response and interaction
            step objects -- I'm assuming fields I add to those in the DB can be included in the que-
            ries? Want to make sure I'm not committing to a structure that will be hard to work with
            when I get to the point of actually making the OSDI API requests (which will entail a new
            action handler)."     H. Jaeger       12:35p [D1890]
2030.          "Also @schuyler1d how does the `answer_actions` column work? Do I need to be
            setting that in the question-mapping function in order to invoke the right action handler
            down the line, or is that set after-the-fact somehow?"        H. Jaeger     12:46p [D1890]

2031.            H. Jaeger      2018-06-25 3:36pm [D1890]
               Answering my own questions: yes, I can make those fields available to action han-
               dlers. Now I know how the answer_actions column works, and I will soon teach the
               question mapper to set it programatically when creating questions & responses.
               Here's another cool idea, [schuyler1d?]: since we already use an env to enable or
               disable certain action handlers, I'll make visibility of the OSDI settings section condi-
               tional on that same env! All a site admin has to do is add osdi-survey-question to
               ACTION_HANDLERS, and the config options will be exposed to site owners. Such DRY.
               Very clean. Wow.
2032.          "(don't mind me, just getting myself excited about cool features.)"               H. Jaeger
              3:37p [D1890]
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2033.            S. Duveen        4:14p [D1890]
               I guess my flag on combining the settings is that stops me from setting the OSDI de-
               tails for an org as a tech admin and enabling the actionhandler for my campaign
               admins to use.
               I think you're still focusing on the use-case of an ADMIN being the same as the system
               admin of the site and the org. In many orgs, those are very different people. Even
               when they are the same, the setup for environment variables, etc is a single thing....

2034.         "Right, but setting the OSDI details themselves as envs prevents different organizations
            on the same Spoke instance from talking to different OSDI systems, which seems like a
            desirable feature."      H. Jaeger    2018-06-26 11:12am [D1890]

2035.            H. Jaeger    2018-06-28 12:27pm [D1890]

               [schuyler1d?] in advance of this being actually deployed for Salazar for Senate, I
               want to dig into this question of envs vs. per-organization settings a little more. I no-
               ticed the ActionKit event integration first looks for envs and falls back to organiza-
               tion.features if they're not available. This is an interesting pattern.
               I'm making the security changes you suggested (not transmitting the API URL and to-
               ken back to FE during the update process).
2036.           "checking in @harpojaeger & @schuyler1d whether the VAN integration &
            ActionNetwork action handlers resolve this issue?" Frydafly 2021-03-13 12:59pm
            [D1890]

2037.         "This should be resolved with https://github.com/MoveOnOrg/Spoke/pull/1667 which
            was merged. Any remaining features should probably be separate bugs that target
            what additional changes are needed."          S. Duveen   2021-03-15 4:51pm [D1890]


2038.          Github      05/22/18 2018-05-22 8:39pm "OSDI record_attendance action
            handler Issue #596 MoveOnOrg/Spoke,OSDI record_attendance action han-
            dler Issue #596 MoveOnOrg/Spoke GitHub" [D1888]  GitHub

2039.            Harpo Jaeger        8:39p [D1888]
               Action handlers need to expose displayName, instructions, available and proces-
               sAction methods (see
               https://github.com/MoveOnOrg/Spoke/blob/main/src/server/action_handlers/actio
               nkit-rsvp.js).
               An OSDI record_attendance handler would enable automatically RSVPing contacts
               to VAN, AN, etc. events based on an external ID uploaded in the campaign con-
               tacts CSV.

2040.            H. Jaeger    8:40p [D1888]
               This is based on a discussion at Prog. Hack Night tonight. I'm planning to write this
               handler in June. Any notes or suggestions are welcome in the meantime!

2041.            H. Jaeger    9:13p [D1888]
               This might also involve requiring columns in the CSV for a contact's external ID, e.g.
               VANID, to ensure accurate syncing.

2042.            Joe McLaughlin        2018-05-30 3:30pm [D1888]

               Hey [j-ro?] [deasterdaywfp?] [codygordon?] this would be really cool to have...
               thanks [harpojaeger?]!

2043.            J. McLaughlin       3:37p [D1888]

               [harpojaeger?] Action Network only needs email as a unique ID..

2044.            J. McLaughlin       3:49p [D1888]
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              But [harpojaeger?] being able to send first, last, zip,cell, an external voter ID to AN
              as well would be really handy

2045.           H. Jaeger    10:49p [D1888]
              Hmm, I think OSDI requires an email address in any representation of a person, but
              you can also do system_name:id fields. Not sure which we'd need here. But yes, the
              notion is for this module to be able to talk to any OSDI API.

2046.           Jason Rosenbaum       11:32p [D1888]
              OSDI requires no fields -- every field in the spec is always optional -- but certain im-
              plementing servers will require certain fields in their implementation (Action Network
              requires email address, for example).

2047.           H. Jaeger    2018-05-31 2:59pm [D1888]
              Good to know.

2048.           H. Jaeger    2018-06-04 10:51am [D1888]
              TODO: figure out if VAN generates a signup-confirmation email when someone is
              RSVPd using this endpoint. This function might be of limited utility to a campaign if
              not.

2049.           H. Jaeger    11:09a [D1888]
              Also consider whether this action handler should manage the case where a person is
              in Spoke but not in the target database (i.e. phone numbers were collected and up-
              loaded directly into Spoke without an external ID, so the action handler can't match
              them).

2050.           H. Jaeger    8:40p [D1888]
              OSDI options (API key, what type of system it is [this might be necessary to handle dif-
              ferent platform's differing implementations of the OSDI spec], base URL or whatever)
              should be configurable on a per-organization basis.

2051.           J. McLaughlin    2018-06-05 3:06am [D1888]

              Hey [j-ro?] - Action Network doc info says
              > Action Network can send event RSVPs to VAN as signups. Set up the connection
              here, and from then on, when you create events in Action Network you can enter a
              VAN ID for each, after which we will send all subsequent RSVPs to the corresponding
              VAN event as signups using VAN's OSDI-compliant API.
              which uses the record_attendance action handler right, it's just not spelled out by
              VAN at https://developers.ngpvan.com/osdi#osdi that VAN supports rec-
              ord_attendance, is that it?

2052.           J. Rosenbaum      9:35a [D1888]
              VAN's events implementation is undocumented.

2053.           H. Jaeger    10:15a [D1888]
              Well, that throws a slight wrench in my plans -- I thought VAN supported rec-
              ord_attendance. Guess I'm writing a VAN-specific attendance integration then, not
              an OSDI one (at least to start off with)!

2054.           J. Rosenbaum      10:17a [D1888]
              They do, it's just undocumented. Try it out, and you can see event endpoints on the
              AEP.

2055.           J. Rosenbaum      10:18a [D1888]
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              Though there are some VAN-specific wrinkles, in the shift/role/etc..., again on the AEP
              and discoverable in the browser.

2056.           H. Jaeger        10:20a [D1888]
              Ah, interesting.

2057.           J. McLaughlin        2018-06-06 5:21pm [D1888]

              Hey [harpojaeger?] - you should request a VAN developer API key on its developer
              site, so you can use it's sandbox instance. As well, you should ask the campaign to
              request an API key for it's live Votebuilder instance for you to use. FYI, I've also used
              curl to get info for role ID etc for test VAN events created in both the sandbox and a
              live Votebuilder instance.

2058.           J. McLaughlin        5:23p [D1888]

              Also [harpojaeger?] - the campaign should set up it's own group on Action Network
              at the paid Partner level - it's cheap - if hasn't already, and can then get an API key
              for that for you to use. cc: [j-ro?] .

2059.           J. McLaughlin        6:08p [D1888]
              In terms of relative ease, speed and immediate utility to a campaign - I'd start with
              sending Event RSVPs from a test Spoke campaign to an AN group test Event, and
              test that. Then, sending those RSVPs from AN to a corresponding test Event in a
              VoteBuilder My Campaign instance. After that, sending Event RSVPs directly to
              Votebuilder My Campaign.

2060.           H. Jaeger        2018-06-12 11:11pm [D1888]

              [j-ro?] I've been messing around with VAN's record_attendance_helper but haven't
              been able to solve some persistent errors on the VAN-specific fields (role, status &
              shift), and I haven't found anything on the AEP about the schema that endpoint ex-
              pects. If you know of any other implementations of this I could use as a reference, I'd
              certainly appreciate a pointer!

2061.           J. Rosenbaum         2018-06-13 12:10am [D1888]
              Here's the code that translates from VAN's proprietary API to the OSDI service:
              https://github.com/NGPVAN/osdi-service

2062.           Ilona Brand       2020-05-18 12:21pm [D1888]
              Closing due to VAN contact loaders (#1457) and action handlers (work in #1538) al-
              ready being implemented


2063.         Web Page    04/27/20 "OSDI action handler and server for import and people,
            questions, answers, messages by joshco * Pull Request #1166 * Move-
            OnOrg/Spoke" [D386]   GitHub

2064.           Josh Cohen [D386]
              This PR contains an OSDI action handler to submit canvass responses like Question
              Answers, Tags (aka in VAN terms Survey Question Responses, Activist Codes). The
              handler will automatically download the available questions/SQs and tags/ACs and
              show them in the interaction script editing form as actions.
              This can be used to submit data to EveryAction/VAN, Action Network, CiviCRM (in-
              progress) and other systems that support the OSDI Simple Organizing Profile. (
              opensupporter/osdi-docs#337 )
              This also contains OSDI Server functionality that lets other OSDI clients read data from
              Spoke in OSDI format, as well as import contacts with batch mode.
              opensupporter/osdi-docs#335
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2065.           Skyler Duveen, MoveOn [D386]
              This PR creates a fantastic external API that will help other programs interface with
              Spoke -- it's breadth is excellent, but also means we'll have to be very careful about
              the additional security surface it exposes.

2066.           J. Cohen [D386]
              Thanks for the kind remark. I've reviewed your feedback and agree. I've also dis-
              cussed the issue with other
              OSDI stakeholders, and have a proposal for next steps.
              The current pull request includes some functionality for vision's sake. It also includes
              the bypass and public API switches
              which were meant to reduce friction for those who wanted to experience it for
              themselves using the demo server. I'll
              remove those, or refactor it as skyler suggested.
              The current PR also goes beyond the settled resources in OSDI based on my own im-
              provisations of assignments and
              messages. I'll remove these resources and produce an updated, more constrained
              PR, incorporating Sky and others'
              feedback. This way we could have working code this cycle.
              In parallel, settling on the definition of what these new resources should be a demo-
              cratic consensus among OSDI
              stakeholders, with leadership from those who build products that implement these
              features.
              Augustus Franklin [augfrank?] , from CallHub (which also implements similar fea-
              tures) has offered to serve as a convener
              of an OSDI a breakout group on these resources. It would be great if someone from
              Spoke would participate as well as
              Hustle, Relay and any other implementers.

2067.           Augustus Franklin, CallHub [D386]
              1:51pm
              augfrank commented on Jul 30, 2019
              [joshco?] [schuyler1d?] Yes, I'd love to help. It would be good to setup a common
              way to represent messages and its related resources.

2068.           Ilona Brand, MoveOn [D386]

              [joshco?] [schuyler1d?] [augfrank?] What's the status on this work?

2069.           J. Cohen [D386]

              [ibrand?] This is almost complete. I've made most of the changes Skyler requested.
              I'll push a branch today

2070.           S. Duveen [D386]
              I haven't reviewed but the last time I reviewed this these were my blockers...
              I'd like to see at least some minimal testing -- maybe test of one or two endpoints --
              that way if people create more tests they have the pattern they need to do so.
              But ++ to [joshco?] 's work -- this could open up some great ways of linking into
              Spoke from other systems.

2071.           J. Cohen [D386]
              I've updated the branch with 2 OSDI test cases.
              get people with apitoken succeeds, and without fails
              try to get people with osdi disabled and it fails

2072.           Joe Mclaughlin, Misc [D386]
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                      hey [joshco?] [schuyler1d?] [ibrand?] and adding in [lperson?] - sorry I am just
                      now jumping in on this again. Can y'all possibly collaborate and fast track getting this
                      merged? It's great stuff, and I'd really love to use it for an effort that I'm working on -
                      it's for an election happening this November.

2073.                      J. Mclaughlin [D386]

                      So I deployed [joshco?] s osdi_key branch tonight on to a production site and will
                      test in the a.m., after finishing set up. Just a note that the OSDI_CONFIGURATION.md
                      doc doesn't say anything about OSDI_MASTER_ENABLE env var, however I added it
                      and set it to true which works, so now I see the OSDI API Access toggle which I'm
                      leaving off for now. Also, the doc should be called something like HOW-
                      TO_OSDI_CONFIGURATION to conform to the rest of the how-to docs naming con-
                      vention in docs.

2074.                      J. Cohen [D386]
                      Improvements based on customer testing and feedback to make it easier to use and
                      set up. Thanks to [joemcl?]
                      Added yarn osdi-info script to check config, view available information from remote
                      OSDI Server
                      Added additional environment variables to option in logging of OSDI wire level trac-
                      es UI improvements

2075.                      S. Duveen [D386]
                      schuyler1d closed this on Apr 27, 2020.
                      Comment: contact-loaders sadly make this PR obsolete.


        V.E       Fraudulent Concealment

2076.          Defendants concealed their schemes to invest the proceeds of their racketeering
               activity.

2077.          Defendants engaged in a pattern of fabricated accusations against Plaintiff to exclude
               him from industry conferences including Netroots Nation 2018, 2019, Personal Democ-
               racy forum 2018 and virtual spaces including listserv Progressphiles.

2078.          Had he attended he would likely have attended sessions that would have allowed him
               to connect the dots.

2079.          Defendants falsely claimed that Judge Gorenstein issued a restraining order against
               Plaintiff to coerce the conference leaders of Personal Democracy Forum 2018 to ex-
               clude Plaintiff.

2080.          By falsely portraying Plaintiff as unstable and violent, Defendants incited fear of Plaintiff
               in others, Defendants' ensured no one would talk to Plaintiff or allow him in spaces
               where he might have discovered their schemes.

2081.          Defendants retaliated against Plaintiff's diligence at Netroots Nation 2019 by having a
               male stranger terrorize him on the sidewalk with false accusations including "Josh Co-
               hen sexually harasses women" in front of an audience of attendees.

2082.          Defendants warehoused their copyright infringement in Lightrail/Bluelink's API until
               Summer 2021, and Action Builder's API until Summer 2022. Defendants concealed how
               they were misrepresenting the OSDI IP as their own proprietary API until November 2020.

2083.          Sometime around the 4Q2020 - 1Q2021, Defendant's published something that
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                changed the way cohorts Plaintiff had formerly been associated with such that they no
                longer respond to Plaintiff. It remains concealed from Plaintiff to this day.

2084.           Cohen v Swirling, which Defendants provoked as a false-flag to create a pretext to
                gain control of OSDI is the only litigation Plaintiff has been involved in. The prior time
                Plaintiff retained legal counsel was to fight a speeding ticket 30 years ago.

                       In Scheidler v. National Organization for Women, to prove extortion under the Hobbs
                       Act, the Court held that a plaintiff must show that the defendant actually obtained
                       or sought to obtain property through wrongful means.76 It is not enough if the de-
                                                                            ’        .

2085.           Defendants and proxies portrayed their property demands as empowering women,
                and concessions to women Plaintiff must make, concealing their investment schemes,
                and warehoused their infringement.

2086.           Therefore, Defendants misled Plaintiff about his legal claims and prevented Plaintiff from
                discovering the property element of an extortion violation.


        V.F        Unfair Competition

        V.F.1      Anticompetitive Effects

        V.F.1.a    Introduction

2087.           This complaint highlights examples of how Defendants and their co-conspirators
                entered into and engaged in a racketeering conspiracy, in the market for Digital Politi-
                cal Microtargeting Platforms aka "Platforms", to suppress a technology, OSDI, which
                served as an external network effect. Defendants and their co-conspirators, aka the
                Campaign did so in the following ways:

          •     Gave themselves an unfair competitive advantage and created barriers to entry for competi-
                tors, increased customer switching costs and reseller support costs, and reduced customer
                choice by misappropriating OSDI's essential IP and application ecosystem, and laundered it in-
                to proprietary application ecosystems in a manner similar to App Stores.

          •     Increased customer switching costs.

          •     Increased application developer costs.

          •     Created an artificial inefficiency in the market which favors large, well-resourced players who
                can afford duplicative work.

          •     Leveraged the artificial inefficiency to launder an external network effect into proprietary in-
                ternal network effects to create a market for "universal adapters". An analogy would if De-
                fendants coerced the laptop or smartphone market away from USB-C and back to proprietary
                connectors.

          •     Since the relevant markets constitute essential resources for candidates running for election,
                Defendants and their co-conspirators have gained gatekeeper powers over those resources
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                    including products and the data pipes that data flows through, allowing them to discriminate
                    to deprive or degrade those for disfavored candidates.

        V.F.1.a.1      Digital Political Microtargeting Platforms Are Relevant Market

2088.               Citizens in democracies have the right to run for election, vote for their preferred
                    candidate, and engage in democratic campaigns such as ballot initiatives to achieve
                    societal goals. Those who do require access to Digital Political Microtargeting Platforms
                    and associated applications that integrate with them. Digital Political Microtargeting
                    Platforms consist of a Customer Relations Management (CRM) and a Data Warehouse
                    which contains Voter Files and other data, which integrates with a set of applications.
                    Applications include text messaging applications, petitions, fundraisers, and others.

        V.F.1.a.2      United States is a Relevant Geographical Market

2089.               Customers in the United States require products that comply with campaign finance
                    laws, and they use data products for the US market.

        V.F.1.a.3      Democratic or Progressive Digital Political Microtargeting Platforms are a Relevant Market

2090.               In the United States of America, our political system is dominated by two parties,
                    Republicans and Democrats. Since they are in competition, the markets for Digital Polit-
                    ical Microtargeting Platforms naturally segregates into two separate markets. One
                    serves the right, where customers are Republicans and Conservatives, and the other
                    serves the left, where customers are Democrats and Progressives. Customers may be
                    candidates running for election or ballot initiatives.

2091.               This complaint focuses on the Democratic or Progressive side of the market.

2092.               While there are a few exceptions of systems that serve both sides, they are the
                    exception rather than the rule.

        V.F.1.a.4      Microtargeting Systems Are Platforms
        V.F.1.a.4.1     Platform Definition

2093.               The economics of Digital Political Microtargeting Platforms increase in value to
                    customers, and in turn to those who own or control the platform when new applications
                    are added to the platform. This occurs by way of an integration with the platform's API.

2094.               In a blog post written by Micah Sifry on April 23, 2023, Micah asks Julia Barnes, CEO of
                    The Movement Cooperative, what infrastructure they support for campaigns.


2095.                      News      04/23/23 "Living with VANxiety: The Present and Future of Progressive
                       Movement Tech - Micah L. Sifry" [D1985]           Micah L. Sifry

2096.                         Micah L. Sifry [D1985]
                           What is the core infrastructure that such a co-op would support? Barnes rattles the
                           answer off easily.

2097.               Barnes responded:

2098.                         Julia Barnes [D1985]
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                         A data warehouse, a voter file, a CRM, a canvassing functionality, a phone func-
                         tionality, an email functionality. We have to have all of that, and it has to be in de-
                         signed in a way where it has an open API, where it can talk to all of the tools that
                         people want to sync in, where the users get to determine what aspects of their own
                         data are important, as opposed to that being designed by the company.

2099.            Barnes's answer is a set of applications that integrate with a Platform via an API. The
                 following diagram illustrates the relationship between applications and platforms.




                                             Digital Political Microtargeting Platform


2100.            This complaint focuses on the nature of how applications integrate with platforms via
                 APIs.

        V.F.1.a.4.2   Higher Ground Labs Tech Stacks

2101.            Another example of this relationship is in a blog post published by Higher Ground Labs
                 aka HGL on March 28th, 2022, which describes their recommended "tech stacks" for
                 customers.


2102.                    Web Page     03/28/22 "2022 Tech Stack Samples - Higher Ground Labs" [D1442]
                         Higher Ground Labs

2103.                      HGL Team [D1442]
                         Here are some sample tech stacks we see as efficient and strategic choices for
                         downballot campaigns. The pricing for each vendor depends a lot on campaign
                         size and duration of need and the actual tools needed depends on campaign
                         strategy

2104.            In the post, there are two diagrams outlining the tech stacks for state level campaigns
                 and local or downballot campaigns.
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                                                           State Level




                                                           Local Level


2105.               HGL highlights the difference in the tech stacks, where Local depends on NGPVAN,
                    and State depends on Civitech's CampaignOS. NGPVAN and CampaignOS are the
                    platforms, and the others are applications that integrate with the platforms.

        V.F.1.a.5      The Market is Concentrated

2106.               As described in the Market Background section of this complaint, a single dominant
                    player, NGPVAN, has had vertical agreements with the DNC, giving it a near monopoly.
                    The main exception was California, which is dominated by PDI.

2107.               Existing smaller players, or new players, have had a difficult time gaining a critical mass
                    of customers to compete fairly with the larger players.
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        V.F.1.a.6      Customers are Revenue Constrained

2108.               In a concentrated market, with revenue constrained customers, the harm of artificial
                    inefficiencies will be exacerbated. Customers are political campaigns who's revenue is
                    fundraising, which is constrained by campaign finance laws. Others are non-profits.
                    Large campaigns, like presidential or federal congressional campaigns may have signif-
                    icant resources. However, they are the minority in numbers.

2109.               Smaller or "downballot" campaigns will suffer to a greater degree.

2110.               Customers have limited funds to spend on expenditures, therefore the potential
                    revenue for application vendors is small.

2111.               Anne Lewis, CTO of MoveOn.org comments on the market on "The InfoQ Podcast" on
                    1/11/2021:


2112.                      Podcast        01/11/21       2021-01-11 "Ann Lewis Discusses the Political Tech
                                     ,           ’               ,                             " [T149]   InfoQ, The
                       InfoQ Podcast;       Anne Lewis;       Charles Humble

2113.                        Anne Lewis     +02:36 [T149]
                           the market cap of political tech is relatively small compared to the rest of tech in the
                           US. So there's typically not quite enough funding to create enough organic competi-
                           tion to have multiple offerings per type of system that you might use. So what we typ-
                           ically see is that systems with a wider moat like a Crm where all your user databases
                           and we're all of your engagement mechanisms sink into. There are just a few offer-
                           ings in that space.

2114.                        A. Lewis    +03:01 [T149]
                           typically we see a lot of little apps that try to serve a single purpose and then organi-
                           zations and tech teams spend a lot of time trying to unify these apps together into a
                           coherent system... So that's a constant challenge that the ecosystem is relatively
                           small market cap and so has mixed offerings.

        V.F.1.b        Origin of Anticompetitive Conduct
        V.F.1.b.1      VC New Media Ventures / Universal Adapter Proposal

2115.               Plaintiff was originally referred to Nathan Woodhull via email on 2/15/12 [D1057]

2116.               Via email on December 11th, 2013,
                    Woodhull communicated a plan where he
                    and partners applied for funding from New
                    Media Ventures to build              a "universal
                    adapter". If OSDI succeeded, and applica-
                    tions could directly connect to platforms,
                    this would not be a viable business.

2117.


2118.


2119.               Though unaware of this, Plaintiff OSDI and its external effect was an obstacle to the
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                    interests of powerful and wealthy interests who had motive for extortion.


2120.                     Email Subject          12/11/13       2013-12-11 10:36pm "activity" [D1991**]      Nathan
                        Woodhull

2121.                         Nathan Woodhull       10:36p [D1991]
                           applied for funding from New Media Ventures for a bunch of things, a small chunk of
                           which was funding to write a "universal adapter" to provide a common API binding
                           to a few CRM vendors that their member organizations use... we'd likely do the im-
                           plementation work if they were to get funding... I'd look to OSDI spec for a common
                           interface.
        V.F.1.b.2      Action Network Seeks to be 1 of 2 Dominant Platforms

2122.               Action Network released their platform implementation using source code provided by
                    Plaintiff in April 2014.

2123.               At this point, the conspiracy included Woodhull, Action Network, DNC and Netroots
                    Nation.

2124.               They attempted to undermine the project in August 2014, as described in the section
                    Early Racketeering.

2125.               The evening of August 20th, 2014, Plaintiff chatted with Jason Rosenbaum via chat.


2126.                      Chat     08/20/14     2014-08-20 8:53pm "NGP VAN's Innovation Platform Event" [D420]

2127.                         Josh Cohen       9:30p [D420]
                           Imho we want the ecosystem api to be controlled by community/democracy not
                           the party+van

2128.                         Jason Rosenbaum        9:30p [D420]
                           True. Though that's a long term project. I'd settle for being one of two for now...

2129.                         J. Cohen     9:31p [D420]
                           One of two?

2130.                         J. Rosenbaum       9:31p [D420]
                           Two widely used progressive Apis

2131.               Action Network's goal of being one of two widely used progressive APIs would implicitly
                    mean that Action Network would be one of two dominant platforms.

        V.F.1.b.3      Had the Early Racketeering been successful

2132.               Action Network, AFL-CIO, Netroots Nation/DailyKOS would have a head start using OSDI
                    and its momentum, which was significant, as their proprietary API and application eco-
                    system, which they share dominant control over.

2133.               Woodhull would have gotten venture capital to build his "universal adapter" proposal,
                    and along with VC New Media Ventures would share control over an economy of scale
                    that was based on an artificial inefficiency.

2134.               From this point forward, Woodhull, Action Network, Netroots Nation and the AFL-CIO
                    continued to fraudulently induce Plaintiff's labor, while recruiting others including
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                  MoveOn.org and the DNC the racketeering conspiracy to gain control of the project,
                  operate it, and invest the proceeds into their own enterprises.

        V.F.1.c      Action Squared Executes Platform Disintermediation Play

2135.             One of the few ways to gain a critical mass in a digital platform market is to execute a
                  platform disintermediation play.

2136.             Action Squared began as Action Network, which functioned as a digital organizing
                  toolset which acted as an application that integrated with the dominant platform,
                  NGPVAN, using the platforms OSDI endpoint. Today it is a platform which provides a
                  competitive alternative to NGPVAN and has expanded its functionality to include SMS,
                  peer-to-peer and other features that previously were separate applications.

2137.             The platform disintermediation strategy is outlined by Charlotte Slaiman, Competition
                  Policy Director of Public Knowledge, when testifying before the House Subcommittee
                  on Antitrust:

2138.                    Meeting Minutes       02/25/21    2021-02-25 1:00pm "Testimony of Charlotte Slaiman"
                      [D717]


2139.                      Charlotte Slaiman     1:00p [D717]
                         Testimony of Charlotte Slaiman
                         Competition Policy Director, Public Knowledge
                         Before the House Committee on the Judiciary
                         Hearing On Reviving Competition, Part 1

2140.                      C. Slaiman    1:13p [D717]
                         Perhaps most importantly, one of the very few ways of attempting to compete
                         against a dominant digital platform is to start out in an adjacent market, as a com-
                         pany that competes on the platform.

2141.                      C. Slaiman    1:14p [D717]
                         Often, the market for competition on the platform could serve as a "feeder" market
                         for competition against the platform. From the feeder market of competing on the
                         platform, an entrant can expand out to provide more and more "verticals" to even-
                         tually replace the platform for some users.

2142.                      C. Slaiman    1:14p [D717]
                         Or, an entrant can disintermediate, building a direct relationship with the consumer
                         and bypassing the platform altogether.

2143.                      C. Slaiman    1:14p [D717]
                         The gatekeeper platforms recognize this, and thus can use the many tools for dis-
                         crimination at their disposal to demote companies that may pose a competitive
                         threat to the platform itself -- not just the platform s other businesses that compete on
                         the platform.

2144.             Action Squared followed the same scheme.

2145.             Action Network began in an adjacent market, as a digital toolset, which was an
                  application that integrated with the dominant platform, NGPVAN. [397?] [D452]

2146.             Early in the Action Network product lifetime, functionality like volunteer management,
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         mobile sms, peer-to-peer, was provided by applications that integrated with Action
         Network via its platform implementation of OSDI. Examples included Mobile Commons
         and CallHub for mobile functionality, NGPVAN for volunteer management, and
         salesforce for CRM functionality.

2147.    At SXSW 2015, during the OSDI session, Jason Rosenbaum describes Action Network and
         makes the point that a common API removes barriers to entry and reduces cost for in-
         tegrations.


2148.           Audio      03/13/15     2015-03-13 11:00am "Turbocharging Social Activism with
            Data Standards" [T105]     ;          Jason Rosenbaum, Action Network;         Gayatri Bhalla,
            Catalist;     Josh Cohen, Self;        Tim Anderegg, Independent

2149.             Jason Rosenbaum          +09:34 [T105]
               a little from my perspective, Action Network is an online organizing tool, so it does
               one thing and we try to do it really well, which is managing your email, managing
               your online actions like online donations or signing petitions, that kind of thing. We
               don't do a lot of the other things that josh mentioned right, We don't do like voter file
               stuff, volunteer stuff, phone banks, you know, facebook, all that kind of stuff.

2150.             J. Rosenbaum      +12:51 [T105]
               So for us it takes some of, you know, we want to be in this ecosystem and we recog-
               nize that our partners are going to use a lot of other things to do, a lot of work. You
               know, they might use a different fundraising system uh to do something special over
               there, They might use, you know, they might use the van to do voter firework and
               stuff like that. Um It takes my job of integrating with those, you know, applications
               and my developers. It takes that job maybe from a three or four weeks development
               project down to maybe a couple days. Right. If we're all using a common ap I think
               there's a dream that at some point in the future this is this is plug and play and it's like
               an hour, we'll see if we get there. But you know, taking it down from three weeks to a
               couple of days really changes the barrier to entry for me building an integration that
               our partners want. We're able to do it quicker. It's less costly. And it means that more
               integrations can happen.

2151.    According to Brian Young, Action Network's founder on The Great Battlefield Podcast
         on 1/18/2019 stated:


2152.           Podcast         01/18/19      2019-01-18 11:37am "Building tech tools that help
            progressive organizations operate w/ the Action Network's Brian Young" [T174]
            Nathaniel G. Pearlman, The Great Battlefield;        Nathaniel;      Brian

2153.             Brian Young     +40:23 [T174]
               if you're trying to do too many things in one tool set that are really sort of opposite in
               the way you use a database, especially you're having to fudge your optimizations
               and sort of try to fit things together where, you know, we're building a digital tool set
               with the action network and that's what it's for and it's not really a phone tool. So we
               really always from the beginning we concentrated on an API and trying to build a
               good API so people could integrate in with us

2154.             B. Young    +40:23 [T174]
               keeping the focus there and building in really think of ourselves as a, as part of a
               tech ecosystem and we're not going to be everything for everybody.

2155.    Over time, Action Network integrated those features directly in its product. Action
         Network's blog post on 2022-01-19 states:
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2156.          Web Page   06/09/22 "All the Tools Your Campaign Needs to Win,All the Tools
             Your Campaign Needs to Win | by Jeff Dugas | Powering Progressive Move-
             ments | Medium" [D1302] Medium
2157.    Action Squared has integrated Mobile Messaging into its platform.

2158.              Jeff Dugas, Action Network [D1302]
                 Mobile Messaging is fully integrated into the Action Network tools you already know
                 and love, with all of the advanced features like segmentation, automation, and test-
                 ing that you're used to with our mass email tool.

2159.    Action Squared has concealed the fact that the ActBlue integration was OSDI based,
         concealing the platform disintermediation play. It is also an example of adding proprie-
         tary extensions in "Embrace, Extend, Extinguish" tactics.

2160.              J. Dugas [D1302]
                 We developed the ActBlue sync with our Development Partners at the DNC to help
                 Action Network partners raise more money on ActBlue than ever before.

2161.    In addition to adding new features to expand horizontally, Action Squared disinterme-
         diated the dominant platform.

2162.    Action Network and the AFL-CIO were building a VAN competitor, ActionBuilder.
         Today, ActionBuilder is a competitive alternative to NGPVAN. This allows Action
         Squared to build a direct relationship with the customer and sell a competitor to
         NGPVAN.

2163.    While concealing their motive from Plaintiff, Action Squared used Plaintiff as a shield to
         prevent the dominant player NGPVAN from discriminating or impeding their platform
         disintermediation play. Had NGPVAN, the DNC or other big player overtly destroyed
         OSDI, the optics would paint them as homophobic, monopolistic, or otherwise hypocrit-
         ical.

2164.    On 7/11/2019, Action Squared released its new platform ActionBuilder at Netroots
         Nation 2019 in Philadelphia.


2165.            Conference Session     07/11/19    2019-07-11 11:15am "This Is How We Win: A First
             Look at Action Builder Netroots Nation" [D1759]

2166.             11:15a [D1759]
                 As progressives, we win when we take the time to build and maintain relationships
                 with and between activists, understand the issues we all face, and identify and de-
                 velop our future leaders. Come by for a Philly Water Ice, join leading organizers and
                 the Action Builder team for a discussion on building a sustainable and scalable
                 movement through tried-and-true organizing tactics, and enjoy a special demo of
                 the new organizing toolset, Action Builder, from the organization that brought you
                 Action Network.

2167.    On 6/22/21, Action Squared announced that they were merging Action Network and
         Action Builder.


2168.            News     06/22/21 "Mobilizing AND organizing are essential to building
             progressive power,Mobilizing AND organizing are essential to building progres-
             sive power | by Brian Young | Powering Progressive Movements | Medium "
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                  [D830]     Medium

2169.                      Brian Young, Action Network [D830]
                     At Action Network & Action Builder, we're uniting the two into a seamless power-
                     building model

2170.         Action Network's web page listing integrations with other products no longer lists
              NGPVAN. The page describing its integration with NGPVAN, which used NGPVAN's
              OSDI service has been hidden.

        V.F.1.d   Tipping Point for External Network Effect

2171.         Despite their racketeering efforts, in 2017, OSDI succeeded in creating an external
              network effect.

2172.         In September 2015, NGPVAN's platform implementation came online. As a near
              monopoly, with the majority of customers, this was sufficient to tip the market. Applica-
              tion vendors who implemented an OSDI connector would gain interoperability with
              NGPVAN, which was a market requirement. They would also get interoperability with
              Action Network with little or no additional work.

2173.         Action Network itself used NGPVAN's OSDI endpoint for its integration with NGPVAN to
              support the AFL-CIO's customer requirements. In 2016, Defendant's extortion began.

2174.         In Summer 2017, at Netroots Nation 2017, PDI launched its new national platform and
              stated its intent to join OSDI and implement the specification. Defendants then escalat-
              ed to Abuse of Process.




                                                      OSDI Tipping Point
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2175.         The above diagram illustrates that application developers only need to spend
              resources to build a single API connector, which allows the application to interoperate
              with any compliant platform.




                                          Defendants Racketeering Activity


        V.F.1.e   Defendants Gave Themselves an Unfair Competitive Advantage

2176.         The outcome created by Defendants' racketeering activity allowed them to invest the
              essential IP and application ecosystem into their own enterprises.

2177.         The effect on application developers is that they need to spend engineering resources
              building and maintaining connectors for each platform they seek to support. As they
              do their cost/benefit analysis they will prioritize the platforms with the most customers.

2178.         New platforms start from zero in terms of addressable market of customers and
              applications integrations. For application developers building connectors for them will
              be lower priority. If they are built at all, and may have less functionality than the con-
              nectors they build for larger platforms with larger addressable markets.




                                    Product specific API - Internal Network Effect
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2179.    The above diagram shows that application developers now need to spend resources
         to build N API connectors in order to interoperate with N platforms.

2180.    The effect on platforms is that the set of applications that have built connectors to
         integrate with their platforms is an economy of scale that they can use as a competi-
         tive advantage against other platforms. The effect of this is that the set of applications
         compatible with each platform resembles App Stores like in the mobile space.




                                                    App Stores


2181.    As a result of Defendants' racketeering, Action Squared and Civitech, via its acquisition
         of Lightrail/Bluelink, inherited a head start by misappropriating OSDI's essential IP and
         application ecosystem. Since OSDI was the largest REST API based application ecosys-
         tem, it had achieved a self-perpetuating critical mass of adoption.

2182.    The House Subcommittee on Antitrust report on Competition in Digital Platform Markets
         aka CDPM describes the nuances of digital platform markets and the effect they have
         on competition.


2183.          Document       10/02/20 "INVESTIGATION of COMPETITION in DIGITAL MARKETS"
            [D852]


2184.          [D852]

               New app stores face high barriers to entry. It is unlikely that a third strong mobile app
               ecosystem can emerge. To offer a new mobile app store that is compelling to con-
               sumers, the app store must have a built-in customer base to attract developers to
               build apps for the store and must have popular apps to attract customers.

2185.          [D852]
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                             Over the past decade, several large technology companies have attempted and
                             failed to leverage their large user bases to compete against Apple and Google in
                             the mobile OS market.
                             Facebook and Amazon both tried to enter the market with variants of Google's An-
                             droid OS. Both companies quickly exited the market because consumers were most-
                             ly accessing Facebook and Amazon content through apps on iOS and Android de-
                             vices.

2186.                        [D852]

                             Companies like Mozilla and Alibaba have also attempted to enter the mobile OS
                             market. Mozilla unveiled its Firefox OS in 2013 and exited the market altogether by
                             2016.
                             In 2012, Chinese tech giant Alibaba developed a mobile OS called Aliyun. However,
                             Acer cancelled its collaboration before the launch

2187.                        [D852]

                             each platform now serves as a gatekeeper over a key channel of distribution. By
                             controlling access to markets, these giants can pick winners and losers throughout
                             our economy.

2188.               The report cites Paul Arnold, a venture capitalist, who states that VC's shy away from
                    investing in concentrated markets with dominant platforms due to the challenges these
                    barriers to entry create.

2189.                        [D852]

                             Paul Arnold, an early-stage investor and founder of Switch Ventures, commented at
                             the Justice Department s recent workshop on the intersection between venture cap-
                             ital and antitrust law that he considers markets dominated by large platforms to be
                             kill zones. [T]here s an incredibly, concentrated market share because of the econ-
                             omies of scale or because of network effects, it s a really hard barrier to overcome.
        V.F.1.e.1      NGPVAN

2190.               Today, NGPVAN remains a dominant platform and application ecosystem, and has
                    deprecated its OSDI endpoint. Instead it relies on its proprietary REST API, as well as leg-
                    acy SOAP/XML API.

        V.F.1.e.2      Action Squared and Civitech

2191.               Action Squared and Civitech API's are both OSDI disguised as their proprietary APIs and
                    have made changes or additions that make them slightly incompatible.

2192.               Action Squared has two platform implementations, Action Network and Action Builder.
                    Both are OSDI in disguise.

2193.               Civitech owns both CampaignOS and Bluelink (formerly Lightrail). By combining
                    CampaignOS and Bluelink, CampaignOS gains an ecosystem based on the OSDI head
                    start.

2194.               From an application development perspective, building a connector for Action
                    Squared or Civitech will work with the other for the most common scenarios using OSDI
                    helpers like Person Signup Helper (which Bluelink uses). So application developers can
                    build a connector for NGPVAN's proprietary API and Action Squared/Civitech.

2195.               Action Squared and Civitech's behavior is similar to Microsoft's behavior in Sun
                    Microsystems v. Microsoft Corp., 21 F.Supp.2d 1109 (N.D.Cal.1998). Microsoft added ex-
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                    tensions to its Java implementation, J++. When used by Java developers on Microsoft's
                    J++, applications would be "locked in" to Microsoft's implementation, and to Windows
                    as a result, since they would not be compatible with implementations of the Java
                    standard.

2196.               These are "Embrace, Extend, Extinguish" tactics. Over time, depending on future
                    changes and evolution by Action Squared and Civitech, compatibility will decrease
                    over time. However, since both platforms already have a critical mass of adoption, they
                    already have an internal network effect.

2197.               Since Action Squared and Civitech have gained a critical mass of adoption and
                    gained a significant addressable market of customers, application developers to have
                    a small customer acquisition cost.

        V.F.1.e.3      PDI
        V.F.1.e.3.1     PDI National - BlueVote

2198.               PDI's national platform, which it released at Netroots Nation 2017 was named BlueVote
                    and had a web page at bluevote.com. It has since been taken down now redirects to
                    PDI's main site. According to the Internet Archive, the last "Integrations" archived page
                    for BlueVote shows only two application integrations, ThruText and Organizer.


2199.                        Web Page     01/25/22 "Integrations BlueVote" [D488]

2200.                          BlueVote [D488]
                             ThruText, Organizer

2201.               Had PDI implemented OSDI, its application ecosystem would have included OSDI
                    compliant products. Those included ActBlue, Mobile Commons, Callhub, CallHub, Ac-
                    curate Append, Mobile Commons, Act Blue, New/Mode, CiviCRM, New/Mode, Mobi-
                    lize, MoveOn Spoke, MoveOn Internal Tools, ProgCode Resistance Calendar, ProgCode
                    National Voter File, ProgCode Maps for Change, RiseUp.

2202.               Any application developer that build a connector for Action Network, Action Builder,
                    NGPVAN or Bluelink would also be compatible with PDI's BlueVote.

2203.               PDI's BlueVote was launched in 2017, before Action Builder and CampaignOS. But for
                    Defendants' unlawful conduct, PDI's BlueVote would have competed at the level of the
                    market, with the same application ecosystem as Action Squared and Civitech's Cam-
                    paignOS.

2204.               Instead, one challenge that BlueVote faced was the lack of compatible applications in
                    its ecosystem.

        V.F.1.e.3.2     PDI Today

2205.               PDI's website no longer lists BlueVote or a national platform product. PDI's current
                    website site lists "California Campaign Center", who's web page states "Our Campaign
                    Center is not available outside of California at this time. Contact Sales to learn more or
                    browse our website for product offerings that are available across the country."
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2206.                     Web Page        06/08/24 "PDI | Political Data,PDI | Political Data Intelligence "
                      [D2001]    PDI | Political Data

2207.             Though PDI has gained some integrations, lower priorities can result in integrations with
                  less functionality. An example of this has already occurred with event management
                  application Mobilize's integration with platform PDI. This is stated on Mobilizes web page
                  for PDI integration:


2208.                     Web Page       02/25/22 "PDI Integration" [D1349]

2209.                       Liz Mullen, PDI [D1349]
                          This integration supports the uni-directional flow of data from a Mobilize organization
                          to a PDI account. While our integration with PDI is not as robust or fully-featured as
                          our VAN integration, we do sync over our core data models.

2210.                       L. Mullen [D1349]
                          Key Integration Details.
                          Data is synced twice a day around midnight and noon EDT.

        V.F.1.f      Defendants Created a Barrier to Entry for Competitors

2211.             Other existing platforms will be "third platforms" or worse and will have difficulty
                  convincing application developers to write additional connectors for their platforms.
                  They will have challenges similar to those of Amazon, Microsoft, Nokia and others who
                  attempted to create their own mobile App Stores.

2212.             New platforms will face these challenges to an greater degree. New platforms start
                  with no addressable market of customers or application ecosystems.

2213.             CDPM [D852] states "To offer a new mobile app store that is compelling to consumers,
                  the app store must have a built-in customer base to attract developers to build apps
                  for the store and must have popular apps to attract customers."

2214.             New platforms will face a "chicken and egg" problem. They will lack a large enough
                  customer base to attract application developers to build connectors for their platforms.
                  They will also lack a competitive ecosystem of applications compatible with their plat-
                  forms compared to dominant platforms to attract new customers. Nor will it justify the
                  necessary switching costs for customers of other platforms to switch to the new plat-
                  form.

        V.F.1.g      Defendants Increased Switching Costs

2215.             Customers who switch platforms will not be able to take their applications with them to
                  their new platform. They will have to choose from applications that have built a con-
                  nector for the new platform and are thus in the new platform's App Store.

        V.F.1.h      Defendants Increased Application Developer Costs

2216.             Application developers face additional costs per each connector they build for a
                  given platform.

2217.             Even in the case where platforms differentiate themselves with proprietary features
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                  expressed through an API, Defendants have increased costs as well.

2218.             Prior to the destruction of OSDI, application vendors could participate in OSDI at no
                  cost, and participate in a consensus process to decide on definitions in the API specifi-
                  cation. They had a vote similar to other members, regardless of their individual scale, fi-
                  nances and market power.

2219.             As the OSDI specification evolved, applications developers only needed to track a
                  single specification. Their engineering maintenance costs would be spent on a single
                  connector.

2220.             OSDI had a namespaced extension model, where vendors could define their own
                  proprietary extensions inline within OSDI.

2221.             For example, if a vendor wanted to add a field to Person which OSDI committee
                  members didn't believe was needed for general use, a company (Acme) could define
                  it with their own namespaced extension:
         {
             "given_name": "Sam",
             "family_name": "Smith",
             "acme:musical_instrument": "Trombone"
         }


2222.             To the extent that a given platform created its own proprietary extensions, the
                  differential code that an application vendor might need to write would be much
                  smaller than if they had to implement a completely different proprietary API.

        V.F.1.i      Defendants Gained Gatekeeper Powers

2223.             Since the market has a small addressable market, a digital platform market and is
                  concentrated with few platform solutions, Defendants have gained gatekeeper powers
                  over essential resources for candidates running for election.

2224.             Action Squared describes its governance model as "Cooperative Development", which
                  is led by its "keystone partners". Those include Action Network, AFL-CIO, DailyKOS and
                  DNC. Netroots Nation evolved from DailyKOS yearly conferences "YearlyKOS" which
                  took place in 2006 and 2007, before being renamed Netroots Nation. Both entities have
                  significant crossover in leadership.

2225.             As a result, they share dominant control over a new dominant platform, Action
                  Squared, which is comprised of Action Network and Action Builder.

2226.             Higher Ground Labs and its portfolio companies benefited from OSDI, including
                  CiviTech/Bluelink, New/Mode, and Mobilize. Netroots Nation's board chair, Cheryle
                  Conti also sits on Higher Ground Labs's advisory board. [D2000?]

2227.             But for Defendants' actions:

             •    Competitors would not face this barrier to entry.

             •    Customers would not face switching costs from an application ecosystem perspective.
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          •       Application developers would not have to resource duplicative connectors which are an arti-
                  ficial inefficiency.


        V.F.1.j      Defendants Created an Artificial Inefficiency

2228.             By destroying the external network effect, Defendants have forced application
                  developers to spend resources to fund duplicative and unnecessary work.

2229.             For comparison, as laptops converge on USB-C adoption for power and charging, the
                  value of universal adapters, such as those from Targus decreases to zero. At this point in
                  time, USB-C adoption on new laptops has already crossed the tipping point, creating
                  an external network effect. The effect of this is that vendors who have experience
                  building USB devices can participate in the market for chargers and battery packs for
                  laptops, mobile phones and any compliant device.

2230.             OSDI had already crossed the tipping point to create an external network effect.
                  Defendants' actions would be like coercing the laptop and mobile phone market to
                  abandon USB-C and return to proprietary connectors for power and charging. This
                  would impose an additional, unnecessary cost upon USB vendors, who would need to
                  build different versions of their products, or supply a myriad of adapters to be compati-
                  ble with different laptops, mobile phones or other products.

2231.             Defendants have exploited this inefficiency to create a need for "universal adapters" to
                  connect to platforms as well as CRMs used by political campaigns.

2232.             In 2018, Plaintiff released a synchronizer product "Hero Sync", which synchronized data
                  between political CRMs such as Salsa, as well as Salesforce and microtargeting plat-
                  form NGPVAN, as well as Action Network, by using OSDI. This involved synchronizing
                  records for People, Events, Attendances etc.

2233.             Since the synchronizer was compatible with any OSDI compliant system, For systems
                  that didn't have their own OSDI connector, Plaintiff built one for those platforms, which
                  were available for anyone to use.

2234.             As a result, Plaintiff could spend his engineering resources developing feature
                  functionality for the synchronizer rather than integration connectors. For illustration, ex-
                  amples of features included

          •       Customer customizable logic rules, where if a person had tag X in the origin system, tag Y
                  would be applied in the destination system.

          •       Automated charts and graphs that showed synchronization metrics over time.

          •       Automated "diff" functionality which highlighted the specific change in a record which could
                  be accesed via the logic rules, and shown in reports sent to users of the product.


2235.             The following diagram illustrates that only 1 API connector is needed.
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                                   Standard API - External Network Effect


2236.    The less time developers spend writing connectors to different systems, the more time
         they have available to create features and functionality. Customers purchase products
         for features and functionality; they expect integration to "just work."

2237.    As a result of Defendants' racketeering, separate connectors are now needed to
         integrate with different platforms, which is an artificial inefficiency. The following dia-
         gram illustrates where multiple connectors must be built.
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                                        Product specific API - Internal Network Effect


2238.             As a result, the synchronization features and integration connectors have become
                  vertically integrated. Defendants have exploited this artificial inefficiency to create a
                  need for "universal adapters", where the set of connectors for different systems are an
                  economy of scale.

2239.             Since an economy of scale requires significant resources to build and grow to a critical
                  mass, as well as maintain the various API connectors as the platform vendors inde-
                  pendently evolve their own APIs, Defendants have an economy of scale they can con-
                  trol using the "strings" of funding. This also allows Defendants to gain gatekeeper powers
                  over essential resources by controlling the "data pipes" political data flows through.

        V.F.1.k      Defendants created a market for "Universal Adapters" and Exchanges

2240.             Application developers will prioritize platforms with resources to grow their platform and
                  largest addressable market for them to acquire customers. NGPVAN, Action Squared
                  and Civitech's CampaignOS will benefit from this.

2241.             As described above, application developers who would prefer to spend their
                  engineering resources on features rather than connectors, can utilize a "universal
                  adapter" service to connect with different platforms.

2242.             Universal adapters Plaintiff has discovered include the following:

          •       Lightrail/Bluelink -- Funded by VC's Acronym and later Higher Ground Labs. In 2022, Higher
                  Ground Labs provided additional funding to Civitech, who then acquired Bluelink.

          •       Parsons -- Controlled by The Movement Cooperative, whose largest funder is MoveOn.org
                  [D756]
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        •    DaisyChain -- Founded by Nathan Woodhull and Jon Warnow, funded by Higher Ground Labs

        •    Community Tech Alliance (CTA) PAD -- A new entrant

2243.        The market has been coerced to an internal network effect model, where universal
             adapters and their library of connectors are an economy of scale.




                                                     Universal Adapters


2244.        Those who control the universal adapters can use that economy of scale as a
             beachhead and then add feature functionality and evolve into a platform. This is a
             similar approach to Action Squared's platform disintermediation play.

2245.        DaisyChain is an example of this. When initially launched, Nathan Woodhull describes
             DaisyChain on Twitter on 8/16/22 "Daisychain is an organizing platform that integrates
             the political tech stack." However, since then DaisyChain has added new features to
             build out a platform. [D1907]


2246.              Tweets    08/16/22     2022-08-16 2:15pm "Nathan Woodhull on Twitter Launching
                something new" [D1907]       Twitter

2247.                 Nathan Woodhull      2:15p [D1907]
                   Launching something new! Daisychain is an organizing platform that integrates the
                   political tech stack so campaigns can have authentic conversations when they mat-
                   ter most.

2248.                 N. Woodhull    3:44p [D1907]
                   We're aspiring to integrate with just about everything, but we're prioritizing by inte-
                   grating with the tools early folks are interested in.

2249.        On its web page, Community Tech Alliance touts its data integrations and the barrier to
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         entry of needing to build integrations.


2250.           Web Page        10/02/23 "The 5 Common Data Problems Community Tech
            Alliance" [D1996]   Community Tech Alliance

2251.             CTA [D1996]
               PAD also syncs with over 50 tools (and counting). That's 50+ integrations you don't
               need to custom build.

2252.    The universal adapters also have connectors for commodity services unrelated to
         politics, such as Amazon Redshift, Google Cloud, Microsoft Azure and Salesforce. These
         services have open source libraries provided by service providers and generic commu-
         nity projects which can be used by applications, but are not unique to the universal
         adapters.

2253.    What is unique to the universal adapters is the connectors for the platforms and political
         CRMs, which are unique to these markets. That is addresses the need that application
         developers have due to the artificial inefficiency.

2254.    As more application data flows through the universal adapter, the more it becomes an
         exchange where political data flows through it, essentially becoming "data pipes".




                                         Exchange Universal Adapter


2255.    Those who control the exchanges now have gatekeeper powers over data pipes.
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                                                Gatekeeper Powers


2256.    Since API connectors are individually identifiable, they can be targeted for discrimina-
         tion. For example, if a vendor serves customers who represent primary challengers or
         candidates otherwise disfavored by the gatekeepers, their API connector can be indi-
         vidually disabled or degraded without affecting other applications. This can be used to
         create an unlevel playing field in an election, or to retaliate against the vendor to dis-
         courage future support for disfavored candidates.

2257.    The emergence of Data Brokers, who function as exchanges, has been reported in the
         news.


2258.           News     03/19/19 "The Secret Power of Political Data Trusts,The Secret Power
            of Political Data Trusts - Overture Global" [D591] Overture Global

2259.               Sean McDonald, overture_global [D591]
                 The Secret Power of Political Data Trusts,The Secret Power of Political Data Trusts -
                 Overture Global

2260.               Sean McDonald [D591]
                 Most of the recent coverage about politics and data has been about scandal. What
                 gets less coverage is the underlying way that data is shaping more than the way in
                 which parties and movements work data is also changing the way they re orga-
                 nized.

2261.               S. McDonald [D591]
                 And how parties share data increasingly defines who gets access to the party s plat-
                 form, resources, and seats. Across both aisles, a new generation of data power bro-
                 kers decides who gets to participate in politics.

2262.               S. McDonald [D591]
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                          The fissures in the core negotiating foundations of the Democrats' data architecture
                          were on display in the last presidential election. In late 2015, one of Bernie Sanders's
                          campaign staffers accessed Hillary Clinton's voter file, causing the Democratic Con-
                          vention to revoke his campaign's access. The DNC relented after the Sanders cam-
                          paign mounted a breach of contract lawsuit, but damage to the party's digital unity
                          had been done.

2263.                           S. McDonald [D591]
                          ...a growing group of large progressive-cause campaign organizations are starting to
                          share data under the banner of the Movement Cooperative, which will essentially
                          govern the way the group buys, combines, and uses its voter files.

2264.               Examples of exchanges that Plaintiff has discovered:

        V.F.1.k.1      Parsons

2265.               The Movement Cooperative project Parsons is an example of a "universal adapter".
                    Below is its About web page.


2266.                     Web Page        07/10/21 "About Parsons documentation" [D839]

2267.               It serves as a universal adapter by having individually coded connectors for each
                    platform or product it can connect to. The left column lists lists source code for con-
                    nectors to systems it integrates with. These include ActBlue, Action Network, Action Kit,
                    Mobile Commons, NewMode, NGPVAN and Bluelink.

2268.                        Movement Coop [D839]
                          ...contains a growing list of connectors and integrations to move data between vari-
                          ous tools. Parsons is focused on integrations and connectors for tools utilized by the
                          progressive community. Parsons was built out of a belief that progressive organiza-
                          tions spend far too much time building the same integrations, over and over and
                          over again, while they should be engaged in more important and impactful work.

2269.                                       The Movement Cooperative, along with MoveOn and its other
                    funders benefited from the destruction of OSDI. The branding of Parsons highlights that it
                    is named after a woman "Lucy Parsons", creating the appearance that by supporting
                    the misappropriation, one is supporting women.

2270.                        M. Coop [D839]
                          Parsons, named after Lucy Parsons...

2271.               According to OpenSecrets.org, as of the 2022 election cycle, MoveOn.org has been
                    the largest funder of The Movement Cooperative.


2272.                      Web Page         06/13/24 "Vendor/Recipient Profile: Movement Cooperative"
                       [D756]     OpenSecrets

2273.                        OpenSecrets [D756]
                          As of the 2022 election cycle, the top funders and amounts are
                          Moveon $3,088,291
                          Color of Change $927,270
                          Nextgen $618,250

2274.               On website "Progressive Data Jobs", The Movement Cooperative posted a job position
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                    "Data & Technology Strategist", states ""We help with the establishment of syncs, data
                    pipelines, analytics..."


2275.                       Web Page        03/29/21 "TMC Data & Technology Strategist" [D755]

2276.                       [D755]

                            We leverage the collective purchasing power of our membership to secure cooper-
                            atively held data and technology licenses shared across membership and invest in
                            common infrastructure like technical staff to support our members in their work

2277.                       [D755]

                            We help with the establishment of syncs, data pipelines, analytics, and reporting
                            from a continually expanding suite of organizing and digital tools.

2278.               Bluelink submitted a connector for Parsons, in September 2021, just over 4 years after
                    Netroots Nation 2017. Examining the source code reveals that it is using OSDI Person
                    Signup Helper. Therefore, Action Network and Bluelink's connectors are essentially the
                    same.


2279.                       Github       09/01/21    2021-09-01 2:29pm "parsons bluelink py at master move
                        coop parsons" [D1190]

2280.                         2:29p [D1190]
                            parsons bluelink py at master move coop parsons

2281.               The source code repository for Parsons lists source code for connectors to systems it
                    integrates with. Though it lists Bluelink on the About page, the source code has been
                    hidden or removed.


2282.                       Github       05/15/24    2024-05-15 1:22pm "parsons parsons at main move coop
                        parsons" [D1993]

2283.                         1:22p [D1993]
                            parsons parsons at main move coop parsons
        V.F.1.k.2      Lightrail/Bluelink/Civitech

2284.               In Summer 2017, Higher Ground Labs initial cohort of funded companies included
                    GroundBase, which was founded by Gerard Niemira after his employment at Hillary for
                    America aka HFA. At the conclusion of the racketeering conspiracy to operate OSDI, in
                    early 2019, Acronym acquired GroundBase and renamed it Shadow. At that point Nie-
                    mira announced Lightrail, which billed itself as a "universal adapter". Shadow was sub-
                    sequently divested from Acronym, and its other product terminated, leaving only
                    Lightrail. Shadow was then renamed Bluelink, which then received funding as part of
                    HGL's 2021 cohort. In 2022, Civitech received a round of funding and then acquired
                    Bluelink. Civitech also acquired Alloy, Reid Hoffman's voter file project.


2285.                       Web Page          06/21/21 "Announcing our 2021 cohort - Higher Ground Labs"
                        [D1335]       Higher Ground Labs

2286.                       [D1335]
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                           The mission of Higher Ground Labs is to promote and support constant innovation for
                           a better democracy. Over the past four years, we have invested in companies that
                           have become core infrastructure for progressive politics.

2287.                     [D1335]

                           BlueLink
                           Bluelink lets non-technical users easily set up data flows between tools so their cam-
                           paigns and groups can automatically run processes --- like registering voters or
                           thanking donors --- saving time and money for strategic work while using context to
                           improve the voter/supporter experience. For software teams, Bluelink reduces inte-
                           gration costs so they can focus on products not pipes.

2288.               In September 2021, Bluelink's API became discoverable, revealing its use of OSDI as its
                    inbound API. This is consistent with the proposal Woodhull shared with Plaintiff in 2013.

2289.               As of January 2022, Bluelink's library of connectors is shown in the diagram below, taken
                    from Bluelink's website:




                                                         Bluelink Ecosystem 2022


        V.F.1.k.3      Democratic Data Exchange

2290.               Shortly after the end of the racketeering conspiracy to operate OSDI, and the DNC
                    Winter meetings, the Democratic Data Exchange aka DDX was announced.


2291.                       News       02/13/19 "Howard Dean to head new Democratic voter data
                       exchange" [D588]        The Burlington Free Press

2292.                         Bill Barrow, Burlington Free Press [D588]
                           Dean confirmed that he's signed on to lead a planned data exchange hammered
                           out by DNC officials, state party leaders and Democratic consultants. The agree-
                           ment still requires the expected approval from state party leaders gathering
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               Wednesday in Washington, but it would end more than 18 months of internal party
               wrangling that has dogged DNC Chairman Tom Perez amid fights over money and
               control.

2293.             BILL BARROW [D588]
               "He's really a unique person in the DNC," said Mary Beth Cahill, a top Perez lieutenant
               who led the negotiations and who managed John Kerry's 2004 presidential cam-
               paign that defeated Dean. "Just looking at the landscape, he seems like one ofthe
               best signals we could send" to get everyone on board.

2294.             B. BARROW [D588]
               The new exchange will operate as an independent for-profit enterprise led by Dem-
               ocratic strategist Jen O'Malley Dillon, once a top adviser to Hillary Clinton's cam-
               paign.

2295.    On 4/2/2019, The Burlington Press published "Inside the Democrats Plan to Fix Their
         Crumbling Data Operation".


2296.           News      04/02/19 "Inside the Democrats Plan to Fix Their Crumbling Data
            Operation" [D577]      Wired

2297.    The article reports that state party officials, who manage their states' voter files, were
         initially reluctant to give up control of the party's most precious resource" which high-
         lights the gatekeeper role.

2298.             Conde Nast,Issie Lapowsky [D577]
               But state party officials, who manage their states' voter files, were initially reluctant to
               give up control of the party's most
               precious resource. In the end, the party struck a compromise: The data itself would
               be housed within the DNC

2299.    It also reports that the DDX serves as "pipes that connect data sets"

2300.             C. Nast [D577]
               The data exchange would merely track who's giving and taking what information
               and build the pipes that connect the data sets. The creation of a new Data Ware-
               house, Schuh Cortes says, means those pipes have something stable to plug into.

2301.    A 2/16/24 job posting on Movement Builders from the Democratic Data Exchange, it
         describes the Movement Infrastructure Working Group's API for sharing data between
         tools used by campaigns.


2302.          Web Page       02/16/24 "Senior Director of Engineering-MIG Movement Builders"
            [D1994]


2303.             Democratic Data Exchange [D1994]
               The Democratic Data Exchange (DDx) is looking for an experienced Senior Director
               of Engineering -- MIG to oversee the development of the Movement Infrastructure
               Working Group's (MIG) new API for real-time sharing of data between the various
               tools used by movement groups and Democratic political campaigns.

2304.             D. Exchange [D1994]
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                           MIG is developing infrastructure in the form of APIs and a data application layer to
                           make it possible for organizations and campaigns to move data to all destinations
                           across the progressive ecosystem.

2305.               In a Google document 10:45 Oct 25, 2021 shared by Santiago Martinez from Arena
                    titled "DDx OVERVIEW 2021-2022", it discusses the synchronization aspects of the prod-
                    uct.


2306.                      Web Page        10/25/21 "DDx Overview Guide.pdf,DDx Overview Guide.pdf -
                       Google Drive" [D1995]       Google Docs

2307.                        DDX [D1995]
                           allowing programs to seamlessly sync voter data with DDx during and between elec-
                           tion cycles.

2308.                        DDX [D1995]
                           DDx syncs/delivers anonymized data into the organization's designated database or
                           CRM.

2309.                        DDX [D1995]
                           Optimize the DDx exchange platform and
                           underlying systems to make data syncs
                           faster and more effcient
        V.F.1.k.4      DaisyChain

2310.               On 8/16/2022 Nathan Woodhull posted on Twitter that he was "Launching something
                    new! Daisychain is an organizing platform that integrates the political tech stack".
                    Woodhull founded DaisyChain with Jon Warnow.

2311.               At this point the culpable person Woodhull merged with DaisyChain.


2312.                      Tweets    08/16/22     2022-08-16 2:15pm "Nathan Woodhull on Twitter Launching
                       something new" [D1907]        Twitter

2313.                        Nathan Woodhull       2:15p [D1907]
                           Launching something new! Daisychain is an organizing platform that integrates the
                           political tech stack so campaigns can have authentic conversations when they mat-
                           ter most.

2314.                        N. Woodhull     3:44p [D1907]
                           We're aspiring to integrate with just about everything, but we're prioritizing by inte-
                           grating with the tools early folks are interested in.

2315.               Woodhull states "We're aspiring to integrate with just about everything, but we're
                    prioritizing by integrating with the tools early folks are interested in." Woodhull began
                    building a library of Ruby based connectors for political applications and platforms.

2316.               Based on examining the HTML source of a response to an HTTP POST on DaisyChain's
                    login page https://go.daisychain.app/users/sign_in, the following CSS code is returned:
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        .rails-default-error-page {
             background-color: #EFEFEF;
             color: #2E2F30;
             text-align: center;
             font-family: arial, sans-serif;
             margin: 0;
         }


2317.          This indicates that DaisyChain is a Ruby on Rails application. Therefore DaisyChain can
               reuse the library of Ruby connectors that Woodhull started building in 2013.

2318.          On 7/6/2023 Higher Ground Labs announced their 2023 Accelerator Companies, which
               included DaisyChain. Woodhull initially sought venture capital from New Media Ven-
               tures in 2013 to build an integration platform, which would not have been a viable
               business with OSDI's external network effect in place.


2319.                 Email Subject      07/06/23    2023-07-06 12:04pm "Announcing our 2023 Accelerator
                   Companies 📣" [D1949**]        Gerard Niemira

2320.                     Higher Ground Labs Gerard Niemira       12:04p [D1949]
                      With a sharp eye toward 2024, Higher Ground Labs is proud to introduce you to eight
                      promising startups pushing political tech to new heights.

2321.                     H. Ground    12:04p [D1949]
                      Daisychain is a modern toolset that helps progressive organizations engage their au-
                      diences through personalized outreach, powerful workflows, and seamless integra-
                      tions.

2322.          With the destruction of OSDI and its network effect, DaisyChain can compete based on
               the economy of scale of connectors for different systems. DaisyChain's head start
               comes from the library of connectors Woodhull began building in 2013, but competitors
               will have to start from zero.

2323.          Since DaisyChain is backed and funded by venture capital including Higher Ground
               Labs, it can afford to spend resources on duplicative work.

2324.          On 10/18/2023, Nathan Woodhull is interviewed on The Great Battlefield podcast
               regarding DaisyChain. Woodhull discusses the inefficiency and how it creates an op-
               portunity for DaisyChain.


2325.                Podcast   10/18/23 2023-10-18 5:52pm "Integrating and Connecting Political
                   Organizing Data with Jon and Nathan of Daisychain " [T262] Nathaniel G. Pearl-
                   man, The Great Battlefield;      Nathan

2326.                     Spk3   +51:12 [T262]
                      So for example, we have customers using... Action Network for digital tools and then
                      Bonterra products for other parts of their organizing in the field stuff. And those two
                      tools really don't integrate well. Action Network and mobilize should, in my view, in-
                      tegrate much better than they do. But like they don't for essentially political reasons

2327.          But for the destruction of OSDI and its external network effect, Action Network could
               use the client side OSDI connector it built and used to integrate with VAN to serve AFL-
               CIO, with Mobilize.
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2328.               Woodhull is concealing his participation in the racketeering conspiracies have
                    exacerbated the problem he is citing.

2329.                           Natha     +51:39 [T262]
                              So I think because of that some of the ways in which that plays out, it actually does
                              create a role for us to be sort of like a way that organizations can still stitch things to-
                              gether.

2330.                           Natha     +55:27 [T262]
                              We're trying to like, figure out a way to sort of be this glue piece to be a way to help
                              people sort of stitch things together.

2331.               In both statements, Woodhull describes the opportunity to compete based on a library
                    of proprietary connectors, which economy of scale. The opportunity was created by
                    Defendants' racketeering activity and extortion. The VCs were unwilling to fund syn-
                    chronizer applications until they could compete based on an economy of scale.

2332.               On 12/11/2013 Via email, Woodhull shared his plan to secure venture capital for a
                    universal adapter that leverages the same kind of inefficiency. [D1991] Due to Plaintiff's
                    labor, proficiency, and OSDI's success, his goal of seeking funding for this type of prod-
                    uct was delayed 10 years.


        V.F.2          Plus Factors

        V.F.2.a        Evidence of motive to enter a conspiracy.
        V.F.2.a.1      Nathan Woodhull

2333.               Nathan Woodhull began building a library of connectors for proprietary CRM APIs.
                    [D648] He also shared his plan to seek funding from VC New Media Ventures to build a
                    "universal adapter."

2334.               Plaintiff, OSDI and its external network effect were an obstacle to the exchange
                    approach because only one connector would be needed.

2335.               Since he was serving the interests of venture capitalists, he had means to recruit others
                    to join the conspiracy.

2336.               08/16/22 2:15pm Nathan Woodhull posted on Twitter that he was "Launching something
                    new! Daisychain is an organizing platform that integrates the political tech stack".
                    Woodhull founded DaisyChain with Jon Warnow. [D1907]

2337.               07/06/23 Higher Ground Labs announces its 2023 cohort including DaisyChain [D1949]
                    Woodhull accomplished his goal of securing venture capital for an integration platform.

        V.F.2.a.2      Action Squared

2338.               During the early racketeering, on 8/20/14, via Google Chat [D420], Jason Rosen-
                    baum/Action Network stated their goal of becoming one of two widely used progres-
                    sive APIs. That would implicitly mean one of two dominant platforms.

2339.               That is the opposite of OSDI's mission to serve as a standard API and external network
                    effect.
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2340.               Later, Jason Rosenbaum began changing the apparent authorship of the OSDI spec
                    which made it appear to be his work.

2341.               AFL-CIO had motive to participate, since it was frustrated with gatekeeper powers
                    possessed by the DNC and NGPVAN.

2342.               Action Squared has motive to conceal their actions because an essential element of
                    their success depends on exploitation of a minority's labor, proficiency, and retirement
                    savings, and misappropriating Plaintiff's work. As a labor union, the AFL-CIO portrays its
                    mission as preventing exploitation and thus has motive to conceal its actions to con-
                    ceal its hypocrisy.

        V.F.2.a.3      MoveOn.org

2343.               MoveOn benefited from the racketeering by making use of OSDI in its internal tools,
                    which gave it a head start on interoperability. [T23]

2344.               MoveOn is the largest funder of The Movement Cooperative, which controls Parsons.
                    Parsons serves as a universal adapter for platforms and political CRMs. But for the rack-
                    eteering, the primary appeal of Parsons would not be present.

        V.F.2.a.4      Sonya Reynolds/Colibri

2345.               Colibri joined OSDI in 2017. Around the same time as Plaintiff was pitched by Dimitri
                    Mehlhorn in summer 2017, Josh Nussbaum, the founder of The Movement Cooperative
                    (TMC) contacted Plaintiff, seeking to discuss his plans. While serving as Chair of OSDI,
                    Sonya led a proposal to set the end time of officer positions to January 31, 2019. At the
                    same time as she resigned, she began employment at TMC.

2346.               TMC benefited from the racketeering because its Parson synchronizer project gained
                    the artificial inefficiency that wouldn't be possible, but for the destruction of OSDI and
                    its external network effect.

        V.F.2.a.5      DNC

2347.               The DNC has a history of using control over essential resources for candidates running
                    for election in order to give its incumbent or otherwise favored candidates an unfair
                    advantage.

2348.               During the Data War, Reid Hoffman's Alloy Voter File project was also an external
                    network effect because it would provide its services without party control. According to
                    Politico, on 12/10/18, "The DNC s top leaders have been telling people that Hoffman s
                    project represents an existential threat" to the party, according to two sources with
                    knowledge of the discussions." [583?]

2349.               OSDI functioned as an external network effect, and from the application ecosystem
                    point of view, would represent the same kind of threat.

2350.               But for the racketeering and extortion that it participated in, application ecosystems
                    would not be an economy of scale that could be controlled to serve that purpose.

        V.F.2.a.6      Higher Ground Labs

2351.               Higher Ground Labs had motive to use OSDI to give its portfolio companies a head
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                    start, which it did. The portfolio companies that benefited from OSDI include
                    New/Mode, Mobilize, and Bluelink.

2352.               In August 2017, Dimitri Mehlhorn, Hoffman's political director, met with Plaintiff [D672]
                    proposing to fund OSDI to be used according to a vision he shared with Plaintiff. The vi-
                    sion was similar to the paper Dimitri had co-authored at Harvard [D1867] The vision re-
                    sembled a platform that served as a universal adapter.

2353.               Higher Ground Labs has motive to conceal its actions from its funder, Reid Hoffman.


2354.                       News          07/05/17 "Reid Hoffman and Mark Pincus have a plan to
                       crowdsource politics." [D677]

2355.                           Silicon Valley Business Journal [D677]
                           LinkedIn cofounder Reid Hoffman and Zynga cofounder Mark Pincus are putting
                           $500,000 into a new political organization that hopes to defeat Republicans in 2018
                           and 2020, and steer the Democratic Party toward policies that are "pro-social, pro-
                           planet and pro-business."

2356.                           Mark Pincus, Win The Future [D677]
                           Create a digital ROTC. Offer every american an engineering degree #WTFAgenda
                           #FreeEngineeringDegrees

2357.                           M. Pincus [D677]
                           "We can't wait until elections to fight for what we care about," Pincus wrote this
                           week. "We can't hope for a benevolent leader who may choose to listen to us. We
                           need to create a modern people's lobby and choose our own leaders. We need to
                           get organized. We need a network that lets the best ideas and leaders rise to the top
                           through an open, inclusive democratic process."
        V.F.2.a.7      Ragtag

2358.               RagTag's leader, Brady Kriss introduced Plaintiff to Reid Hoffman's political director,
                    Dimitri Mehlhorn in July 2017 [D672], stating "I personally think it would be rad to get
                    some funding into OSDI itself, or to get some funding for Ragtag to manage people to
                    work on OSDI stuff, or something along those lines."

2359.               RagTag evolved from Dev Progress, the volunteer developer team for Hillary for
                    America and the DNC during the 2016 election, where Gerard Niemira worked.

        V.F.2.a.8      Kevin Jennings

2360.               When Jennings joined the conspiracy on or before the DNC 2016 convention, he was
                    Executive Director of the Arcus Foundation, one of two dominant funders of the gay
                    rights movement. Jennings and Dimitri Mehlhorn are Harvard alumni. Gay rights organi-
                    zations are political entities that depend on donations for their operations.

2361.               Helping to destroy an external network effect which benefited political organizations
                    like the DNC, AFL-CIO, MoveOn.org, would be useful for political advancement.

2362.               As a fundraiser, he could benefit by helping Dimitri Mehlhorn, HGL, and others
                    misappropriate OSDI.

2363.               Jennings served as a Deputy Undersecretary in President Obama's administration.
                    Higher Ground Labs was founded by Obama veterans, and thus Jennings could benefit
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                    by helping the cohort.

2364.               On October 7, 2019, Lambda Legal announced that Kevin Jennings became CEO of
                    Lambda Legal.

        V.F.2.a.9      Broadstripes

2365.               Broadstripes main customer based is labor customers. According to Tim Holo-
                    han/Broadstripes, the company had been the victim of retaliation at the hands of the
                    AFL-CIO due to its support of a candidate disfavored by the AFL-CIO. [T20]

        V.F.2.a.10 Netroots Nation / DailyKOS

2366.               Had the early racketeering in 2014 succeeded Netroots Nation would have gained a
                    share of control over Action Network and AFL-CIO's proprietary ecosystem by misap-
                    propriating OSDI.

2367.               Since that failed, Netroots Nation had motive to participate in the racketeering and
                    extortion to misappropriate OSDI.

2368.               Netroots Nation gained a share of dominant control of the Action Squared platform as
                    a keystone partner.

2369.               Netroots Nation also gained a seat on the advisory board for Higher Ground Labs.

2370.               An essential component of Defendants' schemes was concealing the misappropriation
                    and wire fraud to fabricate false origin stories for the misappropriated IP. Both occurred
                    during sessions at Netroots Nation 2017, 2018, 2019, 2020.

2371.               Therefore, Netroots Nation had motive to participate in the use of false accusations to
                    justify excluding Plaintiff from those events.

        V.F.2.a.11 Gerard Niemira / Lightrail / Bluelink

2372.               Gerard Niemira sought and received venture capital for GroundBase as part of Higher
                    Ground Labs initial cohort in 2017.

2373.               He and his team then began building a series of applications, all of which failed,
                    except Lightrail. Lightrail exploited OSDI's application ecosystem and essential IP.

        V.F.2.a.12 Common Motives
        V.F.2.a.12.1 The Motive for coercion

2374.               The Campaign participants who participated in OSDI knew that the mission of OSDI was
                    an external network effect.

2375.               At any point, the Campaign participants could have made a motion to remove Plaintiff
                    and secured a majority vote to remove Plaintiff from his position or the project, which
                    they never did. Plaintiff would have accepted that because it would have preserved
                    the external network effect as well as his property rights.

2376.               However, that would not have allowed Defendants to achieve the outcome that they
                    did.

2377.               Defendants needed to destroy the external network effect in order to misappropriate
                    the economy of scale for their proprietary benefit.
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2378.         They also needed to violate Plaintiff's property rights in order to misappropriate and
              launder the proceeds into proprietary walled gardens, which they knew Plaintiff would
              never agree to.

2379.         Plaintiff refused to go along with that when Action Network attempted to undermine
              the project in 2014, described in Early Racketeering. He refused Dimitri Mehlhorn's similar
              pitch in 2017.

2380.         As a result, they needed to coerce Plaintiff, so they could portray the IP and project as
              abandoned, and themselves as picking up abandoned work.

        V.F.2.b   Evidence of Conspiracy

2381.         In April 2018, after the Order of Discontinuance for Cohen v. Swirling, Brian Young
              arranged a meeting with Plaintiff, demanding that Plaintiff resign. Young stated that he
              was speaking on behalf of the DNC, MoveOn and AFL-CIO.

2382.         Plaintiff insisted that Action Network keep its commitment to democracy. Eg, if they
              wanted to remove Plaintiff, they would need to make a motion and take a vote.

2383.         On 5/30/2018, Plaintiff and Jason Rosenbaum/Action Network met via telephone.
              Rosenbaum also attempted to coerce Plaintiff to resign, which Plaintiff refused.

2384.         Plaintiff asked Rosenbaum to confirm that Action Network was speaking on behalf of
              others.


2385.                   Audio      05/30/18       2018-05-30 11:11pm "Telephone Call Jason Rosenbaum,
                  Josh Cohen" [T23]        My Recording;       Jason;     Josh

2386.         Jason also confirmed the conspiracy. Plaintiff stated:

2387.                     Josh    +31:00 [T23]
                        Brian claimed that Action Network is also speaking on behalf of the DNC, MoveOn,
                        maybe some others.

2388.         Jason Rosenbaum responded:

2389.                     Jason    +31:00 [T23]
                        A few organizations have called him to express their positions, so he's relaying that in-
                        formation. That's true. Yeah. We did not call them.

2390.         During Cohen v. Swirling, on 2/12/2018 Defendant filed a Letter Motion to Dismiss and
              posted the tweetstorm simultaneously. Via email, Adriel Hampton stated to Plaintiff that
              there was an organized campaign to repudiate Plaintiff due to the occurrence of the
              complaint.


2391.                    Email Subject           02/12/18     2018-02-12 1:24pm "Please remove me from
                  http://opensupporter.org/leadership/" [D5*]        Chuck Hagenbuch

2392.                     Adriel Hampton         7:30p [D5]
                        There is an organized campaign to get OSDI affiliates to repudiate you - a former
                        colleague contacted me asking me to call for your ouster as chair. I told her basical-
                        ly what your letter says and that when two people are accusing each other of harm-
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                            ful actions and asking their friends to support their version, the courts are a decent
                            place to hash that out.

2393.               Plaintiff later followed up with Adriel Hampton via phone, asking him to elaborate on
                    the organized campaign. Plaintiff memorialized Adriel's description in email and asked
                    him to confirm it, which he did.


2394.                     Email Subject          10/19/18     2018-10-19 10:00am "could you document" [D4]      Josh
                        Cohen

2395.                            Josh Cohen     10:00a [D4]
                            could you commit to email a description of the bullying behavior you experienced?
                            Here's what I recall, could you edit/clarify/confirm?
                            A female friend X of Robyn's contacted this OSDI member by phone. X told the
                            member that they needed to either kick Josh out of OSDI or resign from OSDI them-
                            selves. X also said that if this member didn't go along, "it would not be forgotten",
                            which was received by the member to be a threat of retaliation.
                            When this member told X that Josh's actions were to confront discriminatory behav-
                            ior, and that he is also a victim of sexual misconduct seeking to avoid retaliation, X
                            replied that they didn't care.

2396.                            Adriel Hampton      11:37a [D4]
                            That's accurate, except it was Facebook Messenger, not phone.

2397.               tim "other people"

2398.               At the end of the racketeering to operate phase, Plaintiff was unwilling to vote for
                    proposals such as deleting the master branch or consolidation of power by RagTag.
                    The proxies Broadstripes, RagTag and Colibri resigned their positions.

2399.               On 2/01/2019, Plaintiff met with Tim Holohan/Broadstripes via telephone. Holohan told
                    Plaintiff:


2400.                      Phone        02/01/19     2019-02-01 "OSDI 1:1 with Tim" [T20]

2401.                            Tim   1:05a [T20]
                            you are now at a parting of the ways with people who are more important than me,
                            people less willing to talk to you about it.

2402.               Plaintiff was at a parting of ways after he refused to agree to proposal that would
                    facilitate the outcomes Defendants achieved. Plaintiff does not know who Holohan
                    was referring to or how powerful they are.

        V.F.2.c        Parallel Conduct
        V.F.2.c.1      Beginning of OSDI

2403.               During the early racketeering, Woodhull, Action Network, Broadstripes (proxy for AFL-
                    CIO), and Netroots Nation prepare to gain control of OSDI in summer 2014.

2404.               Plaintiff was referred to Nathan Woodhull by VC New Media Ventures in 2012. The
                    project kickoff occurred at RootsCamp in November 2012, and committee meetings
                    commenced in 2013. In July 2013, Plaintiff began drafting OSDI's governance policy,
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                    which included the "progressive keel", which was approved by vote on 8/1/2013.
                    [D239?] This was subsequently exploited as a vulnerability in an attempt by Action Net-
                    work to undermine the project and gain control.

           •        7/22/2013 Nathan Woodhull discusses with Plaintiff the library of proprietary connectors he is
                    building [D648]

           •        8/01/2013 OSDI's governance policy and "progressive keel" are approved by vote

           •        8/05/2013 Nathan Woodhull introduces Plaintiff to Nate Thames, linking ActBlue to the conspir-
                    acy [D1043]

           •        8/06/2013 Nathan Woodhull introduces Plaintiff to Zack Exley, linking MoveOn.org to the con-
                    spiracy [D624]

           •        9/07/2013 Beth Becker introduces Action Network to Plaintiff and OSDI [D1960]

           •        11/04/2013 Action Network joins OSDI [D208]

           •        12/11/2013, Via email to Plaintiff [D1991], Woodhull shares his plan to seek funding from VC
                    New Media Ventures to build a "universal adapter."

           •        4/04/2014 Action Network launches their OSDI implementation [D403]

           •        4/21/2014 Broadstripes is approved as an OSDI member [D2002]

           •        5/02/2014 Netroots Nation is approved as an OSDI member [D1962]

           •        7/02/2014 New Media Ventures partners with Netroots Nation on their yearly "New Tools
                    Shootout" beginning on or before Netroots Nation 2014. Plaintiff has email announcements
                    from Mary Rickles on 07/02/14. [D1992]

           •        7/18/2014 Netroots Nation 2014 OSDI Tech and Data Caucus occurs.

           •        8/20/2014 NGPVAN Launches their proprietary API, taking the proprietary path. [D424]

           •        8/20/2014 Action Network states its goal of becoming one of two widely used progressive APIs.

        V.F.2.c.2      Origin of Extortion and DNC Unity Reform Commission

2405.               The origin of the extortion coincides with OSDI achieving a 2x ROI due to NGPVAN's
                    implementation, and the aftermath of the Data Breach in December 2015 where the
                    Bernie Sanders campaign was locked out of NGPVAN. Access to tech as well as al-
                    leged favoritism by the DNC towards Hillary Clinton resulted in the DNC forming the Uni-
                    ty Reform Commission at the DNC 2016 Convention in Philadelphia. It was common
                    knowledge that a struggle over technology assets would ensue.

           •        9/9/2015 NGPVAN launches its OSDI implementation. This creates a 2x return on investment for
                    application integrators. [D312]

           •        Netroots Nation participated in the beginning of the extortion at Netroots Nation 2016, and the
                    follow-on Working our Values google group. Plaintiff was lured by Beth Becker [D1608], who
                    serves as a digital trainer at Netroots Nation to the session and follow on google group. Within
                    the same 24 hours, Mike Rogers [D375], leader of Netroots Nation LGBT pre-conference, insisted
                    that Plaintiff make him fiscal sponsor of OSDI.
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        •    7/23/2016 DNC creates Unity Reform Commission to address issues which arose in the 2016
             election including the data breach. The need to create the commission motivated the subse-
             quent data war. [D1481]

        •    7/25/2016 Plaintiff is added to Working Our Values Google Group [D1704]

        •    8/09/2016 Plaintiff seeks help from Kevin Jennings who schedules a meeting. [D892]

        •    8/25/2016 Swirling posts "introductions" thread with Brian Young in attendance list [D92]

        •    9/02/2016 Plaintiff's first therapy session

        •    9/14/16 a group participant stated "I contacted Mary Rickles at Netroots Nation and she di-
             rected me to their safe space policy... " and then "Here is the answer I got from Mary Rickles at
             Netroots Nation about procedures for reporting incidents" [D423]

        •    9/16/2016 Swirling threatens to publicly falsely portray Plaintiff as an example of violence and
             sexual harassment of women [D557]

        •    11/20/2016 Plaintiff attempts dialog to de-escalate the conflict and walks into ambush at
             Rootscamp 2016 where Swirling announces "A man has entered the room who has engaged in
             repeated violence, persistent harassment and invaded our spaces" [D44]

        •    11/20/2016 With Plaintiff absent from the OSDI session, a secondary attack took place to gain
             control of the OSDI project, claiming that Plaintiff had been banned from Rootscamp. [D1441]

        •    1/24/2017 Kevin Jennings cancels meeting with Plaintiff [D1340]

        •    4/30/2017 Plaintiff counsel begins negotiation with Wellstone and resolves conflict on May 11th.
             [D323]

        •    5/04/2017 RagTag joins OSDI [D1999] RagTag would serve as a proxy for Higher Ground Labs
             5/09/2017 Sonya Reynolds/Colibri joins OSDI [D1998] Colibri would serve as a proxy for The
             Movement Cooperative

2406.        The following diagram shows a timeline of the parallel conduct.
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                                                         Parallel Conduct


        V.F.2.c.3      Racketeering to Operate

2407.               The Campaign's racketeering conspiracy to operate OSDI from February 2018 to
                    February 2019 takes place on the back stage. In parallel, the Data War takes place on
                    the front stage.

        V.F.2.c.3.1     Front Stage

2408.               August 23-25 2018, DNC Summer Meetings in Chicago [D1990]

           •        12/06/2018 Politico reports "We have a crisis: Democrats at war over trove of voter data" [D581]

           •        12/10/2018 Politico reports "LinkedIn co-founder backs $35 million voter data project in 'existen-
                    tial threat' to Democratic Party" [D583] which was named "Alloy."

           •        12/16/2018 Politico reports that DNC Chair Tom Perez "threatened to cut off access to cam-
                    paign tech tools like VoteBuilder, an online organizing platform, if state parties go forward with
                    their plan" referring to Reid Hoffman's Alloy. The state parties "would have to find a replace-
                    ment for VoteBuilder either building or buying as the DNC has sole rights to the platform..."
                    [D1283]

           •        01/17/2019 Acronym acquired Groundbase [D1571] and renamed it "Shadow"

           •        According to news site "grayzone", Acronym was also funded by Reid Hoffman, and helped to
                    create Courier Newsroom, which evolved from experiments including the Alabama disinfor-
                    mation campaigns. [D1498]

           •        01/17/19 Shadow publishes blog post [D1311] "Introducing The Shadow Party" which outlines
                    what would become Lightrail.
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           •     2/3/2019 Burlington press reports "Howard Dean to head new Democratic voter data ex-
                 change" [D588]

        V.F.2.c.3.2   Back Stage

           •     8/01/2018 Proxies Colibri and RagTag set OSDI Officer terms to end January 31, 2019, which co-
                 incide with DNC Winter Meetings. [D490]

           •     9/09/2018 Proxies begin referring to OSDI as OpenSupporter, and install "StaleBot" which auto-
                 matically closes issues, creating the appearance of inactivity. [D695]

           •     12/19/2018 Ragtag proposes GitHub Pull Request "Adding Gemfile" which contains superfluous
                 commits, fraudulently creating the appearance that RagTag was a significant contributor to
                 the project. [D679]

           •     12/19/2018 During committee meeting, RagTag proposes "To reduce confusion, can we re-
                 move the master branch?" This would delete the underlying work, Plaintiff's contributions and
                 misrepresent the authorship of the OSDI Spec. [D658]

           •     1/15/2019 Proxies conduct review and update of OSDI's Governance policy attempting to al-
                 low "sublicensing" and consolidating officer positions [D1249]

           •     1/16/2019 Proxy Colibri/Sonya Reynolds states "2019 is going to be a big year and brings a lot of
                 opportunity for wider adoption of the shared spec!" [D657]

           •     1/25/2019 Proxies Colibri, RagTag and Broadstripes resign their governance positions, state that
                 they will continue to participate in technical committee meetings, but instead break contact.
                 [D369]

           •     In February 2019, Sonya Reynolds begins employment at The Movement Cooperative. [D1997]

2409.            The following diagram shows a timeline of the parallel conduct comparing front stage
                 Data War activity with back stage racketeering to operate OSDI.




                                                     Parallel Conduct
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        V.F.2.c.4      Netroots Nation 2019
        V.F.2.c.4.1     Front Stage

2410.                       7/   /                                  "    ’        G        H               HY
                    EVERY DEPARTMENT SHOULD BE USING DIGITAL TOOLS..." led by Gerard Niemira.

2411.               7/11/2019 Netroots Nation 2019 session "This Is How We Win: A First Look at Action
                    Builder" Action Builder is released on or before this date. [D1759]

2412.               7/12/2019 Netroots Nation 2019 session "TECH FOR THE MOVEMENT, NOT THE BILLION-
                    AIRES" [D493] This session was led by Brian Young/Action Network, Ann Lewis/MoveOn,
                    Josh Nussbaum/The Movement Cooperative campaign hosted at Netroots Nation
                    2019.

2413.               D1199 07/17/19 Gerard Niemira announces Lightrail's release during Netroots Nation
                    2019 "Last week we launched Lightrail and Shadow Messaging. Learn more about why
                    we built a universal adapter for political data and technology" [D1651]

        V.F.2.c.4.2     Back Stage

2414.               On 6/24/2019, Plaintiff received a notification that his registration to Netroots Nation
                    2019 was cancelled and refunded. [D103]

2415.               On 7/11/2019 Plaintiff attempts to register on-site for Netroots Nation 2019 and is
                    refused. Plaintiff asked to talk with the leaders to understand why, but was refused.
                    Staffers coerce the police to remove Plaintiff from the public lobby even though he was
                    not creating a disturbance, thus preventing Plaintiff from discovery. On 7/13/19 Plaintiff
                    is terrorized on sidewalk outside Netroots Nation 2019 with "Josh Cohen sexually harasses
                    women..." Witness Affidavit [D164] "Oh, I know who you are. You re Josh Cohen. You
                    sexually harass women. He kept repeating the statement: Josh Cohen sexually harasses
                    women."

2416.               On 7/16/2019 Skyler Duveen/MoveOn.org praises Plaintiff's source code contribution to
                    MoveOn Spoke implementing an OSDI connector ""This PR creates a fantastic external
                    API that will help other programs interface with Spoke -- it's breadth is excellent" and
                    encourage Plaintiff to continue the work, which Plaintiff did. MoveOn was actively mis-
                    leading Plaintiff. [D386]




                                                         Parallel Conduct
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V.F.2.d        Endgame
V.F.2.d.1      Front Stage

  •         On 3/11/2020 Via the web, Action Squared announces vertical agreement with DNC and adds
            DNC as a development partner. [D499]

  •         On 12/02/2020, Action Network announces its Partner Integration Program, treating OSDI as its
            proprietary API and ecosystem. This was just over the 4 year statute of limitations for the am-
            bush at Rootscamp 2016 where Swirling announced to a room "A man had entered the room
            who has engaged in repeated violence and persistent harassment of women...", which was
            the basis of the claim in Cohen v. Swirling. [D449]

  •         January 2021 According to LinkedIn, Gerard Niemira begins employment at PDI serving as
            Chief Product Officer. [D1377]

  •         February 2021 According to LinkedIn, Chris Goddard begins employment at PDI serving as Sen-
            ior Product Manager. [D534]

  •         05/11/21 Civitech announces that it acquired Alloy, Reid Hoffman's voter file project. [D1979]

  •         06/21/21 Higher Ground Labs announces their 2021 cohort including Bluelink. [D1335]

  •         06/22/21 Via the web, Action Network announces the merging of products Action Network
            and Action Builder, continuing its platform disintermediation play. "At Action Network amp; Ac-
            tion Builder, we re uniting the two into a seamless powerbuilding model" [D830]

  •         08/12/21 Bluelink's infringement becomes discoverable. [D1252]

  •         01/12/22 Reported by Axios, Civitech raises $10 million in funding from Higher Ground Labs.
            [D1961]

  •         2/25/2022 The last archived web page of PDI's BlueVote Integrations page shows only 2 inte-
            grations, ThruText and Organizer. [D488] Had PDI been able to implement OSDI, it would have
            competed at the level of the market. It would have had compatibility with the applications
            listed above.

  •         02/23/22 Via web, Action Builder launches its API stating "We built the API in collaboration with
            the AFL-CIO and organizers on the ground." which is false. Action Builder's API was largely built
            by Plaintiff. [D1767]

  •         May 2022 According to LinkedIn Chris Goddard leaves PDI. [D534]

  •         June 2022 According to Linkedin, Gerard Niemira leaves PDI and joins Higher Ground Labs as
            "Managing Director, Fund IV" [D1377]

  •         06/17/22 Civitech acquires Bluelink. [D1562]

  •         08/16/22 Nathan Woodhull posted on Twitter that he was "Launching something new! Daisy-
            chain is an organizing platform that integrates the political tech stack". Woodhull founded Dai-
            syChain with Jon Warnow. [D1907]

  •         07/06/23 As Higher Ground Labs Managing Director Gerard Niemira announces its 2023 cohort
            including DaisyChain [D1949]
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        V.F.2.d.2      Back Stage

          •         12/03/20 Chris Goddard, Data Engineering and Reporting Director at the DCCC emails Plaintiff
                    asking "I would really love the opportunity to talk to you about your experience in creating
                    [OSDI]" [D391]

          •         1/11/2021 An issue is opened on OSDI's GitHub repository, where Jason Rosenbaum states "this
                    project is somewhat defunct" [D532]

          •         2/8/2021 The GitHub conversation continues, with Joe McLaughlin stating "Unless and until you
                    make a clean break from the OSDI project and the organization, such as it exists now, and I'm
                    not sure that it does exist, I have little reason to believe that any additional organizations will
                    implement any of the OSDI spec." [D531]




                                                          Parallel Conduct


        V.F.3          Plaintiff's Antitrust Standing

        V.F.3.a        Defendants' Conduct Affects Competition in Genera

2417.               As described in the Anticompetitive Effects section of this complaint, Defendants
                    conduct affects competition within the market.

        V.F.3.b        Plaintiff's Antitrust Injuries

2418.               Plaintiff's antitrust injury arises from the fact that the outcomes Defendant's achieved
                    required misappropriation of Plaintiff's IP in the form of copyright authorship and the
                    application ecosystem, which is an economy of scale largely built by Plaintiff's labor
                    and evangelism.

2419.               The API's for Action Squared and Civitech's are OSDI disguised as their own APIs. The
                    head start they gained is largely the result of Plaintiff's labor, intellectual property, and
                    evangelism.

2420.               Defendants also fraudulently induced Plaintiff's labor from the outset of the project, by
                    agreeing to terms to build an external network effect. Plaintiff would not have per-
                    formed the labor, or funded it by liquidating assets in his retirement savings.

        V.F.3.b.1      Intellectual Property Damage

2421.               The effect of Campaign's racketeering activity included the destruction of OSDI's
                    External Network Effect and misappropriating the Intellectual Property, including copy-
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                    right authorship aka OSDI IP and laundering it into proprietary API's including products
                    Action Network, Action Builder and Civitech, which are proprietary, similar but incom-
                    patible "forks" of OSDI.

2422.               The Campaign beginning with Nathan Woodhull and Action Network fraudulently
                    induced Plaintiff's labor by agreeing to terms, telling Plaintiff what he needed to hear,
                    while concealing facts that would have led Plaintiff to discover their use of the OSDI IP
                    as their own. To fund his time and labor, Plaintiff liquidated assets in his retirement sav-
                    ings. The majority were shares of Microsoft stock he had earned from his work at Mi-
                    crosoft. Given the probable rise in stock price, which did occur, Plaintiff knew he was
                    "leaving money on the table", however, he believed that creating an External Network
                    Effect was a good cause that helped everyone as much as it helped himself.

2423.               But for this deception, Plaintiff would not have continued to liquidate assets in his
                    retirement savings to fund his performance the labor that was creating the OSDI IP and
                    the value that was misappropriated.

        V.F.3.b.2      Fraudulent Inducement

2424.               Defendants were fraudulently inducing Plaintiff's labor from the outset of the project
                    (Nathan Woodhull), and when Action Network joined in November 2013 (Jason Rosen-
                    baum, Director of Technology)

2425.               After a series of increasingly complex schemes through 2016 failed to undermine the
                    project, with the looming Data War, Defendants escalated to extortion.

        V.F.3.b.3      Extortion Injuries

2426.               Defendants engineered an extortion scheme that endangered Plaintiff's business
                    property and safety, creating an intolerable and dangerous situation to facilitate coer-
                    cion, which began in mid 2016. This has a damaging effect on Plaintiff's mental health
                    as well, which required therapy. This healthcare began in August 2016, which coincides
                    with the beginning of the extortion, with at least 38 sessions throughout the scheme.

        V.F.3.c        Defendants Conspiracies are Open Ended

2427.               But for Defendants' unlawful conduct, the outcomes they achieved would not be
                    possible because they require the destruction of OSDI and it's external effect.

2428.               As demonstrated above, Defendants were only able to stop the external network
                    effect by gaining control of the project using racketeering and extortion because they
                    couldn't compete fairly with Plaintiff.

2429.               But for Defendants' actions to exclude Plaintiff from conferences and other industry
                    spaces, they would not be able to prevent the external network effect from returning.


                                                          VI CLAIMS

        VI.A           Count 1 Copyright Infringement

2430.               Title 18 2319 against Action Network and Action Builder
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2431.           By Defendant's actions alleged above, products Action Builder and Action Network has
                infringed and will continue to infringe upon Plaintiff's contributions to the OSDI specifica-
                tion, registrations Txu 2-249-951 and TX0009315996.

2432.           Defendant's infringement is willful, and have realized unjust profits, gains and
                advantages as a proximate result of its infringement.

2433.           Plaintiff, as well as other market participants suffer and will continue to suffer monetary
                loss, barriers to fair competition as a direct and proximate result of Defendants actions.

2434.           Plaintiff seeks declarative judgement on copyright authorship. Specifically, Action
                Network and Action Builder may not refer to the work as their proprietary APIs.

2435.           Plaintiff seeks injunctive relief, preventing Defendants from continuing their infringing
                use.

2436.           Plaintiff seeks monetary damages for infringing use.


        VI.B        Count 2 RICO 1962(a)

2437.           Title 18, 1962(a), 3551 Conspiracy, 2319 Copyright Infringement, 1343 Wire Fraud, 1951
                Extortion.

2438.           The allegations of preceding paragraphs are incorporated herein by reference. This
                Count is against Defendants Nathan Woodhull, Action Network, AFL-CIO (the
                “                 ”.

2439.           Action Squared is an enterprise engaged in and whose activities affect interstate
                commerce.

2440.           The culpable persons are Nathan Woodhull, AFL-CIO and Action Network.

2441.           The c2Defendants used and invested income that was derived from a pattern of
                racketeering activity in an interstate enterprise. Specifically:

2442.           From the outset of the OSDI Project, which was founded after the 2012 election,
                c2Defendants agreed to a democratically governed external network effect.

2443.           c2Defendants engaged in a pattern of wire fraud to fraudulently exploit Plaintiff's labor,
                proficiency and retirement savings to create valuable intellectual property in the form
                of Copyright Authorship of an API specification, and an economy of scale in the form of
                compliant applications.

2444.           In parallel, c2Defendants engaged in Wire Fraud to misrepresent the authorship and
                pass it off as the work of Action Network.

2445.                             Jason Rosenbaum/Action Network: Predicate acts of Wire Fraud to
                conceal DMCA 1201 Violations by Jason Rosenbaum/Action Network. Plaintiff is the au-
                thor of Person Signup Helper. Rosenbaum copies and pastes the authorship in to a new
                file and labels it "first draft".


2446.                   Github       02/17/15       2015-02-17 12:45pm "introduction update opensupport-
                    er/osdi-docs@4660ed9,introduction                 update        opensupporter/osdi-
                    docs@4660ed9 GitHub" [D1983]   GitHub
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2447.           Github     12/31/14 2014-12-31 11:59am "person signup helper first draft
             opensupporter/osdi-docs@8a50587,person signup helper first draft opensup-
             porter/osdi-docs@8a50587 GitHub" [D1964] GitHub

2448.    Knowing that there would be a Data War after the 2016 election, in 2016, c2Defendants
         escalated to a Conspiracy to commit Robbery by Extortion and Abuse of Process and
         Litigation Privilege.

2449.                                                                   Nathan Woodhull: On 2/12/2018,
         via Email, Nathan Woodhull furthers the conspiracy to commit Robbery by Extortion by
         continuing the false portrayal of Plaintiff as a presumably heteronormative male who
         engaged in sexual harassment of women. He also acknowledges and justifies decep-
         tion used in Abuse of Litigation privilege tweetstorm.


2450.           Email Subject       02/12/18    2018-02-12 10:42pm "An Important update" [D1048]
             Joshco

2451.              Nathan Woodhull        2018-02-14 12:31pm [D1048]
                I get that whatever happened must have felt incredibly hurtful and personally dam-
                aging to take the steps you have but surely there are more constructive ways to re-
                solve things? I know we're not close but hope you take this as intended, as heartfelt
                advice from an acquaintance who cares about you and OSDI, etc

2452.              N. Woodhull      1:41p [D1048]
                Of course she's not being fair, you're suing her. At this point you're never going to get
                the outcomes you want pursuing this strategy is all I'm saying even if you feel boxed
                in and

2453.                  On 2/20/2018, Jeff Mann/AFL-CIO along with Martha Grant/Action Network
         and others used the AFL-CIO's monopsony power to coerce other OSDI participants to
         either vote Plaintiff out of his position, or help destroy the project by leaving. See section
         "Coercion 2/20" in Violations, Robbery by Extortion.


2454.            Email Subject       02/20/18       2018-02-20 9:30am "[osdi-gov] Resigning from OSDI"
             [D1436]   List governance,     Martha Grant

2455.    Defendants broke contact in early 2020 and concealed their schemes to invest the
         proceeds into their enterprises.

2456.                    Nathan Woodhull: On 6/2/2020, Nathan Woodhull posts a message to to
         OSDI Slack, which continues to falsely portray OSDI as the Action Network REST API, thus
         furthering the conspiracy to invest proceeds.


2457.           Chat     12/07/20     2020-12-07 5:27am "OSDI Slack" [D547]

2458.    Woodhull's library can be found at:


2459.           Github    05/06/20      2020-05-06 "GitHub - controlshift/action-network-rest: Ruby
             client for interacting with the ActionNetwork REST API" [D303]          GitHub

2460.             Nathan Woodhull, Control Shift        12:00a [D303]
                ActionNetworkRest Gem: Ruby client for interacting with the ActionNetwork REST API
                from the engineering team at ControlShift.
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2461.                                                       On 11/23/2020 Via its website, Action Network
         announced its Integration Partnerships Program, which treats the OSDI IP as its own.


2462.          Web Page    12/02/20 "Integrating your platform with Action Network is now
            easier than ever,Integrating your platform with Action Network is now easier
            than ever | by Amy Chin-Lai | Powering Progressive Movements | Medium"
            [D449]     Medium

2463.                        Action Network: Between July and September 2020, Jeff Mann/AFL-CIO
         made a series of commits to MoveOn Spoke which furthered the conspiracy to remove
         the external network effect and replace it with proprietary connectors to facilitate
         walled gardens and gatekeeper powers.


2464.          Github         09/14/20      2020-09-14 1:22pm "Move Action Network handler to extensions
            folder MoveOnOrg Spoke 6a0e69f" [D1977]


2465.          Github          07/29/20       2020-07-29 5:19pm "Fix VAN action handler with warehouse
            loader MoveOnOrg Spoke d438e11" [D1976]


2466.          Github         07/29/20      5:19p "VAN input type is optional MoveOnOrg Spoke bc2a52c"
            [D1975]


2467.           Github         09/24/23       2023-09-24 7:25pm "Update ngpvan extensions to look for
            encrypted key MoveOnOrg Spoke 92e2a81" [D1974]

2468.                   Jason Rosenbaum/Action Network: During a telephone call with Jason
         Rosenbaum on 5/30/2018, Rosenbaum acknowledges that the tweetstorm on
         2/12/2018 was fraud. Rosenbaum then attempts to coerce Plaintiff to resign by citing
         the unjust harm done to the project and to Plaintiff's reputation.


2469.           Audio         05/30/18        2018-05-30 11:11pm "Telephone Call Jason Rosenbaum,
            Josh Cohen" [T23]         My Recording;       Jason;     Josh

2470.    Jason Rosenbaum concedes that Plaintiff's behavior was within norms and that the
         unjustly harmful accusation that Plaintiff harassed Rosenbaum's former employee was
         false.

2471.                Josh    +11:00 [T23]
               To the extent I am guilty of anything it is unruly and disobedient behavior on a group
               in September 2016, and mostly silent protest for about a minute in a conference ses-
               sion (November 2016) I just two things completely within the norms of the community.

2472.                Jason     +11:00 [T23]
               I agree... It's not about the merits.

2473.                Josh    +11:00 [T23]
               Harassing her over a period of time, No.

2474.                Jason     +11:00 [T23]
               Again, it's not about the merits. I agree... I agree... It's not about the merits.

2475.                Josh    +11:00 [T23]
               Yeah, it is about the merits
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2476.    Rosenbaum then uses the unjust harm to attempt to coerce Plaintiff to resign.

2477.              Jason     +17:06 [T23]
                I would hope that at this point when you've seen what happened to the organiza-
                tion you clearly care about, you would put it first and take that step back.

2478.              Jason     +41:51 [T23]
                Going forward, you have a reputation in the community and you are unable to do
                the work of chairman...

2479.                       Jason Rosenbaum/Action Network: During the conversation on the
         GitHub issue opened on 1/11/21, Rosenbaum states the project is "defunct" and states
         "here's been no updates in years, I don't think the committees still meet, etc...". This fur-
         thers the conspiracy by concealing the fact that the current state of the project is due
         to racketeering activity and extortion by Action Network and its co-conspirators.


2480.           Github       01/11/21       2021-01-11 "Response to PUT on api.opensupporter.org *
             Issue #338 * opensupporter/osdi-docs" [D532]         GitHub

2481.              J Ro    3:13p [D532]
                Hi there, this project is somewhat defunct, and there is no demo server to test
                against. That said, there's already a lot of Civi work that's been done that you prob-
                ably should start with: civicrm.org/extensions/civicrm-osdi-contact-sync

2482.              J. Ro    7:07p [D532]
                I mean, check out this repo, there's been no updates in years, I don't think the com-
                mittees still meet, etc...

2483.                                       Action Network: Copyright Infringement 2319 as described
         in Count 1 against Action Network and Action Builder products.

2484.                      Action Network: In a blog post dated 2022-01-19, Action Network's Jeff
         Dugas states "We developed the ActBlue sync with our Development Partners at the
         DNC". The ActBlue sync was an OSDI based sync. Since then, ActBlue and Action Net-
         work have added proprietary extensions. This furthers the conspiracy by covering up
         the true origin, which was OSDI.

2485.              Jeff Dugas, Action Network [D1302]
                We developed the ActBlue sync with our Development Partners at the DNC to help
                Action Network partners raise more money on ActBlue than ever before.

2486.                      Action Network: 02/23/22 Via web, Action Builder launches its API stating
         "We built the API in collaboration with the AFL-CIO and organizers on the ground."
         which is false. [D1767] Action Builder's API specification is disguised OSDI and was large-
         ly built by Plaintiff. [D1764]


2487.            News    02/23/22 "Introducing the Action Builder API,Introducing the Action
             Builder API | by Amy Chin-Lai | Powering Progressive Movements | Medium"
             [D1767]      Medium

2488.              Amy ChinLai,httpsmediumcomamychinlai, theactionnet [D1767]
               Case 1:23-cv-10359-JPC-GWG Document 21-2 Filed 06/18/24 Page 262 of 300

                       Action Builder is the premier organizing tool for the labor movement, community or-
                       ganizations, and beyond. We built the API in collaboration with the AFL-CIO and or-
                       ganizers on the ground.


2489.                  Web Page       05/25/22 "API Documentation | Action Builder,Action Builder "
                    [D1764]


2490.                  [D1764]

                       Built by organizers, for organizers from the ground up for organizing and leadership
                       development

2491.           The racketeering activity listed above constitutes a pattern of racketeering activity
                pursuant to 18 U.S.C. § 1961(5).

2492.                                                                           ’     k
                violations of 18 U.S.C. § 1962(a), Plaintiff has been injured in their business and property
                in that:

2493.           Plaintiff's investment of labor, proficiency and retirement savings, made based on
                Defendants' agreements was for the purpose of an external network effect. Defend-
                ant's investment schemes bifurcated the standard serving as an external network effect
                and laundered it into proprietary walled gardens.

2494.           As a result, it is Defendants' investing the proceeds of their racketeering into their
                enterprise, Action Squared, that damaged the value of Plaintiff's investment.


        VI.C       Count 3 Copyright Infringement

2495.           Title 18 2319 against Defendant Civitech, which acquired Bluelink.

2496.           By Defendant's actions alleged above, products Bluelink has infringed and will continue
                to infringe upon Plaintiff's contributions to the OSDI specification, registrations Txu 2-249-
                951 and TX0009315996.

2497.           Defendant's infringement is willful, and have realized unjust profits, gains and
                advantages as a proximate result of its infringement.

2498.           Plaintiff, as well as other market participants suffer and will continue to suffer monetary
                loss, barriers to fair competition as a direct and proximate result of Defendants actions.

2499.           Plaintiff seeks declarative judgement on copyright authorship. Specifically, Bluelink may
                not refer to the work as their proprietary API.

2500.           Plaintiff seeks injunctive relief, preventing Defendants from continuing their infringing
                use.

2501.           Plaintiff seeks monetary damages for infringing use.


        VI.D       Count 4 Violation of Section I of the Sherman Act, 15 U.S.C.

2502.           Against Defendants Action Network, AFL-CIO, Civitech, Nathan Woodhull, MoveOn.org,
                Democratic National Committee, Netroots Nation aka Antitrust Defendants.

2503.           Antitrust Defendants, by and through its officers, directors, employees or other
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                representatives, entered into an unlawful agreement with their co-conspirators in re-
                straint of trade and commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. §
                1.

2504.           Antitrust Defendants engaged in racketeering conspiracies to gain control of, operate,
                and destroy a OSDI, a technology which served as an external network effect, then in-
                vest the essential intellectual property including copyright authorship and OSDI's appli-
                cation ecosystem into their own enterprises.

2505.           Antitrust Defendants unreasonably restrained trade in the following ways:

         •      Gave themselves an unfair competitive advantage and created barriers to entry for competi-
                tors, increased customer switching costs and reseller support costs, and reduced customer
                choice by misappropriating OSDI's essential IP and application ecosystem, and laundered it in-
                to proprietary application ecosystems in a manner similar to App Stores.

         •      Increased customer switching costs.

         •      Increased application developer costs.

         •      Created an artificial inefficiency in the market which favors large, well-resourced players who
                can afford duplicative work.

         •      Leveraged the artificial inefficiency to launder an external network effect into proprietary in-
                ternal network effects to create a market for "universal adapters". An analogy would if De-
                fendants coerced the laptop or smartphone market away from USB-C and back to proprietary
                connectors.

         •      Since the relevant markets constitute essential resources for candidates running for election,
                Defendants and their co-conspirators have gained gatekeeper powers over those resources
                including products and the data pipes that data flows through, allowing them to discriminate
                to deprive or degrade those for disfavored candidates.


2506.           Antitrust Defendants conspiracies affect interstate commerce.

2507.           Antitrust Defendants' conduct is a per se violation that restrains trade and harms
                competition through an unlawful agreement in violation of Section 1 of the Sherman
                Act, 15 U.S.C. § 1.

2508.           In the alternative, Defendants Agreement as described above caused significant
                anticompetitive effects that outweigh any procompetitive benefits that could not be
                achieved through less anticompetitive means, if any such benefits exist at all. For that
                reason, the agreement is a violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.


                                                 VII DAMAGES

        VII.A        Fraudulently Induced Labor

2509.           The Campaign was fraudulently inducing Plaintiff's labor from the start.
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2510.           Plaintiff's decision to lead the OSDI project and do the work was based on building an
                external network effect. In August 2013, the existing members of OSDI voted to adopt a
                governance process that would yield an external network effect.

2511.           When Action Network joined OSDI in November of 2013, and other Defendants
                subsequently joined, they agreed to terms that would yield an external network effect,
                or otherwise fraudulently induced Plaintiff's labor. But for those agreements, Plaintiff
                would not have performed the work., which he did by liquidating assets in his retirement
                savings.

2512.           Since the OSDI project work varied between part-time and near full-time, full time
                employment was not possible. As a result, Plaintiff began building a sole-proprietorship,
                building tools he could sell to customers. His ability to do this as a sole-proprietor de-
                pended on the existence of a standard API serving as an external network effect.

2513.           As Based on the agreements made, Plaintiff funded his time and labor for both the
                OSDI project and the sole-proprietorship by liquidating assets in his retirement savings.

2514.           Plaintiff's invested a similar amount in his sole-proprietorship. The viability of the product
                he built depended on the external network effect which has been destroyed. The mar-
                ket value of Plaintiff's investment to build the external network effect is at least $325,000
                dollars.

2515.           Plaintiff's losses can also be calculated by the value of the assets he liquidated from his
                retirement savings to fund the work in both OSDI and the sole-proprietorship. These
                amount to roughly $700k.


        VII.B      Plaintiff's Property Injury

2516.           The damage to Plaintiff's investment results from Defendant's destruction of OSDI's
                external network effect and laundering it into proprietary internal network effects.


        VII.C      Plaintiff's Antitrust Injury

2517.           Plaintiff's antitrust injury stems from the destruction of the external network effect.
                However, the injuries are not unique to Plaintiff. As described in Violations / Unfair Com-
                petition section of this complaint, Defendants' conduct harms competition in general.

2518.           Defendants' could not have achieved the outcomes and benefits without the
                destruction of Plaintiff's investment and property.


        VII.D      Other Injuries

2519.           Plaintiff suffered an unknown and undiscovered level of damage to his economic
                viability from the false-flag Cohen v. Swirling, false portrayals of Plaintiff as unstable or
                violent, false claims of a restraining order, false portrayals as guilty of harassment, and
                undiscovered distortions the Campaign told the community to conceal their actions
                and justify their aggression.

2520.           Plaintiff spent approximately $3000 out of pocket expenses for therapy during
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               Defendants' racketeering and extortion.


                                     VIII PRAYER FOR RELIEF
2521.          Plaintiff seeks damages of at least $650,000.

2522.          Plaintiff seeks treble damages.

2523.          Plaintiff seeks injunctive relief to prevent further infringement by Bluelink, Action Network
               and Action Builder.

2524.          Plaintiff seeks the court's help to restore the external network effect and its competitive
               benefits.

2525.          Respectfully Submitted, /s/Josh R. Cohen


                                                  IX EXHIBITS
2526.          Exhibit 1 Copyright deposit for registration TX0009315996 (Plaintiff's contributions)

2527.          Exhibit 2 Github Authorship of Core (README)

2528.          Exhibit 3 Copyright deposit for Txu 2-249-951 (Plaintiff's Underlying work)

2529.          Exhibit 4 Copyright deposit for OSDI Prototype Source code, registration TXu 2-386-143

2530.          Exhibit 5 Action Network's original implementation code, based on Plaintiff's provided
               code (Exhibit 4). (This is a ZIP file which can be provided at a later date if needed.)


                                                         X     ESI
        ID     ESI


        D4     007c01d467b4$222e9780$668bc680$[gmail.com?]


        D5     CAA3mgx9VhMKw1KZz1hh2zEpi5dyYE2mbaLQ4nq8FC0dyLhio-w@mail.gmail.com


        D6     CABX8+gKiWy88O13iebx=XDrtcbEmvXRrD7OHzHC_Du3KuST3fg@mail.gmail.com


        D15    CAF3KT4RZJ7EuLLYejNQAe0tGtGgBx-5b2wkp986xOt6GXwpqpQ@mail.gmail.com


        T23    https://www.youtube.com/watch?v=iy9jQYpJ9rY


        D28    CAAVAKc1J5Wzak8UGg9ENm2j-6wgSSjXFHyLEP3JnvXiEK8N1dQ@mail.gmail.com


        D51    https://github.com/MoveOnOrg/Spoke/pull/


        D51    http://web.archive.org/web/20201219005912/https://github.com/MoveOnOrg/Spoke/pull/127
               5
       Case 1:23-cv-10359-JPC-GWG Document 21-2 Filed 06/18/24 Page 266 of 300


ID      ESI


D55     CAATvYSZGLaOoU4PTvsX2p7Qa-yv1q5pDr2K39N=4DC2yrg7Mww@mail.gmail.com


D58     CAATvYSYF4PJ4F-aZ1Pj=Q+HwgZKVQ-+NMMXKeO6S32P_KxKzHQ@mail.gmail.com


D88     https://www.politico.com/story/2015/12/b-sanders-dnc-data-breach-217016


D88     http://web.archive.org/web/20151221203443/http://www.politico.com:80/story/2015/12/berni
        e-sanders-dnc-data-breach-217016


D90     https://www.wired.com/story/justice-demo-denied-access-party-voter-data/


D96     CAMYBpt-eD0+myxUSC-UhqOvWnLVL_j-gMdk6UkKkEJoVZ-01TA@mail.gmail.com


T105    https://youtu.be/jRhJrGbwP60


D145    C57C6C20-FF9F-4192-881C-DFD53258D449@dcn.com


T149    https://soundcloud.com/infoq-channel/ann-lewis-discusses-the-political-tech-land-moveons-
        architecture-and-scaling-c


D157    CAF3KT4SgnnesOZHET2gXL94SKhmyufjzs0EDL6EMcgaywupPNg@mail.gmail.com


T174    https://soundcloud.com/thegreatbattlefie/building-the-technology-tools-that-he-campaigns-
        win-with-the-action-network-funds-brian-young


T203    https://soundcloud.com/thegreatbattlefie/the-intersection-of-technology-and-po-with-mike-
        conlow-of-blue-state-di-episode-291


T205    https://www.npr.org/2008/11/13/96956854/-explains-the-democrats-50-state-str

D206    https://meet.lucidmeetings.com/meeting/1


D208    CAOCNiAJY7Ek1tuYzMRwsa613LgrtV6Oz+7GzqZoE8fcB-ppyug@mail.gmail.com


D219    271101d3a483$9b9c5020$d2d4f060$[gmail.com?]


D230    05b301cf39cb$8a8f5fb0$9fae1f10$[gmail.com?]


D255    3FB7403D-C6CC-41EF-8DE9-0E1E116CAAD2@actionnetwork.org


T262    https://soundcloud.com/thegreatbattlefie/integrating-and-connecting-political--data-with-
        jon-and-nathan-of-d
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ID      ESI


D303    https://github.com/controlshift/action-n-rest


D303    http://web.archive.org/web/20200720015331/https://github.com/controlshift/action-network-
        rest


D308    002201ce365a$0f670790$2e3516b0$[gmail.com?]


D308    https://groups.google.com/d/msgid/osdi-
        dev/002201ce365a%240f670790%242e3516b0%24%40gmail.com


D309    CAF3KT4RwBvKcLoNo=u25esUMpNirVs8uPMFC9wnEYViCF0QkxA@mail.gmail.com


D309    https://groups.google.com/d/msgid/osdi-
        dev/CAF3KT4RwBvKcLoNo%3Du25esUMpNirVs8uPMFC9wnEYViCF0QkxA%40mail.gmail.com


D312    D215BDCA.4B5CA%ssachs@ngpvan.com


D312    https://groups.google.com/d/msgid/osdi-
        governance/D215BDCA.4B5CA%25ssachs%40ngpvan.com


D318    CAF3KT4Qf9cfdCgkTJQhXWpPM9Ng+weWxeg3Zen0jp1OKVJ0k8A@mail.gmail.com


D323    CAMaL8ZGK+ewcGZM55VCL+u1UQYbGjS4SE7DDP3OfCyTttXUkfA@mail.gmail.com


D347    https://www.washingtonpost.com/news/the-/wp/2014/01/13/meet-the-former-mic-employee-
        who-wants-to-liberate-li-data/


D347    http://web.archive.org/web/20200607133316/https://www.washingtonpost.com/news/the-
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D365    006501d489a5$771a04b0$654e0e10$[gmail.com?]


D385    5967c330372b0_1278058040945784@ip-10-0-0-61.mail


D386    https://github.com/MoveOnOrg/Spoke/pull/


D386    http://web.archive.org/web/20201219010135/https://github.com/MoveOnOrg/Spoke/pull/116
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D390    http://opensupporter.org/progressive-tec-edge-grows-with-increased-osdi-adoptio/
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D390    http://web.archive.org/web/20161217072541/http://opensupporter.org:80/progressive-tech-
        edge-grows-with-increased-osdi-adoption/


D391    MN2PR10MB3310846CDD458AD73E58396BD6F20@MN2PR10MB3310.namprd10.prod.outlook.co
        m


D397    http://opensupporter.org/actblue-osdi-im-launches-with-dailykos/


D397    http://web.archive.org/web/20161106015750/http://opensupporter.org/actblue-osdi-
        implementation-launches-with-dailykos/


D406    CAF3KT4RUZV2cS8MeNBgN+hP8ObK+Y8FV14=dBVpq8jKi_1mc2Q@mail.gmail.com


D407    CAF3KT4Q+N=_xYFR+YE-fX=cObsw1A8sDoWJjXnJ9SEsKzFa=4g@mail.gmail.com


D417    CALT=vEye93xNx-G1-FbvNOQSAE0rTfo40WVio0=EDEzK35ciAg@mail.gmail.com


D424    https://blog.ngpvan.com/news/ngp-van-lau-innovation-platform-significant-up-tools


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D449    https://medium.com/powering-progressive-/integrating-your-platform-with-action-network-is-
        now-easier-than-ever-24ba32ce69


D449    http://web.archive.org/web/20201202175835/https://medium.com/powering-progressive-
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D452    https://help.actionnetwork.org/hc/en-us//208644666-Integrating-with-VAN-


D452    http://web.archive.org/web/20190314040938/https://help.actionnetwork.org/hc/en-
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D475    http://opensupporter.org/spoke-van-every-action-network-integration/


D475    http://web.archive.org/web/20200205205041/http://opensupporter.org:80/spoke-van-
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D482    https://schedule.sxsw.com/2015/2015/even/event_IAP36283
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D482    http://web.archive.org/web/20151120091207/http://schedule.sxsw.com:80/2015/2015/events/
        event_IAP36283


D485    MN2PR10MB3310846CDD458AD73E58396BD6F20@MN2PR10MB3310.namprd10.prod.outlook.co
        m


D488    https://web.archive.org/web/202201251658/https://bluevote.com/integrations/


D488    http://web.archive.org/web/20210225020642/https://bluevote.com/integrations/


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D493    http://web.archive.org/web/20190610012309/https://www.netrootsnation.org/nn_events/nn19
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D494    https://web.archive.org/web/202009251556/https://www.pdf-18.com/session/revers-
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D494    http://web.archive.org/web/20200809230513/https://www.pdf-18.com/session/reverse-
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D499    https://medium.com/powering-progressive-/action-network-partners-with-t-dnc-to-build-
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D499    http://web.archive.org/web/20200906170826/https://medium.com/powering-progressive-
        movements/action-network-partners-with-the-dnc-to-build-sustainable-tech-infrastructure-for-
        progressives-2f13d1e4199b


D502    https://www.netrootsnation.org/nn_events/nn20/how-nonprofit-cooperative-tech-can-help-us-
        win-up-and-down-the-ballot/


D502    http://web.archive.org/web/20200925193941/https://www.netrootsnation.org/nn_events/nn20
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D507    https://groups.google.com/d/msgid/osdi-
        dev/040801d15ebc%2405fc52e0%2411f4f8a0%24%40gmail.com


D516    CY4PR17MB195817C27D5A1F9B809F0A4DBDFA0@CY4PR17MB1958.namprd17.prod.outlook.co
        m


D517    014601d39b70$9451af20$bcf50d60$[gmail.com?]
       Case 1:23-cv-10359-JPC-GWG Document 21-2 Filed 06/18/24 Page 270 of 300


ID      ESI


D519    CAF3KT4Rsfjj9NbT6TPQnTGqDjZ7cBgdDBKnsrcc5kXw-wr5fuA@mail.gmail.com


D525    CAF3KT4Sdx5Acx2HTPHh35-tpp=0x9sqWQ4gOW74-O9Eh=6zHbw@mail.gmail.com


D531    https://github.com/opensupporter/osdi-do/issues/338


D531    http://web.archive.org/web/20210216221736/https://github.com/opensupporter/osdi-
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D532    https://github.com/opensupporter/osdi-do/issues/338


D532    http://web.archive.org/web/20210216221736/https://github.com/opensupporter/osdi-
        docs/issues/338


D534    https://www.linkedin.com/in/christopherj/


D537    CAF3KT4RG5Nt8EY+-_BuoGQUzGMRvZC_E0dHjrxE2buS-Lq2Z=A@mail.gmail.com


D557    CAEXB2CBw7mHO=NtUyRoN7kU4FWpyZa2Ey-myAcPa9dtkonzSKQ@mail.gmail.com


D562    CAC7ioS8RrVT9Q565YSB=0eetnu_y7jDCS-SJJ7K+1G_KkCg79g@mail.gmail.com


D562    https://groups.google.com/d/msgid/osdi-dev/CAC7ioS8RrVT9Q565YSB%3D0eetnu_y7jDCS-
        SJJ7K%2B1G_KkCg79g%40mail.gmail.com


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        ocratic-national-committee-voters-data-1045995


D583    https://www.politico.com/story/2018/12/1/linkedin-reid-hoffman-dnc-voter-data-1


D583    http://web.archive.org/web/20181210232253/https://www.politico.com/story/2018/12/10/linke
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D584    https://www.vox.com/recode/2020/11/23/21/alloy-democrats-shutting-down-rei-hoffman


D584    http://web.archive.org/web/20201124010945/https://www.vox.com/recode/2020/11/23/21591
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D588    https://www.burlingtonfreepress.com/stor/news/politics/elections/2019/02/13/how-dean-
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D590    https://slate.com/news-and-politics/2012/01/the-co-op-and-the-data-trust-the-dnc-and-rnc-
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D591    https://www.overtureglobal.io/story/the--power-of-political-data-trusts


D591    http://web.archive.org/web/20210210221455/https://www.overtureglobal.io/story/the-secret-
        power-of-political-data-trusts


D592    CAF3KT4QhNXnDJ98k_q+JJcEa4-JDrUXppOW5xwxR6i7v3R5kyQ@mail.gmail.com


D594    0b8701d3481e$ab3b5f10$01b21d30$[gmail.com?]


D624    FDA163BD-275E-4382-9B83-7CC5F7A42EFE@controlshiftlabs.com


D635    CAPRUj5Z_Rf+AetdH=Lr+iyvqfKPm2tQ9_Ny2oUVPpDO4i3_DSw@mail.gmail.com


D657    906A2DF4-A290-4485-8ACE-2B436FF78F6E@gmail.com

D672    CAEv7e6YRLLfcF7GgEM90k=Bgsn7+_fPUUMsTJZgrVFc-6bctAw@mail.gmail.com


D676    CAEv7e6b5QQM6MNMw0x9Rh7VOxCS27PJah+iB8XwEgQi2v2Lt=Q@mail.gmail.com
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D677    https://www.bizjournals.com/sanjose/news/2017/07/05/pincus-zynga-hoffman-linkedi-win-
        future-politics.html


D679    https://github.com/opensupporter/osdi-do/pull/324


D679    http://web.archive.org/web/20201009200909/https://github.com/opensupporter/osdi-
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D685    1a98f01ce3053$f0bb5230$d231f690$[gmail.com?]


D685    https://groups.google.com/g/osdi-dev/c/GxbZciz7dk4


D702    https://www.vox.com/2017/7/3/15904484/pi-hoffman-linkedin-zynga-clinton-win--future-
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D731    04ad01d3af40$bab777b0$30266710$[gmail.com?]


D731    https://groups.google.com/d/msgid/osdi-dev/CAC7ioS8RrVT9Q565YSB%3D0eetnu_y7jDCS-
        SJJ7K%2B1G_KkCg79g%40mail.gmail.com


D739    MWHPR04MB0512EFDD88A2AAA69C4447A4AFF40@MWHPR04MB0512.namprd04.prod.outlook.
        com


D755    https://www.progressivedatajobs.org/job-/data-technology-strategist/


D755    http://web.archive.org/web/20210329153902/https://www.progressivedatajobs.org/job-
        posting/data-technology-strategist/
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D756    https://www.opensecrets.org/campaign-
        exp/vendor?cycle=2022&vendor=Movem+Cooperative


D756    http://web.archive.org/web/20230226233451/https://www.opensecrets.org/campaign-
        expenditures/vendor?cycle=2020&vendor=Movement+Cooperative


D811    https://github.com/opensupporter/osdi-do/tree/precan


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        docs/tree/precan


D815    https://github.com/opensupporter/osdi-do/tree/nn13


D818    https://www.nytimes.com/2018/12/19/us/al-senate-roy-jones-russia.html


D818    http://web.archive.org/web/20181221011045/https://www.nytimes.com/2018/12/19/us/alaba
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D822    https://www.nytimes.com/2018/12/26/us/re-hoffman-alabama-election-disinformati.html


D830    https://medium.com/powering-progressive-/mobilizing-and-organizing-are--to-building-
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        988834ca9c64


D839    https://move-coop.github.io/parsons/html/stable/index.html


D847    https://web.archive.org/web/201507110011/http://www.netrootsnation.org/nn_even/nn-
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D847    http://web.archive.org/web/20150711001148/http://www.netrootsnation.org:80/nn_events/nn-
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D852    https://permanent.fdlp.gov/gpo145949/com.pdf


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        etition_in_digital_markets.pdf
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        _is_talking_about/


D853    http://web.archive.org/web/20151222161932/http://www.salon.com/2015/12/22/the_real_sca
        ndal_in_the_berniednc_feud_is_the_one_nobody_is_talking_about/


D876    CAAVAKc312Z7PS24wY+p+x3jrzfh4BFYJ6TQd0o3vVDrt8JLUgA@mail.gmail.com


D886    https://www.vox.com/recode/22175186/allo-drama-reid-hoffman-democratic-data-sta


D886    http://web.archive.org/web/20201215231719/https://www.vox.com/recode/22175186/alloy-
        drama-reid-hoffman-democratic-data-startup


D890    BN3PR0801MB2145F920B68D3BCBD829A2E7A8750@BN3PR0801MB2145.namprd08.prod.outlook.
        com


D892    02a101d1f246$68014040$3803c0c0$[gmail.com?]


D902    0b6801d58a92$4f2d6110$ed882330$[gmail.com?]


D949    CADxLpYua=hDJW1krjELa8152=LQ7g9neoJsu0zHRr6TjF=oaDw@mail.gmail.com


D1008 https://www.netrootsnation.org/nn_events/nn-16/living-and-working-our-values-dis-rape-
        culture-in-progressive-spa-and-ending-sexual-harassment-and-vio-at-work-voter-pick/


D1008 http://web.archive.org/web/20160626063200/http://www.netrootsnation.org:80/nn_events/nn-
        16/living-and-working-our-values-dismantling-rape-culture-in-progressive-spaces-and-ending-
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D1021 https://bwarchive.lib.lehigh.edu/?a=d&d=-01.2.22&e=-------en-20--1--tx-txIN-josh+cohen------


D1021 http://web.archive.org/web/20230226142117/https://bwarchive.lib.lehigh.edu/?a=d&d=BW19
        931210-01.2.22&e=-------en-20--1--txt-txIN-josh+cohen------


D1043 2EDBD5ED-3820-482F-82FE-C9A6BFCC6880@gmail.com


D1057 CALqa7gNJ2XAkJ3KdVcOMVnyimin9=-GKqfwv8dsR+JhJXvUHtg@mail.gmail.com

D1123 001a1135817420ba21051b7cdeef@google.com


D1147 https://www.netrootsnation.org/nn_events/nn-14/osdi-data-and-tech-caucus/
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D1148 http://web.archive.org/web/20150710234908/http://www.netrootsnation.org:80/nn_events/nn-
       15/osdi-data-and-tech-caucus-2/


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D1155 http://techpresident.com/news/22556/nati-mammoth-deal-state-level-repu-committee-sparks-
       calls-boycott


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D1180 https://www.nytimes.com/2019/01/07/us/po/alabama-senate-facebook-roy-moore.html


D1180 http://web.archive.org/web/20190107235128/https://www.nytimes.com/2019/01/07/us/politics
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D1190 https://web.archive.org/web/20230226212533/https://github.com/move-
       coop/parsons/blob/main/parsons/bluelink/bluelink.py


D1192 https://bluelinkdata.github.io/docs/Blue


D1192 http://web.archive.org/web/20220206214026/https://bluelinkdata.github.io/docs/BluelinkApiG
       uide


D1199 https://medium.com/shadow-inc/introducin-shadow-inc-shining-a-light-on-politica-data-
       7f664f0a510b


D1199 http://web.archive.org/web/20190805132505/https://medium.com/shadow-inc/introducing-
       shadow-inc-shining-a-light-on-political-data-7f664f0a510b


D1202 https://www.vox.com/recode/2020/5/8/2125/shadow-bluelink-iowa-caucus-app-reb


D1202 http://web.archive.org/web/20200715013338/https://www.vox.com/recode/2020/5/8/2125143
       8/shadow-bluelink-iowa-caucus-app-rebranding


D1215 CABX8+gJpsCdKUOZOQnWG-mVoHsw7zKctTWJFjDa7CPD4TbwRHQ@mail.gmail.com
     Case 1:23-cv-10359-JPC-GWG Document 21-2 Filed 06/18/24 Page 276 of 300


ID     ESI


D1251 CAF3KT4TwAwr1CGr34gOymscxfeW89Qs-YrEXRv0Cagz49ZLFTQ@mail.gmail.com


D1252 https://github.com/BluelinkData/parsons//1


D1252 http://web.archive.org/web/20230226232430/https://github.com/BluelinkData/parsons/pull/1


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D1283 https://www.politico.com/story/2018/12/1/democrats-perez-state-parties-1066665


D1283 http://web.archive.org/web/20181217023646/https://www.politico.com/story/2018/12/16/dem
       ocrats-perez-state-parties-1066665


D1286 00000000000077048c057c505465@google.com


D1286 https://groups.google.com/d/msgid/osdi-
       dev/00000000000077048c057c505465%40google.com


D1287 CAEv7e6bUM7d0xmAxY7uwhFtPzoWp1ZJTEwYn2R8vc2k2dccv4Q@mail.gmail.com


D1287 https://groups.google.com/d/msgid/osdi-
       dev/CAEv7e6bUM7d0xmAxY7uwhFtPzoWp1ZJTEwYn2R8vc2k2dccv4Q%40mail.gmail.com


D1302 https://medium.com/powering-progressive-/all-the-tools-your-campaign-ne-to-win-
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D1349 http://web.archive.org/web/20220522033226/https://help.mobilize.us/en/articles/2406494-pdi-
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D1357 http://opensupporter.org/meet-the-opensu-executive-officers/


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